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17-2371-cr
   United States Court of Appeals
                           for the

                 Second Circuit

               UNITED STATES OF AMERICA,

                                                               Appellee,

                           – v. –

                     JOSEPH VALERIO,

                                                   Defendant-Appellant.
              ––––––––––––––––––––––––––––––
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NEW YORK


                     APPENDIX
            Volume 1 of 2 (Pages A1 to A227)




                                    LOUIS M. FREEMAN
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                                                                                                               APPEAL,CUSTAPP

                                    U.S. District Court
                        Eastern District of New York (Central Islip)
              CRIMINAL DOCKET FOR CASE #: 2:14-cr-00094-JFB All Defendants


 Case title: USA v. Valerio                                                             Date Filed: 02/26/2014
 Magistrate judge case number: 2:14-mj-00080-WDW                                        Date Terminated: 06/06/2017


 Assigned to: Judge Joseph F. Bianco

 Defendant (1)
 Joseph Valerio                                                           represented by Anthony M. LaPinta
 TERMINATED: 06/06/2017                                                                  Reynolds, Caronia, Gianelli, Hagney,
                                                                                         LaPinta & Hargraves
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                                                                                         Email: LaPintaEsq@aol.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: Retained

                                                                                         Leonard Lato
                                                                                         Leonard Lato, Esq.
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                                                                                         Suite C-17
                                                                                         Hauppauge, NY 11788
                                                                                         631-655-5008
                                                                                         Fax: 631-300-4380
                                                                                         Email: leonardlato@yahoo.com
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: Retained

 Pending Counts                                                                          Disposition
 18:2251(a), 2251(e), 2 and 3551 et seq.
 SEXUAL EXPLOITATION OF
 CHILDREN; 18:2253; 21:853(p)                                                            dismissed on govts motiondismissed on
 FORFEITURE ALLEGATION AS TO                                                             govts motion
 COUNT ONE
 (1)
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?873461943230348-L_1_1-1                                                     Page 1 of 20
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                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 18:2251(e) and 3551 et seq. SEXUAL                                          release with Special conditions of
 EXPLOITATION OF CHILDREN;                                                   supervised release. see calendar. court
 FORFEITURE ALLEGATION: 18:2253,                                             makes the following recommendation to
 21:853(p)                                                                   the Bureau of Prisons: That the defendant
 (1rss)                                                                      be designated as close as possible to Long
                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.
                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 18:2251(a), 2251(e), 2 and 3551 et seq.                                     release with Special conditions of
 SEXUAL EXPLOITATION OF                                                      supervised release. see calendar. court
 CHILDREN; FORFEITURE                                                        makes the following recommendation to
 ALLEGATION: 18:2253, 21:853 (p)                                             the Bureau of Prisons: That the defendant
 (2rss)                                                                      be designated as close as possible to Long
                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.
 18:2252(a)(1), 2252(b)(1), 2 and 3551 et
 seq. TRANSPORTATION OF CHILD
 PORNOGRAPHY; 18:2253; 21:853(p)                                             dismissed on govts motiondismissed on
 FORFEITURE ALLEGATION AS TO                                                 govts motion
 COUNT THREE
 (3)
                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 18:2251(c), 2251(e), 2 and 3551 et seq.                                     release with Special conditions of
 SEXUAL EXPLOITATION OF                                                      supervised release. see calendar. court
 CHILDREN; FORFEITURE                                                        makes the following recommendation to
 ALLEGATION: 18:2253, 21:853 (p)                                             the Bureau of Prisons: That the defendant
 (3rss)                                                                      be designated as close as possible to Long
                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.
 18:2252(a)(2), 2252(b)(1), 2 and 3551 et
 seq. RECEIPT OF CHILD
 PORNOGRAPHY; 18:2253; 21:853(p)                                             dismissed on govts motiondismissed on
 FORFEITURE ALLEGATION AS TO                                                 govts motion
 COUNT FOUR
 (4)

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                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 18:2252(a)(1), 2252(b)(1), 2 and 3551 et                                    release with Special conditions of
 seq. SEXUAL EXPLOITATION OF                                                 supervised release. see calendar. court
 MINORS; FORFEITURE ALLEGATION:                                              makes the following recommendation to
 18:2253, 21:853 (p)                                                         the Bureau of Prisons: That the defendant
 (4rss)                                                                      be designated as close as possible to Long
                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.
 18:2252(a)(2), 2552(b)(1), 2 and 3551 et
 seq SEXUAL EXPLOITATION OF
                                                                             dismissed on govts motiondismissed on
 MINORS Forfeiture allegations 18:2253;
                                                                             govts motion
 21:853p
 (4s)
                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 18:2252(a)(2), 2251(b)(1), 2 and 3551 et                                    release with Special conditions of
 seq. SEXUAL EXPLOITATION OF                                                 supervised release. see calendar. court
 MINORS; FORFEITURE ALLEGATION:                                              makes the following recommendation to
 18:2253, 21:853 (p)                                                         the Bureau of Prisons: That the defendant
 (5rss)                                                                      be designated as close as possible to Long
                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.
                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 18:2251(e), 2 and 3551 et seq. SEXUAL                                       release with Special conditions of
 EXPLOITATION OF CHILDREN;                                                   supervised release. see calendar. court
 FORFEITURE ALLEGATION: 18:2253,                                             makes the following recommendation to
 21:853(p)                                                                   the Bureau of Prisons: That the defendant
 (6rss-8rss)                                                                 be designated as close as possible to Long
                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.
                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 18:2251(a), 2251(e), 2 and 3551 et seq.                                     release with Special conditions of
 SEXUAL EXPLOITATION OF                                                      supervised release. see calendar. court
 CHILDREN; FORFEITURE                                                        makes the following recommendation to
 ALLEGATION 18:2253, 21:853(p)                                               the Bureau of Prisons: That the defendant
 (14rss)                                                                     be designated as close as possible to Long
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                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.
                                                                             The defendant is sentenced to:720 months
                                                                             (60 years) Second Superseding Indictment.
                                                                             To be followed by lifetime of supervised
 28:2252(a)(4)(B), 2252(b)(2) and 3551 et                                    release with Special conditions of
 seq. SEXUAL EXPLOITATION OF                                                 supervised release. see calendar. court
 MINORS; FORFEITURE ALLEGATION                                               makes the following recommendation to
 18:2253, 21:853(p)                                                          the Bureau of Prisons: That the defendant
 (15rss)                                                                     be designated as close as possible to Long
                                                                             Island. That the defendant receive
                                                                             treatment in jail. Fine waived, SAF
                                                                             $1000.00, counts 9-13 dismissed.

    -Offense
 Highest -Level
             _       .
                (Opening)
 Felony

 Terminated Counts                                                           Disposition
 18:2251(a),2251(e), 2 and 3551 et seq.
 SEXUAL EXPLOITATION OF
                                                                             dismissed on govts motiondismissed on
 CHILDREN Forfeiture allegations
                                                                             govts motion
 18:2253; 21:853p
 (1s)
 18:2251(C), 2251(e), 2 and 3551 et seq.
 SEXUAL EXPLOITATION OF
 CHILDREN; 18:2253; 21:853(p)                                                dismissed on govts motiondismissed on
 FORFEITURE ALLEGATION AS TO                                                 govts motion
 COUNT TWO
 (2)
 18:2251(c),2251(e), 2 and 3551 et seq.
 SEXUAL EXPLOITATION OF
                                                                             dismissed on govts motiondismissed on
 CHILDREN Forfeiture allegations
                                                                             govts motion
 18:2253; 21:853p
 (2s)
 18:2252(a)(1), 2252(b)(1), 2 and 3551 et
 seq. SEXUAL EXPLOITATION OF
                                                                             dismissed on govts motiondismissed on
 MINORS Forfeiture allegations 18:2253;
                                                                             govts motion
 21:853p
 (3s)
 18:2252(a)(4)(B), 2252(b)(2), 2 and 3551
 et seq. POSSESSION OF CHILD
 PORNOGRAPHY; 18:2253; 21:853(p)                                             dismissed on govts motiondismissed on
 FORFEITURE ALLEGATION AS TO                                                 govts motion
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 COUNT FIVE
 (5)
 18:2551(a), 2251(e) and 3551 et seq.
 SEXUAL EXPLOITATION OF
                                                                                         dismissed on govts motiondismissed on
 CHILDREN Forfeiture allegations
                                                                                         govts motion
 18:2253; 21:853p
 (5s)
 18:2252(a)(4)(B), 2252(b)(2) and 3551 et
 seq SEXUAL EXPLOITATION OF
                                                                                         dismissed on govts motiondismissed on
 MINORS Forfeiture allegations 18:2253;
                                                                                         govts motion
 21:853p
 (6s)
 18:2251(e), 2 and 3551 et seq. SEXUAL
 EXPLOITATION OF CHILDREN;
 FORFEITURE ALLEGATION: 18:2253,                                                         dismissed on govts motion
 21:853(p)
 (9rss-13rss)
 18:2251(e), 2 and 3551 et seq. SEXUAL
 EXPLOITATION OF CHILDREN;
                                                                                         dismissed on consent of all parties (on jury
 FORFEITURE ALLEGATION: 18:2253,
                                                                                         trial calendar dtd. 11/4/14)
 21:853(p)
 (14ss)

 Highest Offense Level (Terminated)
 Felony

 Complaints                                                                              Disposition
 18:2251.F



 Plaintiff
 USA                                                                      represented by Allen Lee Bode
                                                                                         United States Attorneys Office,Eastern
                                                                                         District of New York
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                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Ameet B. Kabrawala

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                                                                             United States Attorney's Office
                                                                             Eastern District of New York
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                                                                             Email: ameet.kabrawala@usdoj.gov
                                                                             ATTORNEY TO BE NOTICED


  Date Filed                #     Docket Text
  01/28/2014                 1 COMPLAINT as to Joseph Valerio (1). (Gandiosi, Kristin) [2:14-mj-00080-WDW]
                               (Entered: 02/03/2014)
  01/28/2014                 2 Minute Entry for proceedings held before Magistrate Judge William D.
                               Wall:Arraignment as to Joseph Valerio (1) Count Complaint held on 1/28/2014.
                               Defendant Joseph Valerio present in custody with retained Counsel Anthony LaPinta
                               Present. AUSA Lara Gatz present for the Government. Donna Mackey present for
                               pretrial. Case called. Counsel for all sides present. Preliminary Hearing is waived.
                               Permanent Order of Detention is entered. (Tape #3:28-3:31.) (Gandiosi, Kristin) [2:14-
                               mj-00080-WDW] (Entered: 02/03/2014)
  01/28/2014                 3 ORDER OF DETENTION as to Joseph Valerio. Ordered by Magistrate Judge William
                               D. Wall on 1/28/2014. (Gandiosi, Kristin) [2:14-mj-00080-WDW] (Entered:
                               02/03/2014)
  02/03/2014                 4 Minute Entry for proceedings held before Magistrate Judge A. Kathleen
                               Tomlinson:Bond Hearing as to Joseph Valerio held on 2/3/2014. Appearances: for
                               Government: Lara Gatz for Allen Bode; for Defendant: Tony LaPinta (Ret); Court
                               Reporter: Paul Lombardi; Pretrial: Donna Mackey; defendant present in custody.
                               Government application to have their argument presented tomorrow. Application
                               granted. Defendant presents his argument. Three suretors present in courtroom to sign
                               bond. Court review conditions and advises risks of signing bond. Suretors
                               acknowledge and sign bond understanding that no final decision will be rendered in
                               defendant's release until tomorrow's continued bail hearing. Bail hearing to continue
                               on 2/4/2014 at 12:30 p.m. before Magistrate Judge Tomlinson. Defendant remains in
                               custody.(FTR: 1:03-1:37.) (Ryan, Mary) [2:14-mj-00080-WDW] (Entered:
                               02/20/2014)
  02/03/2014                 8 Letter to Judge Tomlinson in Support of Mr. Valerio's bail application by defendant's
                               attorney, Mr. LaPinta. (Ryan, Mary) [2:14-mj-00080-WDW] (Entered: 02/20/2014)
  02/04/2014                 5 Minute Entry for proceedings held before Magistrate Judge A. Kathleen
                               Tomlinson:Bond Hearing as to Joseph Valerio continued on 2/4/2014. Appearances:
                               for Government: Allen Bode; for Defendant: Tony LaPinta (Ret); Court Reporter: Paul
                               Lombardi; Pretrial: Donna Mackey; defendant present in custody. Bail application
                               GRANTED. Order Setting Conditions of Release and Bond Entered. Special
                               conditions apply. See bond for details. Government presents their argument.
                               Confession of Judgment due by 2/19/2014. Defendant signs bond as suretor.

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                                  Defendant to be released on or before 2/19/2014 after surveillance video is in place at
                                  defendant mother's home where defendant will be residing. (FTR: 1:15-2:09) (Ryan,
                                  Mary) [2:14-mj-00080-WDW] (Entered: 02/20/2014)
  02/04/2014                 6 ORDER Setting Conditions of Release as to Joseph Valerio (1) Secured Appearance
                               Bond. NOTE: Defendant to be released after surveillance video in place. See bond for
                               additional conditions of release. Ordered by Magistrate Judge A. Kathleen Tomlinson
                               on 2/4/2014. (Ryan, Mary) [2:14-mj-00080-WDW] (Entered: 02/20/2014)
  02/12/2014                 7 Minute Entry for proceedings held before Magistrate Judge A. Kathleen
                               Tomlinson:Bond Hearing as to Joseph Valerio held on 2/12/2014. Appearances: for
                               Government: Lara Gatz for Allen Bode; for Defendant: Tony LaPinta (Ret). defendant
                               present in custody. Report by Mr. LaPinta that defendant's mother's home is ready for
                               Mr. Valerio to reside in. No opposition by Government. Application by Mr. LaPinta to
                               have defendant be allowed to go to his Smithtown home to close the premises prior to
                               residing at his mother's home as part of the conditions of release. No opposition by
                               Government. Application granted. Defdendant released on bond. (FTR: 2:00-2:02.)
                               (Ryan, Mary) [2:14-mj-00080-WDW] (Entered: 02/20/2014)
  02/26/2014                 9 SEALED INDICTMENT as to Joseph Valerio (1) count(s) 1, 2, 3, 4, 5. (Attachments:
                               #(1) Criminal Information Sheet) (Mahon, Cinthia) (Additional attachment(s) added
                               on 3/4/2014: # 2 Sealing Cover Sheet) (Mahon, Cinthia). (Attachment 2 replaced on
                               3/4/2014) (Mahon, Cinthia). (Entered: 03/03/2014)
  02/28/2014               10 Minute Entry for proceedings held before Judge Joseph F. Bianco: deft present in
                              custody with retrained counsel Anthony LaPnta; AUSA Allen Bode; Michele Savona;
                              order of detention entered; speedy trial x start 2/28/14 stop 3/6/14; Arraignment as to
                              Joseph Valerio (1) Count 1,2,3,4,5 held on 2/28/2014, Initial Appearance as to Joseph
                              Valerio held on 2/28/2014, Plea entered by Joseph Valerio Not Guilty on counts not
                              guilty on all counts., ( Status Conference set for 3/6/2014 01:00 PM before Judge
                              Joseph F. Bianco.) (Court Reporter D Tursi.) (Bollbach, Jean) (Entered: 03/04/2014)
  02/28/2014               11 ORDER TO CONTINUE - Ends of Justice as to Joseph Valerio Time excluded from
                              2/28/14 until 3/6/14.. Ordered by Judge Joseph F. Bianco on 2/28/14. (Bollbach, Jean)
                              (Entered: 03/04/2014)
  02/28/2014               12 ORDER OF DETENTION as to Joseph Valerio. Ordered by Judge Joseph F. Bianco
                              on 2/28/14. (Bollbach, Jean) (Entered: 03/04/2014)
  03/05/2014               13 SUPERSEDING INDICTMENT (S-1) as to Joseph Valerio (1) count(s) 1s, 2s, 3s, 4s,
                              5s, 6s. (Bollbach, Jean) (Entered: 03/06/2014)
  03/06/2014               14 Minute Entry for proceedings held before Judge Joseph F. Bianco: deft present in
                              custody with retained counsel Anthonty LaPinta; AUSA Allen Bode; Michele Savona;
                              deft continued in custody; Arraignment as to Joseph Valerio (1) Count
                              1s,2s,3s,4s,5s,6s held on 3/6/2014, Initial Appearance as to Joseph Valerio held on
                              3/6/2014, Plea entered by Joseph Valerio Not Guilty on counts not guilty on all counts
                              of superseding indictment., ( Jury Selection set for 5/12/2014 09:30AM before Judge
                              Joseph F. Bianco., Jury Trial set for 5/12/2014 09:30 AM before Judge Joseph F.
                              Bianco.) (Court Reporter O Wicker.) (Bollbach, Jean) (Entered: 03/07/2014)
  03/06/2014                      Order to Unseal Indictment as to Joseph Valerio. (Endorsed on Criminal Information
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  03/06/2014               15 Order to Unseal Indictment as to Joseph Valerio. (Endorsed on Criminal Information
                              Sheet). Ordered by Judge Joseph F. Bianco on 3/6/2014. cm/ecf. (Mahon, Cinthia)
                              (Entered: 03/07/2014)
  03/10/2014               16 First MOTION for Release from Custody by Joseph Valerio. (Attachments: # 1
                              Exhibit Epic Security Proposal) (LaPinta, Anthony) (Entered: 03/10/2014)
  03/11/2014               17 NOTICE OF ATTORNEY APPEARANCE Ameet B. Kabrawala appearing for USA.
                              (Kabrawala, Ameet) (Entered: 03/11/2014)
  03/17/2014               18 Letter Enclosing Rule 16 Disclosures, as to Joseph Valerio (Kabrawala, Ameet)
                              (Entered: 03/17/2014)
  03/20/2014               19 NOTICE OF ATTORNEY APPEARANCE: Leonard Lato appearing for Joseph
                              Valerio (Lato, Leonard) (Entered: 03/20/2014)
  03/20/2014               20 Second MOTION for Release from Custody by Joseph Valerio. (Lato, Leonard)
                              (Entered: 03/20/2014)
  03/20/2014               21 RESPONSE in Opposition re 20 Second MOTION for Release from Custody
                              (Kabrawala, Ameet) (Entered: 03/20/2014)
  03/21/2014               22 REPLY TO RESPONSE to Motion re 20 Second MOTION for Release from Custody
                              (Lato, Leonard) (Entered: 03/21/2014)
  03/21/2014               23 Minute Entry for proceedings held before Judge Joseph F. Bianco: deft present in
                              custody with retained counsel Anthony LaPinta and Lenny Lato; AUSA Allen Bode;
                              Michele Savona; deft continued in custody; jury selection and trial set for 5/12/14 at
                              9:30 am; decision made on the record. Written opinion to follow.Bond Hearing as to
                              Joseph Valerio held on 3/21/2014, ( Status Conference set for 4/2/2014 01:15 PM in
                              Courtroom 920 before Judge Joseph F. Bianco.) (Tape #ftr 1:30 - 2:06.) (Bollbach,
                              Jean) (Entered: 03/24/2014)
  03/24/2014               25 ORDER denying 20 Motion for Release from Custody as to Joseph Valerio (1);
                              denying 16 Motion for Release from Custody as to Joseph Valerio (1). A detailed
                              written memorandum and order will follow.. Ordered by Judge Joseph F. Bianco on
                              3/24/2014. (Bollbach, Jean) (Entered: 03/25/2014)
  03/25/2014               24 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Joseph
                              Valerio held on 3/21/2014, before Judge Joseph F. Bianco. Transcriber Tracy Gribben's
                              Transcription Service, Telephone number 732- 263-0044. Email address:
                              TGribben@transcription.com. Transcript may be viewed at the court public terminal
                              or purchased through the Transcriber before the deadline for Release of Transcript
                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              4/15/2014. Redacted Transcript Deadline set for 4/25/2014. Release of Transcript
                              Restriction set for 6/23/2014. (Cox, Dwayne) (Entered: 03/25/2014)
  03/27/2014               26 NOTICE OF APPEAL (Interlocutory) by Joseph Valerio re: 25 Order (Lato, Leonard)
                              Modified on 3/27/2014 to indicate order appealed from (Cox, Dwayne). (Entered:
                              03/27/2014)
  03/27/2014               27 Letter to defense counsel enclosing discovery, as to Joseph Valerio (Kabrawala,

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                                  Ameet) (Entered: 03/27/2014)
  03/28/2014               28 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Joseph Valerio for dates of
                              3/6/14 before Judge Bianco, re 26 Notice of Appeal - Interlocutory Court
                              Reporter/Transcriber O. Wicker, Telephone number 631 712 6102. Transcript may be
                              viewed at the court public terminal or purchased through the Court
                              Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                              that date it may be obtained through PACER. Redaction Request due 4/18/2014.
                              Redacted Transcript Deadline set for 4/28/2014. Release of Transcript Restriction set
                              for 6/26/2014. (Wicker, Owen) (Entered: 03/28/2014)
  03/28/2014               29 MOTION in Limine by USA as to Joseph Valerio. (Kabrawala, Ameet) (Entered:
                              03/28/2014)
  04/01/2014               30 ORDER as to Joseph Valerio re 20 Second MOTION for Release from Custody , 16
                              First MOTION for Release from Custody , 25 Order on Motion for Release from
                              Custody. For the reasons set forth herein and the reasons set forth on the record on
                              March 6, 2014, and March 21, 2014, the Court denies defendants motions for release
                              from custody, and concludes (under a de novo standard of review) that the government
                              has met its burden of demonstrating, by clear and convincing evidence on the issue of
                              danger, and by a preponderance of the evidence on the issue of flight, that no condition
                              or combination of conditions will reasonably assure the safety of the community or
                              defendants appearance in court. Accordingly, the Court orders that defendant shall
                              remain detained pending trial. SO ORDERED. Ordered by Judge Joseph F. Bianco on
                              4/1/2014. (Chipev, George) (Entered: 04/01/2014)
  04/01/2014               31 Transmitted Supplemental Record on Appeal as to Joseph Valerio re 26 Notice of
                              Appeal - Interlocutory (Cox, Dwayne) (Entered: 04/01/2014)
  04/02/2014               32 Minute Entry for proceedings held before Judge Joseph F. Bianco: deft present in
                              custody with retained counsel Anthony LaPinta and Lenny Lato; AUSA Allen Bode;
                              Michele Savona; deft continued in custody; motions to be filed by 4/9/14; opposition
                              due 4/14/14; reply by 4/18/14; Status Conference as to Joseph Valerio held on
                              4/2/2014, ( Jury Selection set for 4/28/2014 09:30 AM in Courtroom 920 before Judge
                              Joseph F. Bianco., Jury Trial set for 5/5/2014 09:30 AM in Courtroom 920 before
                              Judge Joseph F. Bianco.) (Court Reporter ftr 2:11-2:20.) (Bollbach, Jean) (Entered:
                              04/02/2014)
  04/02/2014               33 Letter to defense counsel enclosing discovery as to Joseph Valerio (Kabrawala, Ameet)
                              (Entered: 04/02/2014)
  04/07/2014               35 MOTION for Victim Rights by USA as to Joseph Valerio. (Kabrawala, Ameet)
                              (Entered: 04/07/2014)
  04/08/2014               36 Letter to defense counsel enclosing discovery as to Joseph Valerio (Kabrawala, Ameet)
                              (Entered: 04/08/2014)
  04/09/2014               37 INDICTMENT(s-2) as to Joseph Valerio (1) count(s) 1ss, 2ss, 3ss, 4ss, 5ss, 6ss-14ss,
                              15ss, 16ss. (Attachments: # 1 information sheet) (Bollbach, Jean) (Entered:
                              04/10/2014)
  04/09/2014                      Minute Entry for proceedings held before Judge Joseph F. Bianco:Arraignment as to
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  04/09/2014                      Minute Entry for proceedings held before Judge Joseph F. Bianco:Arraignment as to
                           38
                                  Joseph Valerio (1) Count 1ss,2ss,3ss,4ss,5ss,6ss-14ss,15ss,16ss held on 4/9/2014,
                                  Initial Appearance as to Joseph Valerio held on 4/9/2014, Plea entered by Joseph
                                  Valerio (1) Count 1ss,2ss,3ss,4ss,5ss,6ss-14ss,15ss,16ss Joseph Valerio (1) Guilty
                                  Count 1ss,2ss,3ss,4ss,5ss,6ss-14ss,15ss,16ss. Deft present in custody with retained
                                  counsel Anthony LaPinta and Leonard Lato; AUSA Allen Bode and Ameer
                                  Kabrawala; Michele Savona; deft continued in custdoy; speedy trial x start 4/9/14 stop
                                  9/22/14 ( Jury Selection set for 9/22/2014 09:30 AM in Courtroom 920 before Judge
                                  Joseph F. Bianco., Jury Trial set for 9/22/2014 09:30 AM in Courtroom 920 before
                                  Judge Joseph F. Bianco.) (Court Reporter P Auerbach.) (Bollbach, Jean) (Entered:
                                  04/10/2014)

  04/09/2014               39 ORDER TO CONTINUE - Ends of Justice as to Joseph Valerio Time excluded from
                              4/9/14 until 9/22/14.. Ordered by Judge Joseph F. Bianco on 4/9/2014. (Bollbach,
                              Jean) (Entered: 04/10/2014)
  04/11/2014               40 REPLY TO RESPONSE to Motion by USA as to Joseph Valerio re 35 MOTION for
                              Victim Rights (Kabrawala, Ameet) (Entered: 04/11/2014)
  04/14/2014               41 Letter to defense counsel enclosing discovery as to Joseph Valerio (Kabrawala, Ameet)
                              (Entered: 04/14/2014)
  04/15/2014                      SCHEDULING ORDER: Conference with government and attorney for Jane Doe and
                                  her family, to address government's sealed motion for appointment of guardian as
                                  litem for Jane Doe, is hereby scheduled for April 17, 2014 at 1:00 p.m. Ordered by
                                  Judge Joseph F. Bianco on 4/15/2014. (Savona, Michele) (Entered: 04/15/2014)
  04/17/2014               42 Minute Entry for proceedings held before Judge Joseph F. Bianco:Status Conference
                              for Jane Doe and family held on 4/17/2014; retained counsel William Wexler; AUSA
                              Ameet Kabrawala and Raymond Tierney; Michele Savona (Bollbach, Jean) (Entered:
                              04/17/2014)
  05/09/2014               48 Letter Regarding Firewall Discovery Production as to Joseph Valerio (Elbert, Lauren)
                              (Entered: 05/09/2014)
  07/01/2014               49 First MOTION to Suppress Statements by Joseph Valerio. (Attachments: # 1 Exhibit)
                              (Lato, Leonard) (Entered: 07/01/2014)
  07/09/2014               50 MANDATE of USCA (certified copy) as to Joseph Valerio. Stipulation to dismiss the
                              appeal So Ordered. (Cox, Dwayne) (Entered: 07/10/2014)
  07/29/2014               51 Letter to defense counsel enclosing 3500 materials in advance of July 31, 2014
                              hearing, as to Joseph Valerio (Kabrawala, Ameet) (Entered: 07/29/2014)
  07/31/2014               52 Minute Entry for proceedings held before Judge Joseph F. Bianco:Suppression
                              Hearing as to Joseph Valerio held on 7/31/2014, deft present in custody with retained
                              counsel AnthonyLaPinta and Lenny Lato; AUSA Allen Bode and Ameet Kabrawala;
                              Michele Savona; def continued in custody ( Status Conference set for 9/3/2014 01:00
                              PM in Courtroom 920 before Judge Joseph F. Bianco.) (Court Reporter H Rapaport.)
                              (Bollbach, Jean) (Entered: 07/31/2014)
  08/12/2014
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  08/12/2014
                           54 Letter to defense counsel enclosing discovery, as to Joseph Valerio (Kabrawala,
                              Ameet) (Entered: 08/12/2014)
  08/13/2014               55 Letter to defense counsel enclosing discovery as to Joseph Valerio (Kabrawala, Ameet)
                              (Entered: 08/13/2014)
  08/20/2014               56 Minute Entry for proceedings held before Judge Joseph F. Bianco:Status Conference
                              as to Valerio RE: Jane Doe held on 8/20/2014; court denied motion to appoint
                              guardian (Court Reporter D Tursi.) (Bollbach, Jean) (Entered: 08/20/2014)
  08/22/2014               57 Letter to defense counsel transmitting the government's plea offer, as to Joseph Valerio
                              (Kabrawala, Ameet) (Entered: 08/22/2014)
  08/26/2014               58 Minute Entry for proceedings held before Judge Joseph F. Bianco:Bail Hearing as to
                              Joseph Valerio held on 8/26/2014; deft continued in custody; bail denied (Court
                              Reporter H $Rapaport.) (Bollbach, Jean) (Entered: 08/26/2014)
  08/27/2014               59 Letter to defense counsel regarding the government's plea offer, as to Joseph Valerio
                              (Kabrawala, Ameet) (Entered: 08/27/2014)
  09/02/2014               60 Proposed Voir Dire by USA as to Joseph Valerio (Kabrawala, Ameet) (Entered:
                              09/02/2014)
  09/02/2014               61 Letter to defense counsel enclosing discovery, as to Joseph Valerio (Kabrawala,
                              Ameet) (Entered: 09/02/2014)
  09/03/2014               62 ORDER TO CONTINUE - Ends of Justice as to Joseph Valerio Time excluded from
                              9/3/14 until 11/3/14.. Ordered by Judge Joseph F. Bianco on 9/3/2014. (Bollbach,
                              Jean) (Entered: 09/04/2014)
  09/03/2014             127 Minute Entry for proceedings held before Judge Joseph F. Bianco:Status Conference
                             as to Joseph Valerio held on 9/3/2014; deft present in custody with retained counsel
                             Anthony LaPinta and Lenny Laro, AUSA Allen Bode and Amest Kabrawala, K
                             McMorrow, speedy trial x start 9/3/14 stop 11/3/14; jury selection and trial adjourned
                             to 11/3/14 at 9:30am; Motion to suppress (49) denied on the record, written opinion to
                             follow. Defendant requests an adjournment of the 9/22/2014 jury selection in an
                             attempt to locate an overseas witness; the government objects. Request granted.
                             Defendant moves for recusal based on the governments 8/27/14 letter; argument heard
                             - Motion denied.X DEFT. CONTINUED IN CUSTODY. (Court Reporter D Tursi.)
                             (Bollbach, Jean) (Entered: 08/16/2016)
  09/07/2014               63 NOTICE OF APPEAL (Interlocutory) of Conditions of Release 64 Order by Joseph
                              Valerio (Lato, Leonard) Modified to indicate order appealed from on 9/9/2014 (Cox,
                              Dwayne). (Entered: 09/07/2014)
  09/08/2014               64 ORDER as to Joseph Valerio For the reasons set forth in detail on the record on
                              August 26, 2014, as well as in the Memorandum and Order dated April 1, 2014 (and in
                              the oral rulings on March 6, 2014 and March 21, 2014), the defendant's renewed oral
                              motion for bail on August 26,2014 is denied. Ordered by Judge Joseph F. Bianco on
                              9/8/2014. (Bollbach, Jean) (Entered: 09/08/2014)
  09/09/2014                      Electronic Index to Record on Appeal as to Joseph Valerio sent to US Court of

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                                  Appeals 63 Notice of Appeal - Conditions of Release Documents are available via
                                  Pacer. For docket entries without a hyperlink or for documents under seal, contact the
                                  court and we'll arrange for the document(s) to be made available to you. (Cox,
                                  Dwayne) (Entered: 09/09/2014)
  09/09/2014                      APPEAL FILING FEE DUE re 63 Notice of Appeal - Conditions of Release Please
                                  either come to the clerks office or mail the filing fee in the amount of $505.00. (Cox,
                                  Dwayne) (Entered: 09/09/2014)
  09/23/2014               66 Letter to defense counsel containing expert disclosure, as to Joseph Valerio
                              (Kabrawala, Ameet) (Entered: 09/23/2014)
  09/24/2014               67 Second MOTION in Limine to admit certain videos and images, and to preclude
                              reference to penalties, by USA as to Joseph Valerio. (Kabrawala, Ameet) (Entered:
                              09/24/2014)
  10/07/2014                      USCA Appeal Fees received $ 505, receipt number 16206 as to Joseph Valerio re 63
                                  Notice of Appeal - Conditions of Release : (Cox, Dwayne) (Entered: 10/07/2014)
  10/08/2014               68 Proposed Jury Instructions by USA as to Joseph Valerio (Kabrawala, Ameet) (Entered:
                              10/08/2014)
  10/09/2014               69 Third MOTION in Limine to admit trade inscriptions on electronic/computer devices
                              by USA as to Joseph Valerio. (Kabrawala, Ameet) (Entered: 10/09/2014)
  10/15/2014                      SCHEDULING ORDER as to Joseph Valerio: The Jury Selection is ADVANCED
                                  from 11/3/2014 to 10/20/2014 at 9:30 AM in Courtroom 840 before Magistrate Judge
                                  Gary R. Brown. Counsel for defendant shall submit proposed voir dire by close of
                                  business on 10/16/2014. Ordered by Magistrate Judge Gary R. Brown on 10/15/2014.
                                  (Posillico, Lauren) (Entered: 10/15/2014)
  10/17/2014                      SCHEDULING ORDER as to Joseph Valerio: Pretrial Conference set for 10/23/2014
                                  10:00 a.m. in Courtroom 920 before Judge Joseph F. Bianco. Ordered by Judge Joseph
                                  F. Bianco on 10/17/2014. (Savona, Michele) (Entered: 10/17/2014)
  10/20/2014               70 Fourth MOTION in Limine to admit invoice by USA as to Joseph Valerio.
                              (Kabrawala, Ameet) (Entered: 10/20/2014)
  10/20/2014               71 Minute Entry for proceedings held before Judge Joseph F. Bianco: Jury Selection as to
                              Joseph Valerio held on 10/20/2014, Voir Dire held on 10/20/2014 as to Joseph Valerio;
                              deft present in custody with retained counsel Anthony LaPinta and Leonard Lato;
                              AUSA Allen Bode and Ameet Kabrawala; L. Posillico; deft consent to select jury
                              before Mag. Judge. ( Jury Trial set for 11/4/2014 09:30 AM in Courtroom 920 before
                              Judge Joseph F. Bianco.) (Court Reporter Harry Rapaport.) (Bollbach, Jean) (Entered:
                              10/21/2014)
  10/20/2014               75 EXHIBIT - court exhibit 1 - deft waives any right to attend sidebars during jury
                              selection (Bollbach, Jean) (Entered: 10/22/2014)
  10/20/2014               76 ORDER ; consent to have jury selection proceed before a US Magistrate Judge as to
                              Joseph Valerio. Ordered by Judge Joseph F. Bianco on 10/20/2014. (Bollbach, Jean)
                              (Entered: 10/22/2014)

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  10/21/2014               72 Letter to defense counsel renewing the government's request for expert disclosures as
                              to Joseph Valerio (Kabrawala, Ameet) (Entered: 10/21/2014)
  10/21/2014               73 Letter pursuant to the Court's October 20, 2014 order, and under Title 18, U.S.C.,
                              Section 3509(d), identifying minor victims for the record, as to Joseph Valerio
                              (Kabrawala, Ameet) (Entered: 10/21/2014)
  10/21/2014               74 Letter enclosing witness statement and renewing request for discovery, as to Joseph
                              Valerio (Kabrawala, Ameet) (Entered: 10/21/2014)
  10/22/2014               77 Proposed Jury Instructions by USA as to Joseph Valerio (Kabrawala, Ameet) (Entered:
                              10/22/2014)
  10/22/2014               78 Letter to defense counsel enclosing discovery as to Joseph Valerio (Kabrawala, Ameet)
                              (Entered: 10/22/2014)
  10/23/2014               79 Minute Entry for proceedings held before Judge Joseph F. Bianco:Status Conference
                              as to Joseph Valerio held on 10/23/2014, deft present in custody with retained counsel
                              Anthony LaPinta and Lenny Lato; AUSA Allen Bode and Ameet Kabrawala; Michele
                              Savona; deft continued in custody( Trial set for 11/4/2014 09:30 AM in Courtroom
                              920 before Judge Joseph F. Bianco.) (Court Reporter P Auerbach.) (Bollbach, Jean)
                              (Entered: 10/23/2014)
  10/28/2014               80 Letter to defense counsel enclosing trial exhibits and 3500 materials, as to Joseph
                              Valerio (Kabrawala, Ameet) (Entered: 10/28/2014)
  10/29/2014               81 Letter dismissing Count Fourteen of the Superseding Indictment, as to Joseph Valerio
                              (Attachments: # 1 Indictment with foreperson signature) (Kabrawala, Ameet)
                              (Entered: 10/29/2014)
  11/04/2014               82 Minute Entry for proceedings held before Judge Joseph F. Bianco:Jury Trial as to
                              Joseph Valerio held on 11/4/2014, deft present in custody with counsel Leonard Lato
                              and Anthony LaPinta; AUSA Ameet Kabrawala and Allen Bode; Michele Savona;
                              jurors sworn; trial begins; govt opens; deft opens; witnesses sworn: Peter Angelina,
                              Robert Egan, Cheryl Johnson and Deep Chopra; count 14 dismissed on consent ( Jury
                              Trial set for 11/5/2014 09:30 AM in Courtroom 920 before Judge Joseph F. Bianco.)
                              (Court Reporter Harry Rapaport and Owen Wicker.) (Bollbach, Jean) (Entered:
                              11/05/2014)
  11/04/2014                      DISMISSAL OF COUNT 14 on consent of all parties (jury calendar dtd. 11/4/14)
                                  (Bollbach, Jean) (Entered: 11/05/2014)
  11/05/2014               83 Minute Entry for proceedings held before Judge Joseph F. Bianco:Jury Trial as to
                              Joseph Valerio held on 11/5/2014, deft present in custody with counsel Leonard Lato
                              and Anthony LaPinta; AUSA Ameet Kabrawala and Allen Bode; Jasmine Torres;
                              withness sworn Steven Troyd; ( Jury Trial set for 11/6/2014 09:45 AM in Courtroom
                              920 before Judge Joseph F. Bianco.) (Court Reporter Harry Rapaport and Owen
                              Wicker.) (Bollbach, Jean) (Entered: 11/06/2014)
  11/06/2014               84 Minute Entry for proceedings held before Judge Joseph F. Bianco:Jury Trial as to

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                                  Joseph Valerio held on 11/6/2014, deft present in custody with counsel Leonard Lato
                                  and Anthony LaPinta; AUSA Ammeet Kabrawala and Allen Bode; Jasmine Torres;
                                  withnesses sworn: Steven Troyd, Bernadette Imperiale, Det. Rory Forrestal( Jury Trial
                                  set for 11/10/2014 09:30 AM in Courtroom 920 before Judge Joseph F. Bianco.)
                                  (Court Reporter Harry Rapaport and Owen Wicker.) (Bollbach, Jean) Modified on
                                  11/12/2014 (Bollbach, Jean). Modified on 11/12/2014 (Bollbach, Jean). (Entered:
                                  11/07/2014)
  11/06/2014                      Incorrect Case-Document Information filed. Document #86 has been deleted and
                                  removed fromthe docket. It is a duplicate of document #84 (Bollbach, Jean) (Entered:
                                  11/12/2014)
  11/10/2014               85 Jury Instructions as to Joseph Valerio (Attachments: # 1 Forfeiture Instructions)
                              (Street, Caitlin) (Entered: 11/10/2014)
  11/10/2014               88 Minute Entry for proceedings held before Judge Joseph F. Bianco:Jury Trial as to
                              Joseph Valerio held on 11/10/2014, deft present in custody with counsel Leoanrd Lato
                              and Anthony LaPinta; AUSA Ameet Kabrawala and Allen Bode; Michele Savona;
                              govt rest ( Jury Trial set for 11/12/2014 09:15 AM in Courtroom 920 before Judge
                              Joseph F. Bianco.) (Court Reporter Harry Rapaport and Owen Wicker.) (Bollbach,
                              Jean) (Entered: 11/12/2014)
  11/12/2014               87 Final Jury Instructions as to Joseph Valerio (Attachments: # 1 Forfeiture Instructions)
                              (Street, Caitlin) (Entered: 11/12/2014)
  11/12/2014               89 Letter enclosing verdict sheets and redacted indictment, as to Joseph Valerio
                              (Attachments: # 1 Verdict Sheet, # 2 Forfeiture Verdict Sheet, # 3 Redacted
                              Indictment) (Kabrawala, Ameet) (Entered: 11/12/2014)
  11/12/2014               90 Minute Entry for proceedings held before Judge Joseph F. Bianco:Jury Trial as to
                              Joseph Valerio held on 11/12/2014, deft present in custody with retained counsel
                              Leonard Lato and Anthony LaPinta; AUSA Ameet Kabrawala and Allen Bode;
                              Michele Savona; govt summation, deft summationl govt rebuttal ( Jury Trial set for
                              11/13/2014 09:30 AM in Courtroom 920 before Judge Joseph F. Bianco.) (Court
                              Reporter Harry Rapaport and Owen Wicker.) (Bollbach, Jean) (Entered: 11/13/2014)
  11/12/2014               91 Redacted Indictment as to Joseph Valerio (1): Former count 1ss is now count 1rss.
                              Former count 2ss is now count 2rss. Former count 3ss is now count 3rss. Former count
                              4ss is now count 4rss. Former count 5ss is now count 5rss. Former count 6ss-13ss is
                              now count 16rss-13rss. Former count 15ss is now count 14rss. Former count 16ss is
                              now count 15rss. (Mahon, Cinthia) (Entered: 11/18/2014)
  11/13/2014               92 Minute Entry for proceedings held before Judge Joseph F. Bianco:Jury Trial as to
                              Joseph Valerio held on 11/13/2014; deft present in custody with retained counsel
                              Leonard Lato and Anthony LaPinta; AUSA Ammeet Kabrawala and Allen Body;
                              Michele Savona; jury trial ends; jury charged alts excused USM sworn and
                              deliberations begin; GUILTY VERDICT on conts 1-15 on the redacted indictment;
                              jurors polled; govt summation on forfeiture; deft summation of forfeiture; instructed
                              on criminal forfeiture allegations and deliberations begin; forfeiture verdict returned;
                              jurors polled and excused; sentencing date set for 5/15/25 at 1:30 pm (Court Reporter

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                                  Harry Rapaport and Owen Wicker.) (Bollbach, Jean) (Entered: 11/18/2014)
  11/13/2014               93 ORDER OF SUSTENANCE for 12 jurors for duration of trial (lunch) as to Joseph
                              Valerio. Ordered by Judge Joseph F. Bianco on 11/13/2014. (Bollbach, Jean) (Entered:
                              11/18/2014)
  11/13/2014               94 Court EXHIBIT LIST by Joseph Valerio (Attachments: # 1 A, # 2 D, # 3 E, # 4 F, # 5
                              G, # 6 H) (Bollbach, Jean) (Entered: 11/18/2014)
  11/13/2014               95 JURY VERDICT as to Joseph Valerio (1) Guilty on Count
                              1rss,2rss,3rss,4rss,5rss,6rss-13rss,14rss,15rss. (Bollbach, Jean) (Entered: 11/18/2014)
  11/13/2014               96 JURY VERDICT on Forfeiture as to Joseph Valerio (Bollbach, Jean) (Entered:
                              11/18/2014)
  11/18/2014               99 MANDATE of USCA (certified copy) as to Joseph Valerio. USCA MANDATE CASE
                              NUMBER 14-3376 (Gledhill, Rosemary) (Entered: 11/20/2014)
  11/20/2014             100 PRELIMINARY ORDER DIRECTING FORFEITURE OF PROPERTY as to Joseph
                             Valerio. See order for details.. Ordered by Judge Joseph F. Bianco on 11/20/2014.
                             (Bollbach, Jean) copies forwarded by chambers (Entered: 11/21/2014)
  11/27/2014             101 First MOTION for Acquittal pursuant to rule 29(c) by Joseph Valerio. (Lato, Leonard)
                             (Entered: 11/27/2014)
  12/04/2014             102 ORDER OF TRANSPORTATION for one juror for taxie. Ordered by Judge Joseph F.
                             Bianco on 12/4/2014. (Bollbach, Jean) (Entered: 12/04/2014)
  02/20/2015             105 NOTICE AFFIDAVIT of PUBLICATION, legal notice was published for 30
                             consecutive days on the government website, www.forfeiture.gov as to Joseph Valerio
                             (Bode, Allen) (Entered: 02/20/2015)
  04/21/2015             106 Proposed MOTION for Forfeiture of Property PROPOSED AMENDED
                             PRELIMINARY ORDER OF FORFEITURE. by USA as to Joseph Valerio. (Bode,
                             Allen) (Entered: 04/21/2015)
  04/24/2015             107 STIP AND AMENDED PRELIMINARY ORDER OF FORFEITURE as to Joseph
                             Valerio. Ordered by Judge Joseph F. Bianco on 4/24/2015. (Bollbach, Jean) certified
                             copies sent by clerk (Entered: 04/28/2015)
  07/28/2015             108 First MOTION to Continue Sentencing by Joseph Valerio. (Lato, Leonard) (Entered:
                             07/28/2015)
  07/30/2015             109 ORDER granting 108 Motion to Continue Sentencing as to Joseph Valerio (1)
                             Sentencing set for 9/30/2015 01:30 PM in Courtroom 1040 before Judge Joseph F.
                             Bianco.. Ordered by Judge Joseph F. Bianco on 7/30/15. (Bollbach, Jean) (Entered:
                             08/03/2015)
  11/05/2015              111 Second MOTION to Continue Sentencing by Joseph Valerio. (Lato, Leonard)
                              (Entered: 11/05/2015)
  01/04/2016             112 Third MOTION to Continue Sentencing by Joseph Valerio. (Lato, Leonard) (Entered:
                             01/04/2016)

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  01/08/2016             113 ORDER Granting 112 Motion to Continue Sentencing as to Joseph Valerio(1).
                             Sentencing set for 3/1/2016 at 10:00 AM in Courtroom 1040 before Judge Joseph F.
                             Bianco. So Ordered by Judge Joseph F. Bianco on 1/8/2016. (Ortiz, Grisel) (Entered:
                             01/14/2016)
  03/05/2016             115 Fourth MOTION to Continue Sentencing by Joseph Valerio. (Lato, Leonard) (Entered:
                             03/05/2016)
  03/07/2016             116 ORDER terminating 111 Motion to Continue Sentencing as to Joseph Valerio (1);
                             granting 115 Motion to Continue Sentencing as to Joseph Valerio (1) Sentencing set
                             for 5/3/2016 10:00 AM in Courtroom 1020 before Judge Joseph F. Bianco.. Ordered
                             by Judge Joseph F. Bianco on 3/4/2016. (Bollbach, Jean) (Entered: 03/08/2016)
  04/15/2016             119 ORDER as to Joseph Valerio Follows oral order of 9/3/14.For the reasons set forth
                             herein, defendant's motion to suppress is denied. SO ORDERED. Ordered by Judge
                             Joseph F. Bianco on 4/15/2016. (Savona, Michele) (Entered: 04/15/2016)
  05/03/2016             120 Minute Entry for proceedings held before Judge Joseph F. Bianco:Status Conference
                             as to Joseph Valerio held on 5/3/2016, deft present in custody with retained counsel
                             Anthony LaPinta and Lenny Lato; AUSA Allen Bode; Michele;( hearing set for
                             7/25/2016 10:00 AM in Courtroom 1020 before Judge Joseph F. Bianco.) (Court
                             Reporter E Combs.) (Bollbach, Jean) (Entered: 05/03/2016)
  07/11/2016             121 Letter concerning Fatico hearing scheduled for July 25, 2016 as to Joseph Valerio
                             (Kabrawala, Ameet) (Entered: 07/11/2016)
  07/15/2016             122 Letter requesting that the Court endorse the attached proposed protective order as to
                             Joseph Valerio (Attachments: # 1 Proposed Order) (Kabrawala, Ameet) (Entered:
                             07/15/2016)
  07/15/2016             123 Protective Order as to Joseph Valerio. IT IS HEREBY ORDERED that all material
                             produced by the government to defense counsel, pursuant to 18 U.S.C. § 3500 or
                             marked as exhibits, in connection with the evidentiary hearing scheduled to commence
                             on or about July 25, 2016 in the above-captioned case (the "Disclosures") may not be
                             copied or disseminated to anyone other than the deft and members ofthe defense
                             attorneys' staff, including support staff and any retained investigators. To the extent
                             that defense counsel determine that it is necessary to disseminate any of the
                             Disclosures to a staff member or investigator, such person must be advised of this
                             Order, made aware of his or her obligation not to copy or disseminate such material,
                             and be directed to return such material to defense counsel at upon completion of the
                             sentencing or appeal in this case. Further, upon completion of the sentencing and any
                             appeal in this case, all Disclosures and any copies thereof-whether in the possession of
                             the deft, defense counsel or members of the legal staff of defense counsel-shall be
                             returned to the government. IT IS FURTHER ORDERED that any violation of this
                             Order, as determined by the Court, will require, in addition to any other sanction
                             deemed appropriate by the Court, the immediate destruction of or return to the United
                             States of the Disclosures and any copies thereof. Ordered by Judge Joseph F. Bianco
                             on 7/15/2016. (Florio, Lisa) (Entered: 07/15/2016)
  07/18/2016             124 Letter to defense counsel enclosing pre-marked exhibits and Section 3500 materials in

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                                  advance of Fatico hearing scheduled for July 25, 2016 as to Joseph Valerio
                                  (Kabrawala, Ameet) (Entered: 07/18/2016)
  07/20/2016             125 Letter concerning witnesses for July 25, 2016 Fatico hearing as to Joseph Valerio
                             (Kabrawala, Ameet) (Entered: 07/20/2016)
  07/25/2016             126 Minute Entry for proceedings held before Judge Joseph F. Bianco:Evidentiary Hearing
                             as to Joseph Valerio held on 7/25/2016, deft continued in costody( Evidentiary
                             Hearing set for 9/26/2016 10:00 PM in Courtroom 1020 before Judge Joseph F.
                             Bianco.) (Court Reporter D Tursi.) (Bollbach, Jean) (Entered: 07/26/2016)
  09/19/2016             128 Letter to defense counsel enclosing supplemental disclosures in advance of Fatico
                             hearing scheduled for September 26, 2016 as to Joseph Valerio (Kabrawala, Ameet)
                             (Entered: 09/19/2016)
  09/26/2016             129 Minute Entry for proceedings held before Judge Joseph F. Bianco:Fatico Hearing as to
                             Joseph Valerio held on 9/26/2016 - deft present in custody with retained counsel
                             Anthony LaPinta and Lenny Lato; AUSA Allen Bode and Ameet Kabrawala,
                             witnesses sworn, Written submission to be submitted by 11/30/16, Government
                             response by 12/30/16. Sentencing to be submitted by 1/25/17 at 1:00 p.m. (Court
                             Reporter O Wicker.) (Bollbach, Jean) (Entered: 09/26/2016)
  11/29/2016             132 Letter MOTION for Extension of Time to File Defendant's Sentencing Memorandum
                             by Joseph Valerio. (LaPinta, Anthony) (Entered: 11/29/2016)
  12/12/2016             133 ORDER granting 132 Motion for Extension of Time to File as to Joseph Valerio (1).
                             Ordered by Judge Joseph F. Bianco on 12/12/2016. (Bollbach, Jean) (Entered:
                             12/13/2016)
  12/15/2016             134 Second MOTION for Extension of Time to File sentencing memorandum by Joseph
                             Valerio. (Lato, Leonard) (Entered: 12/15/2016)
  12/15/2016             135 ORDER Granting 134 Motion for Extension of Time to File sentencing memorandum
                             as to Joseph Valerio (1). Ordered by Judge Joseph F. Bianco on 12/15/2016. (Ortiz,
                             Grisel) (Entered: 12/16/2016)
  01/27/2017             136 Fourth MOTION to Continue Sentencing by Joseph Valerio. (Lato, Leonard) (Entered:
                             01/27/2017)
  01/27/2017             137 ORDER granting 136 Motion to Continue as to Joseph Valerio (1). March 6, at 10
                             a.m., for a sentencing-mitigation hearing, which will consist ofthe testimony of Dr.
                             Alan Sasha Bardey and Ms. Maura Gordon.* March 8 for submission of Valerio's
                             sentencing memorandum.* March 22 for the Government's response.* March 23 for
                             Valerio's reply.* March 29, at 1 p.m., for sentencing.. Ordered by Judge Joseph F.
                             Bianco on 1/27/2017. (Bollbach, Jean) (Entered: 01/30/2017)
  03/06/2017             138 Minute Entry for proceedings held before Judge Joseph F. Bianco:Evidentiary Hearing
                             as to Joseph Valerio held on 3/6/2017, deft present in custody with retained counsel
                             Lenny Lato, AUSA Allen Bode and Ameet Kabrawala, Michele, witnesses sworn,
                             hearing held, DEFENDANTS PAPER TO BE FILED BY 3/27/2017.
                             GOVERNMENT OPPOSITION DUE 4/10/2017. DEFENDANTS REPLY PAPERS,

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                                  IF ANY, DUE 4/17/2017. DEFENDANT CONTINUED IN CUSTODY ( Sentencing
                                  set for 5/4/2017 10:30 AM in Courtroom 1020 before Judge Joseph F. Bianco.) (Court
                                  Reporter P Lombardi.) (Bollbach, Jean) (Entered: 03/06/2017)
  04/06/2017             139 Fifth MOTION to Continue Sentencing by Joseph Valerio. (Lato, Leonard) (Entered:
                             04/06/2017)
  04/07/2017             140 ORDER granting 139 Motion to Continue Sentencing (scheduling order)as to Joseph
                             Valerio (1)April 17 for submission of Valerio's sentencing memorandum.* May 1 for
                             the Government's response. (A USA Kabrawala had previously asked Mr. La Pinta and
                             me for two weeks to respond to Valerio's submission.)* May 2 for Valerio's reply..
                             Ordered by Judge Joseph F. Bianco on 4/7/2017. (Bollbach, Jean) (Entered:
                             04/10/2017)
  04/21/2017             141 Sixth MOTION to Continue Sentencing by Joseph Valerio. (Lato, Leonard) (Entered:
                             04/21/2017)
  04/25/2017             142 SENTENCING MEMORANDUM by Joseph Valerio (Attachments: # 1 Exhibit
                             Forensic-Psychiatric Evaluation, # 2 Exhibit Letter) (Lato, Leonard) (Entered:
                             04/25/2017)
  04/28/2017             143 MOTION to Continue Sentencing by USA as to Joseph Valerio. (Kabrawala, Ameet)
                             (Entered: 04/28/2017)
  05/04/2017             145 ORDER granting 143 Motion to Continue Sentencing as to Joseph Valerio. Requet
                             granted. Sentencing is adjourned to June 6, 2017 at 1:00 p.m. (Ordered by Judge
                             Joseph F. Bianco on 5/4/2017.) (Fagan, Linda) (Entered: 05/09/2017)
  05/08/2017             144 SENTENCING MEMORANDUM by USA as to Joseph Valerio (Kabrawala, Ameet)
                             (Entered: 05/08/2017)
  06/01/2017             146 MEMORANDUM OPINION as to Joseph Valerio. For the reasons stated herein and
                             based on the Court's findings of fact, the Court intends to consider at sentencing the
                             defendant's physical and sexual assaults of Kalichenko and A.D. in connection with
                             the Section 3553(a) factors--namely, the defendant's history of extremely dangerous
                             and violent behavior towards other individuals, and the need to protect the public from
                             further crimes of the defendant. SO ORDERED. Ordered by Judge Joseph F. Bianco
                             on 6/1/2017. (Zbrozek, Alex) (Entered: 06/01/2017)
  06/06/2017             147 SENTENCING MEMORANDUM SUPPLEMENT by Joseph Valerio (Lato, Leonard)
                             (Entered: 06/06/2017)
  06/06/2017             149 Minute Entry for proceedings held before Judge Joseph F. Bianco:Sentencing held on
                             6/6/2017 for Joseph Valerio (1), Count(s) 1, 1s, 2, 2s, 3, 3s, 4, 4s, 5, 5s, 6s, 9rss-13rss,
                             dismissed on govts motion; Count(s) 14rss, The defendant is sentenced to:720 months
                             (60 years) Second Superseding Indictment. To be followed by lifetime of supervised
                             release with Special conditions of supervised release. see calendar. court makes the
                             following recommendation to the Bureau of Prisons: That the defendant be designated
                             as close as possible to Long Island. That the defendant receive treatment in jail. Fine
                             waived, SAF $1000.00, counts 9-13 dismissed.; Count(s) 14ss, dismissed on consent
                             of all parties (on jury trial calendar dtd. 11/4/14); Count(s) 15rss, The defendant is

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                                  sentenced to:720 months (60 years) Second Superseding Indictment. To be followed
                                  by lifetime of supervised release with Special conditions of supervised release. see
                                  calendar. court makes the following recommendation to the Bureau of Prisons: That
                                  the defendant be designated as close as possible to Long Island. That the defendant
                                  receive treatment in jail. Fine waived, SAF $1000.00, counts 9-13 dismissed.;
                                  Count(s) 1rss, The defendant is sentenced to:720 months (60 years) Second
                                  Superseding Indictment. To be followed by lifetime of supervised release with Special
                                  conditions of supervised release. see calendar. court makes the following
                                  recommendation to the Bureau of Prisons: That the defendant be designated as close
                                  as possible to Long Island. That the defendant receive treatment in jail. Fine waived,
                                  SAF $1000.00, counts 9-13 dismissed.; Count(s) 2rss, The defendant is sentenced
                                  to:720 months (60 years) Second Superseding Indictment. To be followed by lifetime
                                  of supervised release with Special conditions of supervised release. see calendar. court
                                  makes the following recommendation to the Bureau of Prisons: That the defendant be
                                  designated as close as possible to Long Island. That the defendant receive treatment in
                                  jail. Fine waived, SAF $1000.00, counts 9-13 dismissed.; Count(s) 3rss, The
                                  defendant is sentenced to:720 months (60 years) Second Superseding Indictment. To
                                  be followed by lifetime of supervised release with Special conditions of supervised
                                  release. see calendar. court makes the following recommendation to the Bureau of
                                  Prisons: That the defendant be designated as close as possible to Long Island. That the
                                  defendant receive treatment in jail. Fine waived, SAF $1000.00, counts 9-13
                                  dismissed.; Count(s) 4rss, The defendant is sentenced to:720 months (60 years)
                                  Second Superseding Indictment. To be followed by lifetime of supervised release with
                                  Special conditions of supervised release. see calendar. court makes the following
                                  recommendation to the Bureau of Prisons: That the defendant be designated as close
                                  as possible to Long Island. That the defendant receive treatment in jail. Fine waived,
                                  SAF $1000.00, counts 9-13 dismissed.; Count(s) 5rss, The defendant is sentenced
                                  to:720 months (60 years) Second Superseding Indictment. To be followed by lifetime
                                  of supervised release with Special conditions of supervised release. see calendar. court
                                  makes the following recommendation to the Bureau of Prisons: That the defendant be
                                  designated as close as possible to Long Island. That the defendant receive treatment in
                                  jail. Fine waived, SAF $1000.00, counts 9-13 dismissed.; Count(s) 6rss-8rss, The
                                  defendant is sentenced to:720 months (60 years) Second Superseding Indictment. To
                                  be followed by lifetime of supervised release with Special conditions of supervised
                                  release. see calendar. court makes the following recommendation to the Bureau of
                                  Prisons: That the defendant be designated as close as possible to Long Island. That the
                                  defendant receive treatment in jail. Fine waived, SAF $1000.00, counts 9-13
                                  dismissed.. (Court Reporter Paul Lombardi.) (Bollbach, Jean) (Entered: 07/21/2017)
  06/06/2017             150 JUDGMENT as to Joseph Valerio (1), The defendant is sentenced to:720 months
                             consisting of the following: 30 years on counts 1,2,3,6,7,8 and 14 to run concurrently
                             to each other; 20 years on counts 4 and 5, to run concurrently to each other and
                             consecutively to the other remaining counts; 10 years to run consecutively to all other
                             counts. To be followed by lifetime of supervised release with Special conditions of
                             supervised release. see calendar. court makes the following recommendation to the
                             Bureau of Prisons: That the defendant be designated as close as possible to Long
                             Island. That the defendant receive treatment in jail. Fine waived, SAF $1000.. Ordered
                             by Judge Joseph F. Bianco on 6/6/17. (Bollbach, Jean) (Entered: 08/01/2017)
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                                  by Judge Joseph F. Bianco on 6/6/17. (Bollbach, Jean) (Entered: 08/01/2017)
  06/16/2017             148 Letter enclosing redacted filings as to Joseph Valerio (Attachments: # 1 Trial
                             Transcript, # 2 7/25/16 Transcript, # 3 9/26/16 Transcript, # 4 Gov. Sentencing
                             Memorandum) (Kabrawala, Ameet) (Entered: 06/16/2017)
  07/31/2017             152 FINAL ORDER OF FORFEITURE as to Joseph Valerio.. Ordered by Judge Joseph F.
                             Bianco on 7/31/17. (Bollbach, Jean)copies distributed by chambers (Entered:
                             08/01/2017)
  08/01/2017             153 NOTICE OF APPEAL by Joseph Valerio as to 150 Judgment (Lato, Leonard)
                             Modified on 8/2/2017 (Landow, Concetta). (Entered: 08/01/2017)
  08/02/2017                      APPEAL FILING FEE DUE re 153 Notice of Appeal - Judgment; Please either come
                                  to the clerks office or mail the filing fee in the amount of $505.00. (Landow, Concetta)
                                  (Entered: 08/02/2017)
  08/02/2017                      Electronic Index to Record on Appeal as to Joseph Valerio sent to US Court of
                                  Appeals 153 Notice of Appeal -Judgment; Documents are available via Pacer. For
                                  docket entries without a hyperlink or for documents under seal, contact the court and
                                  we'll arrange for the document(s) to be made available to you. (Landow, Concetta)
                                  (Entered: 08/02/2017)
  08/23/2017             154 Certificate of Service by USM285 form - final order upon USMA dtd 8/2117
                             (Bollbach, Jean) (Entered: 08/28/2017)
  08/28/2017             155 USCA Appeal Fees received $ 505, receipt number 23467 as to Joseph Valerio re 153
                             Notice of Appeal - Final Judgment. (Landow, Concetta) (Entered: 08/28/2017)
  08/28/2017                      First Supplemental Electronic Index to Record on Appeal as to Joseph Valerio sent to
                                  US Court of Appeals 153 Notice of Appeal - Final Judgment Documents are available
                                  via Pacer. For docket entries without a hyperlink or for documents under seal, contact
                                  the court and we'll arrange for the document(s) to be made available to you. (Landow,
                                  Concetta) (Entered: 08/28/2017)



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                                                                 02/23/2018 14:28:17
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                                     Billable Pages: 28                    Cost:           2.80




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    UNITED STATES DISTRICT COURT
                                                                     *      APR OS
                                                                                9S 2014          *
    EASTERN DISTRICT OF NEW YORK                                     LONG ISLAND OFFICE
                                             - -X
                                                          S U P E R S
                                                          SUP         E D I N G
                                                                    SED
     UNITED STATES OF AMERICA                             I N D I C T M E N T
                                                                      MEN
             - against -                                  Cr. No   .14-094 (S-2) (JFB)
                                                               No.14-094
                                                          (T. 18, U.S.C., §§
     JOSEPH VALERIO,                                       2251 (a), 2251 (c), 2251 (e),
                                                                                       (e) ,
                                                           2252 (a) (1), 2252 (a) (2),
                        Defendant.                         2252 (b) (1), 2252 (a) (4) (B),
                                                           2252 (b) (2),
                                                                     (2) , 2253, 2 and 3551
                                                           et seq.; T. 21, u.s.c.,
                                                                               U.S.C., §
                                                           853 (p)
                                                               (p)))
                                 -   -   -   -       -X


    THE GRAND JURY CHARGES:

                                    COUNT ONE
                     (Conspiracy to Sexually Exploit a Child)

                1.     On or about and between April 1, 2012 and November

    1, 2012,    both dates being approximate and inclusive, within the

    Eastern District of New York and elsewhere, the defendant JOSEPH

    VALERIO,    together with others,                did knowingly and intentionally

    conspire to employ, use, persuade
                             persuade, induce, entice and coerce a minor,
                                                 I




    to wit: Jane Doe #1, an individual whose identity is known to the

    Grand Jury, to engage in sexually explicit conduct, for the purpose

    of producing one or more visual depictions of such conduct, knowing

    and having reason to know that such visual depictions would be

    transported and transmitted using a means and facility of interstate

    and foreign commerce and which were in and affecting interstate and
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                                                                                2

foreign      commerce,   which   visual     depictions    were   produced    and

transmitted using materials         that had been mailed,          shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more mobile telephones, digital cameras and

digital media disks,        and such visual depictions           were   actually

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251 (a) .

              (Title 18, United States Code, Sections 2251(e) and 3551

et seq.)

                                COUNT TWO
                     (Sexual Exploitation of a Child)

              2.   On or about and between April 1, 2012 and November

1,   2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere,             the defendant JOSEPH

VALERIO,     together with others,        did knowingly and intentionally

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign      commerce,   which   visual    depictions    were    produced   and
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                                                                                3

transmitted using materials        that   had been mailed,      shipped and

transported in and affecting interstate
                             <nterstate and
                             ~          an d fforeign
                                                   ·
                                               ore~gn commerce
                                                      commerce by any
                                                               by any

means, to wit: one or more mobile telephones, digital cameras and

digital media disks,       and such visual     depictions    were   actually

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign commerce.

                   ~8, United States Code, Sections 225~
            (Title 18,                                        225~ (e),
                                                    2251 (a), 2251

2 and 3551
      355~ et seq.)


                               COUNT THREE
                     (Sexual Exploitation of a Child)

           3.       On or about and between April 1, 2012 and November

~, 20~2,
1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #~,
         #1, to engage in sexually explicit conduct outside of the

United States
       States, its territories and possessions, for the purpose of
                I




producing one or more visual depictions of such conduct, intending

that such visual depictions would be transported and transmitted to

the United States, its territories and possessions, using a means

and facility of interstate and foreign commerce and mail, and which

visual depictions were actually transported and transmitted to the
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                                                                                     4

United States, its territories and possessions, using a means and

facility of interstate and foreign commerce and mail.

               (Title 18, United States Code, Sections 2251(c), 2251(e),
                                                                2251{e),

2 and 3551 et seq.)
              seg.)

                                 COUNT FOUR
                   (Transportation of Child Pornography)

              4.   On or about and between April 1, 2012 and November

1,   2012,   both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO,     together with others,         did knowingly and intentionally

transport and ship, using a means and facility of interstate and

foreign      commerce   and   in   and    affecting   interstate     and   foreign

commerce, one or more visual depictions, to wit: images depicting

Jane Doe #1 engaged in sexually explicit conduct, the production of

such visual depictions having involved the use of a minor engaging

in sexually explicit conduct, and such visual depictions were of such

conduct.

              (Title    18,   United     States   Code,   Sections   2252 (a) (1),
                                                                     2252(a)

2252(b) (1), 2 and 3551 et seq.)
                           seg.)

                                  COUNT FIVE
                        (Receipt of Child Pornography)

              5.   On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH
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                                                                                        5
VALERIO,    together with others,                 know1' ngly and intentionally
                                              did knowingly       intentionally
receive one or more visual depictions, to wit: images depicting Jane

Doe #1 engaged in sexually explicit conduct,                  using a means and

facility    of    interstate     and   foreign     commerce    and    which   visual

depictions had been mailed,            and shipped and transported in and

affecting interstate and foreign commerce, the production of such

visual depictions having involved the use
                                      USe of one or more minors

engaging in sexually explicit conduct and such visual depictions were

of such conduct.

            {Title
            (Title     18,   United    States     Code,    Sections    2252 {a)
                                                                            (a) {2),
                                                                                (2) ,

2252 {b)
     (b) {1),
         (1),    2 and 3551 et seq.)

                                 COUNT SIX
                 {Attempted
                 (Attempted Sexual Exploitation of a Child)

            6.      On or about January 23,          2012,    within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,     which    visual      depictions     were    produced    and

transmitted using materials            that    had been mailed,       shipped and
     Case 17-2371, Document 35, 03/05/2018, 2249736, Page29 of 230
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                                                                                6

transported in and affecting interstate and foreign commerce by any

means, including by one Or
                        or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251 (e), 2 and 3551

et seq.)

                                COUNT SEVEN
                 (Attempted Sexual Exploitation of a Child)

            7.      On or about January 24,     2012,   within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,    which   visual    depictions    were   produced   and

transmitted using materials        that   had been mailed,      shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,
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                                                                                7

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251 (e), 2 and 3551

et seq.)

                                COUNT EIGHT
                 (Attempted Sexual Exploitation of a Child)

            8.      On or about   March   28,   2012,   within   the   Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,    which   visual    depictions    were   produced   and

transmitted using materials        that had been mailed,         shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer,
                        computer and such visual depictions were
                                     I




actually transported and transmitted using a means and facility of
        Case 17-2371, Document 35, 03/05/2018, 2249736, Page31 of 230
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                                                                                8

interstate and foreign commerce and which were in
                                               •<n and affecting
                                                       affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251{a).
              2251(a).

               (Title 18, United States Code, Sections 2251 (e),
                                                            (e) , 2 and 3551

et seq.)

                                    COUNT NINE
                    (Attempted Sexual Exploitation of a Child)

               9.      On or about April 4, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,
                                                              #11

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce,      which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks    and    computer,     and   such    visual   depictions   were   actually

transported and transmitted using a means and facility of interstate
        Case 17-2371, Document 35, 03/05/2018, 2249736, Page32 of 230
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                                                                              9

and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section
                                                            section

2251 {a)
     (a) .


               (Title 18, United States Code, Sections 2251 {e),
               {Title                                       (e), 2 and 3551

et seq.)

                                 COUNT TEN
                 (Attempted Sexual Exploitation of a Child)
                 {Attempted

               10.   On or about July 16, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #11
                                                              #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce,      which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks    and    computer,   and   such    visual   depictions   were   actually

transported and transmitted using a means and facility of interstate
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                                                                             10
and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section
                                                            section

2251(a).
2251 (a) .

               (Title 18, United States Code, Sections 2251 (e), 2 and 3551

et seq.)

                                COUNT ELEVEN
                 (Attempted Sexual Exploitation of a Child)

               11.   On or about July 22, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce,      which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks    and    computer,   and   such    visual   depictions   were   actually

transported and transmitted using a means and facility of interstate
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                                                                           11
and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United states
                                               States Code, Section
                                                            section

2251 (a) .

              (Title 18, United States Code, Sections 2251 (e), 2 and 3551

et seq.)

                               COUNT TWELVE
                (Attempted Sexual Exploitation of a Child)

              12.   On or about September 6,    2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign      commerce,   which   visual   depictions   were   produced   and

transmitted using materials         that had been mailed,      shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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                                                                           12
interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).
              225l(a).

             (Title 18, United States Code, Sections 2251 (e),
                                                          (e) , 2 and 3551

et seq.)

                            COUNT THIRTEEN
              (Attempted Sexual Exploitation of a Child)

            13.   On or about September 27, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:
emploYt

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,   which   visual   depictions    were   produced    and

transmitted using materials       that had been mailed,       shipped and

transported in and affecting interstate and foreign commerce by any

                                       te~ephones, digital cameras,
means, including by one or more mobile telephones,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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                                                                           13
interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, united states
                                                       United States

Code, Section 2251(a).
              2251(a}.

             (Title 18, UnitedStatesCode,
             (TitlelS,  United States Code, Sections 2251 (e), 2and3551
                                            sections2251(e),   2 and 3551

et seq.)

                            COUNT FOURTEEN
              (Attempted Sexual Exploitation of a Child)

            14.   On or about December 12, 2013, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,   which   visual    depictions   were   produced    and

transmitted using materials       that   had been mailed,     shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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                                                                           14
interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States
                                                              states

Code, Section 225l(a}.
              2251(a).

            (Title 18, United States Code, Sections 2251 (e), 2 and 3551

et seq.)

                             COUNT FIFTEEN
                    (Sexual Exploitation of a Child)

            15.   On or about and between September 10, 2010 and January

19, 2011, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO did knowingly and intentionally employ,            use,   persuade,

induce, entice and coerce a minor, to wit:
                                      wit : Jane Doe #2
                                                     #2,, an individual

whose identity is known to the Grand Jury, to engage in sexually

explicit conduct, for the purpose of producing one or more visual

depictions of such conduct, which visual depictions were produced

and transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more digital cameras, memory cards and computer

equipment, and such visual depictions were actually transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce.

            (Title 18, united States Code, Sections 225l(a}, 225l(e)
                                                    2251(a), 2251(e)

and 3551 et seq.)
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                                   L....-----JI-
                                    A-35         - - -______
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                                                                               15
                            COUNT SIXTEEN
                  {Possession
                  (Possession of Child Pornography)

           16.   On or about January 28,        2014,     within the Eastern

District of New York, the defendant JOSEPH VALERIO did knowingly and

intentionally    possess    matter    containing     one     or   more   visual

depictions,   to wit:    images    in digital    files,    in and affecting

interstate and foreign commerce, and which visual depictions had been

mailed, and shipped and transported using a means and facility of

interstate and foreign commerce,           and which were produced using

materials which had been mailed, and so shipped and transported, the

production of such visual depictions having involved the use of one

or more minors engaging in sexually explicit
                                    explici t conduct, and such visual

depictions were of such conduct.

           {Title                                  2252{a) {4)
           (Title 18, United States Code, Sections 2252(a) (4) {B),
                                                               (B),

2252 {b)
     (b) {2)
         (2) and 3551 et seq.)

                   CRIMINAL FORFEITURE ALLEGATION

          17.    The    United    States    hereby   gives    notice     to   the

defendant charged in Counts One through Sixteen that,                  upon his

conviction of any of the charged offenses, the government will seek

forfeiture in accordance with Title 18, United States Code, Section

2253, of {a)
         (a) any visual depiction described in Section 2251, 2251A,

2252, 2252A, 2252B, or 2260 of Title 18, United States Code, or any

book, magazine, periodical, film, videotape, or other matter which
book/

contains any such visual depiction
                         depiction, which was produced, transported,
                                       J
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                                                                           16
                                                                           16

mailed,
mailed, shipped
        shipped or
                or received
                   received in
                            in violation
                               violation of
                                         of such
                                            such sections;
                                                 sections; (b)
                                                           (b) any
                                                               any

property, real
property, real or
               or personal,
                  personal,        constituting or
                                   constituting or traceable
                                                   traceable to
                                                             to gross
                                                                gross

profits
profits or
        or other
           other proceeds
                 proceeds obtained
                          obtained from
                                   from the
                                        the offense
                                            offense (s)
                                                    (s) of conviction;,
                                                        of conviction·

and (c) any property, real or personal, used or intended to be used

to commit or to promote the commission of the offense (s) of conviction

or any property traceable to such property,            including,   but not

limited to:

                 a.    One Apple Macbook Pro, serial number unknown;
                       one

                 b.    one   Dell laptop, serial number H7LQG31;

                 c.    One
                       one V
                           v Premier desktop computer, serial number

P80003011134;

                 d.    One 4 gigabyte SD Card, no serial number; and

                 e.    The real property and premises located at 3 High

Gate Drive, Smithtown, New York 11787, together with its re~pective

buildings,    appurtenances,     improvements,    fixtures
                                                  fixtures, t   attachments,
                                                                attachments I




easements and furnishings, designated as District 473400, Section

so,
50, Block 5 and Lot 23 on the Suffolk County Tax Map, and all proceeds

traceable thereto.
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                                                                              17

             18.   If any of the above-described forfeitable property,

as a result of any act or omission of the defendant:
                                          defendant;

                   a.   cannot   be   located upon   the    exercise    of   due

diligence;

                   b.   has been transferred or sold to, or deposited

with, a third party;

                   c.   has been placed beyond the jurisdiction of the

court;

                   d.   has been substantially diminished in value;

or

                   e.   has been commingled with other property which

cannot be divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 18, United

States Code, Section 2253
                     2253(b),
                          (b), to       seek   forfeiture    of   any    other
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                                                                            18

 property of the defendant up to the value of the forfeitable property

 described in this forfeiture allegation.

             (Title 18, United States Code, Section 2253; Title 21,

 United States Code, Section 853(p))

                                                A TRUE BILL



                                            {)JMJJ;&'.~v
                                            •   FOREPERSON


ck
~~E~
   (~
~~LYNCHcdt£ i"
  ORETTA~LYNCH
 UNITED STATES ATTORNEY
                               A-

 EASTERN DISTRICT OF NEW YORK
   #2014ROO151
F. #2014R00151
                 Case 2:14-cr-00094-JFB Document 37 Filed 04/09/14 Page 19 of 19 PageID #: 246

                             UNITED STATES DISTRICT COURT                                                     '

                                          EASTERN District a/NEW
                                                           ofNEW YORK

                                                       CRIMINAL DIVISION

                                   THE UNITED STATES OF AMERICA
                                                               against~




                                                        JOSEPH VALERIO,
                                                                                                 Defendant.


                                                        INDICTMENT
                                            225 I (a), 2251(c), 225
                         (T. 18, U.S.C., §§ 2251(a),                 I (e), 2252(a)(I),
                                                                2251(e),    2252(a)(1), 2252(a)(2),
                           2252(b)(I),
                           2252(b)(1), 2252(a)(4)(B), 2252(b)(2), 2253, 2 and 3551 et ~.;
                                                T. 21, U.S.C.,      853(P»
                                                        U.S.c., !i§ 853(p))
                                                                                                                  A-39




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                                   'f!JifJZIUUff          ______ _
                           -'f../.iJ.U.f!..JJL V_
                                        --rr - ------------------
                           _1/./~~L=---(;-----------                                   Foreman
                                                                                       Foreman



                               Filed in open court this ~                  day,
                                                                          _day,

                               of____________ A.D.
                                              AD 20 ____ _


                                                                                        Clerk


                               Bail. $ __________ _
                               Bail,$
                                                                                                                         Case 17-2371, Document 35, 03/05/2018, 2249736, Page42 of 230




                                      Kahrawala, Assistant U.S,
                             Ameet B. Kabrawala,           U.S. Attorney (718-254-6001)
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                                       INFORMATION SHEET
                                                                                  FIl.ED
                                                                                  FILED
                                                    COUV,$. d~fk~.f~~~~~~.N.V.
                             UNITED STATES DISTRICT COUVS,  d~f~~.f~~Wl,J9;~,N,V,
                             EASTERN DISTRICT OF NEW YORK*
                                                                                 APR QO 201~
                                                                                     00 2014
                                                                                                    *
J.
1.    Title of Case: United States v. Joseph Valerio, 14-CR-094UCIB!ji)ISLAND
                                                      l4-CR-094t[QB!'Q)ISLAND OFFICE

2.    Related Magistrate Docket Number(s): "'..,14_,_-""'M~J'---"'08,_,0'---------------
                                              14z:-:!!M:!'Jc-O"'S"'0'---_ _ _ _ _ _ _ _ _ __

3.                 __,1"'/2~8"'/2""0""'1'-'4
      Arrest Date: ----'1"-'/2""S"-'/2""0'-"1-'-4_
                                                 ____
                                                    ____
                                                       _ __

4.    Nature ofoffense(s):         ~ Felony
                                   D Misdemeanor

5.            Cases-- Title and Docket No(s~
      Related Cases                    No(s). (Pursuant to Rule 50.3.2 of the Local
      E.D.N.Y. Division of Business Rules):
                                    Rules):. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _          ___

6.    Projected Length of Trial:         Less than 6 weeks           ~
                                         More than 6 weeks           D

7.                                                       "-'N""as.,.s.,au!"'-"S""u""ffi~o,lk.____ _ _ _ __
      County in which crime was allegedly committed: N":'-"as"'s"'au!""'S"'u=fti"'ol"'k~_::__:____:_--­
      (Pursuant to Rule 50.
                        50.l(d)
                            I (d) of the Local E.D.N.Y. Division of Business Rules)

8.
S.    Has this indictment/information been ordered sealed?                   Yes ~ No
                                                                           DYes
                                                                           D

9.    Have arrest warrants been ordered?                                        ~No
                                                                           DYes I8J No

10.   Is there a capital count included in the indictment?                      ~No
                                                                           DYes I8J No


                                                              LORETTA E. LYNCH
                                                              'm~'T~TA ATTORNEY
                                                              UNIT  STA     ATTORNEY


                                                  By:
                                                                 -             Vr'
                                                              Assistant U.S. Attorneys
                                                              (718) 254-6001 I (631) 715-7828
       Case 17-2371, Document 35, 03/05/2018, 2249736, Page44 of 230
                                              A-41




                                  LEONARD LATO, ESQ.
                                    35 ARKAY DRIVE, SUITE 200
                                    HAUPPAUGE, NY 11788-3756
                                              _______

                                        TEL: (631) 655-5008
                                        FAX: (631) 300-4380
                                    EMAIL: leonardlato@yahoo.com



                                                              July 1, 2014

The Honorable Joseph F. Bianco
United States District Judge
Eastern District of New York
924 Federal Plaza
Central Islip, NY 11722

       Re:     United States v. Joseph Valerio
               14-CR-094-JFB

Dear Judge Bianco:

        The defendant Joseph Valerio moves to suppress his in-custody statements to law-
enforcement officers. Because Valerio has annexed an affidavit in which he states that he felt
that he had to answer the officers' questions, the Court must hold an evidentiary hearing.

The Valerio Affidavit

        According to Valerio, "On January 28, 2014, in the early morning, FBI agents and
detectives entered [his] house" and searched it. Valerio states that, "[a]t the dining room table,
the agents and the detectives questioned [him]." "Three of them were at the table" and "[t]wo
others stood behind [him]," Valerio asserts, while "[s]till others . . . search[ed his] house."
(Valerio Aff. ¶¶ 1-2.)

        Valerio recounts how one of the officers "was in [his] face a lot" and at one point said
that "[Valerio] was 'going to be in a very dark place.'" "Based on all the circumstances," Valerio
contends, including having to answer questions "about emails," Valerio "felt pressured, meaning
that [he] had to answer their questions." (Valerio Aff. ¶¶ 3-4.)

        "It was only some time after the questioning began that one of the agents or detectives
read [Valerio] an advice of rights form that [Valerio] signed." The advice of rights form came
too late. According to Valerio, "Based on the atmosphere, how things had already progressed,
[he] felt compelled to continue to answer their questions." (Valerio Aff. ¶¶ 4-5.)
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Applicable Law

        The Court must hold an evidentiary hearing on a motion to suppress statements where, as
here, the defendant has submitted an affidavit that "creates a specific factual dispute." United
States v. Mathurin, 148 F.3d 68, 69 (2d Cir. 1998). See also United States v. Fruchter, 104 F.
Supp. 2d 289, 308 (S.D.N.Y. 2000) (noting that "to create a factual dispute" the moving papers
must contain "sworn factual allegations from an affiant with personal knowledge"). At the
hearing, the government will have the burden of proving by a preponderance of the evidence that
Valerio received his "advice of rights" prior to the onset of custodial interrogation and that he
validly waived those rights and continued to answer questions. See, e.g., Colorado v. Connelly,
479 U.S. 157, 168-69 (1986); see also United States v. Richardson, No. 09–CR–874 (JFB), 2010
WL 5437206, at *3 (E.D.N.Y. Dec. 23, 2010) (observing that "the government has the burden of
proving by a preponderance of the evidence that the statement was made after a voluntary,
knowing and intelligent waiver [of] the defendant's Miranda rights").

        The custodial-interrogation test "is an objective one: whether a reasonable person in
defendant's position would have understood himself to be subjected to the restraints comparable
to those associated with a formal arrest." United States v. Newton, 369 F.3d 659, 671 (2d Cir.
2009) (internal quotation marks omitted). Law-enforcement officers seeking to question a
person must "administer warnings whenever they place a person under formal arrest or apply
restraints generally understood as comparable to those of a formal arrest." Id. at 672.
Determining when "custody" begins "necessarily involves considering the circumstances
surrounding the encounter with authorities." United States v. FNU LNU, 653 F.3d 144, 153 (2d
Cir. 2011). "Those circumstances," the Second Circuit has stated, include:

              [T]he interrogation's duration; its location (e.g., at the suspect's
              home, in public, in a police station, or at the border); whether the
              suspect volunteered for the interview; whether the officers used
              restraints; whether weapons were present and especially whether
              they were drawn; whether officers told the suspect he was free to
              leave or under suspicion.

Id.

        With respect to whether a defendant makes a valid waiver of his rights, Richardson is
instructive:

                       In Miranda v. Arizona, the Supreme Court determined that
              in order to combat [the pressures surrounding in-custody
              interrogations] and to permit a full opportunity to exercise the
              privilege against self-incrimination, the accused must be
              adequately and effectively apprised of his rights and the exercise of
              those rights must be fully honored. Accordingly, prior to the
              initiation of questioning, the government must inform a suspect of
              the [government's] intention to use his statements to secure a
              conviction, and must inform him of his rights to remain silent and

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               to have counsel present . . . if [he] so desires. Once an accused is
               apprised of these rights, he may waive them provided the waiver is
               made voluntarily, knowingly and intelligently.

                      . . . For a waiver to be voluntary, the waiver must have
               been the product of a free and deliberate choice rather than
               intimidation, coercion, or deception. In addition, for a defendant to
               make a knowing and intelligent waiver, he must have a full
               awareness of both the nature of the right being abandoned and the
               consequences of the decision to abandon it. However, the accused
               need not know and understand every possible consequence of a
               waiver of the Fifth Amendment privilege. Instead, the accused
               need only be aware that he may choose not to talk to law
               enforcement officers, to talk only with counsel present, or to
               discontinue talking at any time.

                       Whether a waiver is knowing and voluntary is a question
               directed to a defendant's state of mind, which can be inferred from
               his actions and statements. [And] . . . the question of waiver must
               be determined on the particular facts and circumstances
               surrounding [the] case, including the background, experience, and
               conduct of the accused.

Id. at *3-4 (alterations in Richardson and internal quotation marks and citations omitted).

Conclusion

       Valerio is entitled to a hearing.

                                                             Respectfully,

                                                             Leonard Lato
                                                             Leonard Lato

ec:    AUSAs Allen L. Bode & Ameet B. Kabrawala

       Anthony M. La Pinta, Esq.




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                                                                      1
                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK

  -------------------------------X

  UNITED STATES OF AMERICA,             :     14 CR 0094

            v.                          :     U.S. Courthouse
                                              Central Islip, N.Y.
  JOSEPH VALERIO,                       :
                                              TRANSCRIPT OF HEARING
                        Defendant.      :
                                              July 31, 2014
  -------------------------------X            2:00 p.m.

  BEFORE:

            HONORABLE JOSEPH F.      BIANCO, U.S.D.J.



  APPEARANCES:

  For the Government:        LORETTA E. LYNCH
                             United States Attorney
                             100 Federal Plaza
                             Central Islip, New York 11722
                             By: AMEET B. KABRAWALA, ESQ.
                                  ALLEN BODE, ESQ.
                                  Assistants, U.S. Attorney


  For the Defendant:         LEONARD LATO, ESQ.
                             ANTHONY LaPINTA, ESQ.




  Court Reporter:            HARRY RAPAPORT, C.S.R.
                             United States District Court
                             100 Federal Plaza
                             Central Islip, New York 11722
                             (631) 712-6105



  Proceedings recorded by mechanical stenography.
  Transcript produced by computer-assisted transcription.



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                                                                  2
 1                THE CLERK:   Calling case 14 CR 94, United States

 2     v. Joseph Valerio.

 3                Please state appearance for the record.

 4                MR. KABRAWALA:      Ameet Kabrawala for the United

 5     States, with Allen Bode.

 6                Good morning.

 7                THE COURT:   Good morning.

 8                MR. LATO:    Leonard Lato and Anthony LaPinta for

 9     Mr. Valerio.

10                Good morning.

11                THE COURT:   We scheduled today for a suppression

12     hearing.   Both sides ready to proceed?

13                MR. KABRAWALA:      Yes, your Honor.

14                MR. LATO:    Yes.

15                THE COURT:   By way of timing, may I ask how many

16     witnesses you anticipate today?

17                MR. KABRAWALA:      One witness.

18                THE COURT:   And do you anticipate to go as well

19     or you don't know whether you will have witnesses?

20                MR. LATO:    I do know, and we do not.

21                THE COURT:   All right, let's get started.

22                MR. KABRAWALA:      The government calls Steven

23     Troyd.

24                THE CLERK:   Please remain standing and raise

25     your right hand.


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                            Troyd-Direct/Kabrawala
                                                                     3
 1     S T E V E N      T R O Y D,

 2                   called as a witness, having been first

 3                   duly sworn, was examined and testified

 4                   as follows:

 5                THE CLERK:   Please state your name and spell it

 6     for the record.

 7                THE WITNESS:   My name is Steven Troyd,

 8     S-T-E-V-E-N, T-R-O-Y-D.

 9                THE COURT:   You may be seated.

10                Please pull your chair close to the microphone

11     and keep your voice up.

12                Thank you.

13

14     DIRECT EXAMINATION

15     BY MR. KABRAWALA:

16     Q    By whom are you employed?

17     A    I am employed with the Federal Bureau of

18     Investigation.

19     Q    What is your job title?

20     A    I'm a Special Agent.

21     Q    How long have you been a Special Agent with the FBI?

22     A    For approximately 19 years.

23     Q    Are you currently assigned to any particular unit or

24     squad?

25     A    I'm assigned to the violent crime squad C-41.


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                          Troyd-Direct/Kabrawala
                                                                     4
 1     Q    Generally speaking, in January 2014 what were your

 2     primary duties and responsibilities as a Special Agent on

 3     that squad?

 4     A    I was working the crimes against children

 5     investigations.

 6     Q    And as part of your duties and responsibilities, did

 7     you execute search warrants?

 8     A    Yes, I did.

 9     Q    And approximately how many search warrants have you

10     executed or participated in executing during your tenure

11     with the FBI?

12     A    Dozens.

13     Q    Now, I would like to draw your attention to

14     January 28th, 2014.

15                Were you working that day?

16     A    Yes, I was.

17     Q    Did you have any particular assignment that day?

18     A    I was assigned to execute a search warrant.

19     Q    Where was the search warrant to be executed that day?

20     A    At 3 High Gate Drive.

21     Q    Two words.

22     A    3 High Gate Drive, Smithtown, New York.

23     Q    And what kind of location was that?

24     A    3 High Gate Drive is a residential building and in a

25     residential community in Smithtown, New York.


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                            Troyd-Direct/Kabrawala
                                                                     5
 1     Q    And who resided, if anyone, who resided at that

 2     residential house?

 3     A    Mr. Joseph Valerio.

 4     Q    And generally speaking, how did the search warrant

 5     come about?

 6     A    The legal attache office in Kiev, Ukraine had

 7     received information from Olena Kalichenko, a Ukrainian

 8     citizen, that she had been involved with an American

 9     citizen named Joseph Valerio and she provided him child

10     pornography in exchange for cash.

11     Q    And did Kalichenko provide the FBI -- withdrawn.

12                 Did Kalichenko meet with FBI agents stationed in

13     Ukraine?

14     A    Yes.

15     Q    Did she provide FBI agents stationed in the Ukraine

16     with any material?

17     A    Yes, she did.

18     Q    What did she provide them with?

19     A    She provided copies of email exchanges between

20     herself and Mr. Valerio.

21     Q    Anything else?

22     A    Yes.

23                 She also provided a copy of a video that she had

24     sent to Mr. Valerio containing child pornography.

25     Q    And based upon Kalichenko's allegation, did you


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                            Troyd-Direct/Kabrawala
                                                                     6
 1     obtain a search warrant to search Valerio's residence?

 2     A    Yes, I did.

 3     Q    When was that search warrant issued?

 4     A    That search warrant was issued on January 27th, 2014

 5     by Magistrate Judge William Wall.

 6     Q    Of this courthouse?

 7     A    Yes.

 8     Q    What was the purpose of searching Valerio's

 9     residence?

10     A    We were searching for evidence of child pornography.

11     Q    At that time was there a warrant for Valerio's

12     arrest?

13     A    No, there was not.

14     Q    Was Valerio under indictment or criminal complaint in

15     any way?

16     A    No, he was not.

17     Q    Now, did there come a time when you executed the

18     search of Valerio's residence?

19     A    Yes, there was.

20     Q    When was that again?

21     A    That was on January 28th, 2014.

22     Q    I want to show you what is marked as

23     Government's Exhibit 1.

24                  (Handed to the witness.)

25     Q    Do you see that?


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                            Troyd-Direct/Kabrawala
                                                                     7
 1     A      Yes, I do.

 2     Q      What are we looking at?

 3     A      It is the front door of 3 High Gate Drive in

 4     Smithtown, New York.

 5     Q      Is that a fair and accurate depiction of the front

 6     door of that address as it looked on January 28th, 2014?

 7     A      Yes, it is.

 8     Q      Now, tell us, how did you arrive at that location?

 9     A      That morning between 5:15 and 6:00 a.m. we gathered,

10     the team had gathered at St. Catherine of Sienna's

11     Hospital in Smithtown, the parking lot, where I briefed

12     the members of the team before proceeding to the location.

13     At approximately 6:00 a.m. we departed the parking lot at

14     St. Catherine's and drove to 3 High Gate Drive.

15     Q      You mentioned a team.     What do you mean by that?

16     A      They are a team of twelve of us, including detectives

17     from Nassau and Suffolk Counties, and Special Agents of

18     the FBI.

19     Q      And to clarify, what was the team's primary duty that

20     day?

21     A      To secure entrance into the location and execute a

22     search warrant.

23     Q      How were you dressed that day?

24     A      It was a very cold morning, it had snowed a lot

25     previous to that day.    So we were wearing jackets and we


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                            Troyd-Direct/Kabrawala
                                                                     8
 1     had ballistic armor under the jackets and raid jackets

 2     that displayed the insignia of FBI or police, depending

 3     what department the people were from.

 4     Q    Were other members of your search team generally

 5     speaking dressed similarly that day?

 6     A    Yes.

 7     Q    And at some point did you approach the residence?

 8     A    Yes, we did.

 9     Q    What happened as you approached, if anything?

10     A    As we approached the residence, people went to their

11     assigned location, some in the front, some in the rear and

12     the sides.

13                  Then we knocked on the front door.    As we

14     knocked on the front door, I telephonically contacted the

15     residence.

16     Q    So you called the home?

17     A    Yes.

18     Q    Did Mr. Valerio answer the phone?

19     A    Yes, he did.

20     Q    What was discussed during that telephone

21     conversation?

22     A    I advised Mr. Valerio that we were the FBI and we

23     were there to execute a search warrant and he should open

24     the door.

25     Q    By the way, what time of day was this?


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                            Troyd-Direct/Kabrawala
                                                                      9
 1     A    This was at 6:00 a.m.

 2     Q    Did anyone ultimately answer the door?

 3     A    Yes.

 4     Q    Who answered the door?

 5     A    Mr. Valerio answered the door.

 6     Q    And what happened when Mr. Valerio opened the door?

 7     A    Mr. Valerio opened the door, and I entered and I

 8     spoke to Mr. Valerio.      I advised him we were there to

 9     execute a search warrant.

10                  I walked with him to the rear of the hallway,

11     away from the entrance of the door.         Strongly by the

12     knocking of the door, entered the building behind me, and

13     other agents who were there entered as well.

14     Q    I will show you what is marked as

15     Government's Exhibit 2.

16                  MR. KABRAWALA:   As a housekeeping matter, we ask

17     that Government's Exhibit 1 be entered into the record.

18                  THE COURT:   Any objection?

19                  MR. LATO:    No, your Honor.

20                  THE COURT:   Government's Exhibit 1 is in

21     evidence.

22                  (Whereupon, Government's Exhibit 1 was received

23     in evidence.)

24     Q    I'm showing you what is marked as Government's

25     Exhibit 2.


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                               Troyd-Direct/Kabrawala
                                                                        10
 1                    (At this time a document was exhibited on

 2     courtroom screen.)

 3     Q       What are we looking at?

 4     A       It is a photograph of the hallway at 3 High Gate

 5     Drive.

 6     Q       And is this past the front door?

 7     A       Yes.

 8     Q       And it is a fair and accurate depiction of what the

 9     hallway at 3 High Gate Drive looked like on January 28th,

10     2014?

11     A       Yes, it is.

12                    MR. KABRAWALA:    We ask that

13     Government's Exhibit 2 be entered into evidence.

14                    MR. LATO:    No objection.

15                    THE COURT:   Government's Exhibit 2 is admitted.

16                    (Whereupon, Government's Exhibit 2 was received

17     in evidence.)

18     Q       Can you point out -- withdrawn.

19                    After you walked through the door and entered,

20     what happened immediately after that?

21     A       When Mr. Valerio opened the door, I entered.         I

22     walked with him to the end of the hallway, which is the

23     area next to the zebra skin rug at the end of that wall.

24                    The next room there is what would be described

25     as a family room.        And we stood there at the base of the


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                             Troyd-Direct/Kabrawala
                                                                        11
 1     stairway while the rest of the search team conducted a

 2     sweep, a protective sweep of the rest of the residence.

 3     Q      How was Valerio dressed when you opened the door?

 4     A      Mr. Valerio was wearing pants, long pants, and a tank

 5     top.

 6     Q      Did law enforcement officers have their guns drawn

 7     when they entered the door?

 8     A      No.

 9     Q      Did you have your gun drawn?

10     A      No, sir.

11     Q      Did you see anyone carrying a long gun or a rifle or

12     a shotgun?

13     A      No.

14     Q      Now, you said that there was a sweep done.      What do

15     you mean by that?

16     A      When we execute search warrants, we secure the

17     premises by sweeping the rooms and closets.        We are

18     looking for people that may be hiding or may be a danger

19     to us or themselves.

20     Q      How long did that sweep take?

21     A      Approximately ten minutes, because it is a pretty big

22     house.   There are multiple bedrooms upstairs.       There is

23     actually a finished basement that has different rooms or

24     closets.

25                  The ground floor also has a separate movie room,


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 1     which is a very dark room, large, with large comfortable

 2     seating.

 3                    Then there is also a whirlpool room off the

 4     family room, and then there is the dining room and it

 5     looks like more of a formal living room, you know, in

 6     front of the house.

 7     Q       Were you with Mr. Valerio that entire time during the

 8     execution of the sweep?

 9     A       Yes.    I would say he was my responsibility in the

10     execution of the search warrant.

11     Q       Was there anything that you two discussed during that

12     time?

13     A       As I stood with him at the end of the hall, I asked

14     him if there was anyone else in the house so I could

15     advise the other team members as they were making the

16     sweep.

17                    He said, my girlfriend is upstairs.

18     Q       And ultimately was this other individual located in

19     the house?

20     A       Yes.

21                    When he told me that his girlfriend was

22     upstairs, and the other agents were clearing those rooms,

23     he indicated he was uncomfortable with men being upstairs

24     with her alone.

25                    They did in fact find his girlfriend, whose name


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                            Troyd-Direct/Kabrawala
                                                                     13
 1     is Jarmila Bereskova, J-A-R-M-I-L-A, I believe the last

 2     name is B-E-R-E-S-K-O-V-A.

 3     Q    Did there come a time -- withdrawn.

 4                  Was there anybody else other than law

 5     enforcement personnel and Ms. Bereskova and Mr. Valerio

 6     present in the house that morning?

 7     A    No.

 8     Q    Did there come a time when the security sweep was

 9     concluded?

10     A    Yes.

11     Q    What happened then?

12     A    At the conclusion of the security sweep I asked

13     Mr. Valerio if he would sit in the dining room and speak

14     to us.

15                  He said he would.    And we walked into the dining

16     room and sat at the table where we began our interview.

17     Q    Okay.

18                  Let me stop you right there and show you what is

19     marked as Government's Exhibit 3.

20                  (At this time a document was exhibited on

21     courtroom screen.)

22     Q    Showing you what is marked as Government's Exhibit 3,

23     what is this an image of?

24     A    The photograph of the dining room where we conducted

25     our dining room interview on January 28th.


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                            Troyd-Direct/Kabrawala
                                                                      14
 1     Q    Is this a fair and accurate depiction of what the

 2     dining room looked like on January 28th, 2014?

 3     A    Yes, it is.

 4                  MR. KABRAWALA:   The government asks that it be

 5     moved in evidence.

 6                  MR. LATO:    No objection.

 7                  THE COURT:   Government's Exhibit 3 is admitted.

 8                  (Whereupon, Government's Exhibit 3 was received

 9     in evidence.)

10     Q    So you said that -- withdrawn.

11                  Who was in the dining room when you spoke with

12     Mr. Valerio during this initial contact with him?

13     A    It would be myself, sitting at the far end of the

14     table against the wall.

15                  It would be Mr. Valerio at the head of the table

16     where the chairs are now.

17                  Next to him would be Detective Rory Forrestal of

18     the Suffolk County Police Department.     And he was the

19     chair with the jacket on it.

20                  In the chair next to it, Special Agent Danielle

21     Messineo was seated.

22                  And another person, Detective Badalucco from

23     Nassau County, was standing in the corner to the left of

24     Agent Messineo.

25     Q    Okay.


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                               Troyd-Direct/Kabrawala
                                                                     15
 1                    Was there anybody else in the dining room at any

 2     point during your initial meeting with Mr. Valerio?

 3     A       No.

 4     Q       You said that Detective Badalucco was also in the

 5     room?

 6     A       Yes.

 7     Q       And was he seated or standing?

 8     A       Standing in the corner.

 9     Q       Was he standing behind you, where you identified the

10     chair in which Mr. Valerio was sitting?

11     A       He was not there.     He was standing to the left of

12     Agent Messineo seated with the back to us.

13     Q       So the bottom left-hand corner of the picture here?

14     A       Yes.

15     Q       Was Detective Badalucco interacting with Mr. Valerio

16     in any way?

17     A       They did have some conversation.

18     Q       Was there anybody else standing immediately outside

19     this dining room area?

20     A       My supervisor, Dawn Smallwood, she was responsible

21     for the safety of Ms. Bereskova, who was seated in the

22     family room, and she was standing in the hallway between

23     the family room and the dining room with an eye on

24     Ms. Bereskova, and intermittently she would walk past the

25     door, but she was not involved in the interview process.


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                            Troyd-Direct/Kabrawala
                                                                     16
 1     Q    Did Agent Smallwood interact with the defendant in

 2     any way?

 3     A    No.

 4     Q    Do you recall speaking -- her speaking with the

 5     defendant in any way?

 6     A    No, I do not.

 7     Q    Now, during the meeting was anyone touching

 8     Mr. Valerio?

 9     A    No.

10     Q    Was Mr. Valerio restrained?

11     A    No.

12     Q    Was he handcuffed to either the table or any chair

13     there?

14     A    No, he was not.

15     Q    Was he clothed?

16     A    Yes, he was.

17     Q    Did any law enforcement personnel have any type of

18     weapon drawn on Mr. Valerio?

19     A    No.

20     Q    Was Mr. Valerio doing anything -- given anything to

21     eat or drink?

22     A    Yes.

23                  At one point during the interview he requested

24     water.     He was provided with a coffee mug of water from

25     the kitchen.


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                            Troyd-Direct/Kabrawala
                                                                     17
 1     Q    Can you see the mug in that picture?

 2     A    Yes.

 3                 It is somewhat in front of the chair where

 4     Mr. Valerio was sitting.      It is to the right of what looks

 5     like a Dunkin Donuts coffee cup.

 6     Q    And what happened during this initial meeting with

 7     Mr. Valerio?

 8     A    When we sat down, Mr. Valerio asked what this was

 9     about.

10                 We explained we were executing a search warrant

11     looking for evidence of child pornography.

12                 Mr. Valerio explained that he was being extorted

13     by a woman named Olena Kalichenko, and he had received

14     Viber chat messages.

15     Q    How do you spell that?

16     A    V-I-B-E-R.

17     Q    All right.

18     A    He had received the messages from Ms. Kalichenko

19     where he was to negotiate paying some money because she

20     was going to the police.      And furthermore she couldn't be

21     prosecuted because she was in the -- wasn't in the country

22     and the police couldn't do anything for her.

23                 He was dismayed of the fact that he didn't

24     understand how she got his email address on Viber.

25                 I'm not really familiar with Viber, so I don't


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 1     know what kind of contact you use with respect to a Viber

 2     message.    But he was dismayed she was able to find his

 3     email address.

 4     Q    In reference to Mr. Valerio's statement with respect

 5     to Ms. Kalichenko, did he say anything else?

 6     A    Yes.    He said he had contacted his attorney to speak

 7     with him in reference to the extortion by Ms. Kalichenko.

 8     Q    And did Mr. Valerio provide the name of that attorney

 9     during that initial meeting?

10     A    Yes.    He told us he had contacted Anthony LaPinta.

11     Q    And did Mr. Valerio ask at that point to speak with

12     Mr. LaPinta?

13     A    No.

14     Q    And did he ask to speak with any lawyer at that

15     point?

16     A    No, he did not.

17     Q    Did he say he would like to make phone calls to a

18     lawyer?

19     A    No, he did not.

20     Q    What else, if anything, happened during that meeting?

21     A    Well, during the interview I took a copy of an email

22     exchange between him and Olena Kalichenko, and I read him

23     an excerpt from that email.

24     Q    How did you come to have that email?

25     A    This was a copy of an email that was provided to


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 1     Assistant Legal Attache Peter Angelini.       It was provided

 2     to him by Olena Kalichenko.

 3     Q    I'm showing you what is marked as

 4     Government's Exhibit 4.      It is actually a two-page

 5     document.

 6                 MR. KABRAWALA:    I would like to approach the

 7     witness, your Honor.

 8                 THE COURT:   Fine.

 9                 (Counsel approaches the witness stand.)

10     Q    What is Government's Exhibit 4?

11     A    This is an email from Mr. Valerio to Olena Kalichenko

12     that was sent on July 22, 2012.      And this is the email --

13     copy of the email that I read an excerpt from to

14     Mr. Valerio.

15                 MR. KABRAWALA:    We move to have this exhibit

16     introduced in evidence.

17                 MR. LATO:    No objection.

18                 THE COURT:   Government's Exhibit 4 is admitted.

19                 (Whereupon, Government's Exhibit 4 was received

20     in evidence.)

21     Q    Now, with respect to this email, what, if anything,

22     did you say to Mr. Valerio?

23     A    In preparation for the interview, I had highlighted a

24     portion of this email so I could refer to it.       And I read

25     this section to Mr. Valerio.


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 1     Q    What section did you read to him?       Would you mind

 2     reading that aloud to the Court, please.

 3     A    Certainly.

 4                  I was actually able to see some girls cum in

 5     their pantyhose.     Speaking of which, I want video of you

 6     and Sofia.    Get her to play or eat, just eat your pussy.

 7     Q    What, if anything, did Mr. Valerio say about this

 8     email?

 9     A    I asked Mr. Valerio if he had in fact directed

10     Ms. Kalichenko to produce child pornography.

11                  He said he had.

12                  I asked him if he had received that pornography

13     in email.    And he said he did.

14     Q    Did he say he received any other pornography from any

15     other method?

16     A    I asked him if he received a DHL package that

17     contained a disk that was sent by Ms. Kalichenko.

18                  He claimed or admitted that he had in fact

19     received the package, but that he only recalled that it

20     contained bubble wrap.

21     Q    How did you know to ask him about a DHL package?

22     A    It was from the report written by

23     Special Agent Angelini who was interviewing

24     Ms. Kalichenko.

25     Q    That was based on Ms. Kalichenko's allegation?


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 1     A    Yes.

 2     Q    Now, after that, what happened next?

 3     A    After Mr. Valerio made those admissions, I decided,

 4     and I conferred with Special Agent Messineo, to speak to

 5     the U.S. Attorney's Office about authorizing a complaint

 6     for Mr. Valerio.

 7     Q    And what happened following that conversation with

 8     the U.S. Attorney's Office?

 9     A    I spoke to Assistant United States Attorney Allen

10     Bode and I advised him what occurred during the interview.

11     And he authorized the complaint.

12                  At that point I conferred with Agent Messineo

13     again, and we decided at that point we need to advise

14     Mr. Valerio of his Miranda rights.

15     Q    Showing you what is marked as Government Exhibit 5.

16                  (At this time a document was exhibited on

17     courtroom screen.)

18     Q    Can you tell us what this document is?

19     A    An FB advice of rights form signed by Mr. Valerio on

20     January 28th, 2014.

21     Q    Was it signed by anyone else?

22     A    Yes.    It was witnessed by myself and Detective Rory

23     Forrestal.

24     Q    And after the defendant was advised of his rights and

25     acknowledged his rights by signing this form which is


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 1     marked as Government's Exhibit 5, what happened next?

 2     A    At that point I provided Mr. Valerio with copies of

 3     two emails, one from July 17th and one from July 22nd,

 4     2012, that were copies of email exchanges between him and

 5     Ms. Kalichenko.

 6                 Mr. Valerio read those email exchanges and he

 7     did admit he had sent those.

 8                 MR. KABRAWALA:    As a housekeeping matter, we ask

 9     that Government's Exhibit 5 be entered as evidence.

10                 MR. LATO:    No objection.

11                 THE COURT:   Government's Exhibit 5 is admitted.

12                 (Whereupon, Government's Exhibit 5 was received

13     in evidence.)

14     Q    Was Mr. Valerio asked to sign or acknowledge or

15     initial any of the emails?

16     A    Yes.

17                 We asked him if he would sign the emails.     And

18     he declined.     And he explained that he wanted those videos

19     from Olena Kalichenko because he had sent her thousands of

20     dollars and he wanted something for his money.       And at one

21     point she had actually taken $1,600 from him for airline

22     tickets, which she never purchased, and she kept the

23     money.

24     Q    After that statement, generally speaking, what

25     happened next?


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 1     A    At that point I queued up a copy of the video that

 2     was sent from the Ukraine that Olena Kalichenko had

 3     provided, and I played a segment of the video on a laptop

 4     for Mr. Valerio.

 5     Q    What, if anything, happened when you played this

 6     segment of the video for Mr. Valerio?

 7     A    Mr. Valerio admitted that he recognized Olena

 8     Kalichenko and the child in the video.

 9                 But he stated he had not seen this particular

10     video, and he knew that because he did not recognize the

11     background in the video, and he had not seen that

12     background in the other videos that Ms. Kalichenko had

13     sent to him.

14     Q    I want to show you what is now marked as

15     Government's Exhibit 7.      And I know it is out of order

16     numerically:

17                 MR. KABRAWALA:    I will hand up a copy for the

18     Court, as well, as a courtesy copy.

19                 May I approach?

20                 (Handed to the Court.)

21     Q    Are you aware whether the defendant Joseph Valerio

22     filed an affidavit in connection with the proceedings here

23     today?

24     A    Yes.    I am aware.

25     Q    And I have given you what is marked as Government


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                            Troyd-Direct/Kabrawala
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 1     Exhibit 7 for identification.

 2                  Have you reviewed this?

 3     A    Yes, I have.

 4     Q    What is this document?

 5     A    This is Mr. Valerio's affidavit regarding what he

 6     believes happened that day.

 7     Q    Okay.

 8                  Referring to paragraph two, it says:    Quote, at

 9     the dining room table the agents and the detective

10     questioned me.     Three of them were at the table seated

11     with me.    Two others stood behind me.     Still others were

12     searching my house.     Close quote.

13                  Did I read that accurately?

14     A    Yes, you did.

15     Q    Were there two agents or officers or law enforcement

16     personnel standing immediately behind the defendant?

17     A    No, there were not.

18     Q    Was there anything physically in the dining room that

19     may have prevented that from occurring?

20     A    Prevented someone from standing behind him?

21     Q    Yes.

22     A    There was a table to his rear.       But there was an

23     opening to the kitchen directly behind him.

24                  But no one had been standing behind him.

25     Q    I will show you again what is marked as


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 1     Government's Exhibit 3.     It is a picture of the dining

 2     room that has been admitted in evidence, and the table

 3     that you were referring to.

 4                  (At this time a document was exhibited on

 5     courtroom screen.)

 6     Q    Is that the table that looks like it has some bottles

 7     on top of it?

 8     A    Yes.    It is like a small minibar type of table.

 9     Q    Turning back to Government's Exhibit 7 for

10     identification, referring to paragraph 3, I will read from

11     paragraph 3.

12                  It says:   Quote, an agent/detective who I

13     believe to be a computer expert said, among other things,

14     that I was, quote, going to be in a very dark place, close

15     quote.   He was low key in that he spoke in a soft voice.

16     But he was in my face a lot, period.       Close quote.

17                  Was there a computer expert present at the

18     dining room table during this initial meeting with the

19     defendant?

20     A    Yes.

21     Q    Who was that detective?

22     A    Detective Rory Forrestal from the Suffolk County

23     Police Department.

24     Q    Do you recall if Detective Forrestal said to

25     Mr. Valerio:     Quote, you are going to be in a very dark


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 1     place?

 2     A       No, I do not.

 3     Q       Anything to that effect?

 4     A       No.

 5     Q       Do you recall Detective Forrestal being in

 6     Mr. Valerio's face?

 7     A       No, not at all.

 8     Q       How was Detective Forrestal's demeanor during the

 9     meeting?

10     A       Very calm and poised, very friendly, developing a

11     rapport during the interview.         He was very professional.

12     Q       Can you describe Detective Forrestal's style of

13     questioning?

14                     MR. LATO:    Objection.

15                     THE COURT:   Sustained as to form.

16     Q       Can you describe how Detective Forrestal interacted,

17     if he interacted at all, with the defendant?

18     A       When Detective Forrestal interacted with Mr. Valerio

19     he was engaging and calm, discussing the facts of the case

20     with Mr. Valerio.

21     Q       Now, at some point -- you could put that exhibit

22     down.

23     A       Sure.

24     Q       At some point was the defendant advised he was being

25     placed under arrest?


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 1     A    Yes.

 2     Q    And approximately -- I'm not looking for a time --

 3     approximately when did that happen?

 4     A    At the conclusion of the interview when he asked to

 5     speak to an attorney, we decided to clean up the search

 6     warrant materials and collected the evidence and load it

 7     into the cars.

 8                 We didn't immediately tell him he was arrested

 9     at the conclusion of the interview because we wanted him

10     to remain seated and calm.      But once we had everything

11     concluded as far as the search warrant, we told him we

12     were going to arrest him and asked him to stand up and

13     allow us to put handcuffs on him, which he complied.

14     Q    Let me back up.

15                 Did you ask Mr. Valerio to sign any kind of

16     statement following that interview?

17     A    Yes.

18                 We did ask Mr. Valerio if he would sign a sworn

19     statement or sign a written statement after that -- during

20     the interview.

21     Q    And how did the defendant react to that question?

22     A    He declined to sign a statement, and he requested to

23     speak to his attorney.

24     Q    Did you continue to question him or speak with him

25     about any of the allegations of Ms. Kalichenko after the


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 1     defendant asked to speak with a lawyer?

 2     A    No.

 3     Q    So at some point you advised him he was under arrest,

 4     and that was after the search that was conducted?

 5     A    Yes.

 6     Q    And what happened next?

 7     A    We transported Mr. Valerio -- we walked him out of

 8     the house in a jacket because it was very cold and snow on

 9     the ground.    We put him in the car and we proceeded to

10     drive to the Central Islip courthouse here.

11                 And during that drive we stopped and we got

12     Mr. Valerio some juice to drink because it was still early

13     in the morning.

14     Q    Did you speak with Mr. Valerio in the car ride over

15     at all?

16     A    Yes.

17     Q    And how did that conversation come about?

18     A    When we asked him if he wanted something to drink, he

19     told us he did.

20                 As we spoke, the conversation turned to his

21     preference for women from eastern Europe, particularly

22     Russian, Ukrainian.

23                 He then began to tell me that Ukrainian women

24     are viewed negatively by other women in eastern Europe,

25     and women like his girlfriend, Jarmila Bereskova, is


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 1     Czechoslovakian and she is of a higher quality.       And the

 2     woman who had been extorting him, Ms. Kalichenko, had

 3     actually sent an email to him telling him she was talking

 4     to the FBI.    And in that email there was an email address

 5     that was supposedly belonging to an FBI agent he was

 6     speaking to.

 7                 He told me he provided that email address to his

 8     attorney, Anthony LaPinta, and Anthony LaPinta could not

 9     find or authenticate that email address.

10     Q    And at the conclusion of that car ride, was the

11     defendant brought to the federal courthouse here in

12     Central Islip?

13     A    Yes.

14                 Agent Messineo had purchased the juice and some

15     food for us.     When she came back to the car, we then

16     proceeded to drive directly to the courthouse and present

17     Mr. Valerio to the United States Marshal's Service.

18     Q    Now, I want to turn your attention to the next month,

19     February 2014.

20                 Did there come a time when the defendant was

21     initially released on bail and arrested on a second

22     occasion?

23     A    Yes, there was.

24     Q    What date was the defendant arrested again?

25     A    Mr. Valerio was arrested on the afternoon of


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                            Troyd-Direct/Kabrawala
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 1     February 24th, 2014.

 2     Q    Where did the arrest take place?

 3     A    We effected the arrest at a psychologist's office

 4     located on Route 110 located in Farmingdale, New York.

 5     Q    Upon arresting the defendant what, if anything,

 6     occurred?

 7     A    When I advised Mr. Valerio that he was being

 8     arrested, he complied with the handcuffing.       And he asked

 9     me what is this about,

10     Q    Did you tell him?

11     A    No, I did not.

12     Q    What happened immediately following the defendant's

13     arrest in February 2014?

14     A    At the office of the psychologist, two other agents

15     took custody of Mr. Valerio and drove him to the office so

16     that Agent Messineo and myself could speak to the

17     psychologist and let him know what happened, and then

18     traveled to the office to meet them.

19     Q    Was the defendant Mirandized?

20     A    Not at that point, no.

21     Q    Did there come a time he was Mirandized?

22     A    Yes, there was.

23     Q    And when was that?

24     A    When we arrived at the office, the Long Island

25     resident agency on Wellwood Street -- Wellwood Road --


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 1     sorry, Pinelawn Road.

 2                 We went into the interview room then where

 3     Mr. Valerio was waiting and advised him of his rights.

 4     Q    I'm showing you what is marked as

 5     Government's Exhibit 6.

 6                 (At this time a document was exhibited on

 7     courtroom screen.)

 8     Q    Do you recognize this document?

 9     A    Yes, I do.

10     Q    What is it?

11     A    This is the FB 395 advice of rights form that we use

12     to advise Mr. Valerio of his rights.

13     Q    Is it signed?

14     A    Yes.

15     Q    Who is it signed by?

16     A    It is signed by Mr. Valerio.

17     Q    Anyone else?

18     A    It is witnessed by myself and Special Agent Daniel

19     Messineo.

20     Q    Is it dated?

21     A    Yes.

22                 It is dated February 24, 2014.

23                 MR. KABRAWALA:    The government asks that this

24     exhibit be entered as evidence.

25                 MR. LATO:   No objection.


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 1                THE COURT:    Government's Exhibit 6 admitted.

 2                (Whereupon, Government's Exhibit 6 was received

 3     in evidence.)

 4     Q    After the defendant was Mirandized on this date,

 5     February 24th, 2014, what happened, if anything?

 6     A    Mr. Valerio asked me why he was being arrested.

 7     Q    Did you tell him?

 8     A    Yes, I did.

 9     Q    And in sum and substance what did you say?

10     A    I said that we had found additional evidence of child

11     pornography in the search warrant that occurred on

12     January 18th, and that -- and then I told him who the

13     victim in that case was.

14     Q    And who did you say the victim was?

15     A    The victim was his niece.

16     Q    What, if anything, did Mr. Valerio say at that point?

17     A    Mr. Valerio at that point said, I want to kill

18     myself.   I no longer have a family.

19     Q    By the way, we have -- you have spoken a lot this

20     morning about Joseph Valerio.

21                Do you see that individual sitting in the

22     courtroom here today?

23     A    Yes, I do.

24     Q    Please point him out by identifying an article of

25     clothing he is wearing.


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 1                 MR. LATO:    We will stipulate.

 2                 THE COURT:   The defendant stipulates the

 3     identification.

 4                 MR. KABRAWALA:    Nothing further.

 5                 MR. LATO:    Your Honor, may I have two minutes,

 6     no more?

 7                 THE COURT:   Fine.

 8                 MR. LATO:    Thank you.

 9                 (Whereupon, at this time there was a pause in

10     the proceedings.)

11                 MR. LATO:    I'm ready, your Honor.

12                 THE COURT:   Go ahead.

13

14     CROSS-EXAMINATION

15     BY MR. LATO:

16     Q    Special Agent Troyd, good afternoon.

17     A    Good afternoon, sir.

18     Q    The first warrant that you executed at Mr. Valerio's

19     house, you remember that day?

20     A    Yes, I do, sir.

21     Q    Is it fair to say it was January 28th of this year?

22     A    Yes, sir.

23     Q    Now, prior to that day, is it fair to say that you

24     had executed in your FBI career dozens of search warrants?

25     A    Yes.


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 1     Q    Is it fair to say the earliest you could have started

 2     the execution of that warrant was at 6:00 a.m.?

 3     A    Yes, sir.

 4     Q    Is it fair to say that you in fact began the

 5     execution at 6:00 a.m.?

 6     A    Yes, it was 6:00 a.m.

 7     Q    And based upon your experience in executing search

 8     warrants, is it true that the earlier the better?

 9     A    For safety procedures, yes.

10     Q    And is it also better if you want to get a suspect to

11     talk, to get him when he is half asleep or completely

12     asleep?

13     A    I don't think there is a way to tell if there is an

14     advantage with an individual.

15     Q    Based upon your experience in interviewing suspects,

16     has it been your experience that it is better not to give

17     them notice ahead of time?

18     A    Yes, there would be an advantage to that.

19     Q    Now, if you know the exact number, how many agents

20     arrived at Mr. Valerio's residence on January 28th to

21     execute that warrant?

22     A    Yes, I do know.

23     Q    How many?

24     A    There were a dozen agents -- a combination of agents

25     and detectives.


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                                 Troyd-Cross/Lato
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 1     Q      How many agents and detectives, and for simplicity

 2     sake I will just say law enforcement officers, entered the

 3     residence?

 4     A      All twelve.

 5     Q      Is it fair to say that Mr. Valerio opened the front

 6     door to let everyone in?

 7     A      Yes, he did.

 8     Q      Were all of you, all officers, in plainclothes?

 9     A      Yes.    There were no uniformed officers present.

10     Q      Was anyone wearing a vest that would say either FBI,

11     Suffolk County Police, or anything similar?

12     A      Yes.

13     Q      So it would be fair to say that it was immediately

14     observable that you were members of law enforcement?

15     A      Yes.

16                   It is a very good policy that we have that we

17     identify ourselves when we execute arrests or warrants.

18     Q      If you can, please confine yourself to my questions,

19     sir.

20     A      I apologize.

21     Q      Were any of the officers wearing bullet-proof vests?

22     A      Yes.

23     Q      Were the vests on the inside or the outside of any

24     logo that said FBI or police?

25     A      There would be both.


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 1     Q       Would it be fair to say that the vests were

 2     observable by people -- by passersby, that the people were

 3     wearing vests?

 4     A       Yes.

 5     Q       Now, was Mr. Valerio in the doorway or the vestibule

 6     when you first entered?

 7     A       When I entered he was standing at the doorway.       There

 8     is no vestibule.        It is one continuous hallway.

 9     Q       Did you or any other officer ask permission to enter,

10     or once he opened the door people or agents went to

11     wherever they wanted to go?

12     A       I immediately explained to Mr. Valerio that this was

13     a search warrant, and I walked with him to the end of the

14     hall so he would be out of the way of anyone entering the

15     house.

16     Q       So would it be fair to say that the other officers

17     proceeded without getting any permission from anyone in

18     the house?

19     A       No, we did not ask for Mr. Valerio's permission.

20     Q       Now, is it fair to say that the first thing, for

21     everyone's safety, the agents and the officers did was, it

22     was called a security sweep?

23     A       Yes.

24     Q       Do you remember about how long that security sweep

25     took?


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 1     A       Approximately ten minutes.

 2     Q       And would it be fair to say that the only thing of

 3     interest in that sweep was a woman in the bedroom?

 4     A       The only thing we found was a woman in the bedroom.

 5     Q       At the time of the sweep I'm saying, sir.

 6     A       Yes.    Everything was of interest from a safety

 7     perspective.

 8     Q       Did you find anything that could have been a

 9     potential threat to anyone's safety in the house at that

10     time?

11     A       There was a shotgun --

12     Q       Yes or no.

13     A       Yes.

14     Q       All right.

15                    In terms of the items did you find any firearms?

16     A       Yes.

17     Q       How many?

18     A       There was a shotgun.

19     Q       Where was it?

20     A       It was in an upstairs walk-in closet off the main

21     bedroom, the --

22     Q       Was it loaded or unloaded?

23     A       I don't know.     I didn't find it.

24     Q       Was there any other weapon or dangerous instrument,

25     according to your recollection, that you found in the


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 1     house that day?

 2     A    Aside from kitchen cutlery and things like that,

 3     there are no other weapons that I can speak of.

 4     Q    At any point did you or any of the other officers or

 5     agents ask Mr. Valerio's consent to do anything in the

 6     house?

 7     A    No.

 8     Q    And at some point you and other officers and

 9     detectives went into the dining room with Mr. Valerio; is

10     that correct?

11     A    Yes.

12     Q    And do you remember about what time that was?

13     A    Probably around 6:10 or 6:15 after we entered the

14     residence and conducted a security sweep.

15     Q    So it is your testimony that essentially immediately

16     after the security sweep was done the interview began?

17     A    In essence, yes.

18     Q    Now, while the interview was being conducted in the

19     dining room, is it fair to say that the search was still

20     continuing in other parts of the house; is that correct?

21     A    Yes.

22     Q    Is it fair to say that approximately eight other

23     agents or officers were participating in that search?

24     A    Yes.    At least seven.    Because my supervisor, Agent

25     Smallwood, was assigned to make sure that Jarmila


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 1     Bereskova was seated in the family room and not a danger

 2     to herself or anyone else

 3     Q    After the security sweep ended, was Jarmila allowed

 4     to move around the house after the security sweep or

 5     search was being conducted?

 6     A    No.

 7     Q    Was Mr. Valerio allowed to move around the house

 8     while the search was being conducted?

 9     A    No.

10     Q    Who took whom to the dining room?      Did Mr. Valerio

11     take you and the other officers, or did you and the other

12     officers take him?

13     A    No.

14                I just said to him would we be able to sit down

15     in your dining room and talk to you?

16                He consented and we walked together.     There was

17     no walking in there -- walking him in there.      He walked on

18     his own into the dining room.

19     Q    Is it fair to say it was your suggestion and he

20     consented; is that correct?

21     A    It was my request.

22     Q    Now, in terms of the arrangement in the dining room,

23     how many people were seated around the dining room table?

24     A    There were three of us seated with Mr. Valerio.

25     Q    How many chairs were there around the dining room


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 1     where everyone was sitting?

 2     A    I believe there were at least five chairs, but maybe

 3     as many as six.

 4     Q    Was there one agent or officer standing in the

 5     general vicinity?

 6     A    Yes.

 7     Q    Do you know whether there was any reason why that

 8     agent or officer didn't take one of the open seats?

 9     A    No, I don't.

10     Q    At any point during the interview was there an

11     officer behind Mr. Valerio or next to him?

12     A    No.

13     Q    Which agent or officer did most of the questioning?

14     A    That would be me.

15     Q    Is it fair to say that you did 90 percent of the

16     questioning?

17     A    I would say it was more like 60 or 70 percent of the

18     questioning.

19     Q    Is there a reason why you had several other members

20     of law enforcement in addition to yourself doing the

21     interview?

22     A    Yes.

23     Q    As far as you knew, did they have information

24     unavailable to you so they can frame the questions that

25     you could not frame?


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 1     A    They had experience in investigating this violation

 2     that I thought would be valuable and of assistance to me

 3     during the interview.

 4     Q    Now, when did you tell him of the interview's

 5     purpose?

 6     A    When did I tell Mr. Valerio?

 7     Q    Yes.

 8     A    Immediately.

 9     Q    Immediately upon entering the dining room, sir?

10     A    When we sat down and he inquired what this was about,

11     I explained to him it was a search warrant, looking for

12     evidence of child pornography.

13     Q    Now, at some point Mr. Valerio asked for some water;

14     is that correct?

15     A    Yes, he did.

16     Q    Now, this was his home; is that correct?

17     A    Yes.

18     Q    Yet he asked you if he could have some water; is that

19     correct?

20     A    Yes, he did.

21     Q    It would be fair to say that he was not free to leave

22     that dining room once that interview started; is that

23     correct?

24     A    Not fair to say.

25     Q    Well, while the search was being conducted, isn't it


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 1     a fair statement that you don't want anyone interfering

 2     with the search team?

 3     A    It is fair to say I wouldn't want anyone interfering

 4     with the search team.

 5     Q    So was Mr. Valerio free to walk around the house

 6     while the search was being conducted?

 7     A    He was not free to walk around the house during the

 8     search warrant.

 9     Q    Was he free to go back and forth from the kitchen to

10     get his own water?

11     A    No, he was not.

12     Q    Is there any room he was free to enter as far as you

13     remember?

14     A    The hallway.

15     Q    And that is the hallway adjacent to the dining room,

16     correct?

17     A    Yes.

18     Q    And other than that, would it be a fair statement

19     that he was not free to move about; is that correct?

20     A    He was not free to move about during the execution of

21     the search warrant.

22     Q    Now, before conducting the interview, you were aware

23     of certain emails that Mr. Valerio and Ms. Olena

24     Kalichenko had exchanged with each other; is that correct?

25     A    Yes, sir.


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 1                   MR. LATO:    One moment, please.

 2                   (Whereupon, at this time there was a pause in

 3     the proceedings.)

 4                   MR. LATO:    Your Honor, may I approach the

 5     witness about an exhibit?

 6                   THE COURT:   Yes.

 7                   (Counsel approaches the witness stand.)

 8     Q      Now, Special Agent Troyd, before conducting the

 9     warrant, were you aware of emails that Ms. Kalichenko and

10     Mr. Valerio had exchanged on or about July 17th, 2012?

11     A      Yes.

12     Q      And is it fair to say that based upon what your

13     investigation had revealed, at that point Mr. Valerio had

14     said in an email:       Quote, the videos you sent me by cell

15     phone camera are perfect, and there is no need for the

16     expense of another camera when you have done a terrific

17     job.

18                   Are you aware of that?

19     A      Yes, I'm aware of that.

20     Q      And are you aware that Mr. Valerio had also sent to

21     Ms. Kalichenko an email quoting, I want video of you

22     and -- the name is redacted -- Jane Doe.         Get her to play

23     for eat -- just eat your pussy.

24                   You are aware of that?

25     A      I'm aware of that.


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 1     Q    Special Agent Troyd, would it be fair to say that it

 2     was your intent that day to arrest Mr. Valerio no matter

 3     what the warrant revealed?

 4     A    No.    That was not my intent.

 5     Q    Based upon your experience, when you walked into that

 6     house you already had probable cause to arrest him?       Yes

 7     or no.

 8     A    No.

 9     Q    As far as you knew, the only thing you had probable

10     cause for was to search the house?

11     A    When we entered the house, the only thing we had

12     probable cause for was the search at that point.

13     Q    Were you aware prior to conducting the search of an

14     email or a text message on November 19th of 2013 -- let me

15     withdraw that.

16                 Prior to executing the search, were you aware of

17     a video that Mr. Valerio had received with an adult woman

18     engaging in sexually explicit conduct with a minor, say

19     about three years old?

20     A    Yes.

21     Q    When you walked into that house, you believed that

22     Mr. Valerio had been the recipient of that video; is that

23     correct?

24     A    I suspected that he might be.

25     Q    And that was based upon Agent Angelini's interview


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 1     with Kalichenko in the Ukraine?

 2     A     Yes.

 3     Q     And did you have any evidence that in fact

 4     Mr. Valerio had received that video at that point?

 5     A     The emails that I had suggested that he had received

 6     it.

 7     Q     Is it a fair statement that you wanted the warrant to

 8     see if in fact he had received that?

 9     A     Yes.    The warrant would have seen evidence whether he

10     had received them or not received them.

11     Q     Special Agent Troyd, isn't it a fair statement that

12     once you sat down at the table with Mr. Valerio, he was

13     not free to leave?

14     A     That is not true.

15     Q     He was free to leave insofar as to enter the hallway;

16     is that correct?

17     A     He could have entered the hallway to exit the house.

18     Q     Now, at some point early in the interview did

19     Mr. Valerio mention the name of an attorney?

20     A     Yes.

21     Q     And the attorney he mentioned was Anthony LaPinta; is

22     that correct?

23     A     Yes.

24     Q     You recognize the name -- recognized the name of

25     Anthony LaPinta at that time; is that correct?


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 1     A    Yes.

 2     Q    Is it a fair statement that you knew Mr. LaPinta

 3     practiced criminal law?

 4     A    Yes, I did.

 5     Q    Did you ask Mr. Valerio whether he wanted to speak to

 6     Mr. LaPinta?

 7     A    No, I did not.

 8     Q    Now, at some point during your interview with

 9     Mr. Valerio, did you read Mr. Valerio a portion of an

10     email that Olena Kalichenko had sent him?

11     A    Yes.

12     Q    About what time in the morning was that that you read

13     him that email?

14     A    I would say it was prior to the advice of rights.

15     Maybe 7:00 o'clock, 7:15.

16     Q    Well, it is a fair statement that the advice of

17     rights was about 7:55 a.m.; is that correct?

18     A    I would need to look at the document.

19     Q    I show you Government's Exhibit 5 in evidence.

20                 (Handed to the witness.)

21     Q    Does that refresh your recollection of the time?

22     A    Yes, sir.

23     Q    What time was it?

24     A    7:55 a.m.

25     Q    Once again, the security sweep ended about 6:10,


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 1     6:15; is that correct?

 2     A    Yes.

 3     Q    That is about when the interview started; is that

 4     correct?

 5     A    Yes.

 6     Q    So it was a little over an hour and a half into the

 7     interview that you first read Miranda warnings; is that

 8     correct?

 9     A    Yes.

10     Q    Is it fair to say that your FBI 302 report of the

11     interview does not contain everything that you and

12     Mr. Valerio talked about in that hour and a half?

13     A    It does not contain everything.

14     Q    Were you and the other officers talking to

15     Mr. Valerio most of the time during that hour and a half,

16     as opposed to there being long periods of silence?

17     A    We were speaking to him for most of that time.

18     Q    Then it would be a fair statement that your FBI 302

19     captured only a minority of the things that were discussed

20     in that hour and a half?

21     A    I would say it is a minority, yes.

22     Q    Now, the email you read to Mr. Valerio before

23     advising him of his Miranda warnings, is it fair to say

24     that you read this to him, and I quote:       I was actually

25     able to see some girls cum in their pantyhose, speaking of


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 1     which I want video of you and Sofia.        Get her to play or

 2     just eat your pussy.

 3                 Was that -- is it your statement that after

 4     reading that, Mr. Valerio was still free to leave?

 5     A    Yes, yeah.

 6     Q    After you read that video did Mr. Valerio admit --

 7                 THE COURT:   Read the email.

 8                 MR. LATO:    Yes, sorry.

 9     Q    After you read that email, did Mr. Valerio admit he

10     had sent the email to Ms. Kalichenko?

11     A    Yes.

12     Q    Did his admission come spontaneously or did you ask

13     him if he had sent it?

14     A    I asked him if he had directed Ms. Kalichenko to

15     produce the child pornography and whether he received it

16     by email, and he said yes.

17     Q    At that point with that admission did you have

18     probable cause to arrest Mr. Valerio?

19                 MR. KABRAWALA:    Objection.

20                 THE COURT:   What grounds?

21                 MR. KABRAWALA:    It is a legal conclusion and not

22     relevant to a fact finding determination.

23                 THE COURT:   I agree that it is a legal

24     conclusion.    But I think he is trying to explore the

25     witness' state of mind at the time and his actions based


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 1     on his state of mind.     So I will let him testify as to

 2     what he understands, but it is up to the Court --

 3                 MR. KABRAWALA:    Whether or not there is probable

 4     caution to arrest at that point doesn't bear on the

 5     defendant's state of mind or the circumstances.

 6                 THE COURT:   Not the defendant's state of mind.

 7     But he is trying to explore what the agent was doing and

 8     when, and that can potentially be impacted on whether he

 9     believed he had the authority to arrest at that point.        So

10     I will allow it.

11     Q    Do you remember the question, sir?

12     A    Yes.

13                 I believe at that point I decided I needed to

14     speak with the U.S. Attorney's Office and advise them as

15     to what Mr. Valerio had stated.

16     Q    Is it fair to say that after Mr. Valerio answered and

17     admitted that he had sent the email, it was now time to

18     contact the U.S. Attorney's Office; is that correct?

19     A    Yes.

20     Q    However, before contacting the U.S. Attorney's

21     Office, did you ask a followup question to Mr. Valerio

22     about a DHL package?

23     A    I would have to look at my 302 to refresh my

24     recollection.

25     Q    I will show you 3500-ST-4, and ignore my remarks,


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 1     please.

 2     A       Yes.

 3     Q       And see if that refreshes your recollection.

 4                    (Handed to the witness.)

 5     A       Yes.    He did admit he received the DHL package from

 6     Ms. Kalichenko.

 7     Q       My question to you, sir, is whether you asked him

 8     about the DHL package after you decided to call the U.S.

 9     Attorney's Office.

10     A       Well, the line of questioning was all one line of

11     questioning, and at the conclusion of the answer about the

12     DHL package is when I decided to speak to

13     Special Agent Messineo and then contact the

14     U.S. Attorney's Office.

15     Q       A moment ago, correct me if I'm wrong, you said it

16     was after his response to the email that you decided to

17     contact the U.S. Attorney's Office.

18                    Are you now saying it was after the discussion

19     about the DHL package?

20     A       The DHL package -- what I'm saying is the DHL package

21     conversation is all part of the conversation prior to

22     that.    And when we concluded that conversation, I decided

23     to contact the U.S. Attorney's Office.

24     Q       So if I understand the chronology, sir, Mr. Valerio

25     admits to having sent the sexually explicit email, the


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 1     interview continued about the DHL package, and then you

 2     decided to contact the U.S. Attorney's Office; is that

 3     correct?

 4     A    Yes.

 5     Q    And in fact you did contact the U.S. Attorney's

 6     Office at that point?

 7     A    Yes, I did.

 8     Q    About what time was that?

 9     A    That would be prior to 7:55 a.m.

10                 I actually went upstairs and made the phone call

11     because there was some issue of a lock box and a key.

12                 The lock box, I believe, was in the closet, and

13     Mr. Valerio told us that the key was hidden under some

14     sports memorabilia.     And I needed to let them know the key

15     was there while they were searching.

16                 I went upstairs and told them where that was.

17     And I was on the phone speaking to AUSA Allen Bode.         And

18     then I returned.

19                 So it was a space of time from 7:55 that I had

20     been out of the room doing other things.       Maybe ten,

21     fifteen minutes.

22     Q    After you read Mr. Valerio the advice of rights, did

23     he continue talking?

24     A    Yes, he did.

25     Q    And after that did you show him any emails that you


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 1     believed he had sent?

 2     A       Yes, I did.

 3     Q       And were these the same as the emails you had read to

 4     him earlier?

 5     A       One of the emails was the same email.       And another

 6     one was in the same timeframe as it was sent.

 7     Q       Which was the same that you recall?

 8     A       Do you mean which date?

 9     Q       No.

10                    Which of the emails that you showed him was the

11     same as the one you had read earlier in the interview?

12     A       I would have to look at the date of the email to

13     confirm.       One was the 17th of July.    One was the 22nd of

14     July.    But I would have to look.

15                    I believe -- I'm sorry, I can't say for sure

16     which is which.

17     Q       Would something refresh your recollection?

18     A       Yes.    If you showed me the email from the 17th, I can

19     tell you, or the 22nd.

20     Q       Would your complaint or the 302 help you, or the

21     search warrant in the case?

22     A       I would have to review the 302 to see if I designated

23     which one I read previously, but I don't believe that I

24     did.

25     Q       Well, I will show you 3500-ST-4 again and see if this


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 1     helps.

 2                   (Handed to the witness.)

 3                   MR. LATO:    About another five minutes, your

 4     Honor.

 5                   THE COURT:   Okay.

 6     A      This doesn't designate which email I read to him,

 7     sir.

 8     Q      Is it fair to say that Mr. Valerio declined to sign

 9     parts of the Miranda form?

10     A      Parts of the Miranda form?

11     Q      In other words, did he decline to initial it?

12     A      I don't believe we asked him to initial the Miranda

13     form, sir.

14     Q      Did he decline to sign or initial the emails that you

15     had shown him?

16     A      Yes.    He did decline to initial the email.

17     Q      When you say he declined, does that mean that you

18     asked him and he said no?

19     A      That's correct.

20     Q      At some point he said he didn't want to talk anymore;

21     is that correct?

22     A      He said he would like to speak to his attorney.

23     Q      Is that before or after he said he never saw that

24     video of Olena Kalichenko and the child?

25     A      That was after.


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 1     Q     On the way to the courthouse did he make any

 2     additional statements?

 3     A     Yes, he did.

 4     Q     Were they in response to questioning?

 5     A     Just conversation, not questioning.

 6     Q     What conversation was it in response to?

 7     A     We were speaking about his preference for Ukrainian

 8     and Russian women, or east European.

 9     Q     Is it fair to say that it was not in response to,

10     say, pedigree information?

11     A     Not at that point.

12     Q     As an experienced law enforcement officer, you know

13     that it is good to keep a person talking; is that correct?

14                MR. KABRAWALA:    Objection.

15                THE COURT:    Sustained as to form.

16     Q     Based upon your experience, did you want to continue

17     the conversation with Mr. Valerio in the car?

18     A     I don't see any negatives in it.     But if he wanted to

19     remain silent, it wouldn't have been a problem.

20     Q     Did Mr. Valerio say he liked Ukrainian women but that

21     Czechoslovakian women were of a higher quality?

22     A     I think he was implying he learned a lesson that

23     Ukrainian women were not as good as say -- even the

24     Russian women looked down at the Ukrainian women.       And the

25     Czechoslovakian women really don't like the Ukrainian


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 1     women.

 2     Q     Did he say anything about children?

 3     A     I don't believe he said anything about children.

 4     Q     Do you remember the second arrest of Mr. Valerio?

 5     A     Yes.

 6     Q     And once again he was advised of his Miranda rights?

 7     A     Yes, sir.

 8     Q     And you were aware, however, that he was already

 9     represented by counsel on the first arrest; is that

10     correct?

11     A     Yes, sir.

12     Q     And you nevertheless asked him questions?

13     A     The only questions we asked him were for booking,

14     processing questions.

15     Q     Didn't Mr. Valerio ask you a question why he was

16     being arrested?

17     A     Yes.

18     Q     And you answered him, correct?

19     A     Yes, I did.

20     Q     And you told him what it was for; is that correct?

21     A     Yes, I did.

22     Q     He said in substance that he was going to kill

23     himself; is that correct?

24     A     He said, I want to kill myself.

25     Q     Was that in response to something you said to him?


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 1     A      Yes.

 2     Q      What did you say to him?

 3     A      I told him that we had obtained additional evidence

 4     through the search warrant on January 28th, and that we

 5     had identified the victim.        And I told him who the victim

 6     was.

 7                   MR. LATO:   Nothing further.

 8                   MR. KABRAWALA:    Very briefly, your Honor.

 9

10     REDIRECT EXAMINATION

11     BY MR. KABRAWALA:

12     Q      You testified on cross-examination that Mr. Valerio

13     was not free to leave -- withdrawn.

14                   You testified on cross that Mr. Valerio was not

15     free to move about his house; is that correct?

16     A      That's correct.

17     Q      Why is that?

18     A      It is a safety concern when we are effecting a search

19     warrant, that no one can run around in the house.

20                   Number one, you can't let them walk into the

21     kitchen and take cutlery.        We also can't let them touch

22     evidence.      At that point the house is being seized, and we

23     are searching it.

24     Q      Did you ever tell the defendant that he was not free

25     to leave?


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 1     A     No.    I never did tell him.

 2     Q     Did the defendant ask to move around his house

 3     freely?

 4     A     Only at one point in the initial entry did

 5     Mr. Valerio attempt to walk up the stairs when the agents

 6     were clearing the rooms.

 7                  And I asked him to stay downstairs with me

 8     because it was not safe to do so.

 9     Q     Did Mr. Valerio indicate why he was wanting to go

10     upstairs at that time?

11     A     He was concerned with having his girlfriend alone

12     with the men that were upstairs.

13     Q     Was the defendant ever restrained in any way on

14     January 28th, 2014 while in the house prior to the

15     handcuffs being put on him?

16     A     No, he was not.

17     Q     Prior to being Mirandized -- withdrawn.

18                  On January 28th, 2014, after the defendant was

19     Mirandized, did you learn anything about whether or not he

20     had previously been arrested?

21     A     Yes.

22     Q     What did you learn?

23     A     That Mr. Valerio had been arrested previously for

24     forcible touching.

25     Q     Do you recall when that arrest was approximately, or


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 1     where it took place?

 2     A     I don't remember the date.      But I remember it took

 3     place at Splish Splash, the water park in the east end of

 4     the Island.

 5     Q     If I show you your 302, would that refresh your

 6     recollection as to when Mr. Valerio had stated he had been

 7     previously arrested?

 8     A     Yes.

 9     Q     I'm showing you what is marked as 3500-ST-4.         It is a

10     two-page report.

11                  (Handed to the witness.)

12     Q     After you have taken a look at that report, can

13     you -- do you recall when the defendant had indicated he

14     had previously been arrested?

15     A     Yes.

16                  He stated he had been arrested in 2005.

17                  MR. KABRAWALA:    Nothing further.

18                  THE COURT:   Anything further?

19                  MR. LATO:    No, your Honor.

20                  THE COURT:   You may step down, detective.

21                  THE WITNESS:   Thank you, your Honor.

22                  (Whereupon, the witness leaves the witness

23     stand.)

24                  THE COURT:   Does the government rest?

25                  MR. KABRAWALA:    The government rests.


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 1                THE COURT:    Does the defendant rest?

 2                MR. LATO:    Yes, your Honor.

 3                THE COURT:    My usual practice is to hear both

 4     sides if they wish.     I'm not requesting it.   But if you

 5     wish to have a post trial submission after the hearing,

 6     does the government wish to do that?

 7                MR. KABRAWALA:      Your Honor, it is the

 8     defendant's motion.     And we ask they respond first.

 9                THE COURT:    Mr. Lato, do you wish to put in

10     something in writing?

11                MR. LATO:    Not necessary, your Honor, unless

12     your Honor is requesting it, we rest on what we have done.

13                MR. KABRAWALA:      We will follow suit, Judge.

14                THE COURT:    All right.

15                As you know, we are scheduled for trial in

16     December and we are all prepared to proceed on that date?

17                MR. LATO:    Yes.

18                MR. KABRAWALA:      Yes.

19                THE COURT:    Do you wish to schedule a conference

20     then a couple of weeks from now?      Do you wish to have

21     early in September?

22                MR. KABRAWALA:      Earlier September, your Honor,

23     please.

24                September 3rd, your Honor, in the afternoon?

25                THE COURT:    In the afternoon?


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                                                                       60
 1                MR. KABRAWALA:     Yes.

 2                THE COURT:   1:00 p.m.

 3                MR. KABRAWALA:     That will work, your Honor.      It

 4     is acceptable.

 5                MR. LATO:    Excellent.   Thank you, your Honor.

 6                THE COURT:   I'm reserving decision on the

 7     motion, and I will probably issue a written decision

 8     before that date or enter it formally perhaps on the

 9     record on that date.

10                Obviously if there are any issues that come up

11     prior to that date, you can always request a conference

12     with the Court.

13                Anything else for today?

14                MR. KABRAWALA:     Not from the government.   Thank

15     you.

16                MR. LATO:    No, your Honor, thank you.

17                THE COURT:   All right.

18                Have a good day.

19

20                (End of the proceedings.)

21

22

23

24

25


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    evidence

    Government's Exhibit 2 was received in                   10

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    Government's Exhibit 3 was received in                   14

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    Government's Exhibit 4 was received in                   19

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32:6, 16-17, 20; 35:5;    33:18; 34:2, 21; 36:13;
                          41:11; 42:8, 21; 43:9;
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                                           A-116




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                                   YOIfR IIlGlITS




     YOIi have the tigbtto talk to a lawyufot a(tV!cc bcfwrl'wO ~y(JU any'luestions.
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     you bavethe tipt to batt a lawyec'with you dUJing~.

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      If ytJJ. ~ to ~ quetMru now without a la;yyu prea~ youhavc the ri&ht to S\QP
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      ~ II: any limo,                                                                                  \




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                                                                                  VALERIO 00015
               Case 17-2371, Document 35, 03/05/2018, 2249736, Page120 of 230
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  Angelinl. Peter M

  From :                              Angelini, Peter M. .Jr, <Peter.Angel ini@ic.f:;>i.govl>
  Sent:                               Tuesday, November 12. 2013 1:02 PM
  r ",                                Angelini. ?~tel M
 !iubjcct:                            FIN; A.'mas   passpcrt
 Altilch menlli;                      100:::'Jpg




 Fr om : Elena Kalichenk:> [kalchenkoes;QlmaU.ruJ
 Sent: Fricay, November 08, 2.013 7;48 PM
 To ; Angelini, P~ter M. :r.
 Subject: '=IN; Annas Pllssport




 From : jop vale rio !malllo:Joe\,cI5@uptonlh e.l1etl
 SC!nt: Tuesday, j uly 17, 2012 4:40 AM
 To : kolictlenkue s@m<til.ru
 Subject: FW' Ann,n (lllss.pon


 *** T*MOBILE ***                  MESSAGE           ****
-telene; now a re you oOlng 7 .. .Im glad your sare In Kiev ana I ni'lO sen[ you a Ten mesg earl ier
  to::lay. Di::! you get that? I got your videos which were very DEUCIOUS I ... I Just did n't
see the "ooms and bedroom, especially" when you stood in Turkey. Not a problem,
iM t r ;.fsting that YOU WERE Q..EAN IN TURKEY·" ... REI'1EMBER" its the: man tnat deliver:; t he d sea

 ann tre women harbors - ca rrys dll<1 stores the disease like (ood in the pant l)' 1
 You k no.N hnVl c:lpim or a man J am" and espeCiaJJy my 'i'lbl~ In rront Dr women,
 im as clean as a man                    can be.
 So I will trus t that you didn 't come in :ontact with anything Helena.
 I glad you heve scheduled ever(t hing to perfection.
It w il l be a re.ief to you im sure when you see ~
and y our Mother with a smiling face when they g~u.
Its tough to take t he time to send mesgs from
the Re<;art Hotel room. __not like slttlng on the be;,ch text emails. " I)(It have
to.md :he tim e.
r sec your making a valian t effort which ::;hows and tells me alot Morc about you i n your devo
tion. Tr.Jt wil! be key to o.Jr success.


The Videos ~' ou sent by cell phone camera are PERFECT" and there is NO need for t ne expense
    cf another came ra , w hen yeu have done u terrific job with the ceil phone c<lmcra.l have
i'J new cell phone which allows me to t ransfer yOLf video to ~WI and t he screen is bIgger
   te view. PIL S YOU can tl ilve erdless video t Ime per session with il cell phone ca~
far ill:> the SCRJPT"."d o the salle with our little S.      '5 DEUCIDU5 lmLE PUSSY "-
    you I(now i"'l tr.e tub!
the way you woul d e2t her s':! ~weet ... cf course PANTYHOSE AND -!G~T S .. . ,AS
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  you two dance. Place toys inside your PUSSY"
  and :,a\l9 our little         s..-
                             pull them out of your wet PL'SSY ... EMMi"i")
  T~II me how you loved when YOL ear her little pussy and how WET

 your PUS:~S!Y~V'""~::~~~~
 r ~old Y      DW I cant ~~ke hard luv to you ... as you eat our little " • •,,; cieiicou5 I:ttl
 e pussy      cant walt to :ry It too'\5o NO worries aboJt i!!
  $500 •                                 -        _J
   $1,300            . '"  ~ some CClsh Tuesday eve ... for your time making vjde~ with                                                 =I
 •    .. . tlmes at the pool showers aM dressing rooms etc. Buy your Mom a special
 gift and little S . . . . Ci big toy, doll or clothes. I cant wait to see you as well in Mia mi,
 YES abs·olutely! our ?Ians are on schedule for the end of juJy ... with the gratitude of }'our VISAI,
 The day before you do the videos ... at the pool,
 dressing Tr.EN with ~ ."LET ME KNOW AND 1 WILL INSTRUCT YOU HOW TO DO
 I want you to try to walk t opless in a womellS
 dressing room Dr pool chili,ging room and snower... trying to rub by (!ccldent your big IJSOOU5 T
 ITSn a you ng ladies face or back .. .1M YOUR PUSSY !S DRIPPING 1 BEn

 Great s:."IOOuHng aealn S'Neetl2" 1.... and thanks for Anna's ~ssort, she's beautiful lik~ YOU!!
 and want to have her here with US!. We C3n have the time of ou r l ives In NYC wtl1 her I!
 doing
 t he City VIA LIMO!! Oh la la!
 .... 50 SWEET! plus to hElve Sv.        with tne possibility of us being her egent!
 .... :ls ALL G:)OC !. J also have this girl Kristina from you r Country who 'las been
'lI'flttlng me for about 7 months and wants to come too. Her trlend tran slates for her.
J Will give you,her email, the friend who translates for her".
Then you can explain about the Eng lish
courses and there is a pc!:slbllJt~' for the girls to be AN 'AU-PAIR' to get into thi s coun\:ry.
! already spoke to this Au pair coordinator who got our Au-pair for A.-•. She said she would
cOrlsider some Ukr~ini~n Au-pair YOUNG LADIES! ... The company just has Estoni1!ln wome:n-
ju~l 3! - No Russia ns or Ukr;linians? ... 1 dont know WIlY?


Enjoy the safe arrivals of both your f-/,om and                       5-.,
                                                     and then get your Nom settled to relax                                             e
!sewhere thM the lIportment and then GCT THOSE VIDEO'S DONE· .. .sO SWEET! Tomorrow I
will w ire you some more cash late In the day. Remember"
~'our eel p10re camera wil l be good for ALL THE VIDEOS " ... YOU AND S. . . ., TrlE LOCKER
ROO MS , THE SHOWERS AT THE PO:)L
AND DRESS ING ROOMS ETC. "ITS EASY !
YOJ JUST TURN YOUR CELL PHONE CAMERA ON POINT IT AT YOUR SUBJECT" WOMAN , TEETIJ,
OR LITTLE Gi RL - AI!'-1 IT AS YOU NETEND TO BE
SP[AKING ON YOUR CELL PHONE ...AS YOU KEEP IT FILMING, WITH THE PHONE TO YOUR EAR" .
O K lillie rUI    ~'-'!II~   \.lilil ie r IIUVV, F.Y.!" (rU!   YUUI   il lrUIIII. ) Vell lhuuyhl ~lie VIIel~   ,..,r~YI , dlll???
bLol got her pe-Ied TODAY"." .Vlhew l what a cbse one". ' Seems you and Val are on 5':·1~ulf:! the
 same time of the month (smiling, wi nking) Net this time nDW for some beautiful babies for
at least another year or so· ....

 Be safe everywhere you all go and MANY PASSIONATE KISSES ALL OVER YOUR BODy.... Wi -:'H
MANY LITTlE NIBBLE KISSES FOR S_       !!! ... EmmmmiTIm Da! 1 love life!!!

 GOD BLESS" I

PS. I wil! cal! An na ... for sure"


Josepr, here is Anna s IMssp(Jrl and this is her phone nurn -380509418405 I a,                                               send ing
you today, S \lC ~ info I will forward to you tom.
                Case 17-2371, Document 35, 03/05/2018, 2249736, Page122 of 230
                                                          A-119




  From:                       Pc valerio' <joevaL"@opIonlinelitt>
 T():                         kalicbentcoes@mailru <kaIjc~o~1 N>
 5<0<                         712:21:0124 27:J4 PM
 Subject:                     FW- Re: Fwd · WHERFS s• • TNFOR.~1ATIO:-riII!l .. ANDTHE OTHER
                              SrlTrl-" ?m.. .. AND Sv...,'S INFO.


 first orr II"'Y mistake aDOvE! In the SUOJec! SpaCII . .Its Sveta s information 1 needed not        s.-(es
 of course I ~ant to stay In P\,.rsLtrt Of Sv..a and why NOT? wner yOu said she s 'it Img
 to MODel AND WORK here in NYL..Oid you s:n t hat or NOP!"' or dId 1 make that upi'?? ""'tat
 part 01 the dea l, jf and ~rl.n you arrive to MiamI or NY ... ttls need~ to be completed frorr
 Nlgir.ino to Qnd . Do you actually think Its ,,/I about the videos you AG~ED~ to do with your
 ColughtQr... VOUR CRAZYI. Th. milil'l /'G~Qn 1m giVing you ttlis chance to CQme and bUild II life
 t-ere" .. .IS SEO.USE YOU A,'lO S~ OFFER "1_·SOMETHING DIFfERENT' ... that my other glr::s do· ~
 ~.i!ve or can't ,upal., to me NOW" - So Its 5.         · and you that fItS that eQ'Jaticln3 •.. GOT rr
 So In order for 1..5 to continuE on this patt' ... YOU WIll SCAN THAT ,AGREEMENT SIGNED ANt;                   ,-,\1
10 "15 6'" 1QMORROWI. T~ ~reement wit! state that ycu are 9 vfng me pclrLal custody Cf
S_       .. slgr« b'l yllt;,5:) NO MATTER WHERE YOL. MA.,· GO•..I HAVE EQU,AL CUSTODY OF S_
....mr"rr W (!.l.. Sf LEGAL ANYWHERE IN THE WORLD". -·US MEANS : CAN COME TO ~Y or.~
COU"ITRY TO PICK HER UFO ... But 1m ~ure that wont !:lQ n«e5sary because yol. know we na ... £
agree-nent .. .AM Slnce~1Y Helena yOJ knc·w how pGli'oQrtul I am rrom here t:l El,lro~. So we
sna:1 CDntlnu~. Remember' I have .... LREADY ~ut d::..... n s..-, as my DEPENDANTI ... ilnd wrcw
on mil taxes, for t,e are I provl~ ~Er like a :lillug~t.r • SO SHE IS MINE" AS WEll AS .,.0 .......
I will cal that girt Anna tomorrow, so Please et ht' know. I fTlEflbolled I I'.~ nt her here as ....et
there are many hllmes and p·enty or KOOr'l HEREI ana Sl'\e s be<lu~,~1 to have a-ound for 1...5 e
ur YOJ r~ve th~ t:tlOi<"e Or brtnglng yOtir sl:;r:er A,n", ro NY? There 1'1,/8 here WOtJkI be ~ rMl ~~
corrp.:11K to Nhlffe they he NOvr .. .,anll "He wouo(! 00 trlem a JtlS~lce· both Anna al"ld Sveta. or <;>1;tw
Arm keepino them otf ~ ~trt!etS rrom duty lTlen' ..• he'"! wl~n morey IfI their pocket! and .... e OH t
dr@s~    th em tht way \'Ie IikQ. I haV"Q a ,enercus flgJre in mtqC to send llOU t:omorrtlw Hlny·· ""r~n Q
tcu~ I receive UlCIt scan signed ilgriement regarding ~ .. I ..... 11 send tne cash EARl Y"
ll"'lpor.ant Qucstkm, wnat happens if they deny yeur appllC.ations and ermance? - "NtIats rhe rert
pJun??

To keep Svw whc is 15 ntre5ted- end ill the ptctUI1! .. J (lEed more protos of her In eattll10 ..
Oi,d scme 0( 'ler In just Pantyhose coverir19 her ba e chest ... I KNOW, NO NUDITY"'."I have acre
thiS for a liVIng , P.us /'Ier Birth ~rtifiC!l~ J with lht-se po ~h ile YOIJr stl 111 KIeY ...Tell f> er Sd~'
St;I: Pies and lind Peantyho!e, lingerie. Va l ..... ent through the S.U"le thmg               thon;! ct 15
Jnd ;ust tights and pantyhose under her skirt Without ",nties.,J know ell                          as I had
-n,lrly i"ltcrvlew5 with 91rls who alme to my Intervlews ... JUST                A                A!l.O JUS-
IlA~HOSe]. J ..... o ~ ;]ctu.;Jliy uble to see 50rne girl! c\Jm" in                             vr   "..nl~n
WANT MORE VIOeO OF YOU AND ~ ,,,GET HER TO PLAY                                                      PUSSY
ANO SOME CEll. VIDEO OF THE BOTH Of YOU IN 'GHTS .. .1                                        ,Tr'J' to.,jr.     .:;
to ma ALL 8Y TOMORROW.

Spei!k to VOJ t:){ll()fTowl tl:1S;5ti




Joseph, 1 am glad that you are safely back to New York

Joseph. 1 dkl recieve all yeue meSSl:lges a nd I did answer to all of them!! i' I told you t!1a
need to put on my bank ac the amount enough to cover -ny round trip flight to Miami ~r(i·
Istanbul and back together with the acc:omodatlon preferably but at lel!l5t the flight, thclt wee;
my response to vcu .... .] guess you are not oetting 'T1Y messages ...... .


Joseph,   Sv" , is 15 as          yOJ remember and she currently h;:ls birth certificate, he. Pd~S p
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 she w'lf get when she turns 16 in winter according to the genera! laws In Ukraine, It wi ll be
 better for her to start travelling when she gets her passport cause currently she is a child .
 uftcrwards she wiil be making decisions by her own, r can get you her birth certificate if you
 want and a num ber If she stili Is a matter Of your interest.

81-B2 visa type and tourist, business and pleasure is the same visa type, the one I had
before which IS issued for 5 years and the officer at the customs determines the period one is
allowed to stay in the US without leaving the country and true, its usua lly 6 months, at least
it was always In my case when I was crossing the border. But the visa by itself is given for 5
years, US E:mbassy doesnt Issue visas fQr less period.

Joseph, 1 went to the pool yesterday, phones are supposed to be left in the lockers and are
not allowed to take either in the changing room or the swimm ing area, its forbidden! If I try
to bring it over secretly I risk to get into the jail by spying naked people which obviously is
not my target to achieve! The videos r made on my new cell I have to connect to the com
and the send t hem to you, I need a com with J3luetooth l Internet cafes here dont have this
opt;or. but I can do it from TurkeYI my laptop has"Bluetooth function, I made them which
means that I will send them to you of course.

Joseph, .~ really dont understand, you have expressed intentions to adopt my child and to
                                                                                                  ."'.

 b"'ing her asap to New York which I have successfully agreed on and have provided you an
 agreement! ri ght, r can even get you a signed one by me and scanned to your mail, no
 problem ...... but I do h(:3ve strong doubts that you actually need us ....... ! You were willing to
 wire me $1500 for my trip to Kiev which I initially thought was not crutlal from my po int of



                                                                 5_
v'ew and didnt express my burning desire to fly here but of course I did cause I accepted
your concition ..... . why did you ask me to fly in here, Joseph? Just to make erotic videos for
you, thats it???? What is the purpose you need us? To build the future with me and my
daughter, you are constantly saying that you want to adopt                 or you would use us for
 'i1aking erotis vi deos and cash them out.. ... ? I si ncereiy hope that I not'!!!l! The money you
have spent so far on my trip to Kiev was exactly enough to put on my account to show to the
EMbassy' and get my visa which was exactly what I have asked you for and the trip to Miami,
I do~t need a t rip to Miami by Itself, this is just an occasion to get visa, olus this money will
be used t purchase a ticket anyway after I recieve the cash. Instead you are choosing to
spend eXBlily t he same ammount to send me over to Ukraine to produce erotic videos for
you, whats the pOint, I dent understand? Joseph, I dont want to play any games with
anybody and you espesially, you see that I am not after the small cash from you or free trips
to Kev, I am looking for a man to build my future with and the future of my daughter, I
really thought that you are the right guy but am I mistaken????? How can you tell me that
you dent need me and 5 . . . . anymore just because I couldnt get you the pool videos? Whta
,s that you are after, just tell me honestly .......

By the way, I have managed to get a data base of few hundred Ukr ladies for dating bus but I
guess you dont need it .......

Looking forward for your final decision.

Kisses
'1eJena
God bless you!! !!!




           ... ,
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                                                                 1
                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NEW YORK

  - - - - - - - - - - - - - -      X
  UNITED STATES OF AMERICA         :   14-CR-094

          -against-                    US District Court
                                       Central Islip, NY
  JOSEPH VALERIO,
                    Defendant. :       September 3, 2014
  - - - - - - - - - - - - - - X        1:30 pm

          TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JOSEPH F. BIANCO
          UNITED STATES DISTRICT JUDGE

  APPEARANCES:

  For the Government:
                               BRIDGET M. ROHDE
                               United States Attorney
                               271 Cadman Plaza East
                               Brooklyn, New York 11201
                               By: AMEET KABRAWALA, ESQ.
                                    ALLEN BODE, ESQ.
                               Assistant US Attorneys

  For the Defense:             ANTHONY LaPINTA, ESQ.
                               LEONARD LATO, ESQ.




  Court Reporter:              Dominick M. Tursi, CM, CSR
                               US District Courthouse
                               1180 Federal Plaza
                               Central Islip, New York 11722
                               (631) 712-6108 Fax: 712-6124
                               DomTursi@email.com




          Proceedings recorded by mechanical stenography.
                   Transcript produced by CAT.

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                 Official US District Court Reporter
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                                                                       2
 1                (Call to Order of the Court.     Appearances noted

 2     as indicated above.)

 3                THE COURT:    Good afternoon.   I will note that

 4     Mr. Valerio is present.

 5                MR. KABRAWALA:    I am sorry about the delay, your

 6     Honor.   It had to do with scheduling.     We were supposed to

 7     be first --

 8                THE COURT:    That's okay.   Judge Wexler let us

 9     know you were delayed, so it is not your fault.

10                We had scheduled this is a status conference.        I

11     wanted to clarify a couple of things with respect to the

12     motion to suppress.

13                I have had a chance to review the transcript and

14     some of the issues from the hearing so why don't we deal

15     with that first.     We can address any other issues you want

16     to address after that.

17                I want to clarify, because I didn't make the

18     lawyers put in supplemental submissions after the hearing,

19     but the initial motion was to suppress the statements in

20     the home by Mr. Valerio, and then obviously at the hearing

21     there were statements that were made in the car after the

22     arrest and there were statements made on the subsequent

23     date, February 24.

24                The defense moved to suppress all those

25     statements.   Correct?


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                                                                       3
 1                MR. LaPINTA:   Yes.

 2                THE COURT:   And the government I guess --

 3                MR. LATO:    I'm sorry.

 4                THE COURT:   My question to the government

 5     relates specifically to the statement in the car.       But I

 6     guess I have two questions.       The first is, I'm not sure

 7     what the probative value would be of, this is referring to

 8     statements, the alleged statements regarding preference

 9     for Eastern European women and I guess some discussion

10     about contacting the FBI by Miss Kalachenko.

11                But putting aside the issue of whether they are

12     probative or not, I understand that the government is

13     seeking to utilize those statements.      And if they are, it

14     is unclear to me what legal theory you would be arguing,

15     because clearly the defendant had invoked at that point,

16     and the only conceivable theory would be a spontaneous

17     theory.

18                But I don't think there was any basis at the

19     hearing to conclude it was spontaneous because the agent

20     testified they were in conversation.      I think he didn't

21     say anything more than that.       So I don't know how the

22     government could argue it was spontaneous when the agent

23     simply said we were in conversation.

24                MR. KABRAWALA:    Your Honor, with respect to the

25     statements that were made in the car.      We are not relying


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 1     upon that statement at trial.     The reason that statement

 2     came out is, if you look carefully at the defendant's

 3     declaration, the government at first understood the

 4     declaration to be challenging the statement that was made

 5     in the home, but out of an abundance of caution what we

 6     did was, we introduced evidence about, not only the

 7     statements that were made in the home and the car, but

 8     also the subsequent date, the February arrest.

 9                The government does intend to elicit testimony

10     with respect to the statements made by the defendant in

11     his home on January 28, 2014, and the subsequent arrest,

12     in February of 2014, but not the statements that were made

13     in the car on the date of -- on the January date.

14                THE COURT:   Okay.    That is what I thought.

15     Thank you for clarifying that.

16                So is there anything else anyone wants to say

17     with respect to that motion?

18                MR. LATO:    No, your Honor.

19                THE COURT:   The government?

20                MR. KABRAWALA:    No, your Honor.

21                THE COURT:   I'm going to give you my ruling, the

22     bottom line ruling, because I have a jury waiting.       We

23     will issue a written opinion spelling out the reasons for

24     it.

25                But the motion to suppress the statements in the


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 1     home on January 28 is denied, as well as the motion to

 2     suppress the February 24 statement.

 3                And as I said, we will issue a written opinion

 4     with respect to that, but I want to give you the ruling so

 5     you have time obviously to prepare for purposes of trial.

 6                Any other issues we need to address today?

 7                MR. LATO:    Yes, there are.

 8                MR. LaPINTA:   Thank you, judge.

 9                Your Honor, there are just a few things that

10     need to be addressed.

11                First and foremost, we are requesting an

12     adjournment of this trial.     We are requesting a one-month

13     adjournment for the following reasons.

14                Our investigation and dealings with the

15     defendant, over the past couple of weeks in particular and

16     most recently in the past week, have revealed that there

17     is a very viable potential witness that is overseas that

18     we have been unable to communicate with and make

19     arrangements for that person's availability at this trial.

20     We believe that that person would be a material witness.

21                I cannot tell the court with any specificity at

22     this point whether we have made a decision to call her or

23     him or not.   I don't want the court to understand that

24     this is a witness that will definitely be available for

25     trial or not be available for trial, but I want the court


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                                                                          6
 1     to understand that the relevance and significance of this

 2     potential witness is compelling and, in our due diligence

 3     in representing Mr. Valerio, we are going to need more

 4     time to further investigate that witness.

 5                THE COURT:   What are you asking for, then?

 6     October 20?   27?   What are you asking for?

 7                MR. LaPINTA:   Well, in speaking to your clerk, I

 8     understand that you are starting a trial in October.       I

 9     know that because I was originally part of that case.          I

10     don't know what your availability is in October.

11     Actually, late October or November.      So I guess it depends

12     upon when the court is available.

13                THE COURT:   Let me see.   What is the

14     government's availability?

15                MR. KABRAWALA:    Your Honor, there is an

16     insufficient basis to adjourn the trial for the period of

17     time that has been requested.

18                This matter has been scheduled for the past five

19     months.   If you will recall, late April we scheduled the

20     trial for September 22.     As of last week, the parties were

21     prepared to move forward on that date.      Certainly, defense

22     has had ample opportunity to speak to its potential

23     witness, and there has been no representation that the

24     defendant actually will call this witness at the opportune

25     time.


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                                                                        7
 1                THE COURT:   Well, look.     I have no reason to

 2     doubt the representation made by Mr. LaPinta that they

 3     believe this witness may be material and that they need

 4     the testimony.    They have no incentive to postpone the

 5     trial for no reason.

 6                Mr. Valerio is sitting in jail, it is a

 7     relatively brief adjournment that they are requesting, so

 8     I don't think this is being done for any reason other than

 9     they need additional time to prepare his defense.       So I'm

10     going to grant the adjournment.

11                I just want to know from the government if you

12     have a trial conflict with another judge for late October

13     or early November.

14                MR. KABRAWALA:    No, judge.

15                THE COURT:   So why don't we put it down for

16     October 27.

17                MR. LaPINTA:   Yes.

18                THE COURT:   Okay.     If you could, fill out the

19     waiver until that date and say witness preparation is the

20     reason.

21                MR. LATO:    Yes, your Honor.   And to be specific,

22     if it is all right with your Honor, I'm actually putting

23     down, "securing a federal witness for the defense."

24                THE COURT:   That's fine.

25                Please have your client sign it.


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                                                                         8
 1                  MR. LaPINTA:   Your Honor, I have another issue,

 2     if I may.

 3                  THE COURT:   Sure.

 4                  MR. LaPINTA:   Judge, there was a -- I'm sorry.

 5                  (There was a pause in the proceedings.)

 6                  MR. LATO:    Your Honor?   Because of my schedule,

 7     is there any chance we could actually start the testimony

 8     on the 3d?    I'm okay to pick the jury on the 27th, but

 9     could we start on November 3?

10                  My understanding, in speaking with the

11     government this case, if we open on the 3d, we will

12     probably be concluded that week.

13                  THE COURT:   We don't need to pick the jury ahead

14     of time.    That just creates logistical problems for

15     jurors.    So just have the jury selection starting on the

16     3d.

17                  MR. LaPINTA:   November 3.

18                  THE COURT:   Yes.

19                  MR. LATO:    Thank you, your Honor.

20                  THE COURT:   Just change the waiver.

21                  MR. LATO:    Thank you.

22                  MR. LaPINTA:   I want to refer to a letter that

23     was filed --

24                  THE COURT:   Have your client initial the change

25     and the date.


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                                                                      9
 1                Go ahead.

 2                MR. LaPINTA:   Thank you.

 3                I want to make reference to a letter dated

 4     August 27, 2014, by Mr. Kabrawala that was filed ECF and

 5     actually deliberately cc'd to the court.      The letter

 6     addresses plea negotiations that we have engaged in.

 7                My position is, this letter filed and cc'd to

 8     the court, filed ECF and cc'd to the court, is a violation

 9     of Rule 11 in terms of the court's, for lack of a better

10     word, involvement in plea negotiations.

11                I am asking the court to consider, in light of

12     what is discussed in the letter, the fact that Mr. Valerio

13     is willing to avail himself to a plea, and it also

14     particularly addresses a term of incarceration that is

15     being contemplated regarding a plea.      We feel that that

16     information, that has been shared to the court at this

17     juncture, is a violation of Rule 11.

18                And in discussing this matter with our client,

19     our client has requested, and we respectfully request the

20     court to consider recusing yourself in light of your

21     knowledge of this information, the argument being that:

22     We are on the eve of trial; knowing that at this juncture

23     Mr. Valerio is willing to plead guilty and willing to

24     submit to a substantial term of incarceration will perhaps

25     make this court not the most suitable judge to oversee


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                                                                      10
 1     this proceeding that is about to happen.

 2                And I think more important and relevant is that

 3     in the event of a possible conviction, how is the court

 4     going to consider the knowledge that a 20-year determinate

 5     sentence being contemplated by Mr. Valerio, how would that

 6     be considered by the court when delivering a just sentence

 7     in your opinion.

 8                So we discussed this with the government this

 9     morning.   They have given us 5, 10 minutes ago a Second

10     Circuit case that has interpreted that particular rule.

11     The case is United States v Paul.

12                MR. BODE:   I'm handing up a copy to the court as

13     well.

14                MR. LaPINTA:   I don't know if the court is aware

15     of the case offhand.    You are probably just getting it for

16     the first time in front of you.

17                The Paul case is factually completely different

18     from this scenario.    That is a case that involved the

19     court making comments on a bail application regarding

20     certain considerations of sentencing and how long a plea

21     offer should be outstanding, and it basically involves a

22     judge's statements and the allegation that the court was

23     coercing the defendant into taking a plea.      And it also

24     involved a defendant pleading guilty pursuant to a

25     bargained-for plea agreement.


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                                                                      11
 1                  That is not the case here.      This case is slated

 2     for trial.    This case will most definitely proceed to

 3     trial.   And this looming issue, regarding whether the

 4     court is potentially impacted by the contents of this

 5     letter, is of concern to Mr. Valerio and has prompted this

 6     request that I'm making now.

 7                  THE COURT:   Mr. Bode.

 8                  MR. BODE:    Yes, your Honor.

 9                  Your Honor, the government's rejection of a plea

10     entreaty by the defendant, the government is required to

11     create a record we believe pursuant to the recent Supreme

12     Court cases.

13                  This is not filing it on ECF and providing the

14     court a courtesy copy.      It is not participation.

15                  Mr. LaPinta indicated involvement by the court.

16     That is not what the rule says.       The rule specifically

17     prohibits the court's participation in these discussions.

18                  The Paul case is the leading Second Circuit case

19     on this.   Paul discusses the reason for the rule against

20     the court participating in the discussions.        That is the

21     quote on page 671 of Paul, that inevitably carries with it

22     the high and unacceptable risk of coercing a defendant to

23     accept a proposed agreement and plead guilty.

24                  Her are a number of problems with the defense

25     argument here, one of which is, there is no plea offer.


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                                                                      12
 1     This is the government rejecting a plea entreaty.       The

 2     government has indicated the defendant has until this

 3     Friday, which is our current plea agreement offer

 4     outstanding, which is simply the defendant pleading guilty

 5     to one count.     And I don't ask the court to participate in

 6     these discussions.

 7                And I would ask the court to refrain from

 8     indicating an opinion one way or the other, and I know

 9     your Honor would do that in any event.       But that is the

10     only record that is available until Friday.

11                The defendant made a -- defense made an entreaty

12     to the government about this.      The government wanted to

13     place that rejection clearly on the record so that, after

14     the case is over, should Mr. Valerio be convicted at

15     trial, he can't come forward and say I wanted this

16     disposition, I asked my attorneys to go to the government

17     with this, they didn't do so.      It is to protect all the

18     parties pursuant to the recent Supreme Court cases.

19                When this was raised to the government, the

20     government, via email prior to the filing of the letter,

21     informed the defense that we were not authorized to enter

22     into such an agreement as the defense was proposing and

23     that we indicated by the email, Mr. Kabrawala indicated I

24     will file a letter formally memorializing this email.

25                The government then waited until the next day


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                                                                      13
 1     and filed the very letter that defense counsel is

 2     complaining about.     So we indicated to the defense we were

 3     going to memorialize this to protect the parties.

 4                I would submit there is clearly no basis for

 5     recusal, your Honor.     The recusal standard, in Section 455

 6     of Title 28, indicates that the court should disqualify

 7     itself from a proceeding where impartiality might

 8     reasonably be questioned.      Clearly, the memorialization of

 9     the rejection of this in no way affects the court's

10     impartiality.

11                That is no different, I submit, than last week

12     in the bail application where the court reiterated its

13     findings regarding the strength of the government's case.

14     No different than that.

15                All the case law -- there is no case law -- I

16     have only looked for ten minutes because the defense just

17     raised this; there is no case law we can find whatsoever

18     that informing the court where parties stood is court

19     participation.     Rather, all the cases that I could see are

20     cases where courts are exhorting defendants to plead

21     guilty or to accept a plea, inquiring about the plea,

22     participating in the plea.      Simply informing the court is

23     not sufficient, is not violative of the rule, and we think

24     it is required under the cases.

25                THE COURT:    This is not a difficult issue for


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                                                                      14
 1     the court to address.

 2                First of all, prior to the Supreme Court's

 3     decision last year, the government typically wouldn't file

 4     these types of letters, but they have, as a result of that

 5     case, in number of my cases been either filing letters or

 6     placing on the record orally what the plea offers have

 7     been and what the defendant's response to those offers

 8     have been, for precisely the reason that Mr. Bode

 9     indicated, which is that defendants are now claiming on

10     habeas petitions that they should receive a hearing or

11     some type of relief because an offer or a counteroffer was

12     not communicated by their lawyer to them, or to the

13     government for that matter.

14                So that is why the government is doing this in a

15     number of their cases.    And I don't think it is improper,

16     in light of what the Supreme Court has said, to

17     memorialize it, place it on the record, so that there

18     can't be any claim that that something has been not been

19     communicated by the lawyer to the defendant.

20                In terms of their impact on the court, having

21     the government place on the record their offer or response

22     to that offer has absolutely no impact on the court in

23     this case or any case.    It does not affect my ability to

24     be fair and impartial in any way, including at the end.

25     That means absolutely nothing to me.      They are sending it


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                                                                       15
 1     to me, but I think they are doing it so that there is a

 2     clear record, and I don't think there is anything improper

 3     about that.

 4                But to the extent your client is worried that it

 5     will affect my ability to be fair and impartial in the

 6     case, or, if he is convicted, at sentencing, he can rest

 7     assured that it swill have zero impact because I have no

 8     interest in it at all.     I am not participating in it in

 9     any way.   I'm aware of it but it has no impact on me.         It

10     means nothing.    Okay?

11                MR. LaPINTA:    Thank you, your Honor.

12                I think all I will say with regard to that is,

13     and I am sure you appreciate this very much, as advocates

14     sometimes we are put in difficult situations and awkward

15     situations to make certain arguments.

16                THE COURT:     I don't mind you raising it.   That's

17     fine.   I understand you have someone not familiar with the

18     system and with why things are done.      I understand that he

19     may have questions as to why things are being done.

20                That is the reason.    The government is not doing

21     anything improper but they are doing things in response to

22     the law.

23                MR. LaPINTA:    Your Honor, I have one last item

24     to address.   I know you have a trial that is pending

25     before you.


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                                                                16
 1                I just want to state for the record so that the

 2     record is totally clear and amply articulates the fact

 3     that there has been a plea offer that has been delivered

 4     to the defense regarding this matter.

 5                The plea agreement that is proposed was sent to

 6     us on August 22.    That plea agreement indicates a desire,

 7     or willingness, I should say, for Mr. Valerio to plead

 8     guilty to Count One of the indictment in full satisfaction

 9     of the remaining count.

10                The estimated guideline calculation in the plea

11     agreement throws off a 360-month-to-life sentence in light

12     of the particular facts involved in this case and certain

13     enhancements that are triggered factually.

14                There is a statutory cap of 30 years on that

15     particular charge and a statutory minimum period of 15

16     years.

17                I want the record to reflect that we have

18     discussed this with our client on numerous occasions, both

19     myself and with Mr. Lato.     He is aware of this plea offer.

20     He has asked questions regard the plea offer.       We have

21     answered those questions.     We have gone into depth

22     regarding the benefits of taking a plea, the benefits of

23     going to trial, the pitfalls of both.      And I can tell the

24     court quite clearly that those discussions were done

25     intelligently, knowingly, and I have no doubt whatsoever


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                                                                        17
 1     that Mr. Valerio understands the situation that he is in

 2     now.

 3                I also want the record to be clear that that

 4     plea offer is going to expire this Friday and we are not

 5     going to be able to articulate any further on the record

 6     before Friday our position regarding the discussions of

 7     plea agreements and Mr. Valerio's decision not to accept

 8     the plea agreement at this time on this date.

 9                May that change in two days?       If so, obviously

10     this issue is moot.     I don't expect it will but I want the

11     record to totally reflect the dealings we have had with

12     Mr. Valerio and the fact that he is going forward

13     intelligently, with knowledge, and with the assistance of

14     thorough and competent counsel.

15                THE COURT:    Okay.   Thank you.

16                MR. BODE:    And if I can put one thing on the

17     record, which I'm sure Mr. LaPinta would agree with, and I

18     just want to make sure it is on the record; that the

19     government advised the defendant in its cover letter, as

20     we always do, that should the defendant be convicted at

21     trial of more than one count, he faces a greater

22     sentencing exposure because he won't be limited to one

23     count with a 30-year cap.     The court could -- is not

24     required to but could -- implement consecutive sentencing.

25                So the government has already made the defendant


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                                                                          18
 1     aware that he faces more time should he elect to go to

 2     trial, and I just want to make sure that is on the record.

 3                  MR. LaPINTA:   And let's be even more thorough

 4     than that, to indicate that statutorily if the court

 5     should choose to run these sentences consecutively, that

 6     the maximum consecutive statutory sentence would be 60

 7     years and a minimum of 15 years.

 8                  THE COURT:   Okay.     Thank you.   So let me

 9     confirm --

10                  MR. KABRAWALA:   Judge, I'm sorry.      And I'm not

11     doing this to go back and forth but it is actually higher

12     than 60 because technically all the counts could be

13     stacked.

14                  THE COURT:   Okay.     I just want to cover the

15     waiver with Mr. Valerio.

16                  Mr. Valerio, I have a waiver before me, that you

17     signed, indicating that you are willing to waive the time

18     until November 3, to adjourn the trial to November 3, that

19     you are waiving the time under the Speedy Trial Act so

20     that your attorneys, as you heard, can potentially secure

21     a material witness to your defense and further prepare for

22     the trial.

23                  By signing the waiver, you are agreeing to

24     exclude time under the Speedy Trial Act until November 3

25     for that reason.


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                                                                         19
 1                  Is that what you want to do?

 2                  THE DEFENDANT:   Yes, your Honor.

 3                  THE COURT:   Okay.     So that request is granted.

 4     The trial is adjourned to November 3, at 9:30, for jury

 5     selection.

 6                  I exclude the time until November 3 under Title

 7     18 United States Code, Section 3161H7A, in order to allow

 8     the defense time to obtain a potentially material witness

 9     and to prepare the case for trial.        I find that the ends

10     of justice served by granting the continuance outweigh the

11     best interests of both the public and the defendant in a

12     speedier trial and I have so-ordered the waiver.

13                  Anything else today?      From the government?

14                  MR. BODE:    Nothing.   Thank you, your Honor.

15                  THE COURT:   From the defense?

16                  MR. LaPINTA:   No, sir.     Thank you.

17                  THE COURT:   Have a good day.

18                  (Proceedings adjourned at 2:35 pm.)

19

20                        CERTIFICATE OF COURT REPORTER

21     I certify that the foregoing is a correct transcript from
       the record of proceedings in the above-entitled matter.
22

23
                                 _______________________________
24                               Dominick M. Tursi, CM, CSR

25


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                                                                             871
     1                  Do not
                        Do not di scuss the
                               discuss  the case.
     2
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                         (Whereupon, at            the jury
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                                         this time     jury leaves
                                                            leaves the
 3
 3           courtroom.
             courtroom.))
 4
 4                      THE COURT: Please
                        THE C0URT: Please be
                                          be seated.
                                             seated.
 5
 5                      Is
                        Is there
                           there a        by the
                                   motion by
                                 a motion    the defense?
 6
 6                      MR. LATO:
                        MR,       Yes, your
                            LATO: Yes, your Honor.
                                            Honor.
 7
 7                      Your
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                                                          a general motion
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                                                           which is
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                                                           and


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                              RAPAPORT, CERTIFIED
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     11      November 1st
             November     of 2012.
                      1st of 2012. And
                                   And then with respect
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                                                 respect to counts 9g
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                        date or     period alleged
                                the period         in count
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16          act woul
            act        qua'l'ify as
                wouldd qualify   as an
                                    an attempt.
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                             an attempt,  your Honor,  'it has
                                               Honor , it  has to have tthe
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18
1B          mens rea
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                 rea to          the crime
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                                           by the defendant, and
                                                             and a
19          substantial step
            substantial      to complete
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2A                    Wjth respect
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                                                  counts, all of them
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21          is there
            is there aa substantial
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                                                       who had
25          made?


                      HARRY RAPAPORT,
                      HARRY RAPAPORT, CERTIFIED
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                                                                      8~
                                                                      873
 11                   By
                      By way of analogy,
                         way of analogy, aa person
                                            person wants another person
                                                   wants another
 2        to commit
          to commjt aa bank robbery and
                       bank robbery     sends the
                                    and sends the person to aa bank
                                                  person to    bank on
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 3        five separate
          five          occasions, and
               separate occasions,     for whatever
                                   and for whatever reason
                                                    reason the
 4        person goes
          person      to the
                 goes to the bank and doesn't
                             bank and         do aa robbery
                                      doesn't do            that day
                                                    robbery that day..
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          And each
          And           the person
                   time the             to the
                                   goes to
                            person goes    the bank it is
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                          terms of the actual
                                       actual bank robbery. But
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 7        the end
          the end when the person
                  when the        commits aa bank
                           person commits    bank robbery, it would
                                                  robbery, it
 8        seem unfair to
          seem unfair    categorize the
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                                    the five trips to
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                                                      the bank
                                                          bank as
 9I       fjve separate
          five          attempts. It
               separate attempts.    'is better
                                  It is         to say
                                         better to     attempt to
                                                   say attempt to a
10        bank robbery and
          bank robbery and leave it to
                           leave it    the jury
                                    to the jury as to whether
                                                as to         it was
                                                      whether it
11
11        one attempt
          one         or one
              attempt or                of aa crime.
                             completion of
                         one completion       crime. And
                                                     And that
12        completes my
          completes    presentation, your
                    my presentation, your Honor.
13                    MR.       Does your
                          B0DE: Does
                      MR. BODE:           Honor wish
                                     your Honor      to hear
                                                wish to hear from
                                                             from us?
14                    THE COURT:
                      THE COURT: Yes.
15                    MR. B0DE: Your
                      MR. BODE:             the defense
                                     Honor, the
                                Your Honor,     defense argument js
                                                        argument is
16        insufficient     for Rule
          'insuf f ici ent for Rul e 29.
                                     29.
17                    The defense has
                      The defense     clearly been
                                  has clearly been hinting at arguing
                                                   hinting at
18       that some
         that      of these
              some of              were pre-made
                            images were
                      these images               by Ms.
                                        pre-made by Ms. Kalichenko
19       prior to
         prior to the
                  the defendant
                      defendant coming in contact
                                coming in         wjth her,
                                          contact with her, and
                                                            and as
20
2A       such he could
         such he       not have
                 could not have committed the crime
                                commjtted the       of exploitation
                                              crime of exp'loitation
21
21               they were
         because they
         because           already made
                      were already      at that
                                   made at that po'int.
                                                point.
22                   Clearly, however,
                     Clearly,                he sends
                                       where he
                              however, where    sends an ema'il , each
                                                      an email,
23           of those
         one of
         one          attempts count
                those attempts       to aa part'icular
                               count to    particular email       js
                                                             that is
                                                       email that
24       in evidence
         in                he asks
                     where he
            evidence where         that specific
                              asks that specifjc acts
                                                 acts be
                                                      be done
                                                         done to
25           child. He
         the child.
         the           even calls
                    He even       it aa script
                            calls it           in one
                                        script in     of the
                                                  one of

                    HARRY
                    HARRY RAPAPORT,
                          RAPAPORT, CERTIFIED REALTIHE REPORTER
                                    CERTIFIED REALTIME REPORTER
                              OFFICIAL
                              AFFICIAL COURT
                                       COURT REPORTER
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                                                                        874
 1
 1         emails, clearly prov'iding
           emails,         providing a  script for
                                      a script         child to
                                                   the child
                                               for the       to be
 22        used and
           used     asking the
                and asking     child to
                           the child to be        would constjtute
                                           abused would
                                        be abused       constitute as
 33        an attempt at
           an attempt at child
                         child pornography.
 4
 4                   Moreover, here
                     Moreover,      it js
                               here it    even stronger
                                       is even stronger because
                                                        because he
 5
 5         receives v'ideos
           rece'ives videos and acknowledges iinn the
                            and acknow'ledges     the emai
                                                      emails   he got
                                                           I s he got them
 6
 6         and asks for
           and asks     more videos.
                    for more
 7                   So clear'ly
                     So          there js
                        clearly there  is a substantial attempt,
                                          a substantjal attempt. The
  I8       email is
           email is aa substantial step jn
                       substantial step in an attempt, your
                                           an attempt, your Honor.
                                                            Honor.

 9I                       robbery js
                     Bank robbery
                     Bank         is aa poor
                                        poor example, with due
                                             example, with due respect
10         to Mr.
           to     Lato. If
              Mr. Lato.    we wanted
                        If we        to use
                              wanted to use aa bank
                                               bank robbery as an
                                                    robbery as
11
11         example, because he
           example, because he obtained 'it over
                               obtained it       a period
                                            over a period of
                                                          of time
                                                             time and
12         sent the emails
           sent the        over aa period
                    emajls over    period of time, it is
                                          of time,'it    more that
                                                      is more that he
13         robbed the bank
           robbed the      on one
                      bank on one day and got
                                  day and got aa thousand dollars, and
                                                 thousand dollars,
14        comes back a
          comes back        later the
                       week later
                     a week           for another
                                  the for another thousand
                                                  thousand dollars
15        and aa week
          and    week later another. II don't
                      later another.    don't think that example
                                              think that
16              'in this
          works in
          works     th'is case.
17                   For all those
                     For all those reasons
                                   reasons and
                                           and the light most
                                               the light
18                  to the
          favorable to
          favorable    the government,
                           government, we
                                       we believe the Rule
                                          believe the Rule 29
                                                           29 motion
19        should be denied.
          should be
20
2A                   MR.       Can II have
                         LAT0: Can
                     MR. LATO:        have the last word
                                           the last word since 'it is
                                                         since it  is
21
21        my
          my motion, your Honor?
             motion, your
22                   THE        Sure. This
                         C0URT: Sure.
                     THE COURT:                 is
                                              your reply.
                                      This is your reP1Y.

23                   MR. LaPINTA: Because
                     MR. LaPINTA: Because according  to the
                                          accord'ing to
24                           Mr. Valerio
                       case, Mr.
          government's case,
          government's                   is going
                                 Valerio is going through
                                                  through an
25        'intermediary, Ms.
          intermediary,      Kalichenko, who
                         Ms. Kalichenko,     was the
                                         who was            principal
                                                     actual principal
                                                 the actual

                    HARRY RAPAPORT , CERTIFIED
                    HARRY RAPAPORT,  CERTIFIED REALTIME
                                                REALTIME REPORTER
                              OFFICIAL
                              AFFICIAL COURT
                                        COURT REPORTER
                                               REPORTER
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                                                                            875
 1
 1               the child
           doing the
           doing     child pornography
                           pornography and Mr. Valerio sharing
                                       and Mr.         sharing the
 2
 2              mens rea,
           same mens
           same      rea, a'iding and abetting
                          aiding and           and by
                                      abetting and by supplying
                                                      supplying the
 3
 3         money     ordering jt,
                 and ordering
           money and              and for
                              it, and     Mr. Valerio to
                                      for Mr.            be guilty
                                                      to be guilty of
 4
 4         an attempt, II believe
           an attempt,    believe Ms. Kalichenko as
                                  Ms. Kalichenko as an
                                                    an intermed'iary
                                                       intermediary
 5
 5         must have the
           must have the mens rea to
                         mens rea    complete the
                                  to complete the substantive
                                                  substantive crime.
 6
 6                      There is
                        There is no question that
                                 no question      there is
                                             that there is evidence
                                                           evidence here
 7
 7         that
           that Ms.
                 Ms. Kalichenko
                      Kalichenko d1d     intend to
                                     did intend     make videos.
                                                 to make  videos. l4y My
  I8           ecti on 'iiss breaki
           objection
           obj                      ng everything
                             breaking              up 'into
                                       everythi ng up        nd j vi dual
                                                      into iindividual
 I9        attempts,
           attempts.
10                      Because if
                        Because    Ms. Kalichenko
                                if Ms.            cannot be
                                       Kalichenko cannot    guilty of
                                                         be guilty
11
11         'indivjdual attempts,
           individual  attempts, II don't know that
                                    don't know      Mr. Valerio
                                               that Mr. Valerio can
12         ei ther.
           either.
13                      THE COURT:
                        THE          AlI
                            COURT: All right.
14                         wjll reserve
                        II will         decisjon and
                                reserve decision and place the decision
                                                     place the
15           the record
          on the
          on            later.
                 record later.       II just      to get
                                             want to
                                        just want    get through
                                                         through your
16        witness today.
          witness        And II wanted
                  today. And    wanted to     that done.
                                          get that
                                       to get
17                      Let's take
                        Let's take aa break
                                      break and then get
                                            and then     started. All
                                                     get started. A1 I

18         ri ght?
           right?
19

20
2A                      (Whereupon , aa recess
                        (Whereupon,     recess was
                                               was taken.)
                                                   taken. )
21
22
23
24

25


                       HARRY
                       HARRY RAPAPORT,
                             RAPAPORT, CERTIFIED
                                        CERTIFIED REALTIME
                                                  REALTIME REPORTER
                                                           REPORTFR
                                 OFFICIAL
                                 AFFICIAL COURT
                                          COURT REPORTER
                                                 REPORTER
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PSS:ALB/ABK
F.# 2014R00151

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - -X
                                           S U P E R S E D I N G
UNITED STATES OF AMERICA                   I N D I C T M E N T

     - against -                           Cr. No.14-094 (S-2)(JFB)
                                           (T. 18, U.S.C., §§
JOSEPH VALERIO,                             2251(a), 2251(c), 2251(e),
                                            2252(a)(1), 2252(a)(2),
                   Defendant.               2252(b)(1), 2252(a)(4)(B),
                                            2252(b)(2), 2 and 3551
                                            et seq.)

- - - - - - - - - - - - - - - - -X

THE GRAND JURY CHARGES:

                                COUNT ONE
                (Conspiracy to Sexually Exploit a Child)

           1.     On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

conspire to employ, use, persuade, induce, entice and coerce a minor,

to wit: Jane Doe #1, an individual whose identity is known to the

Grand Jury, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and
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                                                                           2

foreign    commerce,   which   visual   depictions    were   produced    and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more mobile telephones, digital cameras and

digital media disks, and such visual depictions were actually

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

            (Title 18, United States Code, Sections 2251(e) and 3551

et seq.)

                              COUNT TWO
                  (Sexual Exploitation of a Child)

            2.   On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,   which   visual   depictions    were   produced    and
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                                                                           3

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more mobile telephones, digital cameras and

digital media disks, and such visual depictions were actually

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign commerce.

           (Title 18, United States Code, Sections 2251(a), 2251(e),

2 and 3551 et seq.)

                             COUNT THREE
                  (Sexual Exploitation of a Child)

           3.    On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct outside of the

United States, its territories and possessions, for the purpose of

producing one or more visual depictions of such conduct, intending

that such visual depictions would be transported and transmitted to

the United States, its territories and possessions, using a means

and facility of interstate and foreign commerce and mail, and which

visual depictions were actually transported and transmitted to the
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                                                                           4

United States, its territories and possessions, using a means and

facility of interstate and foreign commerce and mail.

           (Title 18, United States Code, Sections 2251(c), 2251(e),

2 and 3551 et seq.)

                              COUNT FOUR
                (Transportation of Child Pornography)

           4.    On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO, together with others, did knowingly and intentionally

transport and ship, using a means and facility of interstate and

foreign commerce and in and affecting interstate and foreign

commerce, one or more visual depictions, to wit: images depicting

Jane Doe #1 engaged in sexually explicit conduct, the production of

such visual depictions having involved the use of a minor engaging

in sexually explicit conduct, and such visual depictions were of such

conduct.

           (Title 18, United States Code, Sections 2252(a)(1),

2252(b)(1), 2 and 3551 et seq.)

                              COUNT FIVE
                    (Receipt of Child Pornography)

           5.    On or about and between April 1, 2012 and November

1, 2012, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH
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                                                                           5

VALERIO, together with others, did knowingly and intentionally

receive one or more visual depictions, to wit: images depicting Jane

Doe #1 engaged in sexually explicit conduct, using a means and

facility of interstate and foreign commerce and which visual

depictions had been mailed, and shipped and transported in and

affecting interstate and foreign commerce, the production of such

visual depictions having involved the use of one or more minors

engaging in sexually explicit conduct and such visual depictions were

of such conduct.

           (Title 18, United States Code, Sections 2252(a)(2),

2252(b)(1), 2 and 3551 et seq.)

                             COUNT SIX
            (Attempted Sexual Exploitation of a Child)

           6.    On or about January 23, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign   commerce,   which   visual    depictions    were   produced    and

transmitted using materials that had been mailed, shipped and
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                                                                           6

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                             COUNT SEVEN
             (Attempted Sexual Exploitation of a Child)

            7.   On or about January 24, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,   which   visual   depictions    were   produced    and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,
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                                                                           7

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                             COUNT EIGHT
             (Attempted Sexual Exploitation of a Child)

            8.   On or about March 28, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,   which   visual   depictions    were   produced    and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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                                                                           8

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

           (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                            COUNT NINE
            (Attempted Sexual Exploitation of a Child)

           9.    On or about April 4, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce, which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks and computer, and such visual depictions were actually

transported and transmitted using a means and facility of interstate
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                                                                           9

and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

           (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                             COUNT TEN
            (Attempted Sexual Exploitation of a Child)

           10.   On or about July 16, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce, which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks and computer, and such visual depictions were actually

transported and transmitted using a means and facility of interstate
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                                                                           10

and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

           (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                            COUNT ELEVEN
             (Attempted Sexual Exploitation of a Child)

           11.   On or about July 22, 2012, within the Eastern District

of New York and elsewhere, the defendant JOSEPH VALERIO, together

with others, did knowingly and intentionally attempt to employ, use,

persuade, induce, entice and coerce a minor, to wit: Jane Doe #1,

to engage in sexually explicit conduct, for the purpose of producing

one or more visual depictions of such conduct, knowing and having

reason to know that such visual depictions would be transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce, which visual depictions were produced and transmitted

using materials that had been mailed, shipped and transported in and

affecting interstate and foreign commerce by any means, including

by one or more mobile telephones, digital cameras, digital media

disks and computer, and such visual depictions were actually

transported and transmitted using a means and facility of interstate
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                                                                           11

and foreign commerce and which were in and affecting interstate and

foreign commerce, contrary to Title 18, United States Code, Section

2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                            COUNT TWELVE
             (Attempted Sexual Exploitation of a Child)

            12.   On or about September 6, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,   which   visual   depictions    were   produced    and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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                                                                           12

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                           COUNT THIRTEEN
             (Attempted Sexual Exploitation of a Child)

            13.   On or about September 27, 2012, within the Eastern

District of New York and elsewhere, the defendant JOSEPH VALERIO,

together with others, did knowingly and intentionally attempt to

employ, use, persuade, induce, entice and coerce a minor, to wit:

Jane Doe #1, to engage in sexually explicit conduct, for the purpose

of producing one or more visual depictions of such conduct, knowing

and having reason to know that such visual depictions would be

transported and transmitted using a means and facility of interstate

and foreign commerce and which were in and affecting interstate and

foreign    commerce,   which   visual   depictions    were   produced    and

transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, including by one or more mobile telephones, digital cameras,

digital media disks and computer, and such visual depictions were

actually transported and transmitted using a means and facility of
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                                                                           13

interstate and foreign commerce and which were in and affecting

interstate and foreign commerce, contrary to Title 18, United States

Code, Section 2251(a).

            (Title 18, United States Code, Sections 2251(e), 2 and 3551

et seq.)

                            COUNT FOURTEEN
                   (Sexual Exploitation of a Child)

            14.   On or about and between September 10, 2010 and January

19, 2011, both dates being approximate and inclusive, within the

Eastern District of New York and elsewhere, the defendant JOSEPH

VALERIO did knowingly and intentionally employ, use, persuade,

induce, entice and coerce a minor, to wit: Jane Doe #2, an individual

whose identity is known to the Grand Jury, to engage in sexually

explicit conduct, for the purpose of producing one or more visual

depictions of such conduct, which visual depictions were produced

and transmitted using materials that had been mailed, shipped and

transported in and affecting interstate and foreign commerce by any

means, to wit: one or more digital cameras, memory cards and computer

equipment, and such visual depictions were actually transported and

transmitted using a means and facility of interstate and foreign

commerce and which were in and affecting interstate and foreign

commerce.

            (Title 18, United States Code, Sections 2251(a), 2251(e)

and 3551 et seq.)
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                                                                           14

                            COUNT FIFTEEN
                  (Possession of Child Pornography)

           15.   On or about January 28, 2014, within the Eastern

District of New York, the defendant JOSEPH VALERIO did knowingly and

intentionally    possess    matter   containing     one   or   more   visual

depictions, to wit: images in digital files, in and affecting

interstate and foreign commerce, and which visual depictions had been

mailed, and shipped and transported using a means and facility of

interstate and foreign commerce, and which were produced using

materials which had been mailed, and so shipped and transported, the

production of such visual depictions having involved the use of one

or more minors engaging in sexually explicit conduct, and such visual

depictions were of such conduct.

           (Title 18, United States Code, Sections 2252(a)(4)(B),

2252(b)(2) and 3551 et seq.)
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                                                                          1068
                                                                          1068
 1
 1       notes.
         notes. I was  going start to
                   was going       to put
                                      put my       29 ruling
                                              Rule 29
                                           my Rule    ruling on
                                                             on the
 2
 2       record. II may
         record.    may finish
                        finish that
                               that tomorrow.
                                    tomorrow.
 3                      (Pause)
                        (Pause )

 4
 4                          COURT: I will
                        THE C0URT:
                        THE               put at
                                     will put    least part
                                              at least part of
                                                            of the
 5
 5       Court's
         Court's rul i ng on
                 ruling          record. If
                             the record.
                          on the         If II don't
                                               don't fi ni sh iinn the
                                                     finish
 6
 6       next    minutes or
              15 minutes
         next 15            so, II will
                         or so,         complete it
                                   will complete it tomorrow while
 7
 7       the jury
         the jury is deliberat'ing.
                     deliberating.
 8I                     As II said
                        As          before, II am
                              sai d before,    am denyi ng the
                                                  denying      Rulee 29
                                                           the Rul
 9
 9       motion by
         mot'ion    the defense
                 by the         and II want
                        defense and    want to
                                            to state
                                               state the reasons for
                                                     the reasons
10       that
         that   now
                now..

11
11                      F'irst, with
                        First,  with respect to the
                                     respect to     motion, the
                                                the motion, the standard
                                                                standard
12       'is well settled
         is well          for Rule
                  settled for Rule 29 the Court
                                   29 the Court should grant the
                                                should grant
13       motion if it
         motion if it concludes that no
                      concludes that no rational trier of
                                        rational trier of fact will
                                                          fact will
14       fi nd the
         find                gui 1 t beyond
                   defendant guilt
               the defendant                   reasonab'l e doubt
                                     beyond aa reasonable   doubt based
15       on the evidence
         on the evidence presented at the
                         presented at     trial.
                                      the trial.          It's in the
                                                          It's in the rule
16       itself as
         itself    well as
                as well as United
                           United States v. Jackson,
                                  States v.              F. 3d,
                                                     335 F.
                                            Jackson, 335
17       170, page
         170,      180, Second
              page 180, Second Circuit  2003. And
                               C'ircuit 2003.     the standard
                                              And the          for
                                                      standard for
18                  that conviction
         evaluatjng that
         evaluating      convjction must be upheld
                                    must be upheld under Rule 29
                                                   under Rule 29 or
19       allowed   to go
         al I owed to    to the
                      go to the jjury af ter viewing
                                  ury after           the evidence
                                             viewi ng the           jn
                                                          evi dence in
20       the light most
         the light most favorable to the
                        favorable to the government     drawing all
                                                    and drawing
                                         government and         a1'l

21
21       reasonable            'in its
                    inferences in
         reasonable inferences     its favor,
                                       favor, any
                                              any rationale trier of
                                                  rationale trier
22      fact could
        fact could have found the
                   have found     essential element
                              the essential         of the
                                            element of the crime
23       beyond aa reasonable
         beyond               doubt; United
                   reasonable doubt;        States vv.. Medina,
                                     United States      Medina, 944
                                                                944 F.
24      2d,60,
        2d, 60, page 66, Second
                page 66,        Circuit 1991.
                         Second Circuit
25                      Quoting in Supreme
                        Quoting in Supreme Court:


                                         Picozzi, CRR,
                              Stephanie Picozzi,
                              Stephanie           CRR, RPR
                                 jfficial Court
                                 Official Court Reporter
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                                                                        1069
 11                  In analyzing
                     In analyzing the efforts, the
                                  the efforts, the Second Cjrcu'it
                                                   Second Circuit
 2       emphasizes, pieces
         emphasizes,        of evidence
                     pieces of evidence must be viewed
                                        must be v1ewed not 'in
                                                       not in
 33      'isol ati on but
         isolation    but in
                          i n conjunction
                              con j uncti on and
                                             and the         verdi ct may
                                                       ury's verdict
                                                 the jjury's          may be
 4       based
         based on c j rcumstanti al evidence;
               on circumstantial    ev'idence; Un"ited States vv..
                                               United States
 5       D'Amato, 39
         D'Amato,    F.3d, 1249,
                  39 F.3d,       at page
                           1249, at page 1256,
                                         1256, Second Cjrcuit 1954.
                                               Second Circuit
 6       And al so Second
         And also         Ci rcui t emphasized,
                   Second Circuit                 credi b'i1 i ty of
                                    emphasi zed , credibility

 7       witnesses with
         witnesses      the jury
                   with the jury rather
                                 rather than the Court
                                        than the Court to
 88      determine; United
         determine; United States v, Strauss,
                           States v. Strauss, 999,
                                              999, F.2d
                                                   F.2d 692,
                                                        692, page
 9I      696, Second
         696,        Ci rcu'it 1993.
              Second Circuit
10                  That i s the
                    That is  the standard the Court
                                 standard the Court has appl i ed here
                                                    has applied
11
11       and concl udes that
         and concludes       for each
                        that for      of the
                                 each of the counts of the
                                             counts of
12       i ndi ctment , there
         indictment,          i s more
                        there is            suffi ci ent evidence
                                       than sufficient
                                  more than                        for the
                                                         evi dence for
13       jjury, j f the
           ury, if      government's evidence
                    the government's           i s credited
                                     evj dence is  credj ted and
                                                             and all
                                                                 al I
14                  jnferences are
         reasonable inferences
         reasonable            are drawn in favor
                                   drawn in       of the
                                            favor of the government
                                                         government

15            that evidence,
         from that
         from                 to rationally
                   evi dence, to               convi ct the
                                 rati onal I y convict  the defendant
                                                            defendant on
16       each and
         each     every count
              and every       of the
                        count of the indictment.
                                     i nd"ictment,
17                  II won't
                       won't go
                             go through a1 1 the
                                through all  the details   of the
                                                 detai I s of
18      evidence.  In summary,
        evi dence. In          the two
                      summary, the              of the
                                       searches of
                                   two searches    the defendant's
19      home, including the
        home, including the SO
                            SD card in the
                               card in the computer
                                           computer hard
                                                    hard drive,
20      the Western
        the         Union records,
            Western Union          the e-mails
                          records, the e-mails and
                                               and defendant's
21
21      statements to law
        statements to                  'i n terms
                           enforcement in
                      I aw enforcement            of the
                                            terms of     maj or
                                                     the major
22                  of proof
        categori es of
        categories           that the
                       proof that the government offered are
                                      government offered
23      sufficient if
        sufficient    the jury
                   if the              that evidence
                               credits that
                          jury credits               for the
                                            evidence for the jury
                                                             jury
24      to rationally
        to            find that
           nationally find that the
                                the defendant
                                    defendant possessed
                                              possessed child
25      pornography on
        pornography    hiss computer
                    on hi   computer and
                                     and on the SD
                                         on the    card and
                                                SD card and that

                                      Picozzi, CRR,
                           Stephanie Picozzi,
                           Stephanie           CRR, RPR
                                                     RPR
                              }fficial Court
                              Officia7 Court Reporter
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                                                                          1070
 1       they were his.
         they were his. They       rationally find
                             could rational'ly
                        They could             find e-ma'ils
                                                    e-mails were
                                                             were

 22       sent to
          sent    him, to
               to h'im,    Ms. Kalichenko
                        to Ms.            and that
                               Kalichenko and that the
                                                   the child

 33                     nvol v j ng Soph'i
         pornography 'iinvolving
         pornography                Sophiaa was
                                            was recei ved by
                                                received  by hi m.
                                                             him.  They
                                                                   They

 44      could s'imilarly
         could similarly conclude
                          conclude based upon that
                                   based upon      evidence that
                                              that evidence that as
 5
 5       was noted
         was       by the
             noted by     government in
                      the government in the summation, specific
                                        the summat'ion,
 6
 6       e-mail1 conspi
         e-ma'i  conspiracy    ssues, that
                        racy iissues,      there iiss an
                                      that there      an agreement
                                                         agreement
 7
 7       between Kalichenko
         between            and the
                 Kalichenko and     defendant that
                                the defendant that she
                                                   she would
 8
 8       exploit,   sexually exploit,
         exploit, sexualiy               Sophia in
                               exploit, Sophia    in videotapes    sent to
                                                     videotapes sent

 I9      the
         the defendant       exchange for
              defendant iinn exchange   for money.
                                             money.
10                   The jury
                     The  jury can   also rational1y
                                can also                 ind based
                                           rationally ffind  based on
11
11                and other
         e-ma'ils and
         e-mails               ev'idence in
                        other evidence   in the   case that
                                             the case        by paying
                                                       that by            for
                                                                 paying for
12
12       the
         the videos   and provid'ing
              videos and               the script
                           providing the            for the
                                            script for       videos that
                                                        the videos    that he
13
13       aided  and abetted
         a'ided and            the exploitation
                     abetted the                   of Sophia
                                    explo'itation of          -in the
                                                      Sophia in
14       Ukrai ne outside
         Ukraine            the United
                  outsi de the           States. The
                                 Uni ted States.    The issue
                                                        i ssue obviously
                                                                obvi ousl y

15
15       that was
         that  was raised       the defense
                            by the
                    rai sed by                wi th respect
                                     defense with            to whether
                                                    respect to   whether or
16
16       not  the videos
         not the  videos were    preexisting, again,
                           were preexisting,            if the
                                                 again, if  the evidence
                                                                 evidence isis
17       construed
         construed most    favorably to
                     most favorably    to the
                                          the government
                                               government injn terms
                                                                terms of
18
18       what was
         what     being requested
              was being           in the
                        requested in the e-mails,  what was
                                         e-ma'ils, what was received
19
19       back jn those
         back in               'in therms
                       e-majls in
                 those e-mails            of the
                                   therms of             the timing
                                                 videos, the
                                             the videos,
20       of the
         of the videos, all the
                videos, all the evidence, the circumstantial
                                evidence, the c'ircumstantial
21
21       evidence
         evidence viewed
                  viewed most
                         most favorably to the
                              favorably to the government
                                               government can
22       support aa rational
         support              f "indi ng those
                    rat'ional finding    those videos   were not
                                               v'i deos were

23
23       preexisting but
         preexisting but were
                         were made
                              made only after the
                                   only after the defendant
                                                  defendant made
                                                            made

24       the request
         the         for the
             request for the videos  to be
                             vi deos to be produced
                                           produced..
25
25                  In terms
                    In       of the
                       terms of the charge
                                    charge involving the niece,
                                           involving the niece, the
                                                                the

                           Stephanie   Picozzi, CRR,
                           Stephanie Picozzi,   CRR, RPR
                                                      RPR
                              }fficial Court
                              Official  Court Reporter
                                              Reporter
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                                                                           1071
                                                                           1071
 1       jury
          jury could rationally find
               could ratjonally find     based upon
                                         based          location of
                                                    the location
                                               upon the          of the
                                                                     the

 22       images and
         images      the control
                 and the         over the
                         control over     house, the
                                      the house, the camera and the
                                                     camera and  the

 33      other circumstantjal
               circumstantial evidence presented with
                              evidence presented      respect to
                                                 with respect to

 44      that,       circumstance surrounding the
         that, the circumstance                     the image,
                                                         image, the
                                                                the

 55      testimony of
         testlmony       the sister,
                     of the  sister, not
                                       not the    images themselves but
                                            the images                but

 66                     nvol vement for
         defendant's iinvolvement           i m'i ng the
                                      for ffilming
                                             1            daughter for
                                                     the daughter   for

 77      modeling
         model                     allI that
                    purposes, iiff al
               i ng purposes,           that ci   rcumstanti al evi
                                              circumstantial        dence iiss
                                                                evidence

 88      taken together,
         taken              the jury
                 together, the                 those favorably to
                                       viewed those
                                 jury viewed                      to the

 I9                    the jury
         government, the
         government,        jury can                rationally find
                                  can certainly rationally      find Mr.
10
10       Valerio
         Valerio sexually  exploited hjs
                  sexually exploited  his niece and produced
                                          niece and produced the
11
11       images
         i mages found on the
                 found on the SD card and
                              SD card  and adduced the niece
                                           adduced the        to
                                                       ni ece to

12
12       engage 'in sexually-explicit
         engage in  sexual 1y-expi i ci t conduct
                                          conduct and can rati
                                                  and can      ona'l 1y
                                                          rationally
13
13             j n the
         fi nd in
         find      the government's favor on
                       government's favor    that count
                                          on that          wel I .
                                                        as well.
                                                  count as
14
14                   II want to focus
                        want to focus more particular on
                                      more particular    Mr. Lato's
                                                      on Mr.
15
15       speci fi c argument
         specific   argument as          to whether
                                rel ates to
                             as relates             or not
                                            whether or not there js
                                                           there is
16
16       suffi ci ent proof
         sufficient         for each
                      proof for      of the
                                each of the attempt
                                            attempt counts
17
17       constj tut'i ng an
         constituting       attempt and
                         an attempt and whether or not
                                        whether or not those
                                                       those counts
18
18       are multiplicitous
         are                of aa sexual
             multiplicitous of           exploitation count
                                  sexual exploitation       which II
                                                      count which
19
19       understand is your
         understand is your argument.
                            argument.
20
20                  MR.   LAT0 : Yes,
                    l'lR. LATO:  Yes , your
                                       Your Honor.
                                            Honor .

21
21                  THE
                    THE COURT: First II want
                        C0URT: First         to focus
                                        want to focus on whether or
                                                      on whether or
22
22       not there
         not       is sufficient
             there is                  of attempt,
                                 proof of
                      sufficient proof             sufficient proof
                                          attempt, sufficient proof
23
23       on
         on each
            each charge for there
                 charge for        to be
                             there to    attempt as
                                      be attempt    that is
                                                 as that i s defined
                                                             defi ned
24
24       under  the law.
         under the   law.
25
25                  And II spent
                    And    spent some
                                  some time            going through
                                             yesterday going
                                        time yesterday        through

                            Stephanie   Picozzi, CRR,
                            Stephanie Picozzi,    CRR, RPR
                                                        RPR
                               jfficiaT Court
                               Officia7  Court Reporter
                                               Reporter
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                                                                           1072
                                                                           7072
     11   each e-mail
          each             is the
                      that is
               e-mail that    the subject of aa separate
                                  subject of             count to
                                                separate count
 2        revi ew it,
          review        to see
                  i t , to             or not
                               whether or
                           see whether    not aa jjury coul d rationally
                                                   ury could  rat'iona1 1y
 3        conclude that each
          conclude that each e-mail constituted aa separate
                             e-mail constituted    separate attempt
 4        to commit
          to commit the crime.
                    the crime . And
                                And my
                                    my conclusion is that
                                       conclusion is that they
 5        could
          coul d,.
 6                    Just wi th respect
                      Just with  respect to the standard
                                         to the          for attempt,
                                                standard for attempt, I
 7             the instruction
          read the
          read     instnuction to the jury
                               to the jury and,            that is
                                                obviously, that
                                           and, obviously,
 8        the law
          the I aw but I et me
                   but let     state there
                            me state there are
                                           are two
                                               two cases that I
                                                   cases that
 9I                in particular
          reviewed in
          reviewed    particular on this issue
                                 on this       that set
                                         issue that set out
                                                        out what
                                                            what the
10        law requ'i res in
          1aw requires   i n the
                             the Second
                                 Second Circuit   for attempt.
                                        Ci rcui t for attempt . One 'i s
                                                                One is
11
11        Unjted
          United States v. Desposito,
                 States v.            704, F.3d
                           Desposito, 704, F.3d 221,
                                                221, Second
                                                     Second Circuit,
12        2013. In summary,
          2013. In          the government
                   summary, the                to show
                                           has to
                                government has         that the
                                                  show that
13                  took aa substantial
          defendant took
          defendant         substantial step
                                        step toward committing the
                                             toward committing
14              that was
          crjme that
          crime      was strongly corroborative, firmness
                         strongly corroborative,          of the
                                                 fjrmness of
15        defendant's criminal
          defendant's           intent. And
                      crim'inal intent.     that case
                                        And that      cites to
                                                 case cites
16        another case,
          another          terrori sm case,
                  case, aa terrorism        Uni ted States
                                      case, United         v. Farhane,
                                                    States v.
17        634, F.
          634, F.3d  127, Second
                  3d 127, Second Circuit 2011 , whjch
                                 C1rcuit 2011,        is aa very
                                                which is    very long
18        discussion        the substantial
                      about the
          d'iscussion about                  step requ'irement
                                substant'ial step              for
                                                  requirement for
19        attempt.
20                   Agai n , II will
                     Again,      w1 l l not
                                        not repeat 'it here.
                                            repeat it  here. II want
                                                                want the
21
21        record cl ear II have
          record clear     have reviewed  that standard
                                revi ewed that          'i n applying
                                               standard in              it
                                                             appl yi ng it

22        to the
          to the evidence
                 evi dence presented
                           presented befone
                                     before me.
23                   II also  note there
                        al so note       are aa number
                                   there are           of cases
                                                number of cases out
24              that discuss,
          there that
          there      d'iscuss, not in this
                               not in this circuit,
                                           circuit, but
                                                    but informative
                                                        informative
25           thi s issue
          on this
          on              of whether
                   i ssue of         or not
                             whether or        sol 'ici tati on to
                                        not aa solicitation        commi t a
                                                                to commit

                                       Picozzi, CRR,
                            Stephanie PicDzzi,
                            Stephanie           CRR, RPR
                               Official Court
                               Officia7 Court Reporter
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                                                                              1073
     1       crime itself can
             crime itself can be    attempt. There
                                 an attempt.
                              be an                are two
                                             There are     cases that
                                                       two cases
 2                    thi s and
             di scuss this
             discuss        and conclude
                                concl ude that 'i t can
                                          that it   can-- don't
                                                          don't conclude
                                                                concl ude
 3                  an attempt
             always an
             always            but they
                       attempt but      certainly conclude
                                   they certainly          that a
                                                  conclude that
 4           sol i ci tati on under
             solicitation           certa'i n circumstances
                              under certain                      i tsel f
                                                             can itself
                                              ci rcumstances can
 55          constitute an
             constitute    attempt.
                        an attempt . One is United
                                     One is        States v.
                                            United States v. American
 66         Airlines, Inc
            Airlines, Inc.. which
                            which was
                                  was an anti-trust case,
                                      an anti-trust case, 743
                                                          743 F.2d
 7           1114, Fifth
             1114,       Circuit, 1984,
                   Fifth Circuit, 1984, and
                                        and United        v. Rovetuso,
                                                   States v.
                                            United States
 88         768, F.2d
            768, F.2d 809
                      809,, Seventh Circuit, 1985,
                            Seventh Circuit, 1985, which discusses the
                                                   which discusses
 9I         fact aa solicitation
            fact    solicitation depending
                                 depending upon the circumstances
                                           upon the circumstances can
10          consti tute in
            constitute  i n and
                            and of i tsel f an
                                of itself   an attempt.
11
11                      Here, II want
                        Here,         to make
                                 want to make clear  ai though II cited
                                              cl ear although     c'i ted the

12               of the
            case of
            case    the e-mails that II reviewed
                        e-mails that             'in connection
                                        reviewed in  connection with
13               of those
            each of
            each                  it's more
                          counts, it's
                    those counts,      more than just aa solicitation
                                            than just    solicjtat'ion
14          where, for example,
            where, for          an e-mail
                       example, an        sajd could
                                   e-mail said       you send
                                               could you send me cht'ld
                                                              me ch ild
15          pornography, as
            pornography, as the government pointed
                            the government         out during
                                           pointed out
16          summati ons or
            summations     tri al .
                        or trial.     Each of those
                                      Each of       e-ma'i i s give
                                              those e-mails          speci fiicc
                                                               gi ve specif

17          d'i recti on. One
            direction.        e-mai I refers
                          One e-mail  ref ers to    scri pt..
                                              to aa script         j t's a
                                                                So it's
                                                                So
18          sol'ici tat'ion combined
            solicitation              wi th specific
                            combi ned with  speci f i c directions
                                                        d"i recti ons on
                                                                      on how it
                                                                         how it
19          is to
            is to be
                  be carried out, often
                     carried out, often when it should
                                        when it should be carried out
                                                       be carried
20              in many
            and in
            and                   providing money
                        instances providing
                   many instances                 in the
                                            money in the form of MTCN
                                                         form of MTCN

21
21          number references, money
            number references,       that is
                               money that i s provided,
                                              provi ded, has
                                                         has been
22          provided,   wi I I be
            provi ded , will      provi ded .. So
                               be provided     So many of these
                                                  many of       al so include
                                                          these also  1ncl ude

23          an element
            an          of payment
               el ement of         or promise
                           payment or          of payment.
                                      promi se of

24                      II conclude that each
                           conclude that each one of these
                                              one of these e-mails
25          separate'ly could
            separately        constitute an
                        could constitute    attempt because
                                         an attempt because a

                               Stephanie Picozzi,  CRR, RPR
                                          Picozzi, eRR,  RPR
                                  Official Court
                                  Official Court Reporter
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                                                                           1074
                                                                           1074
 1
 1       substantial step could
         substantial            be found
                          could be       by the jury
                                   found by     jury with
                                                     with respect
                                                          respect

 22      to      one of
            each one
         to each        these e-mails to
                     of these            assist in
                                      to assist in the exploitatjon
                                                       exploitation

 33      of the
             the chi
                 child     n the
                     I d iin the Ukrai ne, sexual
                                 Ukraine,  sexual expl oi tat'ion of
                                                  exploitation    of the

 44      child in
                in the
                   the Ukraine
                          Ukraine and  the e-mails are
                                  and the          are strongly

 55      corroborative of
         conroborative        criminal 'intent
                           of criminal         based on
                                        intent based      the details
                                                     on the    details of

 66      what is to
         what     to be         and the
                           done and
                       be done           discussion of
                                    the djscussion  of money    and other
                                                        money and

 77      things  that will
         things that    will be  provided or
                              be provided  or not be provided
                                              not be provided depending
                                                                 depending
 8
 8          whether the
         on whether
         on             instructions are
                    the instructions are followed'
                                         followed.

 I9                 I   want to
                        want    make cl
                             to make    ear al
                                     clear  also  thiss iiss not
                                               so thi        not mu1 ti p1 e
                                                                 multiple
10       discussions about
         djscussions           video being
                           one v'ideo
                     about one                       and there
                                            produced and
                                      being produced           'is
                                                         there is
10

11
11       multiple discussions
         multiple                   d'irections regarding
                              about directions
                  discussions about             regarding that
12
12       video. If the
         vjdeo. If the evidence is construed
                       evldence is           most favorably
                                   construed most           to the
                                                  favorably to
13
13                   the jury
         government, the
         government,     jury could find certainly
                              could find            that aa number
                                         certa'in1y that           of
                                                            number of

14              are being
         videos are
         videos     being created as aa result
                          created as           of the
                                        result of     direct'ion and
                                                  the direction
15
15       then more
         then      direct'ions being
              more directions  being given for additional
                                     given for             vjdeos to
                                               addit'ional videos
16       be done. And
         be done.     there are
                  And there are numerous
                                numerous references i n the
                                         references in  the videos
                                                            vi deos
17
17       to having
         to                 the videos,
                   received the
            having received             wanting more
                                vjdeos, wanting      videos. And
                                                more videos.
18
18       as II will
         as    will go
                    go through
                       through tomorrow,
                               tomorrow, there are aa couple
                                         there are            of
                                                      coup'le of
19
19       instances  that II looked
         i nstances that            at very
                            I ooked at      careful'l y because
                                       very carefully   because the
20
20       e-mails were
         e-mails      in one
                 were in     instance aa day
                         one instance               in another
                                             apart, in
                                         day apart,    another
21
21       instance
         i nstance six  or seven
                   si x or            apart. II wanted
                                 days apart.
                           Seven days                  to ensure
                                                wanted to        that
                                                          ensure that
22
22       the two
         the     e-mails didn't
             two e-mails                to the
                                 relate to
                         d'idn't relate    the same
                                               Same request for some
                                                    request for some

23
23            of exploitation
         type of
         type                 to be
                 expioitation to be done. And II think,
                                    done. And    think, again,
                                                        again, when
                                                               when

24
24       those e-mails
         those         are construed
               e-mails are           most favorably
                           construed most           to the
                                          favorably to the
25
25       government, the
         government,                  fi nd even
                               coul d find
                         j ury could
                     the jury                    i n one
                                            even in      of those
                                                     one of those is
                                                                  is


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                                                       RPR
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                                                                              1075
                                                                              1075
     1       miles away,
             miles away, even the ones
                         even the ones close together the
                                       close together     defendant was
                                                      the defendant
     2                addit'ional new
             seek'ing additional
             seeking              new videos of Sophia,
                                      vjdeos of         not one
                                                Sophia, not     that he
                                                            one that
 3           previously requested
             previously           in aa prior
                        requested in    prior e-mail that's the
                                              e-mail that's the subjec
                                                                subjectt
 4           of aa separate
             of    separate count.
 5                       II will
                            wj I I bri ef1 y go
                                   briefly   go through that tomorrow
                                                through that          and I
                                                             tomorrow and
 6           wl I I deal
             will        wi th the
                    deal with      mul ti p1 i ci ty issue,
                               the multiplicity               j f there
                                                     'i ssue, if  there are
 7           convi cti ons on
             convictions   on each
                              each count;  that can
                                   count ; that can be deal t with
                                                    be dealt  w'ith at
 8           sentenci ng.
             sentencing.
 9                       Why don't we
                         Why don't we stop f or now
                                      stop for      i t 's 4:30
                                                now it's   4:30 and
                                                                and we
                                                                    we will
                                                                       wi I I

10           get started
             get started at 9:30. II did
                         at 9:30.    did want to mention
                                         want to mention aa couple
                                                            couple of
11
11           objections         the summation.
                         during the
             object'ions during                One I sustained
                                    summation. One   susta"ined because
12           the government made
             the government made reference to Ms.
                                 reference to Ms. Kalichenko not being
                                                  Kalichenko not
13           able to
             able    testify.
                  to testify.     II sustained
                                     sustained that objection because
                                               that objection because I
14           don't think
             don't       that's something
                   think that's something that the jury
                                          that the jury should
15           specul ate about
             speculate        or should
                        about or shoul d be
                                         be commented on by
                                            commented on by the
16           government. The
             government. The other two II overruled.
                             other two    overrul ed. One
                                                      One Mr. LaPi nta
                                                          Mr. LaPinta
17          made ear'ly on
            made early     to the
                        on to the government
                                  government referring  to e-mails,
                                             referr"ing to e-ma'ils,
18          that's an
            that's            charge. There
                      attempt charge.
                   an attempt         There was    objection I
                                                an objection
                                            was an
19          overruled, The
            overruled.     government can
                       The government     argue whether
                                      can argue         an e-mail
                                                whether an e-ma'il
20          constj tutes an
            constitutes     attempt. And
                         an attempt.     one in
                                     And one         rebuttal the
                                                 the rebuttal
                                             i n the

21          government suggested
            government           to -- II believe
                       suggested to       bel i eve what the defense
                                                    what the defense said
                                                                     sa'i d

22          you have
            you      to believe
                have to bel'i eve the agents-- law
                                  the agents   I aw enforcement

23          wj tnesses were
            witnesses       lyi ng .
                       were lying.      It is
                                        It 'i s true
                                                true that certa j nl y Mr.
                                                     that certainly
24          LaPjnta focused on
            LaPinta focused on aspects 'if you
                               aspects if  you believe
                                               believe what
                                                       what was sajd
                                                            was said
25          suggests other
            suggests       things-- claim
                     other things         other things
                                    claim other things they
                                                       they had
                                                            had done

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                                Stephanie           CRR, RPR
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                                                                                1076
                                                                                1076
 1       that
          that they
                they   had not
                       had     admitted to.
                           not admitted  to.      At least
                                                  At  least during
                                                            during the
                                                                    the

 22      cross-examination II believe
         cross-examination            based on
                              believe based     the fact
                                            on the  fact no
                                                         no notes
                                                            notes

 33            taken at
         were taken
         were        at the  time of
                         the time    the interview that
                                  of the'intervjew       was done
                                                    that was done many
                                                                  man y

 44      days Ilater
         days        certainly there
                ater certa'in1y there coul
                                      couldd be   mp1 i cati on
                                             be iimplication

 55      potenti
         potentia     y, II guess,
                  l ly,
                 a1'l       guess, the
                                   the agents
                                       agents made up at
                                              made up      east maybe
                                                      at Ileast maybe

 66      not the
         not the second    statement regardi
                  second statement           ng the
                                      regarding the ni
                                                    niece  but that
                                                       ece but  that made
                                                                     made

 77      up the
         up the adm j ssi on regardi
                admission            ng the adm'isslon
                             regarding      admission -- admi tt'ing that
                                                          admitting  that

 88      the
         the e-mails     were sent
               e-ma i ls were        by Hr.
                               sent by      Valerio. II think,
                                        Mr. Valerio.    think, obviously,
                                                               obvious l y ,

 I9      I tol
            toldd the          t's al
                         ury iit's
                  the jjury        all1 argument whether or
                                        argument whether or not
                                                            not the
10
10       evidence
         ev'i dence woul     support that
                      wouldd support          whether or
                                      that or whether    not that
                                                      or not that was
                                                                  was
11
11       exactly what the
         exactly what     defense was
                      the defense     arguing is
                                  was arguing    up to
                                              is up    the jury
                                                    to the jury to
                                                                to
12
12       decide.
         deci de.
13
13                     II think  the government
                          thi nk the            obj ected to
                                     government objected     someth'i ng '
                                                          to something.
14
14       You objected and
         You objected     jt was
                      and it     overruled.
                             was overruled.
15
15                               e1 se we
                       Anythi ng else
                       Anything        we need to address
                                          need to         then today?
                                                  address then
16
16                     MR.
                       HR. BODE: No, your
                           B0DE: No, Your Honor.
17
17                     THE C0URT: II do
                       THE COURT:            to compliment
                                        want to
                                     do want               both sides
                                                compfiment both sides
18
18       regardless of the
         regardless of     verd'ict. II believe
                       the verdict.             the lawyers
                                        believe the         on both
                                                    lawyers on both

19
19       sides  did an
         s'ides did    excellent job
                    an excellent     for their
                                 job for       clients, very
                                         thejr clients, very
20
20                  'in dealing
         civil'ized in
         civilized              with the
                        dealing with     court trying
                                     the Court        to make
                                               trying to      the
                                                         make the

21
21       tri al run
         trial      smoothl y, II appreciate
                run smoothly.                 that.
                                  appreci ate that.
22
22                     MR. LATO: Before
                       MR. LATO:             leave'
                                        you leave
                                 Before you         your Honor,
                                                  , your        with
                                                         Honor, with
23
23       respect  to the
         respect to   the multiplicity   that you
                          multiplic"ity that  you touched
                                                   touched upon, if
                                                           upon, if
24
24               is aa conviction,
          there is
         there         conviction, from   the defense
                                    from the          standpoint, we
                                              defense standpoint, we

25
 25      don't need
         don't       to go
               need to   go into     t j t ; assuming
                             'i nto tit;                convi cti on on
                                              assumi ng conviction    on the
                                                                          the

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                                                                               1077
                                                                               7077
     1       substantive  counts, the
             substant'ive counts,              occur within
                                      attempts occur
                                  the attempts              the same
                                                     within the
     2       time frame
             time       would have
                  frame would      to be
                              have to be merged at sentencing.
                                         merged at sentencing. No
                                                               No

 3                  to go
             reason to
             reason       i nto that.
                       go into
 4                        THE C0URT:
                          THE COURT: The theory would
                                     The theory          'if he
                                                      be if
                                                would be     he was
 5           convicted of the
             convicted of the substantive
                              substantive count and the
                                          count and     attempt counts,
                                                    the attempt
 6           II woul
                wouldd not
                       not be
                           be sentencing
                              sentenci ng on             ust the
                                             attempts, jjust
                                          on attempts,
 7           substant j ve. There
             substantive.             actua'l ly -- II have
                                  i s actually
                            There is                        to look
                                                       have to I ook at jt
                                                                     at it
 8                caref ui i y.
             more carefully.
             more                     d j dn 't mean
                                   II didn't         to deal
                                                mean to deal with  i t yesterday.
                                                             w'ith it  yesterday,
 9I          Some Courts suggest
             Some Courts suggest vacating
                                 vacat'ing attempt convict"ions. Some
                                           attempt convictions.
10           say as long
             say as       as you
                    1 ong as     don't sentence,
                             you don't sentence, you don't have
                                                 you don't have to
11           vacate.
12                      MR. LATO: They
                        MR. LATO:      tal k about
                                  They talk        merg'ing . There
                                             about merging.         'i s no
                                                              There is
13           merge mechan"ism. What
             merge mechanism.       it means,
                               What it means, II assume, to vacate
                                                 assume, to vacate some
14           of the
             of the counts but the
                    counts but     reality is
                               the reality is if
                                              if there is conviction
                                                 there is convjction on
15           the substantive
             the substantive counts, the attempts
                             counts, the          in the
                                         attempts in the same
                                                         same time
16           period  are superfluous
             peri od are superfl uous and
                                      and the government II guess
                                          the government    guess won't
17          object at that
            object at      point because
                      that point         if the
                                 because if the Second Circu'it were
                                                Second Circuit  were to
18                   wi th respect
             reverse with
             reverse               to the
                           respect to     substanti ve, they
                                      the substantive,  they could
                                                             coul d
19           restore the
             restore the counts.
20                          C0URT: II agree
                        THE COURT:
                        THE                 but we
                                      agree but    will address
                                                we will address that if
                                                                that if
21          we need to.
            we need
22                      Have aa good
                        Have         ni ght.
                                good night.
23                      (The tria'l was
                        (The trial  was adjourned to Thursday,
                                        adjourned to Thursday, November
                                                               November
24          1 3 , 2013
            13,        at 9:30
                  2013 at 9 :30 a.m.)
                                a.m. )
25


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                                                            RPR
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                               Proceedings
                               Proceedings                                                               Proceedings
                                                                                                         Proceedings
                                                             1208                                                                         1210
  1
  1           AFTERNOON SESSION
              AFTERNOON SESSION                                              1 that day referenced
                                                                             1          referenced being one
                                                                                                         one hour on the internet a day.
  2                                                                          2 There's
                                                                             2 There's reference
                                                                                       reference to give me some
                                                                                                            some really racy cell
                                                                                                                             cell phone
  3
  3             THE
                THE COURT:           jury is deliberating, the
                    COURT: While the jury                                    3 Videos
                                                                             3        with your daughter tonight:
                                                                               videos With
  4
  4   record should         the lawyers and
             should reflect the         and Mr.
                                            Mr. Valerio are                  4
                                                                             4                 jury certainly concluded based on
                                                                                           The jury                           on the
  5 present.
  5 present.                                                                 5 substance
                                                                             5                             aftempt was made on January
                                                                               substance of the e-mails an attempt             January 23
  6
  6             II want to complete the
                                    the Rule 29 ruling and
                                        Rule 29        and place             6 that Kalichenko
                                                                             6      Kalichenko received that and whether or not, you
  7 a couple of other rulings, to supplement other rulings
  7                                                rulings                   7
                                                                             7    know, whether or not the videos were on the shelf already,
                                                                                  know,                                             already,
  8 with
  8 with respect to the
                    the cases.                                               8 or that she
                                                                             8         she had the videos,
                                                                                                   videos, she sent them.
  9
  9          To supplement the Rule 29 ruling, II was                        9
                                                                             9                         the 24th, Count 7,
                                                                                           And then on the             7, more requests
                                                                                                                               reguests are
 10 discussing why each e-mail constitute a separate
 10                                         separate attempt               10 being made.
                                                                           10       made, So even though they are a day apart they are
 11 in the
 11    the light most favorable to the Government.
                                       Government.                         11 referencing
                                                                           11 referencing future action and
                                                                                                        and it is
                                                                                                               is also
                                                                                                                  also referencing
                                                                                                                       referencing
 12
 12            With respect
                    respect to the solicitation and
                                                and itself                 12 something Will
                                                                           12           will be done on
                                                                                                     on a multiday
                                                                                                          multiday basis.
 13 being an attempt, the trial II had a few years ago
 13                                                                        13
                                                                           13              Count 8,
                                                                                                 B, March 28,               2t7-A, again
                                                                                                          28, 2012, Exhibit 211-A, again
 14 Abdallah,
 14 Abdallah, 528
              528 Fed appx.79
                  Fed appx. 79 (2nd Cir. 2013). In that case
                                    Cir, 2013).                            14 there is a direction on specific
                                                                           14                         specific sex acts, reference
                                                                                                                         reference to
 15 one of the
 15        the attempted wire fraud charges was the defendant              15 money, I'll send out $100.
                                                                           15                       $100, To who and               you want
                                                                                                                    and where do you
16 calling
16 calling up somebody
              somebody and
                       and placing a buy order with respect
                                                    respect                16 me to send
                                                                           16        send it?
17 to a stock sale and
17                 and II ruled
                          ruled and the Second Circuit
                                               Circuit                     17
                                                                           17           So that can constitute a separate attempt.
18 affirmed that that act of calling
18                                calling up and
                                             and asking someone
                                                          someone          18
                                                                           18           Count
                                                                                        Count 1, April
                                                                                                  April 4, 2012, Exhibit 560, reference
19 else to
19         to place an
                     an order through an an intermediary
                                            intermediary constituted       19 to seeking
                                                                           19                        Sofiia. And
                                                                                 seeking pictures of Sofiia.  And there's a reference
                                                                                                                            reference to
20 inin light of the prior dealings
20                                    and the circumstances
                           dealings and        circumstances               20 sending
                                                                           20 sending Kalichenko from Turkey to  to Moscow.
                                                                                                                    Moscow. That could
21 surrounding it a substantial step toward the commission
21                                                     commission of       21 constitute a separate
                                                                           21                        attempt.
                                                                                           separate attempt.
22 fraud.
22 fraud,                                                                  22
                                                                           22           Count
                                                                                        Count 10, July 16, 2012, Exhibit 205, referenced
                                                                                                                                referenced
23
23              And Ii think it is analogous
                                   analogous to the circumstances
                                                     circumstances         23 the videos you
                                                                           23                            perfect, That's the one that
                                                                                          you sent me, perfect.
24 that we
24         we have here for thethe reasons already indicated
                                                     indicated..           24 references a script and
                                                                           24                     and requests specific sex acts.
25
25                    qo through each of the e-mails each and
                I did go                                       and of      25
                                                                           25                       reference to money.
                                                                                        And there's reference     money. Tomorrow I'll
                             Proceedings                                                                Proceedings
                                                                                                        Proceedings
                                                             1209                                                                        1211
                                                                                                                                         12't1
 1 themselves could
 1            could be                   and weren't
                    be separate attempts and                                11 wire you more cash in the day.
                                                                                                         day. Especially in the context
 2 connected IIIin a way that made them
 2                                      merge, I'll go through
                                   them merge.                              2 of all
                                                                            2    all the other e-mails can constitute an
                                                                                                                      an attempt.
 3 the details but very
 3                 very briefly.
                        briefly,                                            3
                                                                            3                    11, July
                                                                                           Count 11,      22,2012,
                                                                                                     July 22, 2012, Exhibit 205.
 4
 4             Count    and II believe It
               Count 6, and            it IS
                                          is Exhibit 558,                   4 July 22nd, as II said,
                                                                            4                  said, it seems to be an
                                                                                                                    an inquiry to a
 5 January 23,
 5         23,2OI2,               in that e-mail about videos
               2012, a discussion In                                        5 July 16th memo by Kalichenko
                                                                            5                              referencing having made five
                                                                                                Kalichenko referencing
 6 With
 6 with Soflia
        Sofiia,, specific sex
                          sex acts with Sofiia,
                                        Sofiia, referenced
                                                referenced to               6 other videos for you.
                                                                            6                  you. We'll
                                                                                                    We'll send the videos today.
 7 sending some
 7              money, Today II will send out some
           some money.                        some money, you               7
                                                                            7    References going to the pool. II think this
                                                                                                     the pool.          this is
                                                                                                                             is in the
 88 will follow these
                these steps.                                                8 context of July 21st e-mail fromthejoevaI5@optonline.net
                                                                            8                             from the joeval5@optonline.net
 99                           would be suffiCient.
               That certainly would    sufficient.                          9 saying
                                                                            9 saying II got the videos of you and Sofiia, send the
                                                                                                                               the rest
10
10             There's a discussion that popped up in there.
               There's                                there,               10 to
                                                                           10 to my e-mail.
11
11          Count 7,            24,2OL2,
                     7, January 24, 2012, Exhibit 559, again,              11
                                                                           11             You didn't follow my instruction directions.
                                                                                          You                              directions.
12 references
12 references to specific sex acts With
                                    with Sofila,
                                         Sofiia, references
                                                 references to             12
                                                                           12                               pool, shower, etcetera.
                                                                                          Didn't get to the pool,         etcetera.
13 picking
13 picking up money on Wednesday.
                           Wednesday. The
                                        The MTCN
                                              MTCN number is               13
                                                                           13                                              Count 11
                                                                                          Although Count 10 was July 16th, Count J-1 is
14 provided Inin that one,
14                    one, and
                           and again on  this issue of the fact
                                     on this                               14 July
                                                                           14 )uly 22nd,     jury could certainly fllld
                                                                                   22nd, the JUry                 find that additIOnal
                                                                                                                            additional
15 of Count 6 or 77 are
15                               apart, If you actually look
                     are one day apart.                                    15 video
                                                                           15 video III
                                                                                    in the July 16th was an
                                                                                                         an attempt
                                                                                                            attempt to create
                                                                                                                       create some
16 at the e-mails, Count 6 was on
16                             on Monday, Count 7 was on                  16 videos or obtain some videos,
                                                                          16                       videos, In
                                                                                                           in this situation to create
17 Tuesday.
17                                                                        17 videos,
                                                                          17 videos, and                      videos in
                                                                                         having received some videos
                                                                                     and having                      in the IIlterim,
                                                                                                                            interim,
18
18             On Tuesday there is
                                is a reference
                                     reference to Wednesday
                                                  Wednesday on            18 Count
                                                                          18 Count 11,
                                                                                   11, July                                and have
                                                                                                        attempt to receive and
                                                                                       July 22nd, is an attempt
19 the e-mail and the January 23rd e-mail.
19                                    e-mail. This is not                 19
                                                                          19          videos created.
                                                                                 more videos
20 word-for-word,
20                  you only go to the
    word-for-word, you              the internet
                                        internet place Monday,            20
                                                                          20                                  6,2012,
                                                                                          Count 12, September 6, 2012, Exhibit 229, send
2'l Wednesday,
21                                            you start with an
                 Friday.. When you're there you
    Wednesday, Friday                                                     21
                                                                          21     me the usual videos of you and sweet Sofiia,
                                                                                                                      Sofiia, and then
22 e-mail to there and
22                  and when you leave before dark you send me            22
                                                                          22     again specifiC
                                                                                       specific sex acts
                                                                                                    acts are requested
                                                                                                             requested where $1,000 IS
                                                                                                                                    is
23 one when you leave.
23                                                                        23
                                                                          23     provided,. That e-mail could certainly constitute a
                                                                                 provided
24
24                there is a discussion on
              And there                 on certain acts
                                                    acts of               24
                                                                          24     separate attempt.
                                                                                 separate
25 Sofila
25                    before bed -- there's an earlier e-mail
    Sofiia each night before                                              25
                                                                          25              Finally Count
                                                                                                  Count 13, Exhibit 206, referencing
                                                                                                                         referencing
                                                                       to 1211 of 1256
                                                             Page 1208 to                                                                34 0'
                                                                                                                                         34 of 77 sheets
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                                    Proceedings
                                    Proceedings                                                                               Proceedings
                                                                                                                              Proceedings
                                                                           1212
                                                                           1212                                                                                     1214
                                                                                                                                                                    1214
   t1   having given
        having given $1200,
                     $1200, produced
                            produced nothing
                                     nothing for
                                              for me,
                                                  me, and
                                                      and this
                                                           this one,
                                                                one,                        11 noted,
                                                                                               noted , the     Government isis allowed
                                                                                                         the Government                  all theories
                                                                                                                                allowed all             in the
                                                                                                                                              theories in   the case
                                                                                                                                                                 case
   22   again, consistent
        again, consistent with
                          with the
                                the other
                                      other e-mails
                                            e-mails request
                                                     request each
                                                              each                          22 because
                                                                                               because the       evi dence could
                                                                                                            the evidence    could support   one theory
                                                                                                                                  support one             and not
                                                                                                                                                 theory and     not the
                                                                                                                                                                     the
   33   morning  and  night
        morning and night   you
                            you  will  send  me a  cell
                                 will send me a cell    phone
                                                        phone  video of
                                                              video  of                     33 other       the jury
                                                                                               other ifif the         concluded that
                                                                                                                jury concluded   that Ms'  Kalichenko had
                                                                                                                                      Ms . Kalichenko     had the
                                                                                                                                                               the
   44    you waking
        you   waking up
                     up with
                         with your
                               your daughter
                                    daughter and
                                              and there
                                                   there are
                                                          are references
                                                               refere nces                 44    videos         made, they
                                                                                                        already made,
                                                                                                 videos already             could find
                                                                                                                       they could       attempts for
                                                                                                                                   find attempts      each of
                                                                                                                                                  for each of
   55    to sexual acts. "If I don't see this each
        to sexual acts. "If I don't see this each   day,"
                                                   day,"   and
                                                          and   he
                                                                he                         55    those
                                                                                                  those counts without finding
                                                                                                        counts without          any sexual
                                                                                                                        finding any        exploitation of
                                                                                                                                    sexual exploitation of
   66   makes certain
        makes certain comments,
                       comments.                                                           66    Sofiia.
                                                                                                 Sofiia.
   77           So  it's clear based
                So it's clear  based upon
                                     upon the
                                           the e-mail  the jury
                                               e-mail the   Jury can
                                                                 can                       77                  So there
                                                                                                               So  there is  evidence that
                                                                                                                          is evidence  that suppotts
                                                                                                                                            supports both
                                                                                                                                                     both
   88   rationalize this,
        rationalize  this, there
                            there are
                                  are ongoing
                                      ongoing videos being requested
                                              videos being  requested                      88    theories.
                                                                                                  theories .
   99   and   attempts for
        and attempts    for additional
                            additional videos
                                        videos on
                                                on each
                                                   each and
                                                         and every
                                                             everyone
                                                                   one                     I9                  In
                                                                                                               In terms  how you
                                                                                                                   terms how          with that,
                                                                                                                                 deal with
                                                                                                                             you deal              t here's aa case
                                                                                                                                            that, there's      case
  10
  10    of  these counts
        of these counts,  . So
                            So I  don't
                                 don't  believe
                                        believe  the
                                                the  counts
                                                     counts are
                                                            are                           10
                                                                                          10     called  U.S. v.
                                                                                                 called U.S.   v. Zvi,
                                                                                                                  Zvi , 168
                                                                                                                        168 F.3d   49 (2d
                                                                                                                             F.3d 49  (2d Cir'     1999) and
                                                                                                                                            Cir. 1999)          in that
                                                                                                                                                           and in  that
  11
  11    multiplicitas between
        multiplicitas   between eacheach other.
                                          other.                                          11
                                                                                          11     case the
                                                                                                 case       Second Circuit
                                                                                                       the Second             discusses this
                                                                                                                      Circuit discusses  this in    detail and
                                                                                                                                                 in detail  and says
                                                                                                                                                                 says
  12
  12               On the
                   On   the final
                             final issue
                                   issue that
                                          that we've
                                               we've already
                                                     already discussed,
                                                              discussed,                  12
                                                                                          12     ordlnanly the
                                                                                                 ordinarily  the appropriate     remedy , ifif you
                                                                                                                  appropriate remedy,                have that
                                                                                                                                               you have     that
  13
  13    and again
        and  again I'll
                    I'll put
                         put the
                               the case
                                   case law
                                         law on
                                             on the record of
                                                            of whether
                                                               whether                    13
                                                                                          13                  that's with
                                                                                                 situation, that's
                                                                                                 situation,                respect to
                                                                                                                      with respect         money laundering
                                                                                                                                     to aa money  laundering case,
                                                                                                                                                              case,
  14
  14    or not
        or not these
               these counG,
                     counts, the
                             the attempt
                                 attempt counts
                                         counts are multiplicitas
                                                    multiplicitas                         14
                                                                                          14     but ifif there                        issue, the appropriate
                                                                                                                        multlplicltas issue,
                                                                                                          there is this multiplicitas             appropriate
  15
  15    and overlap
        and overlap with
                     with Count
                          count 2, the sexual exploitation
                                               exploitation count'
                                                            count .                       15
                                                                                          15     remedy to remand the multiplicitas                 and to
                                                                                                                             multlplicitas counts and   to adjust
                                                                                                                                                           adjust
  15
  16             Th is argument
                 This  argument -- there is nothing
                                             nothing improper
                                                     improper about
                                                                about                     16
                                                                                          16     the sentence accordingly,
                                                                                                               accordingly.
  17
  17    charging the
        charging the way
                      way Count                     multiple --
                           Count 3 is charged with multiple                               17
                                                                                          17              Certainly I think Mr'
                                                                                                                            Mr. Lato is   correct, the
                                                                                                                                       IS correct,    the
  18
  18    excuse me,
        excuse me, Count
                     Count 2,
                           2, that
                              that basically even though
                                                  though the                              18
                                                                                          18     Government might
                                                                                                 Government   might even concede
                                                                                                                           concede   this  ifif there were
                                                                                                                                                       were aa
  19
  19    Government is
        Government    is alleging
                         alleging there are multiple
                                             multiple acts of sexual
                                                              sexual                      19
                                                                                          19                               exploitation counts.
                                                                                                 conviction on the sexual exploitation    counts . Certainly
  20
  20    exploitation during
        exploitation during that
                              that period they
                                          they charge it as one                           20
                                                                                          20                                              compl eted crime
                                                                                                                commit a crime and a completed
                                                                                                 an attempt to commit                                   cnme would
                                                                                                                                                               would
  21
  21    substantive count.
        substantive count.                                                                21
                                                                                          21              double jeopardy
                                                                                                 create a double Jeopardy problem if     som eone were
                                                                                                                                      if someone       were sentenced
                                                                                                                                                            sentenced
  22
  22              In  the case
                  In the         of United States versus Anson, 304
                           case of                                                        22
                                                                                          22     on both.
                                                                                                 on both. If                             U.S. v'
                                                                                                          If there is any doubt on that, U.S' v. Rust,
  23
  23    Fed .Appx.
        Fed.Appx. 1 1  (2d  Cir.
                            Cir. 2008) made clear, and
                                 2008)              and this is called                    23
                                                                                          23     Eighth         case,, 650 F.2d, a 1981 case, where they
                                                                                                 Eighth Circuit case
  24
  24    duplicitous  counts,   counts that
        duplicitous counts, counts that    join two or more distinct
                                                             distinct                     24
                                                                                          24    said                                     not be convicted
                                                                                                said it is also clear that defendant may not
  25
  25    crimes
        crimes in
               in aa single
                     single count
                            count.. In
                                    In this case it's a child                             25
                                                                                          25    in both the attempt andand the completed cnme           all
                                                                                                                                         crime because all
                               Proceedings
                               Proceedings                                                                                   Proceedings
                                                                                                                             Proceedings
                                                                           1213                                                                                     1215
                                                                                                                                                                    1215
   11 pornography
      pornography case    and that
                    case and   that crrmrnal
                                    criminal charges
                                             charges may
                                                     may aggravate                         11 the                                included rn
                                                                                                                            were included
                                                                                                               the attempt were
                                                                                              the elements of the                             the completed
                                                                                                                                          in the  completed
   22 mUltiple
      multiple individual actions that
               individual actions  that otherwise could
                                                  could be
                                                        be                                 22 offense
                                                                                              offense and                    would amount
                                                                                                             dual conviction would
                                                                                                      and aa dual                  amount to to double
   33 charged
      charged asas discrete
                    discrete offenses
                              offenses as
                                       as long
                                           long as
                                                as all
                                                   all the
                                                       the actions                         33 jeopard
                                                                                              jeopardy.
                                                                                                      y.
   44 are
      are aa part
             part of
                  of aa single
                        single scheme.
                               scheme' Citing    U'S' vv.. Maloney,
                                          Citing U.S.      Maloney,                        44               Based upon
                                                                                                            Based      the Second
                                                                                                                  upon the        Circuit deCISion
                                                                                                                           Second Circuit              Zvi, II
                                                                                                                                                    in Zvi,
                                                                                                                                          decision In
   55 287
      287 F.34d
            F.34d 282
                   282,, Second
                         Second CirCUit
                                  Circuit 2002.
                                          2002. Here
                                                  Here certainly
                                                        certainly the
                                                                  the                      55 think
                                                                                              think the
                                                                                                    the appropriate remedy here
                                                                                                        appropriate remedy           there were
                                                                                                                           here Ifif there were aa
   66 Government's
      Government's proof
                    proof could
                          could support
                                support aa finding
                                            finding this
                                                    this isis one
                                                              one                          66 con
                                                                                              conviction  on both
                                                                                                  viction on      the substantive
                                                                                                             both the substantive crimes     the
                                                                                                                                         and the
                                                                                                                                  crimes and
   77 single
      single scheme
             scheme creating
                    creating multiple
                             multiple child
                                      child pornography
                                              pornography videos
                                                              videos                       77 attempted
                                                                                              attempted counts would be
                                                                                                        counts would    to vacate
                                                                                                                     be to        the attempted
                                                                                                                           vacate the attempted accounts
                                                                                                                                                accounts
   88 involving
       involving Sofiia
                 Sofiia and,
                        and, therefore
                              therefore,, the
                                           the sexual
                                               sexual exploitation
                                                      exploitation                         88 to
                                                                                              to avoids
                                                                                                 avoids aa double jeopardy problem
                                                                                                           double jeopardy problem but we'll deal
                                                                                                                                   but we'll      with
                                                                                                                                             deal With
  99 charge
     charge cou ld be
            could   be charged
                        charged In
                                 in the
                                    the aggregate
                                        aggregate even
                                                   even though
                                                         though the
                                                                 the                       9I   that ifif that
                                                                                                that      that occurs.
                                                                                                               occurs.
 10 Government is alleging there are multiple acts of sexual
 10  Government    is alleging there  are multiple acts of sexual                         10
                                                                                          10                That's  the Court's
                                                                                                            That's the                  with respect
                                                                                                                                 ruling With
                                                                                                                        Court's ruling                 to the
                                                                                                                                              respect to   the

 11 exploitation
 11 exploitation during
                 during that
                         that time
                               time penod  so there
                                    period 50  there isis no
                                                          no                              11 Rule
                                                                                          11 Rule 29 motion.
                                                                                                  29 motion . II did want to
                                                                                                                 did want     place some
                                                                                                                           to place some cases
                                                                                                                                         cases on  the
                                                                                                                                               on the

 12 duplicitous.
 12 duplicitous.                                                                          12 record.
                                                                                          12  record.
 13
 13                 In
                     In terms
                         terms of
                               of Mr.
                                  Mr. Lato 's objection
                                      Lato's  objection to
                                                         to                               13
                                                                                          13                Mr. LaPinta
                                                                                                            Mr. LaPinta did an expert
                                                                                                                        did an expert Sidebar     came up
                                                                                                                                              and came
                                                                                                                                      sidebar and      up

 14 multiplicity,
 14 multiplicity, first
                   first itit isis not
                                   not waived because itit was
                                       waived because      was not
                                                               not                        14 with
                                                                                          14 with aa 10th
                                                                                                     10th Circuit
                                                                                                          Circuit case.
                                                                                                                   case.

 15 raised
 15  raised as
             as part
                part of
                     of the
                         the tnal,
                              trial, that
                                      that defects
                                           defects inin the
                                                         the                              15
                                                                                          15                MR.
                                                                                                            MR. LAPINTA:  9th.
                                                                                                                 LAPINTA: 9th.
 16 indictment,
 16  indictment, US
                  US v.
                      v. Chacko,
                          Chacko, 169  169 F.3d
                                            F.3d 140,
                                                  140, Second
                                                         Second Circuit
                                                                Circuit                  16
                                                                                         16                 THE
                                                                                                            THE COURT:  I'm talking
                                                                                                                COURT: I'm   talking about  the subscrrber
                                                                                                                                     about the   subscriber
  17 1999,
 17   1999, said
              said that
                     that ifif you
                                you don't
                                    don't assert
                                           assert at
                                                  at all
                                                     all at
                                                         at the
                                                             the district
                                                                 district                 17 issue.
                                                                                          17  issue.
  18 court
 18   court level
             level,, there's
                      there's aa double    jeopardy exception
                                   double Jeopardy    exception which
                                                                   which                  18
                                                                                         18                 MR.
                                                                                                            MR. LAPINTA:   Foundation.
                                                                                                                 LAPINTA: Foundation.
  19 essentially
 19   essentially isis what      is. IfIf you
                       whatitit is.        you don't  raise Itit all
                                               don't raise        all at
                                                                      at                  19
                                                                                         19                   THE COURT:
                                                                                                            THE                     thought itit was
                                                                                                                     COURT: I I thought          wasaa 10th      Circuit. II
                                                                                                                                                          10th Circuit.
  20 the
 20   thedistrict
          district court
                    court level
                           level Itit could
                                       couldbe
                                             be waived,  butitit
                                                waived, but                               20
                                                                                         20     did   look itit up
                                                                                                 did look        up and     I looked   at Second    Circuit
                                                                                                                     and I looked at Second Circuit case law case   lawon
                                                                                                                                                                        on

  21 doesn't
 21                                            pretrial motion.                           21
                                                                                         21      that
                                                                                                that  issue
                                                                                                       issue    and
                                                                                                               and   I I  think
                                                                                                                         think   the
                                                                                                                                the   rulings
                                                                                                                                     rulings   that
                                                                                                                                              that  I I made
                                                                                                                                                        made   --
                                                                                                                                                              --   your
                                                                                                                                                                  your
      doesn't have
               have toto be
                          benecessarily
                             necessarily aapretrial     motion. That
                                                                  That
                                       juryrendered                                       22 objection
                                                                                              objection was           tosome
                                                                                                             correct to       extentand
                                                                                                                         someextent          rulings I I
                                                                                                                                         therulings
                                                                                                                                     andthe
  22 case
 22   case was
           wasmade
                 madeafter
                         after the
                                the jury    rendered its
                                                      itsverdict.
                                                          verdict'                       22             was correct

  23
 23                 The
                     Thecircuits   heldItitwas
                         circuits held     wasnot
                                               not waived  here, itit was
                                                   waived here,       was                 23 made
                                                                                         23  madeare
                                                                                                  arecompletely   consistent with
                                                                                                      completely consistent        theSecond
                                                                                                                             with the          Circuit
                                                                                                                                       Second CirCUit

  24 made
 24   madeatatthe
               theend
                   endofofthe
                           theGovernment's
                               Government's case
                                               casebutbut certainly
                                                            certainly was
                                                                       was                24 cases
                                                                                         24   cases..

  25 not waived. But on the
 25  not waived  . But on  the substantive
                                substantive issue,
                                             issue,  first
                                                    first  as
                                                            asI I                         25
                                                                                         25                 So,  therewere
                                                                                                             So,there           objections' The
                                                                                                                            twoobjections.
                                                                                                                       weretwo                    first one
                                                                                                                                             The first   one
35
 35ofof77
        77sheets
           sheets                                                          rDge  1212toto1215
                                                                            Page1212      1215ofof1256
                                                                                                   1256
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                                              _______

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                                        FAX: (631) 300-4380
                                    EMAIL: leonardlato@yahoo.com



                                                              November 27, 2014

The Honorable Joseph F. Bianco
United States District Judge
Eastern District of New York
924 Federal Plaza
Central Islip, NY 11722

       Re:     United States v. Joseph Valerio
               14-CR-094-JFB

Dear Judge Bianco:

        The defendant Joseph Valerio writes to inform the Court that, to preserve the sufficiency
issue for appeal, he moves for a judgment of acquittal pursuant to Rule 29(c).

        Valerio first moved for a judgment of acquittal "[a]fter the government close[d] its
evidence." Fed. R. Crim. P. 29(a). Valerio placed his reasons on the record. (Trial Tr. 870-75.)
The Court denied the motion and placed its reasons on the record. (Trial Tr. 924-25, 1068-75,
1208-12.) Valerio renews his motion solely to preserve the sufficiency issue for appeal. See,
e.g., United States v. Allen, 127 F.3d 260, 264 (2d Cir. 1997) ("To preserve the sufficiency issue
. . . , a defendant must have moved for judgment of acquittal either at the close of all the
evidence pursuant to Rule 29(a) or post-trial in a motion pursuant to Rule 29(c)"). Valerio
declined to renew his motion "at the close of all the evidence" and instead opted to renew it only
after reviewing the trial transcripts.

       After reviewing the transcripts, Valerio rests on his trial arguments and, thus, is not
asking the Court to supplement its decision. He renews his motion solely to preserve the issue.

                                                              Respectfully,

                                                              Leonard Lato
                                                              Leonard Lato

ec:    AUSAs Allen L. Bode & Ameet B. Kabrawala
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NEW YORK
                                      _____________________

                                         No 14-CR-94 (JFB)
                                      _____________________

                              UNITED STATES OF AMERICA,
                                            VERSUS


                                       JOSEPH VALERIO,
                                                         Defendant.
                                      ___________________
                                    MEMORANDUM AND ORDER
                                           April 15, 2016
                                       ___________________


JOSEPH F. BIANCO, District Judge:
    On March 5, 2014, a grand jury charged          asserts that any incriminating statements
defendant Joseph Valerio (“defendant” or            were the product of a custodial interrogation
“Valerio”) in a superseding indictment with         conducted in the absence of Miranda
three counts of sexually exploiting a child,        warnings, because he did not receive his
in violation of 18 U.S.C. §§ 2251(a),               “advice of rights” before the onset of
2251(c), and 2251(e); one count of                  custodial interrogation, and that any wavier
transporting child pornography, in violation        of these rights was invalid because he felt
of 18 U.S.C. §§ 2252(a)(1) and 2252(b)(1);          compelled to continue to answer law
one count of receiving child pornography, in        enforcement’s questions. The Court
violation of 18 U.S.C. §§ 2252(a)(2) and            conducted an evidentiary hearing on July 31,
2252(b)(1); and one count of possessing             2014, to address the admissibility of
child pornography, in violation of 18 U.S.C.        statements he made to law enforcement
§§ 2252(a)(4)(B) and 2252(b)(2). A grand            officers after he formally was arrested on
jury first indicted Valerio on February 26,         January 28, 2014, and after his second arrest
2014, with two counts of sexual exploitation        on February 24, 2014 (after the Magistrate
of a child, one count of transportation of          Judge released defendant on bond). 1 On
child pornography, one count of receipt of          September 3, 2014, the Court orally denied
child pornography, and one count of                 the motion to suppress, and stated that a
possession of child pornography.                    written decision would follow containing the
    On July 1, 2014, Valerio moved to               1
                                                      Although the defendant also made statements in the
suppress statements made to law                     car after his arrest on January 28, 2014, the
enforcement officers on January 28, 2014,           government made clear at the conference on
during the execution of a search warrant at         September 3, 2014 that it would not be seeking to
his home in Smithtown, New York. He                 introduce those statements at trial. Thus, any motion
                                                    as to the statements in the car was rendered moot.
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Court’s analysis. The Court now issues this                      Finally, the Court also concludes that
Memorandum and Order memorializing the                       defendant’s statement following his second
basis for the Court’s ruling on September 3,                 arrest on February 28, 2014, was a
2014. 2                                                      volunteered, spontaneous statement after
                                                             being told about the new charge against him
    For the following reasons, having                        and, thus, was not the product of
conducted an evidentiary hearing, the                        interrogation for purposes of Miranda. In
motion to suppress is denied. First, the                     any event, that statement was made after he
Court concludes that the pre-Miranda                         had knowingly and voluntarily waived his
statements defendant made during an                          Miranda rights in connection with the new
interview at his home on January 28, 2014,                   arrest. Accordingly, the motion to suppress
were not the result of a custodial                           the February 28, 2014 statement is denied.
interrogation and were voluntarily given to
law enforcement. Specifically, the Court                                I.       FINDINGS OF FACT
finds that a reasonable person in defendant’s
situation would have understood that he was                      The charged crimes arise from
free to end the interview and leave the house                defendant’s alleged production of child
and, in any event, his freedom of action was                 pornography involving a then three-year-old
not curtailed to a degree associated with                    female victim in Ukraine, and his production
formal arrest. Thus, the motion to suppress                  of child pornography involving a then six-
the defendant’s pre-Miranda statements                       year-old female victim at his Smithtown,
made at the residence on January 28, 2014,                   New York residence. See generally United
is denied.                                                   States v. Valerio, 9 F. Supp. 3d 283
                                                             (E.D.N.Y. 2014). At the evidentiary hearing,
    Second, the Court finds that, after his                  the Court heard testimony from Federal
Miranda rights were read on January 28,                      Bureau of Investigation (“FBI”) Special
2014, the subsequent statements at his                       Agent Steven Troyd (“Agent Troyd”). The
residence were made after the defendant                      government also introduced in evidence
voluntarily, intelligently, and knowingly                    seven exhibits: three photographs of the
waived his Miranda rights. Thus,                             residence, an email between defendant and a
defendant’s motion to suppress the post-                     third party, two “Advice of Rights” forms,
Miranda statements made at the residence                     and defendant’s June 22, 2014 affidavit.
on January 28, 2014, is denied.                              After evaluating the credibility and
                                                             demeanor of Agent Troyd; the documentary
                                                             evidence produced at the hearing; and
                                                             defendant’s June 22, 2014 affidavit, the
2
  On April 9, 2014, the grand jury returned a second         Court fully credits the testimony of Agent
superseding indictment charging the defendant in
sixteen counts: conspiracy to sexually exploit a child
                                                             Troyd, discredits defendant’s contrary
(Count One), sexual exploitation of a child (Counts          assertions in his affidavit, and makes the
Two, Three, and Fifteen), transportation of child            following findings of fact. 3
pornography (Count Four), receipt of child
pornography (Count Five), attempted sexual
exploitation of a child (Counts Six through Fourteen),
                                                             3
and possession of child pornography (Count Sixteen).           Defendant did not testify at the evidentiary hearing,
The government subsequently voluntarily dismissed            and his affidavit does not specifically address events
Count Fourteen. On November 13, 2014, after a jury           after his arrest on January 28, 2014. As set forth
trial, the jury returned guilty verdicts on all of the       infra, to the extent the affidavit conflicts with Agent
remaining fifteen counts. The defendant is awaiting          Troyd’s testimony, the Court finds defendant’s
sentencing.                                                  version of events not to be credible in light of the

                                                         2
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     A.        January 28, 2014 Statements                       advised Valerio that the FBI was there to
                                                                 execute a search warrant and that he should
    On January 28, 2014, Agent Troyd and a                       open the door. (Id.) Valerio complied. (Tr.
team of twelve FBI special agents and                            9.) Agent Troyd entered, walked with
detectives from Nassau and Suffolk                               Valerio to the end of the entrance hallway,
Counties executed a search warrant at                            and repeated that the FBI was executing a
defendant’s residence at 3 High Gate Drive                       search warrant. (Id.) Defendant, who was
in Smithtown, New York. (Tr. 4, 7.) 4 The                        wearing long pants and a tank top, did not
FBI’s legal attaché office in Kiev, Ukraine,                     protest, and he stood with Agent Troyd at
had received information about defendant                         the base of the stairway while the search
from Olena Kalichenko (“Kalichenko”), a                          team conducted a protective sweep of the
Ukrainian citizen, who claimed that she had                      sizeable home. (Tr. 10–11.) None of the
been involved with Valerio and provided                          officers had guns drawn, and Agent Troyd
him child pornography in exchange for cash.                      did not see anyone carrying a long gun, rifle,
(Tr. 5.) Kalichenko gave the FBI copies of                       or shotgun. (Tr. 11.) He remained with
email exchanges with defendant, as well as a                     defendant during the sweep, which took
video containing child pornography that she                      approximately ten minutes because of the
claimed she sent to Valerio. (Id.) Based                         size of the home. (Tr. 11–12.) The agents
upon the allegations, Agent Troyd obtained                       ultimately located one other individual, who
a search warrant, which was issued by                            defendant identified as his girlfriend,
Magistrate Judge William Wall on January                         upstairs. (Tr. 12–13.)
27, 2014. (Tr. 6.) At the time the warrant
was executed, defendant was not under                                Once the sweep ended at approximately
indictment or criminal complaint. (Id.)                          6:15 a.m., Agent Troyd asked Valerio if he
                                                                 would sit in the dining room and speak to
    Between 5:15 and 6:00 a.m. on January                        the FBI and the detectives. (Tr. 13, 38.)
28, 2014, law enforcement officers gathered                      Valerio agreed and walked with Agent
at St. Catherine of Sienna’s Hospital in                         Troyd to the dining room. (Tr. 13, 39.)
Smithtown, and Agent Troyd briefed the                           Those present were arranged as follows:
team before proceeding to Valerio’s                              Agent Troyd sat at the far end of the table,
residence at approximately 6:00 a.m. 5 (Tr.                      against the wall; defendant sat at the head of
7.) The agents and detectives were not                           the table; Suffolk County Police Department
uniformed; instead, they were wearing                            Detective Rory Forrestal (“Detective
jackets, ballistic armor underneath, and raid                    Forrestal”), a computer expert, sat to
jackets that displayed FBI or police insignia.                   Valerio’s left; 6 Special Agent Danielle
(Tr. 7–8, 35.) As agents knocked on the
front door, Agent Troyd called the home,
and Valerio answered. (Tr. 8.) Agent Troyd                       6
                                                                    Defendant claims that Detective Forrestal said,
                                                                 among other things, that defendant was “going to be
                                                                 in a very dark place.” (Valerio Aff. ¶ 3.) Detective
totality of the evidence, including the Court’s                  Forrestal allegedly “was low key, in that he spoke in
evaluation of Agent Troyd’s credibility.                         a soft voice, but he was in [Valerio’s] face a lot.”
4
  “Tr” refers the July 31, 2014 evidentiary hearing              (Id.) Agent Troyd did not recall Detective Forrestal
transcript.                                                      making any such statement or being in Valerio’s face.
5                                                                (Tr. 25–26.) He described Detective Forrestal’s
  Agent Troyd testified that, for safety, it is preferable
                                                                 demeanor as “[v]ery calm and poised, very friendly,
to execute searches earlier in the day, and he agreed
                                                                 developing a rapport during the interview,” and “very
that it would be advantageous not to give advance                professional.” (Id.) The Court, having evaluated
notice to a suspect. (Tr. 34.)                                   Agent Troyd’s credibility and the totality of the

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Messineo (“Agent Messineo”) sat to                             [Kalichenko] was able to find his email
Detective Forrestal’s left; and Nassau                         address” to communicate via Viber, and
County Police Department Detective                             defendant “said he had contacted his
Badalucco stood in the corner to Agent                         attorney,” Anthony LaPinta (“LaPinta”), “to
Messineo’s left. 7 (Tr. 14–15.) Nobody else                    speak with him in reference to the extortion
was present during this interview. 8 (Tr. 15.)                 by Ms. Kalichenko.” (Tr. 17–18.) Defendant
Defendant was not touched, restrained, or                      did not ask to speak with LaPinta or any
handcuffed to either the table or any chair.                   other lawyer at this point, or say that he
(Tr. 16.) He was clothed, and no one drew a                    wanted to call a lawyer. (Tr. 18.)
weapon on him. (Id.) At one point during the
interview, he requested water and was given                        Agent Troyd then showed defendant an
a coffee mug of water from the kitchen. 9                      excerpt of a July 22, 2012 email exchange
(Tr. 16–17.)                                                   between him and Kalichenko that the FBI
                                                               received from Kalichenko. (Tr. 18–19.) At
    After sitting down, Agent Troyd                            about 7:15 a.m. (Tr. 46), Agent Troyd read
explained that the officers were looking for                   an excerpt from the email. (Gov. Ex. 4, at 2;
evidence of child pornography. (Tr. 17, 41.)                   Tr. 20.) Agent Troyd then asked Valerio “if
Valerio responded “that he was being                           he had in fact directed Ms. Kalichenko to
extorted by” Kalichenko and had received                       produce child pornography.” (Tr. 20.)
Viber chat messages from her negotiating                       Defendant said he had. (Id.) Agent Troyd
for money. (Tr. 17.) According to Agent                        then asked defendant “if he had received
Troyd,     defendant      was     “dismayed                    that pornography in email.” (Id.) Defendant
                                                               said he had. (Id.) Agent Troyd also asked
evidence, fully credits his recollection of defendant’s        defendant whether he had received a DHL
interaction with Detective Forrestal.                          package from Kalichenko that contained a
7
  A fair and accurate depiction of the dining room             disk (information which was gleaned from
during the interview was admitted into evidence as             the report of FBI Special Agent Peter
Government Exhibit 3. (Tr. 14.) Defendant claims               Angelini’s interview of Kalichenko in
that three officers were seated, while two stood               Ukraine). (Tr. 20–21.) Defendant “claimed
behind him. (Valerio Aff. ¶ 2.) The photograph
shows a minibar to Valerio’s rear, and Agent Troyd             or admitted that he had in fact received the
testified that “no one had been standing behind”               package, [b]ut that he only recalled that it
defendant or in the opening to the kitchen directly            contained bubble wrap.” (Tr. 20.)
behind him. (Tr. 24–25, 40.) Again, the Court fully
credits Agent Troyd’s version of the events.                       After defendant made these statements,
8
  Agent Troyd’s supervisor, Dawn Smallwood, stood              Agent Troyd conferred with Agent
in the hallway between the dining room and the                 Messineo and decided to speak to the United
family room, where defendant’s girlfriend was                  States Attorney’s Office about authorizing a
seated. (Tr. 15.) Agent Smallwood did not interact             complaint against Valerio. (Tr. 21.) Agent
with Valerio. (Tr. 16.)
                                                               Troyd called Assistant United States
9
  During the search, neither Valerio nor his girlfriend,       Attorney Allen Bode, who authorized the
who was seated in the family room, could move
around the house. (Tr. 39.) Agent Troyd testified,             complaint. (Id.) Agent Troyd and Messineo
however, that it was not “fair to say” that defendant          then agreed to advise defendant of his
“was not free to leave the dining room once that               Miranda rights. 10 (Id.) At 7:55 a.m., Valerio
interview started.” (Tr. 41.) According to Agent
Troyd, although Valerio was not free to walk around            10
                                                                  On cross-examination, Agent Troyd testified that,
the house or to go back and forth from the kitchen to
                                                               despite his awareness of Kalichenko’s allegations and
get water, he was free to enter the hallway adjacent to        the documentary evidence, he did not intend to arrest
the dining room and to leave the house. (Tr. 42, 45.)          defendant regardless of whether the search warrant

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signed an “Advice of Rights” form,                          same background in other videos sent to him
acknowledging: “I have read this statement                  by Kalichenko. (Id.)
of my rights and I understand what my
rights are. At this time, I am willing to                        Agent Troyd asked defendant to sign a
answer questions without a lawyer                           written statement. (See Tr. 27.) Defendant
present.” 11 (Gov. Ex. 5; Tr. 21.)                          declined and asked to speak to his attorney.
                                                            (Id.) Agent Troyd stopped questioning
    Agent Troyd then continued the                          defendant or speaking with him about
interview, first providing defendant with                   Kalichenko’s allegations. (Tr. 27–28.) He
copies of two email exchanges between him                   did not immediately tell defendant that he
and Kalichenko, dated July 17 and July 22,                  was arrested, because he wanted Valerio to
2012. (Tr. 22.) Defendant admitted that he                  remain seated and calm. (Tr. 27.) Once the
had sent these emails, but he declined Agent                officers had cleaned up the search warrant
Troyd’s request to sign them. (Id.)                         materials, collected the evidence, and loaded
Defendant then explained that he wanted the                 it in their cars, Agent Troyd told defendant
videos from Kalichenko because he had sent                  that he was under arrest and asked him to
her thousands of dollars and “wanted                        stand up to be handcuffed. (Id.) Defendant
something for his money.” (Id.) Agent                       complied. (Id.) The agents walked Valerio
Troyd then played a segment of a video                      outside in a jacket and proceeded to drive
provided by Kalichenko. (Tr. 23.) Defendant                 towards the courthouse in Central Islip, New
admitted that he recognized Kalichenko and                  York. (Tr. 28.)
the child in the video, but stated that he had
not seen this particular video, because he did                 B.      February 24, 2014 Statements
not recognize the background in it as the
                                                                Defendant was released on bond on
                                                            February 12, 2014. Valerio, 9 F. Supp. 3d at
revealed evidence of child pornography. (Tr. 44.)           286. During the afternoon on February 24,
Agent Troyd did not believe he had probable cause to
arrest at the time he entered the house (id.), and he
                                                            2014, Agent Troyd arrested defendant on
only decided to contact prosecutors after defendant         new charges at a psychologist’s office in
answered these questions. (Tr. 48–51.)                      Farmingdale, New York. (Tr. 29–30.) At
11
     The “Advice of Rights” form reads:                     that point, Agent Troyd did not tell
                                                            defendant why he was being arrested again.
                    YOUR RIGHTS
                                                            (Tr. 30.) Two other agents took custody of
       Before we ask you any questions, you must
                                                            Valerio and drove him to an FBI office;
       understand your rights.
                                                            Agents Troyd and Messineo followed
       You have the right to remain silent.
                                                            shortly thereafter. (Id.)
       Anything you say can be used against you in
       court.                                                   Once in the interview room at the FBI
       You have the right to talk to a lawyer for           office, Agent Troyd advised defendant of his
       advice before we ask you any questions.              rights. (Tr. 31.) Defendant signed an
       You have the right to have a lawyer with             “Advice of Rights” form at 3:35 p.m. (Gov.
       you during questioning.                              Ex. 6.) He again asked why he was being
       If you cannot afford a lawyer, one will be           arrested. (Tr. 32.) Agent Troyd responded
       appointed for you before any questioning if          that they had found additional evidence of
       you wish.                                            child pornography through the search on
       If you decide to answer questions now
       without a lawyer present, you have the right
       to stop answering at any time.

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January 28, 2014, 12 and that the victim was                interrogation and that any waiver of such
a family member. (Id.) According to Agent                   rights is knowing, intelligent, and
Troyd, defendant then said, “I want to kill                 voluntary.” United States v. Carter, 489
myself. I no longer have a family.” (Id.)                   F.3d 528, 534 (2d Cir. 2007).
Agent Troyd, who knew that defendant was
represented by counsel, did not ask him non-                    “Miranda’s     warning     requirements,
booking-related questions. (Tr. 55.)                        however, apply only to ‘custodial
                                                            interrogation.’” Georgison v. Donelli, 588
           II.      LEGAL STANDARD                          F.3d 145, 155 (2d Cir. 2009) (citation
                                                            omitted). “This determination has two parts:
     The Fifth Amendment of the United                      (a) there must be an interrogation of the
States Constitution provides, in relevant                   defendant, and (b) it must be while she is in
part, that “[n]o person . . . shall be                      ‘custody.’” United States v. FNU LNU, 653
compelled in any criminal case to be a                      F.3d 144, 148 (2d Cir. 2011). Where a
witness against himself.” U.S. Const.                       defendant “has alleged police custodial
amend. V. Recognizing that a custodial                      interrogation in the absence of Miranda
interrogation creates “inherently compelling                warnings, the burden shifts to the
pressures which work to undermine the                       government to prove Miranda voluntariness,
individual’s will to resist and to compel him               either because there was no custodial
to speak where he would not otherwise do so                 interrogation implicating Miranda, there
freely,” the Supreme Court held in Miranda                  was some exception to the Miranda rule, or
v. Arizona that “the prosecution may not use                because [the defendant] was properly
statements,      whether     exculpatory    or              Mirandized and waived his rights.” United
inculpatory, stemming from custodial                        States v. Miller, 382 F. Supp. 2d 350, 362
interrogation of the defendant unless it                    (N.D.N.Y. 2005) (citing Lego v. Twomey,
demonstrates the use of procedural                          404 U.S. 477, 489 (1972); United States v.
safeguards effective to secure the privilege                Anderson, 929 F.2d 96, 98 (2d Cir. 1991));
against self-incrimination.” 384 U.S. 436,                  accord United States v. Taylor, No. 11-CR-
444, 467 (1966). “In particular, prior to the               310 (PGG), 2011 WL 4357350, at *5
initiation of questioning, [law enforcement]                (S.D.N.Y. Sept. 19, 2011).
must fully apprise the suspect of the State’s
intention to use his statements to secure a                     The      Supreme       Court     defined
conviction, and must inform him of his                      interrogation for purposes of Miranda in
rights to remain silent and to ‘have counsel                Rhode Island v. Innis. See 446 U.S. 291,
present . . . if [he] so desires.’” Moran v.                300–01 (1980). In Innis, the Court held that
Burbine, 475 U.S. 412, 420 (1986)
(alteration in original) (quoting Miranda,                     the Miranda safeguards come into
384 U.S. at 468–70). The purpose of the                        play whenever a person in custody is
warnings is to “ensure that the person in                      subjected     to    either    express
custody has sufficient knowledge of his or                     questioning or its functional
her constitutional rights relating to the                      equivalent. That is to say, the term
                                                               “interrogation” under Miranda refers
12
                                                               not only to express questioning, but
   The transcript indicates that Agent Troyd referred          also to any words or actions on the
to “the search warrant that occurred on January
18th.” (Tr. at 32.) However, because it is undisputed          part of the police (other than those
that the search took place on January 28, 2014, it is          normally attendant to arrest and
clear that Agent Troyd was referring to the January            custody) that the police should know
28, 2014 search.

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   are reasonably likely to elicit an                 to those associated with a formal arrest,” id.
   incriminating response from the                    at 671 (citation and internal quotation marks
   suspect.                                           omitted). 13 Determining whether one is in
                                                      “custody” “necessarily involves considering
Id. An “incriminating response” is “any               the circumstances surrounding the encounter
response—whether         inculpatory      or          with authorities.” FNU LNU, 653 F.3d at
exculpatory—that the prosecution may seek             153. According to the Second Circuit,
to introduce at trial.” Id. at 301 n.5.
Accordingly, “[w]here statements are                       [t]hose circumstances include, inter
spontaneous—that is, where they are not the                alia, the interrogation’s duration; its
result of questioning or its functional                    location (e.g., at the suspect’s home,
equivalent—Miranda warnings are not                        in public, in a police station, or at the
necessary and the statements are not                       border); whether the suspect
protected.” United States v. Noble, No. 07-                volunteered for the interview;
CR-284 (RJS), 2008 WL 1990707, at *7                       whether the officers used restraints;
(S.D.N.Y. May 7, 2008); see, e.g., Miranda,                whether weapons were present and
384 U.S. at 478 (“Volunteered statements of                especially whether they were drawn;
any kind are not barred by the Fifth                       [and] whether officers told the
Amendment and their admissibility is not                   suspect he was free to leave or under
affected by our holding today.”); Wolfrath v.              suspicion.
LaVallee, 576 F.2d 965, 973 n.6 (2d Cir.
1978) (“[S]ince the statement which was               Id. The circumstances also include the
litigated below was a gratuitously                    nature of the questions asked. Id.
volunteered statement, Miranda itself is
                                                          When a defendant moves to suppress a
inapplicable, for spontaneous statements
                                                      statement claimed to be obtained in violation
which are not the result of ‘official
                                                      of Miranda, the government must prove by a
interrogation’ have never been subject to its
                                                      preponderance of the evidence that the
strictures.”).
                                                      statement was made after a voluntary,
    Whether a person is in “custody” for              knowing, and intelligent waiver of the
purposes of Miranda “depends on the                   defendant’s Miranda rights. United States v.
objective circumstances of the interrogation,         Guzman, 879 F. Supp. 2d 312, 320
not on the subjective views harbored by               (E.D.N.Y. 2012); see also Colorado v.
either the interrogating officers or the person       Connelly, 479 U.S. 157, 168 (1986);
being questioned.” Stansbury v. California,           Anderson, 929 F.2d at 99. For a waiver to be
511 U.S. 318, 323 (1994). Specifically, the           voluntary, the waiver must have been “the
test “depends on how a reasonable person in           product of a free and deliberate choice rather
the suspect’s position would view the                 than intimidation, coercion, or deception.”
situation.” FNU LNU, 653 F.3d at 151. The             Moran v. Burbine, 475 U.S. 412, 421
court must ask (1) “whether a reasonable              (1986). In addition, for a defendant to make
person would have thought he was free to              a knowing and intelligent waiver, he or she
leave,” United States v. Newton, 369 F.3d             must have “a full awareness of both the
659, 672 (2d Cir. 2004); and, if not, (2)
                                                      13
whether there has been a formal arrest or a              “Only if the answer to this second question is yes
reasonable person in defendant’s position             was the person ‘in custody’ for practical purposes
                                                      and entitled to the full panoply of protections
would have understood himself or herself              prescribed by Miranda.” Newton, 369 F.3d at 672
“to be subjected to the restraints comparable         (citation and internal quotation marks omitted).

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nature of the right being abandoned and the              Applying the above-referenced standard
consequences of the decision to abandon it.”         to the facts of this case, the Court concludes,
Id. However, the accused need not “know              based on the totality of the circumstances,
and understand every possible consequence            that (1) defendant’s pre-Miranda statements
of a waiver of the Fifth Amendment                   in the residence on January 28, 2014, were
privilege.” Colorado v. Spring, 479 U.S.             non-custodial, and thus did not require a
564, 574 (1987). Instead, the accused need           Miranda warning, and were voluntary; (2)
only be aware that he or she “may choose             defendant’s post-Miranda statements in the
not to talk to law enforcement officers, to          residence on January 28, 2014, were
talk only with counsel present, or to                voluntarily given following a valid waiver of
discontinue talking at any time.” Id.                defendant’s Miranda rights; and (3) that
“Whether a waiver is ‘knowing and                    defendant’s post-arrest statements on
voluntary’ is a question directed to a               February 24, 2014, were not the product of
defendant’s state of mind, which can be              an “interrogation” and also followed a valid
inferred from his actions and statements.”           waiver of defendant’s rights. Accordingly,
United States v. Spencer, 995 F.2d 10, 11            the motion to suppress is denied.
(2d Cir. 1993). The court must consider “the
particular    facts    and    circumstances            A.      Statements on January 28, 2014
surrounding [the] case, including the
                                                        1.      Pre-Miranda Statements at the
background, experience, and conduct of the
                                                                     Residence
accused.” Johnson v. Zerbst, 304 U.S. 458,
464 (1938).                                              With respect to the pre-Miranda
                                                     statements on January 28, 2014, having
            III.    DISCUSSION
                                                     carefully reviewed the evidence, the Court
    According to defendant, “[b]ased on all          concludes, at step one of the Newton
the circumstances, I felt pressured, meaning         analysis, that a reasonable person in
that I had to answer their questions” once           defendant’s situation would have understood
the interview began. (Valerio Aff. ¶ 4.) He          that he was free to end the interview and
asserts that he felt compelled, “[b]ased on          leave the house during the search based
the atmosphere” and “how things had                  upon the following facts: (1) the interview
already progressed,” to continue to answer           took place in the familiar surroundings of
questions even after receiving the Miranda           defendant’s home; (2) defendant knew the
warning. (Id. ¶ 5.) Lastly, he claims that the       agents were there to conduct a search, and
agents “became more accusatory as the                agents never told him that he was under
questioning continued.” (Id. ¶ 6.) In                arrest, or that he was not free to terminate
response, the government offered the                 the interview and leave the house; (3) agents
testimony of Agent Troyd. In light of all the        did not brandish their weapons or handcuff
evidence in the record and the evaluation of         defendant or touch him in any way; (4)
Agent Troyd’s demeanor, the Court finds              agents were not blocking the defendant from
Agent Troyd’s testimony regarding the facts          leaving the house; and (5) agents did not say
to be wholly credible and, to the extent the         or do anything threatening, but rather
defendant’s affidavit conflicts with Agent           conducted the interview of the defendant in
Troyd’s testimony, the Court finds the               a calm manner.
defendant’s testimony not credible.
                                                         In any event, the Court concludes in the
                                                     alternative that, even assuming arguendo
                                                     that a reasonable person would not have

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understood he was free to end the interview           table where we began our interview.”).) No
and leave the house, the defendant’s                  display of force, or coercion of any kind,
freedom of action was not curtailed to a              was utilized in walking with Valerio to the
degree associated with formal arrest. Thus,           dining room for questioning.
no pre-arrest Miranda warnings were
necessary and the statements were                         Second, Valerio was not directed to or
voluntarily given. A detailed analysis of the         ordered to remain in the dining room, there
Court’s reasoning with regard to this                 is no credible evidence that any agents
ultimate conclusion of law is set forth               blocked his path to an exit from the dining
below.                                                room or residence, defendant was not
                                                      ordered to answer any questions, and there is
     As the Second Circuit has explained,             no evidence that any officer ever brandished
“[a]bsent a formal arrest, interrogations in          a weapon during the interview or the search.
the ‘familiar surroundings of one’s home              Moreover, there is no credible evidence that
[are] generally not deemed custodial,’ but            the officers (who were in plainclothes) ever
under certain circumstances may be.” United           said or did anything threatening; rather, the
States v. Falso, 293 F. App’x 838, 839 (2d            Court finds the interview was conducted in a
Cir. 2008) (quoting Newton, 369 F.3d at               calm manner. See, e.g., United States v.
675); see also United States v. Craighead,            Quilter, No. 2:11-CR-150, 2012 WL
539 F.3d 1073, 1083–84 (9th Cir. 2008)                1410322, at *3 (D. Vt. Apr. 23, 2012)
(listing factors relevant to determining              (“Hallmarks of seizure include ‘the
whether there was “police-dominated                   threatening presence of several officers, the
atmosphere” in home); United States v.                display of a weapon by an officer, some
Vado, 87 F. Supp. 3d 472, 479 (S.D.N.Y.               physical touching of the person of the
2015) (“Only in extreme or unusual                    citizen, or the use of language or tone of
circumstances have courts held that suspects          voice indicating that compliance with the
interrogated in their homes were restricted to        officer’s request might be compelled.’”
a degree comparable to that of an individual          (quoting United States v. Mendenhall, 446
placed under formal arrest”) (collecting              U.S. 544, 554 (1980))).
cases). In the instant case, given the totality
of the circumstances, the Court concludes                 Third, Agent Troyd never told defendant
that this is not one of those situations where        he was not free to leave, was under arrest, or
the interview in the familiar surroundings of         was to be arrested upon the completion of
defendant’s home was transformed into a               the search, and defendant was never
custodial setting (prior to the formal arrest).       handcuffed, or otherwise physically
                                                      restrained or touched in any way. 14 See, e.g.,
    First, after Valerio was told that the law
enforcement agents were there to conduct a            14
                                                         Agent Troyd testified that, at the time of the
search, no direction was given to Valerio             interview, he had no intention of arresting Valerio
that he must go to the dining room and/or be          because he did not believe probable cause existed,
interviewed; rather, he was asked and                 and would have let Valerio leave, if Valerio had
walked together with Agent Troyd into the             decided he wanted to leave. (See Tr. 44-45.)
                                                      However, the Miranda inquiry is not dependent upon
dining room. (See Tr. at 13 (“At the                  “the subjective views harbored by either the
conclusion of the security sweep I asked Mr.          interrogating officers or the person being
Valerio if he would sit in the dining room            questioned.” Stansbury, 511 U.S. at 323. Therefore,
and speak to us. He said he would. And we             defendant’s subjective belief regarding his right to
walked into the dining room and sat at the            leave, and the agents’ intentions with regard to the
                                                      defendant have no bearing on the “custody” analysis,

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United States v. Akapo, 420 F. App’x 42, 44                 court regarding how long they remained
(2d Cir. 2011) (summary order) (“As the                     there. With respect to law enforcement
district court found, the interview occurred                escort, Agent Emmons testified that it was
just outside of [defendant’s] apartment, he                 for the purpose of preventing destruction of
was not handcuffed or frisked, he consented                 evidence and maintaining officer safety.
to a search of his apartment, he never                      There is no evidence of how closely law
indicated he wanted to leave, and was not                   enforcement accompanied Defendant during
told he could not leave. Although two of the                these escorts, and there is no evidence that
agents asked [defendant] to stand near the                  the officers touched, restrained, or otherwise
doorway while three other agents searched                   impeded       Defendant’s      freedom      of
the apartment, this was a reasonable request                movement.”); see also United States v. Ross,
given the small size of his apartment, and on               719 F.2d 615, 622 (2d Cir. 1983) (“The
balance did not result in a custodial                       mere fact that [suspect] was told he would
situation.”).                                               be accompanied by an IRS agent when he
                                                            moved about the [place of interrogation] did
    Fourth,      although      twelve      law              not place him in custody within the meaning
enforcement officers entered the house                      of Miranda[.]”). In short, given that Valerio
during the execution of the search, the sheer               was clearly aware that the agents were there
number of officers would not lead a                         to execute a search warrant, a reasonable
reasonable person, especially in light of the               person in Valerio’s position would have
other circumstances, to believe that he or she              understood that the large number of agents
was under arrest or not free to leave the                   in the residence related to the need to search
house. For example, the testimony was that                  his entire residence, and that they were not
there were only four law enforcement                        there to place him in custody. See, e.g.,
officers in the dining room at the time of the              Vado, 87 F. Supp. 3d at 480 (“In this case,
interview, and the rest of the officers were in             the factors upon which [defendant] seizes
other areas of the house conducting the                     must also be considered in the context of an
search. (See Tr. 14–15, 38.) Moreover, as                   interview conducted during the execution of
noted above, there is no credible evidence                  a search warrant – a fact which [defendant]
that any officers impeded Valerio’s attempt                 was well aware. The number of agents, and
at movement at any point during the                         the agents’ actions in guiding [defendant]
interview. See, e.g., United States v. Sergi,               from room to room, had the obvious benign
No. 5:12-CR-100, 2013 WL 1285865, at *6                     purpose of enabling the agents to safely and
(D. Vt. Mar. 26, 2013) (“[W]hile eleven law                 efficiently complete the search, as opposed
enforcement officers were present for the                   to being undertaken to intimidate or coerce
search, the evidence reveals that only four to              [defendant].”); see also United States v.
five apparently entered Defendant’s                         Harris, 548 F. App’x 679, 681 (2d Cir.
residence. There is no evidence before the                  2013) (summary order) (“[W]e conclude
                                                            that [the defendant] failed to allege to the
although each may shed light on the tenor of the            district court any facts supporting the
encounter. Accord Brekemer v. McCarthy, 468 U.S.            conclusion that he was ‘in custody’ when
420, 442 (1984) (holding that defendant was not in
                                                            officers questioned him. In [defendant’s]
custody before formal arrest, although investigating
officer had decided to take defendant into custody,         motion, his attorney simply asserted in an
because officer did not communicate this decision           affidavit that [defendant] had not wanted
and “[a] policeman’s unarticulated plan has no              officers to enter his home and that
bearing on the question whether a suspect was ‘in           [defendant] was ‘kept in the living room’
custody’ at a particular time”).

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while the officers searched his apartment. In         liberty to terminate the interrogation or that
his reply, [defendant] averred only that he           he was otherwise restrained to a degree
had not permitted the officers entry, had not         associated with a formal arrest.” (citations
been informed of his Miranda rights, and              omitted)). There is no credible evidence that
‘was not free to leave’ during the search.            verbal threats or intimidating physical
Nowhere does [defendant] dispute the facts            gestures were directed at him. 15 Nor is there
in the investigation report and submitted by          credible evidence that the agents questioned
the government that [defendant’s] roommate            defendant in anything but “a conversational
voluntarily permitted the officers entry to           manner and did not raise their voice, accuse
the home, the officers did not draw their             him of lying, or otherwise engage in trickery
weapons, [defendant] was not restrained,              or deceit.” Sergi, 2013 WL 1285865, at *7;
and the officers did not tell [defendant] that        compare United States v. Bassignani, 575
he was required to answer their questions.            F.3d 879, 884–85 (9th Cir. 2009) (in
As such, no hearing was required.”).                  concluding that defendant was not in
                                                      custody, noting that “nearly the entire two
    Fifth, Valerio was cooperative, willingly         and a half hour interview was conducted in
divulged information in response to Agent             an open, friendly tone,” and the “questioning
Troyd’s questions despite knowing the                 was not confrontational”), with Tankleff v.
officers were searching for evidence of child         Senkowski, 135 F.3d 235, 244 (2d Cir. 1998)
pornography, and remained calm throughout             (finding suspect was in custody, the court
the interview—both before and after he                noted that “detectives had accused him of
signed the “Advice of Rights” form. See               showing insufficient grief, had said that his
United States v. Mitchell, 966 F.2d 92, 99            story was ‘ridiculous’ and ‘absurd,’ and had
(2d Cir. 1992) (finding defendant was not in          added that they simply ‘could not accept’ his
custody during interview where defendant              explanations”); see also United States v.
was interviewed in home, freely answered              Simmonds, -- F. Appx. --, 2016 WL 929736,
questions from        EPA representative,             at *3 (2d Cir. March 11, 2016) (“[T]he fact
remained calm throughout interview, and               that the interview then took place in the
conceded that no verbal threats or                    living room supports a conclusion that it was
intimidating gestures were directed at him).          not a custodial setting. In contrast to cases
                                                      finding custody because of a ‘police-
    Although Agent Troyd addressed
                                                      dominated atmosphere,’ [the agent] was
Kalichenko’s allegations, he and the other
                                                      dressed in plain clothes, his weapon was
agents and officers engaged in no speech or
                                                      holstered and concealed by his jacket, he
actions which reasonably could be taken as
                                                      was not positioned between [the defendant]
intimidating, coercive, or restricting
                                                      and the apartment’s exit, no other officers
defendant’s freedom of action or freedom to
                                                      were involved in the interview, and the tone
terminate the interview. See, e.g., United
                                                      of the interview was conversational in
States v. Weisinger, 586 F. App’x 733, 736
                                                      nature.” (internal citations omitted)); United
(2d Cir. 2014) (summary order) (“To be
sure, the questions posed by the police               15
                                                         Defendant’s statements about Detective Forrestal
indicated that [defendant] was suspected of           (which the Court does not credit), even if true, are
criminal activity. This alone, however, is not        insufficient to establish the existence of custody
enough to manifest custody where, as here,            under Miranda. See, e.g., Mitchell, 966 F.2d at 99
the objective circumstances of the                    (defendant’s testimony “that he was intimidated by
                                                      the facial features of [the agent], particularly the
interrogation overall would not have led a            ‘coldness’ of his eyes, is clearly insufficient to
reasonable person to think that he was not at         establish the existence of custody under Miranda”).

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States v. Awan, 384 F. App’x 9, 14–15 (2d              428, 437 (1st Cir. 2011) (“The relatively
Cir. 2010) (affirming finding that                     short duration of the interview, which lasted
defendant’s statements were voluntary based            roughly ninety minutes, and the twenty
on, inter alia, district court’s finding that          minutes’ pause taken to summon an EMT to
government showed that no threatening                  minister to the defendant when he suffered a
statements were made during interviews,                panic attack are also consistent with the
and investigators tried to maintain friendly           finding that the interview was not
atmosphere); United States v. Benedict, 104            custodial.”).
F. Supp. 2d 175, 180 (W.D.N.Y. 2000)
(“[Defendant’s] allegations that the search                Given all of these facts and the totality
team entered his home by prying open the               of the circumstances, the Court concludes
door with a steel bar, which [an officer]              that a reasonable person in the defendant’s
allegedly carried with him during the search,          situation would understand: (1) that the law
and that one officer ‘bumped’ defendant, do            enforcement agents were there to conduct a
not show coercive behavior on the part of              search, and he was not under arrest; (2) he
any members of the search team. Obviously              did not have to consent to be interviewed in
a person whose house is being searched for             the dining room; and (3) he could not
child pornography is likely to be under some           interfere with the law enforcement officers
stress during the search (especially if he             conducting the search, but he was free to
knows that pornographic materials are in               leave the house. Although Agent Troyd did
fact present), but here the record is devoid of        not affirmatively advise Valerio that he was
any suggestion that police resorted to                 free to leave and was not under arrest, no
physical or psychological pressure to elicit           such affirmative statement is required by
the statements allegedly made by [the                  law where the officers never said or did
defendant]. To accept defendant’s argument             anything indicating otherwise. See Mitchell,
would mean virtually any statements made               966 F.2d at 98 (“Decisions in this circuit
by a suspect during the execution of a search          have emphasized that in the absence of
warrant at his home would be rendered                  actual arrest, an interrogation is not
involuntary by the mere presence of law                ‘custodial’     unless      the     authorities
enforcement officers.” (quotation marks and            affirmatively convey the message that the
internal citation omitted)).                           defendant is not free to leave.”); Sergi, 2013
                                                       WL 1285865, at *5 (“Although Defendant
    Finally, the interview during the search           was not initially affirmatively advised of his
lasted approximately 90 minutes and, thus,             right to leave, the law enforcement officers
the duration of the encounter in the home              never ‘act[ed] or sp[oke] in a manner that
did not transform it into a custodial setting.         conveys the message that they would not
See, e.g., Beckwith v. United States, 425              permit the accused to leave[.]’” (alterations
U.S. 341, 342–44 (three-hour interview in              in original) (quoting Campaneria v. Reid,
home did not trigger need for Miranda);                891 F.2d 1014, 1020 n.1 (2d Cir. 1989))).
United States v. Sayer, No. 2:11-CR-113-
(DBH), 2012 WL 2180577, at *4 (D. Me.                      In short, the Court finds that a
June 13, 2012) (interview during search not            reasonable person in Valerio’s situation
custodial where “the search lasted a                   would have understood that he was free to
relatively short time too, roughly 60 to 90            leave his residence during the search. In any
minutes, and the defendant was questioned              event, the Court finds in the alternative that,
only intermittently throughout the search”);           even if a reasonable person would not
see also United States v. Hughes, 640 F.3d             believe he or she was free to leave, Valerio’s

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freedom of action was certainly not curtailed                   adduced at the evidentiary hearing also
to a degree associated with formal arrest. In                   indicates that none of the agents who
sum, the Court concludes that the                               interviewed defendant engaged in “repeated
government has shown, by a preponderance                        and prolonged . . . questioning” designed or
of the credible evidence, that defendant was                    intended to overcome the defendant’s free
not in “custody” before his arrest on January                   will. Green v. Scully, 850 F.2d 894, 902 (2d
28, 2014. See United States v. Morales, 834                     Cir. 1988). Moreover, despite immediately
F.2d 35, 38 (2d Cir. 1987) (stating that                        being informed of the nature of the search
custodial setting is one providing                              warrant and learning of some of the
“inherently coercive pressures that tend to                     evidence in the FBI’s possession, defendant
undermine the individual’s will to resist and                   never requested that his lawyer be contacted.
to compel him to speak”). Thus, the motion                      His demeanor remained calm throughout the
to suppress the pre-Miranda statements by                       interview, and he did not indicate that he did
Valerio at the residence on January 28, 2014                    not understand the warnings or the nature of
is denied.                                                      the rights at issue. Thus, under the totality of
                                                                the circumstances, the Court concludes that
     2.      Post-Miranda Statements at the                     the government has met its burden of
                   Residence                                    demonstrating that defendant knowingly,
                                                                intelligently, and voluntarily waived his
    Defendant Valerio also challenges the
                                                                Miranda rights.
post-Miranda statements at the residence.
However, as discussed below, the Court                              Accordingly, the Court denies the
finds that the defendant voluntarily,                           motion to suppress the post-Miranda
intelligently, and knowingly waived his                         statements on January 28, 2014.
Miranda rights. 16
                                                                  B.      Statement on February 24, 2014
    Defendant is an adult male, and there is
no evidence that he has developmental                               With respect to the post-arrest statement
issues. He was not physically restrained or                     made on February 24, 2014, although it is
threatened before or after he received his                      undisputed that defendant was in custody
advice of rights, and there is no evidence                      when he made the statement at issue, the
that the officers prohibited him from                           Court determines that the statement was not
standing up and leaving. The evidence                           the product of interrogation. As is evident
                                                                from the Court’s findings of fact, defendant
16
    The Court notes that, although Agent Troyd                  volunteered that statement absent any
determined at the time of the Miranda warnings that             question posed by law enforcement agents
the defendant would be placed under arrest at the               and after he received his Miranda warnings
conclusion of the interview, he did not communicate             and signed the “Advice of Rights” form
that intent to the defendant until the end of the               acknowledging he was willing to answer
interview. As discussed supra, a “police officer’s
subjective intent in detaining an individual is                 questions without his lawyer present. Under
irrelevant so long as that intent is not conveyed to the        such circumstances, in simply answering
individual in a way that results in the individual              Valerio’s question about why he was being
believing that he or she is not free to leave.” United          arrested again, Agent Troyd did nothing
States v. Campbell, 486 F.3d 949, 954 (6th Cir.                 reasonably likely to elicit an incriminating
2007). However, even assuming arguendo that
defendant reasonably understood that he was under               response, and the exchange was one
arrest at the time of the Miranda warnings, the Court           normally attendant to custody—namely,
finds that he voluntarily, intelligently and knowingly          explaining the basis for the custody. See,
waived his Miranda rights.

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e.g., United States v. Henderson, 770 F.2d                       IV.     CONCLUSION
724, 728 (8th Cir. 1985) (“When [defendant]
initiated conversation by requesting that [the           For the foregoing reason, defendant’s
law enforcement officer] specify the                  motion to suppress is denied.
charges, the ensuing verbal exchange was
                                                                    SO ORDERED.
nothing more than a conversation ‘normally
attendant to arrest and custody’” and, thus,                        ________________________
was not interrogation under Miranda                                 JOSEPH F. BIANCO
(quoting Innis, 446 U.S. at 301)); see also                         United States District Judge
United States v. Fleck, 413 F.3d 883, 892–
93 (8th Cir. 2005) (police request for key to         Dated: April 15, 2016
bedroom during search did not constitute                     Central Islip, NY
interrogation for Miranda purposes); United
States v. Lockett, 393 F.3d 834, 838 (8th Cir.                           ***
2005) (statements made after defendant                The government is represented by Robert L.
asked why police were in his apartment, and           Capers, United States Attorney, Eastern
was told reason, were not in response to              District of New York, 271 Cadman Plaza
interrogation); United States v. Martin, 238          East, Brooklyn, New York 11201, and 610
F. Supp. 2d 714, 719 (D. Md. 2003)                    Federal Plaza, Central Islip, NY 11722, by
(“[S]tatements of agents about evidence               Allen Lee Bode and Ameet B. Kabrawala.
which are not designed to elicit an                   Defendant is represented by Anthony M.
incriminating       response      are      not        LaPinta of Reynolds, Caronia, Gianelli,
interrogation.”); United States v. Henry, 940         Hagney, LaPinta & Hargraves, 35 Arkay
F. Supp. 342, 346 (D.D.C. 1996) (officer’s            Drive, Hauppauge, NY 11788; and Leonard
response to defendant’s inquiry about nature          Lato, 320 Carleton Avenue, Central Islip,
of charges was not “interrogation” for                NY 11722.
purposes of Miranda). Thus, defendant’s
voluntary spontaneous statement on
February 24, 2014, is admissible.
    In any event, even assuming arguendo
that the statement was in response to
interrogation, the Court finds that it was
made after the defendant had knowingly,
intelligently, and voluntarily waived his
Miranda rights. There is no evidence that
defendant was coerced into waiving his
rights, or that his waiver and statement was
anything other than the product of a
“rational intellect and free will.” Blackburn
v. Alabama, 361 U.S. 199, 208 (1960).
   In short, the government has met its
burden as to the statement on February 24,
2014. Accordingly, the motion to suppress
the statement on February 24, 2014 is
denied.

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                 The redactions herein are consistent with the order of the District Court
                 requesting that children's names be redacted as well as the name of the woman
                 from South Africa who testified at the Fatico hearing.
                                                                                              1
                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF NEW YORK

                          - - - - - - - - - - - - - -            X
                          UNITED STATES OF AMERICA               :     14-CR-094

                                  -against-                            US District Court
                                                                       Central Islip, NY
                          JOSEPH VALERIO,
                                            Defendant. :               July 25, 2016
                          - - - - - - - - - - - - - - X                11 am

                                  TRANSCRIPT OF PROCEEDINGS
                                  BEFORE THE HONORABLE JOSEPH F. BIANCO
                                  UNITED STATES DISTRICT JUDGE

                          APPEARANCES:

                          For the Government:
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                                                           LEONARD LATO, ESQ.




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                                  Proceedings recorded by mechanical stenography.
                                           Transcript produced by CAT.




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                                                               2                                                                         4
  1          (Call to Order of the Court. Appearances stated                  1   get to that point, I am not compelling her testimony in
  2   as indicated above.)                                                    2   this case. This is voluntary. I am not ordering her to
  3              THE COURT: Good morning.                                     3   testify at this hearing.
  4              Mr. Valerio is present as well.                              4             If she wishes to testify, I am willing to hear
  5              As you know, this is a scheduled date for the                5   her testimony based upon some of the things that she said,
  6   Fatico hearing. I did receive the government's letter                   6   as you know, at the time she was considering her guilty
  7   late last week, indicating there was an issue with one of               7   plea, with regard to alleged treatment by Mr. Valerio.
  8   the witnesses from South Africa.                                        8   But I'm not compelling her to testify.
  9              Is that correct?                                             9             So I just wanted you to be aware. I don't want
 10              MR. KABRAWALA: That's correct, Judge. She is                10   there to be a miscommunication that the judge is ordering
 11   not available but we are scheduling her testimony. We                  11   her to testify, because that is not the posture we are in.
 12   have consulted with defense counsel and will certainly                 12             MR. LaRUSSO: Your Honor, to the contrary.
 13   propose a date after conferring with your Honor's deputy.              13   Weeks and weeks ago I received the exact same information
 14              THE COURT: In terms of the order of witnesses               14   from the government, almost line for line the way you just
 15   today, how do you wish to proceed?                                     15   described it. I have gone over that with my client. She
 16              MR. KABRAWALA: We are first going to call Lucy              16   understands that there are no promises being made
 17   Down. She is an au pair who was hired to work for                      17   anywhere; that the government is not going to be writing
 18   Mr. Valerio. That will be followed by Jolene Leonardo,                 18   the 5K letter.
 19   who worked for the au pair agency.                                     19             We went over it at least two or three times, and
 20              The third witness will be Olena Kalichenko, who             20   she is well aware that her appearance here today is
 21   we understand is here today. The government is not                     21   strictly voluntary. You can inquire of her and she will
 22   technically calling her. We will be happy to direct her                22   answer the questions I hope in the same way she has been.
 23   testimony to get the relevant facts out that are relevant              23             THE COURT: They have indicated that she is the
 24   to the proceeding, but we are open to suggestion from the              24   third witness today, so obviously you don't have to hang
 25   court as to how the court wants to handle Miss                         25   around the whole day. I don't know how long the other
                                                               3                                                                         5
  1   Kalichenko's testimony, given that the government is not                1   witnesses are going to take.
  2   calling her, per se.                                                    2             MR. KABRAWALA: The other witnesses will be
  3              THE COURT: Yes. I would expect the government                3   relatively brief. I expect Ms. Down and Ms. Leonardo will
  4   would do the direct examination.                                        4   be finished within the hour, depending upon how much cross
  5              MR. KABRAWALA: Perfect.                                      5   there would be. And I don't expect there to be much
  6              THE COURT: I saw that Mr. LaRusso was here                   6   cross. Of course I leave that to the defense.
  7   before. Is he gone now?                                                 7             THE COURT: All right. So you are free,
  8              MR. KABRAWALA: Mr. LaRusso is here.                          8   obviously, to hang around if you want, Mr. LaRusso.
  9              MR. LaPINTA: Do you want me to get him?                      9             MR. LaRUSSO: Under those circumstances, I will.
 10              THE COURT: Is he is out there? I just want to               10             The only question that I have, and I don't know,
 11   make sure he understands, because he wasn't here when I                11   and I have spoken to both sides regarding it, how the
 12   initially extended that invitation.                                    12   court would like to proceed relative to the questioning of
 13              (Robert LaRusso, Esq., enters the courtroom.)               13   Ms. Kalichenko.
 14              THE COURT: Good morning, Mr. LaRusso.                       14             THE COURT: I mentioned to the government that
 15              I saw you sitting back there before. I just                 15   even though they are not calling her, I'm going to ask
 16   asked the government who the witnesses are for today.                  16   that they conduct the direct examination. Okay?
 17              You weren't part of the discussion when we were             17             MR. LaRUSSO: Very good. Thank you, your Honor.
 18   scheduling this Fatico hearing. You probably have already              18             THE COURT: All right. Does the defense have
 19   spoken to both sides, but I invited Ms. Kalichenko to                  19   anything they wish to raise with me before we have the
 20   testify in connection with the issues at this Fatico                   20   first witness?
 21   hearing.                                                               21             MR. LaPINTA: No. Thank you.
 22              As you know from the government's letters, they             22             MR. KABRAWALA: Judge, one housekeeping matter.
 23   are not intending to make any motion in connection with                23             The government asks that Exhibits 5A, 6 and 7,
 24   her sentence, under 5K1.1 or 3553e, but I also want you                24   they are records related to the InterExchange company, the
 25   and Ms. Kalichenko, and I will explain this to her when we             25   au pair agency, be admitted. There is a record
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                                                                   6                                                                          8
  1    declaration that is Government Exhibit 8 that covers those                 1               THE COURT: Could you just pull a little closer
  2    forgoing exhibits. We ask that those be admitted into                      2   to the mic.
  3    evidence.                                                                  3               Thank you.
  4               THE COURT: Any objection to that?                               4   BY MR. KABRAWALA:
  5               MR. LATO: May I have a minute to confer with                    5   Q. Miss Down, where are you from?
  6    Mr. Kabrawala?                                                             6   A. England.
  7               THE COURT: Sure.                                                7   Q. Did you travel here pursuant to a subpoena for your
  8               (There was a pause in the proceedings.)                         8   testimony?
  9               MR. LATO: Your Honor, as there is no jury here,                 9   A.    Yes.
 10    this is my proposal.                                                      10   Q.    And how old are you?
 11               I will consent subject to connection. I know                   11   A.    I'm 22.
 12    the rules of evidence are relaxed here, but it still has                  12   Q.    Would you please speak up a little bit.
 13    to have some indicia of reliability that basically it is                  13   A.    Sorry. Yes.
 14    what it purports to be.                                                   14   Q.    Thank you so much.
 15               So if in fact the government meets the burden --               15               What is your highest level of education?
 16    and I presume that they will in the end -- I will say we                  16   A.    I have an extended diploma in business studies.
 17    consent. So at this point, let's go forward. I can't                      17   Q.    How old were you when you obtained that degree?
 18    make the argument now. My guess is they will lay the                      18   A.    18 years old.
 19    proper foundation.                                                        19   Q.    And are you currently employed?
 20               So let's proceed as if it is in, but I reserve                 20   A.    Yes. In the UK.
 21    my right at the end to say the documents lack sufficient                  21   Q.    What do you do?
 22    indicia of reliability to be admitted even at a Fatico                    22   A.    I'm a service advisor for a Land Rover dealership.
 23    hearing.                                                                  23   Q.    I want to speak to you today about your interactions
 24               THE COURT: All right. I will let you reserve                   24   with an individual named Joseph Valerio.
 25    any objections, but obviously we will use them in                         25               Do you see Mr. Valerio in this courtroom here
                                                                   7                                                                          9
  1    connection with this hearing.                                              1   today?
  2               MR. KABRAWALA: To accelerate the process, with                  2   A. Yes.
  3    the court's indulgence, may I please leave a binder of the                 3   Q. Can you please point out Mr. Valerio by identifying
  4    exhibits up on the podium?                                                 4   him by an article of clothing he's wearing.
  5               THE COURT: Yes.                                                 5   A. There, with the gray jumpsuit on.
  6               Is Ms. Down here?                                               6               MR. KABRAWALA: Your Honor, we would ask the
  7               MR. KABRAWALA: Yes, your Honor. I will call                     7   record to please reflect that the witness has identified
  8    her.                                                                       8   Mr. Valerio.
  9               And for the record, we are also joined by Agents                9               THE COURT: Yes.
 10    Troy and Messineo of the FBI, and Ms. Langone of                          10   BY MR. KABRAWALA:
 11    Probation.                                                                11   Q. Now, Ms. Down, it is my understanding that you were
 12               THE COURT: Miss Down, if you could, come up to                 12   going to serve as an au pair for Mr. Valerio. Is that
 13    the witness stand here and remain standing for the oath.                  13   correct?
 14                                                                              14   A. Yes, that's correct.
 15    LUCY DOWN                                                                 15   Q. Can you please tell us how and approximately when you
 16           called by the Government, having been first duly                   16   decided to become an au pair.
 17           sworn/affirmed, was examined and testified as                      17   A. I finished college at the age of 18, in May of 2012,
 18           follows:                                                           18   and decided to travel and was always interested in the
 19               THE COURT: Go ahead, Mr. Kabrawala.                            19   United States, so I applied to the GAP company.
 20               MR. KABRAWALA: Thank you, your Honor.                          20   Q.    Had you visited the United States before that?
 21                                                                              21   A.    No.
 22    DIRECT EXAMINATION                                                        22   Q.    So this was to be your first time in the US.
 23    BY MR. KABRAWALA:                                                         23   A.    Yes.
 24    Q. Good morning.                                                          24   Q.    Is there any particular agency that coordinated your
 25    A. Hi.                                                                    25   au pair employment?
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                                                                 10                                                                                   12
  1   A.   Yes. InterExchange.                                                    1   A.     So this is the messages from myself and Joe Valerio
  2   Q. InterExchange. Was that known by any other name in                       2   on the InterExchange website arranging the interview.
  3   the United States?                                                          3   Q. And to the best of your knowledge, does this fairly
  4   A.   In the UK it was called GAP 360.                                       4   and accurately represent the conversations that you had
  5   Q. How did you find them?                                                   5   via this email program built into the InterExchange
  6   A.   I found them on line.                                                  6   website?
  7   Q. How long did you expect the au pair program to last?                     7   A.     Yes.
  8   A.   It's a year, and you get, and you work for the eleven                  8                 MR. KABRAWALA: The government moves to admit
  9   months for your chosen family, and then you have a month                    9   Government Exhibit 5A into evidence.
 10   of travel at the end by choice.                                            10                 MR. LaPINTA: I object only insofar as a number
 11   Q. Can you please describe how the au pair matching                        11   of the emails seem to pertain to other people besides this
 12   program works.                                                             12   witness.
 13   A.   So you have a database on line that the InterExchange                 13                 I understand that he's offering them presumably
 14   set up, and GAP 306, they set up so families can view your                 14   as a business record, but a number of the these emails do
 15   profile as an au pair.                                                     15   not pertain to these emails.
 16   Q. And are you able to review profiles of potential host                   16                 THE COURT: In 5?
 17   families?                                                                  17                 MR. LaPINTA: 5A.
 18   A.   I couldn't. I can once they want to see my profile.                   18                 THE COURT: You have no objection to the ones
 19               So once they see my information, then I can view               19   that pertain to this witness. Correct?
 20   theirs.                                                                    20                 MR. LaPINTA: I do not.
 21   Q. Now, did there come a time when you connected with                      21                 THE COURT: So I'm going admit the ones that
 22   Mr. Valerio in an effort to prospectively serve as an au                   22   pertain to this witness.
 23   pair in his household?                                                     23                 Again, as Mr. Lato said earlier, I will reserve
 24   A.   Yes. So he viewed my profile and then requested an                    24   your ability to object to the other ones. Okay.
 25   interview.                                                                 25                 MR. LaPINTA: Yes.
                                                                 11                                                                                   13
  1   Q. How did that request come about?                                         1                 (Government Exhibit 5A in evidence.)
  2   A.   So it comes through the database. So firstly you get                   2   BY MR. KABRAWALA:
  3   information that he's viewing, and then you get                             3   Q. Now, is it fair to say that email exchanges between
  4   information that he's going to view your, he's requesting                   4   you and Mr. Valerio in this exhibit essentially pertain to
  5   a Skype interview with yourself.                                            5   scheduling an interview and coordinating your arrival in
  6   Q. How did you communicate with Mr. Valerio in order to                     6   the United States?
  7   set up an interview?                                                        7   A.     Yes.
  8   A.   On the InterExchange website, they have like an email                  8                 MR. LaPINTA: I'm going to object to the form of
  9   messenger that you can correspond with.                                     9   the question, your Honor.
 10   Q. Do you see the giant binder in front of you?                            10                 THE COURT: Sustained as to form.
 11   A.   Yes.                                                                  11   BY MR. KABRAWALA:
 12   Q. Could you please turn to Exhibit 5A.                                    12   Q. What are these emails about?
 13               (Mr. LaPinta and Mr. Kabrawala confer.)                        13   A.     Organizing the initial interview and then
 14   BY MR. KABRAWALA:                                                          14   corresponding regarding information for when I'm due to
 15   Q. Do you see that?                                                        15   arrive in the United States.
 16               Why don't you thumb through it for a moment, and               16   Q. On InterExchange email page 10, the bottom email. Do
 17   I'm going to be directing your attention to the 10th page.                 17   you see where I'm looking?
 18               The page numbers are actually marked at the                    18   A.     Page 10. Yes.
 19   bottom. And starting from that page, if you can.                           19   Q. The bottom email.
 20               So thumb through the rest of that exhibit, and                 20   A.     Yes.
 21   let me know when you are done.                                             21   Q. It talks about the program Skype?
 22   A.   Okay.                                                                 22   A.     Yes.
 23   Q. Do you recognize this document?                                         23   Q. That is the video conferencing application?
 24   A.   Yes.                                                                  24   A.     Yes.
 25   Q. What is this, generally?                                                25   Q. Did you in fact have an interview with Mr. Valerio
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                                                                14                                                                                  16
  1    via Skype?                                                                1   A.     Umm-hmm.
  2    A.   Yes.                                                                 2   Q. Just reading this aloud, it appears to be to Lucy
  3    Q. Approximately when did you speak to Mr. Valerio via                    3   Down, September 18, 2012, at 10:34 am. Joseph Valerio to
  4    Skype?                                                                    4   Lucy Down.
  5    A.   I can't remember specifically, but going by the                      5                 Let me know if I don't read it correctly.
  6    information, I'm assuming it was the 17th at 8 pm.                        6                 Yes, it would be brilliant 4, as in the number
  7    Q. Of September 2012?                                                     7   four, sure, exclamation mark, like a diamond in the sky.
  8    A.   Yes.                                                                 8                 I think it's more than just a maybe. It's
  9    Q. Now, can you please describe what you and Mr. Valerio                  9   something to try. With all the good we spoke about, it's
 10    discussed during this Skype interview.                                   10   very quite possible you should be the one because you
 11    A.   We discussed like my upbringing, where I live,                      11   happen to be a lot of fun.
 12    regarding myself.                                                        12                 Shall I confirm our match? And we'll get it
 13                I asked him questions regarding the daughter,                13   done. Joe.
 14    the child care, what I would have to do, where he lives,                 14                 Did I read that correctly?
 15    information about the surroundings. We just found what I                 15   A.     Yes.
 16    do, hobbies, et cetera.                                                  16   Q. What's he talking about here, to your understanding?
 17    Q. You mentioned a daughter. Did Mr. Valerio tell you                    17   A.     To my understanding, that the Skype interview went
 18    that he had a daughter?                                                  18   well and he was willing to match as an au pair.
 19    A.   Yes.                                                                19   Q. So is it fair to say after your match -- withdrawn.
 20    Q. What did Mr. Valerio say his daughter's name was?                     20                 What happened after you two were matched?
 21    A.   Sylvia.                                                             21   A.     So InterExchange and GAP 360 gathered the details,
 22    Q. Sylvia. Did Mr. Valerio tell you what Sylvia's age                    22   and then they corresponded with me regarding getting my
 23    was at that time?                                                        23   visa, flight, when I would be going to the US.
 24    A.   I remember it being 8 years old.                                    24   Q. Approximately when did you travel to the United
 25    Q. Did Mr. Valerio tell you what Sylvia's interests                      25   States and where did you land?
                                                                15                                                                                  17
  1    were, during this Skype interview?                                        1   A.     I believe it was the 22nd of October 2012. And I
  2    A.   From what I remember, she was into dancing. That's                   2   arrived at JFK Airport.
  3    all I remember.                                                           3   Q. What happened next?
  4    Q. During that Skype interview with Mr. Valerio, did                      4   A.     They got me to the New Yorker Hotel, where I stayed
  5    Mr. Valerio tell you what you would be doing in connection                5   with other au pairs on the same kind of program.
  6    with your duties and responsibilities as an au pair within                6   Q. How long did you stay at the New Yorker Hotel with
  7    his household?                                                            7   the other au pairs?
  8    A.   Yes. So I would be looking after his daughter.                       8   A.     Five days.
  9    Driving. I would be able to drive the vehicle. I would                    9   Q. What did you do during that five-day period, in
 10    drive the vehicle to various hobbies. And weekends as                    10   general?
 11    well. So I would be doing basic child care for her.                      11   A.     It was coordination. So various training child-care
 12    Q. Did Mr. Valeria tell you anything about the child's                   12   information. Obviously, emergencies in the United States.
 13    mother?                                                                  13   Various details about child care and the US.
 14    A.   Yes. So he said, gave me brief details. She isn't                   14   Q. So is it fair to say you had like an orientation
 15    around, they were separated, but she would have Sylvia at                15   program for five days?
 16    certain times so I would drive Sylvia to the mother's if                 16   A.     Yes.
 17    need be.                                                                 17   Q. How many au pairs generally, approximately, were
 18    Q. Did Mr. Valerio tell you anything else about the                      18   there during that training?
 19    mother or her condition or her life circumstances?                       19   A.     I'd say altogether about 18 of us.
 20    A.   He did say something from, I have a bad memory of                   20   Q. Now, during that training program, were you told what
 21    this, but that she was ill. But that's all I can                         21   to do in case of an emergency?
 22    remember.                                                                22   A.     Yes.
 23    Q. I want you to please turn to page 12.                                 23   Q. And what do you remember about that?
 24                I'm showing it to counsel.                                   24   A.     They gave us details about the InterExchange office
 25                And I'm referring to the bottom message.                     25   and the emergency number of the United States.
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                                                                18                                                                                20
  1   Q.   What happened at the end of the training period?                      1   that we were going to go to.
  2   A.   So we finished the orientation in au pair, and we all                 2   Q.     What sort of party?
  3   got collected by our families at the end of the week.                      3   A.     I believe it was a Halloween party, in my memory.
  4   Q.   Who came to get you?                                                  4   Q.     Did he tell you what kind of costume he wanted you to
  5   A.   Mr. Valerio.                                                          5   wear?
  6   Q.   And what happened next?                                               6   A.     Yes. He mentioned me wearing panty hose with nothing
  7   A.   So he picked me up in the evening, and we got in the                  7   else.
  8   car. And we were driving to get something to eat and he                    8   Q.     Do they use that term, panty hose, in the United
  9   was asking about what I had done in the week regarding                     9   Kingdom?
 10   orientation.                                                              10   A.     No. I didn't know what it was.
 11   Q.   How was he behaving toward you, either physically or                 11   Q.     So accelerating to the house again. Sounds like you
 12   verbally?                                                                 12   got a tour of the house.
 13   A.   Just, we were just talking. I was asking questions                   13   A.     Yes.
 14   regarding Sylvia, and he was asking questions regarding                   14   Q.     What happened next? Or what happened during the tour
 15   how my week was in New York.                                              15   of the house?
 16   Q.   What if anything did Mr. Valerio tell you about                      16   A.     So he showed me obviously my room.
 17   Sylvia, during that car trip?                                             17   Q.     By the way, what did your room look like?
 18   A.   That she wasn't his child.                                           18   A.     It was a bit rundown room. There was a --
 19   Q.   Was not his child?                                                   19                 MR. LaPINTA: I'm sorry. I didn't understand.
 20   A.   No.                                                                  20                 Could you repeat that, please?
 21   Q.   And what did you say or how did you react to that?                   21                 THE WITNESS: What? About the room?
 22   A.   I was shocked, because I was wondering why I was                     22                 MR. LaPINTA: Yes. Please.
 23   there for.                                                                23   BY MR. KABRAWALA:
 24   Q.   Did you ask him that?                                                24   Q.     Yes.
 25   A.   Yes.                                                                 25   A.     It was like a rundown room.

                                                                19                                                                                21
  1   Q.   What did he say?                                                      1                 You walk in. On the left there was a glass-door
  2   A.   He said that he would explain further when we got                     2   wardrobe that was, I remember, being slightly broken. The
  3   back to, when we were done with our meal, but he needed                    3   bed wasn't made. And it had a make-up vanity on the
  4   someone at the house. That's what I remember in that                       4   right, from what I remember.
  5   conversation.                                                              5   Q.     What was going through your mind at that time?
  6   Q.   Did you in fact have a meal before you went back to                   6                 MR. LATO: Objection.
  7   Long Island?                                                               7                 THE COURT: Overruled.
  8   A.   Yes.                                                                  8   BY MR. KABRAWALA:
  9   Q.   And at some point that evening, did you get back to                   9   Q.     What was going through your mind at that time?
 10   his house in Long Island?                                                 10   A.     I was scared. I didn't know why I was there. I was
 11   A.   Yes.                                                                 11   a bit nervous. I was nervous anyway, but, you know, I was
 12   Q.   What happened once you got there?                                    12   scared.
 13   A.   To his house?                                                        13   Q.     Did you have a mobile phone?
 14   Q.   Correct.                                                             14   A.     No.
 15   A.   So we went back to his house. It was quite late at                   15   Q.     Did you have any ability to contact the police?
 16   night, I remember. Took my bags in. Walking through the                   16   A.     No.
 17   house. Took my bags straight upstairs into, he showed me                  17   Q.     What happened next?
 18   where my bedroom would be, and so I put my bags in there.                 18   A.     So I went downstairs, got a drink, and I sat in the
 19               He then offered me a drink. So I went back                    19   media room. And then Mr. Valerio came in.
 20   downstairs, into a media room, I guess.                                   20   Q.     How was he dressed?
 21   Q.   Let me stop you right there. On the car ride back,                   21   A.     He was he in, he was then in boxers and a wife beater
 22   did you two discuss anything about what plans, if any,                    22   tanktop.
 23   there he might be for you in the United States?                           23   Q.     What happened after that?
 24   A.   So I was asking back to what he would need me for, et                24   A.     So he sat next to me. And I sat there for about five
 25   cetera, in the same conversation. He mentioned a party                    25   minutes and then I wanted to go to bed.
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                                                                  22                                                                               24
  1    Q.   At any point up until that moment, had Mr. Valerio                     1   A.     Once my dad got hold of them, I then got a Skype call
  2    touched you in any way?                                                     2   from a lady called Emma Larby, who was in the UK GAP 360.
  3    A.   Yes, like various trying to touch my hand. Just                        3   Q.     What did you and Ms. Larby talk about?
  4    trying to, but just touched my hand. But I got myself a                     4   A.     Just spoke about my situation. What happened. What
  5    distance.                                                                   5   I was doing. From what I remember, she was talking me
  6    Q.   What happened after that? Did you go to bed at all?                    6   through what she would then do.
  7    A.   Yes. I went straight up to bed then.                                   7   Q.     What did she tell you to do?
  8    Q.   And did you sleep the entire night?                                    8   A.     She said: Sit tight. Someone will be coming to get
  9    A.   I was still, had jet lag and had a long week so I was                  9   you shortly.
 10    pretty tired so I went to bed.                                             10   Q.     Did Mr. Valerio come into your room or otherwise
 11                Mr. Valerio brought up like a cover, because the               11   interact with you during this period of time that you were
 12    bed wasn't made, but I didn't bother making it. I just                     12   speaking either to your father via Skype or Ms. Larby?
 13    went, just closed the door and I just fell asleep, and                     13   A.     Yes. So he came in and opened the door. He was
 14    then woke up about 4 am, I'd say.                                          14   asking me what was wrong, because I'd obviously been
 15    Q.   What did you do when you woke up?                                     15   crying. So he asked what was wrong. What was going on.
 16    A.   So I had my laptop. So I obviously didn't have                        16               I just explained, obviously I'd been on Skype
 17    anything else to contact anyone. I walked downstairs to                    17   with my parents, just home sick, not to make, not to let
 18    see if I could use the phone line, but it didn't work or I                 18   him know what the situation was for calling Skype to GAP
 19    didn't know how to work it but I couldn't call.                            19   360.
 20                So I went back upstairs and there was an office                20   Q.     What happened after that?
 21    opposite my room. I went in to see if there was like a                     21   A.     Then he left again. So I was speaking to Emma, and
 22    Wi-Fi password, and I couldn't find one anywhere. So I                     22   she said pack your bags.
 23    just went back to my laptop, opened it up, and I got the                   23               I'm trying to remember this. She said the
 24    Wi-Fi and started emailing my dad in the UK.                               24   coordinator for the area for the au pairs will be coming
 25    Q.   What happened after that?                                             25   to get you. We are in contact with her now.

                                                                  23                                                                               25
  1    A.   Just continuously emailing my dad to see if he would                   1   Q.     What happened after that?
  2    pick up, because it would have been about 9 am in UK time.                  2   A.     From my memory, when I started to get my things
  3    Q.   Did your dad respond?                                                  3   together, and then carried, had my laptop on my lap, had
  4    A.   It took about an hour, but yes.                                        4   everything together.
  5    Q.   What was his reaction?                                                 5               So I'm going downstairs. Then Mr. Valerio was
  6    A.   Well, the first, initial email was obviously                           6   questioning what I was doing. I'm assuming no one had got
  7    questioning why I was emailing about a hundred times.                       7   in contacted with him at this point from InterExchange.
  8    Excuse me. And then obviously he replied saying: Please                     8   And I said I'm getting picked up.
  9    get on Skype. And that's when I called him on Skype.                        9               It's hard to remember this, but I stayed on
 10    Q.   What did you say?                                                     10   Skype to Emma Larbu, the GAP 360 representative.
 11    A.   How any father would react. Like what do I do? He                     11   Q.     How was Mr. Valerio behaving or acting during this
 12    wasn't anywhere near me.                                                   12   time period while you were waiting to be picked up?
 13    Q.   What did you --                                                       13               MR. LaPINTA: Objection.
 14                MR. LaPINTA: I'm sorry. I didn't understand.                   14               THE COURT: Overruled.
 15                Can you repeat that last answer, please.                       15               THE COURT: You can answer.
 16                THE WITNESS: Okay. What, how my dad reacted?                   16               THE WITNESS: Okay.
 17                So he was obviously asking what to do. What do                 17   A.     He was acting quite shocked and just asking questions
 18    I do? He was really panicking.                                             18   and telling me to grow up, quite aggressively.
 19    BY MR. KABRAWALA:                                                          19   Q.     Anything else?
 20    Q.   What did you do?                                                      20   A.     Saying various things like I could offer you such a
 21    A.   I just explained the situation I was in. Where I                      21   lot of money. He's going into this sort of thing.
 22    was. And then he said he tried to get hold of the GAP 360                  22   Storming around the house.
 23    in the UK.                                                                 23   Q.     How did you feel?
 24    Q.   Did you ultimately connect with somebody at GAP 360                   24   A.     Intimidated.
 25    in the UK or InterExchange?                                                25   Q.     About how much time passed between you coming
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                                                                  26                                                                                 28
  1   downstairs and then you being picked up?                                     1   Q.     Ms. Down, my name is Mr. LaPinta. I represent
  2   A.      It probably felt longer than it actually was. I                      2   Mr. Valerio. I'm going to ask you some questions about
  3   would say 20 minutes, tops. It might be less than that.                      3   your testimony and about what happened to you during this
  4   Q.      Do you recall getting picked up?                                     4   time period.
  5   A.      Yes.                                                                 5                 Do you understand?
  6   Q.      And what happened? Who picked you up and what                        6   A.     Yes.
  7   happened when they picked you up?                                            7   Q.     Okay. I'm not going to yell at you. I'm not going
  8   A.      Jolene Leonardo came and picked me up. Sh knocked on                 8   to scream at you. I'm not going to pound my fist. I'm
  9   the door. I got up; went to answer it.                                       9   just going to ask particular questions. Okay?
 10                  And then she tried to ask Mr. Valerio what went              10   A.     Yes.
 11   on: What's going on? What's happened? And he said I'm                       11   Q.     So please be as comfortable as you can in light of
 12   not answering anything, and just slammed the door.                          12   the circumstances. Okay?
 13   Q.      All right. Did you go back to the United Kingdom                    13   A.     Okay. Yes.
 14   shortly thereafter?                                                         14   Q.     All right. If you don't understand my question,
 15   A.      I was in the United States for about a week after                   15   please let me know and I will either reask it or rephrase
 16   that.                                                                       16   it for you. Okay?
 17   Q.      Where did you stay?                                                 17   A.     Okay. Thank you.
 18   A.      At Jolene Leonardo's house.                                         18   Q.     You're welcome.
 19   Q.      Do you connect with any other family to work for                    19                 Ms. Down, a few times when you were answering
 20   them?                                                                       20   questions before, you had alluded to the fact about your
 21   A.      I was looking into a family in California, but there                21   memory.
 22   was a hurricane so there was no way to travel. So after                     22   A.     Yes.
 23   that I decided to go home.                                                  23   Q.     Okay? And it is clear that this incident took place
 24   Q.      There was a hurricane? Hurricane Sandy?                             24   around four years ago. Correct?
 25   A.      Umm-hmm.                                                            25   A.     Yes.

                                                                  27                                                                                 29
  1   Q.      Is that yes?                                                         1   Q.     Actually, more -- a little less than four years ago.
  2   A.      Yes.                                                                 2   Right?
  3   Q.      So you stayed with Ms. Leonardo's family during that                 3   A.     Yes.
  4   hurricane time period?                                                       4   Q.     Would you agree with me obviously that due to the
  5   A.      Yes.                                                                 5   passage of time, you have certain problems remembering
  6   Q.      And then you returned to the United Kingdom after                    6   certain things? Correct?
  7   that?                                                                        7   A.     Yes.
  8   A.      Yes.                                                                 8   Q.     And your testimony that you just gave is the best
  9   Q.      You saw Miss Leonardo right outside today?                           9   shot at your recollection of what happened. Correct?
 10   A.      Yes.                                                                10   A.     Yes.
 11   Q.      You were reunited with her?                                         11   Q.     But it may not be precisely what happened. Right?
 12   A.      Yes                                                                 12   A.     Yes.
 13   Q.      Had you seen or spoken with Miss Leonardo before your               13   Q.     And what was said may not be precisely what was said.
 14   reunion just a few minutes ago?                                             14   Right?
 15   A.      No.                                                                 15   A.     Yes.
 16                  MR. KABRAWALA: Your Honor, the government                    16   Q.     And what you said may not be precisely what you said.
 17   doesn't have anything further at this time.                                 17   Right?
 18                  THE COURT: Cross-examination.                                18   A.     Yes.
 19                  MR. LaPINTA: One moment please.                              19   Q.     Okay. Now, before taking the witness stand this
 20                  (There was a pause in the proceedings.)                      20   morning, did you look over any documents to refresh your
 21                                                                               21   recollection of what happened four years ago?
 22   CROSS-EXAMINATION                                                           22   A.     Yes.
 23   BY MR. LaPINTA:                                                             23   Q.     What documents did you review, Miss Down?
 24   Q.      Good morning, Ms. Down.                                             24   A.     My statement from two years ago.
 25   A.      Hi.                                                                 25   Q.     Okay. And that would be the statement that you made
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                                                           30                                                                      32
  1    to the authorities in the UK two years ago. Correct?                 1   A. Yes.
  2    A. Yes.                                                              2   Q. And that I believe that was at a point in time in
  3    Q. Now let's talk a little bit about that statement.                 3   your life when you had just graduated from college, I
  4    Okay?                                                                4   believe?
  5    A. Okay.                                                             5   A. Yes.
  6    Q. Now, we just established that this event happened                 6   Q. So obviously you are well versed at the internet.
  7    close to four years ago. Right?                                      7   Right?
  8    A. Yes.                                                              8   A. Yes.
  9    Q. And you gave the statement to the UK authorities two              9   Q. And you had done due diligence in terms of finding an
 10    years after the incident. Right?                                    10   agency that you felt comfortable with. Right?
 11    A. Yes.                                                             11   A. Yes.
 12    Q. And would it be fair to say that when you left                   12   Q. And part of the factors that you considered when
 13    Mr. Valerio's home the day that you described, you didn't           13   picking an agency was how well established the agency was.
 14    contact the police then? Right?                                     14   Right?
 15    A.   Right.                                                         15   A. Yes, of course.
 16    Q.   And you didn't make any police reports then. Right?            16   Q. How complete their application process was with
 17    A.   Right.                                                         17   potential host families. Right?
 18    Q.   And when you were back at the home of the                      18   A. Yes.
 19    administrator that you had stayed at a week after relaxing          19   Q. And that was an important factor for you in choosing
 20    and coming to terms with what happened, you didn't notify           20   an au pair agency.
 21    any authorities then. Right?                                        21   A. Yes, of course.
 22    A. Right.                                                           22   Q. And you chose this 360 agency, I believe, because you
 23    Q. And then two years later you suddenly contacted the              23   had a keen ability to learn and understand facts about the
 24    authorities. Correct?                                               24   host family. Right?
 25    A. No. They contacted me.                                           25   A. Yes.
                                                           31                                                                      33
  1    Q.   Okay. Well, you then write the report. Right?                   1   Q. You were able to see photographs. Right?
  2    A.   Yes.                                                            2   A. Yes.
  3    Q.   So let's talk about them contacting you. All right?             3   Q. You were able even to view their application.
  4    A.   Okay.                                                           4   Correct?
  5    Q.   The authorities in the UK reached out to you about              5   A. Yes.
  6    this incident. Right?                                                6   Q. So when you had made contact initially with
  7    A. Yes.                                                              7   Mr. Valerio, you knew about what was said on the
  8    Q. Would it be fair to stay, based upon what happened                8   application. Right?
  9    afterward, that you had no intention of reaching out to              9   A. Yes.
 10    the authorities at any time after this? Is that right?              10   Q. And based on that, you took the next step, to engage
 11    A. Right.                                                           11   with him with the prospect of working for him. Correct?
 12    Q. And when you did meet with the authorities, they                 12   A. Yes.
 13    explained to you that Mr. Valerio had been arrested here            13   Q. Now let's talk about the exchange that you had with
 14    in the United States?                                               14   him.
 15    A. Yes.                                                             15              I believe you said it was on Skype. Right?
 16    Q. And did the authorities then ask you to give this                16   A. Yes.
 17    statement?                                                          17   Q. Now, there is nothing that was said on Skype that was
 18    A.   Yes.                                                           18   alarming to you. Right?
 19    Q.   And you complied and gave a statement. Right?                  19   A. Yes.
 20    A.   Yes.                                                           20   Q. In fact, I believe in one of your reports or
 21    Q.   Let me take you back to when you first applied to be           21   interviews you said that he was actually very much a
 22    an au pair. All right?                                              22   gentleman. Right?
 23    A. Umm-hmm.                                                         23   A. Yes.
 24    Q. You explained to Judge Bianco that you did some                  24   Q. And you had researched and done some diligence
 25    research on the internet. Correct?                                  25   regarding his circumstances. Right? Prior to the Skype.
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                                                            34                                                                            36
  1   A.   On the database.                                                  1   A. Yes.
  2   Q.   Correct.                                                          2   Q. And Mr. Kabrawala asked you questions about being
  3   A.   Yes.                                                              3   trained regarding emergency circumstances. Right?
  4   Q.   And you had an ability to ask him any questions you               4   A. Yes.
  5   wanted to, at that point. Right?                                       5   Q. They gave you particular instructions as to what to
  6   A.   Yes.                                                              6   do if you found yourself in harm's way. Right?
  7   Q.   And you did. Right?                                               7   A.     Yes.
  8   A.   Yes.                                                              8   Q.     And you remember those instructions. Right?
  9   Q.   You asked him questions that you felt you needed                  9   A.     Yes.
 10   answers for. Right?                                                   10   Q.     Now, you didn't bring a phone with you then. Is that
 11   A. Yes.                                                               11   right?
 12   Q. You asked him questions in order to find a comfort                 12   A. Umm-hmmm.
 13   level with him that you were satisfied with. Right?                   13                 Well, we get provided a phone once we are with
 14   A. Yes.                                                               14   the host family.
 15   Q. And to find a safety level with him that you were                  15   Q. Okay. So the host family was to provide you with a
 16   satisfied with. Right?                                                16   phone. Is that what you are saying?
 17   A. Yes.                                                               17   A.     Yes.
 18   Q. And when you asked particular questions, he never                  18   Q.     But you did have your computer with you. Right?
 19   refused to answer those questions, did he?                            19   A.     Yes.
 20   A. No.                                                                20   Q.     Now, when you first met Mr. Valerio, he picked you up
 21   Q. And when you Skyped with him, he never became angry                21   I believe at the hotel. Is that right?
 22   with you during the Skype, did he?                                    22   A. Yes.
 23   A. No.                                                                23   Q. And then I believe you said that you kind of drove
 24   Q. Now, there came a time when you said there was a                   24   around a bit?
 25   match. Right? You agreed --                                           25   A. Yes.
                                                            35                                                                            37
  1   A. Yes.                                                                1   Q. And when you met him for the first time, you engaged
  2   Q. -- to work with him, and he agreed to invite you to                 2   in a conversation with him. Right?
  3   the home. Right?                                                       3   A. Yes.
  4   A. Yes.                                                                4   Q. And it was then that he told you that his
  5   Q. And one of the reasons why you selected this agency                 5   circumstances had changed. Is that correct?
  6   company is because they actually did a home study previous             6                 Did he say the circumstances had changed, do you
  7   to this. Right?                                                        7   recall?
  8   A. Yes.                                                                8   A. Not changed.
  9   Q. They went to Mr. Valerio's home and they looked                     9   Q. Did he ever explain to you in the car ride that his
 10   around. Right?                                                        10   circumstances regarding his daughter had changed?
 11   A. Yes.                                                               11   A.     No.
 12   Q. And you were satisfied with that investigation that                12   Q.     Yes or no?
 13   they did. Right?                                                      13   A.     No.
 14   A. Yes.                                                               14   Q.     Did he explain to you in the car ride that his
 15   Q. And if you weren't satisfied, you were able to ask                 15   daughter that he intended to be home with him was not home
 16   your own questions about stuff. Right?                                16   because she was in the UK?
 17   A.   Yes.                                                             17   A.     No.
 18   Q.   But you didn't. Right?                                           18   Q.     Do you remember that?
 19   A.   Umm-hmm.                                                         19   A.     No.
 20   Q.   When you went through -- there was a time that you               20   Q.     Do you remember any information from Mr. Valerio
 21   arrived here in New York. Right? A very exciting time, I              21   about having a daughter in the UK?
 22   would think. Right?                                                   22   A.     No.
 23   A. Yes.                                                               23   Q.     I'm sorry. South Africa. My mistake.
 24   Q. And you went through a two-week training program at                24   A.     No.
 25   the New Yorker Hotel. Right?                                          25   Q.     Have you since learned that Mr. Valerio has a
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  1   daughter in South Africa?                                              1   demeanor was respectful and polite?
  2   A. Since Friday.                                                       2   A.     What do you mean?
  3   Q. Now, during that ride, I believe that you said you                  3   Q.     Well, he wasn't angry with you at the dinner, was he?
  4   had dinner?                                                            4   A.     No.
  5   A. Yes.                                                                5   Q.     He wasn't threatening you at the dinner, was he?
  6   Q. But prior to dinner, you had a normal conversation                  6   A.     No.
  7   with him. Right? Yes?                                                  7   Q.     He wasn't saying anything verbally to you that in
  8   A. Yes.                                                                8   your opinion was inappropriate. Right?
  9   Q. And there was nothing that was apparent to you that                 9   A.     Not saying, no.
 10   was a problematic situation then. Right? In terms of how              10   Q.     This was a public restaurant. Right?
 11   he was speaking about himself? Let me withdraw the                    11   A.     Yes.
 12   question.                                                             12   Q.     And there were people dining in that area. Correct?
 13   A.    Yes.                                                            13   A.     Yes.
 14   Q.    Regarding his demeanor to you?                                  14   Q.     You weren't alone with him there. Right?
 15   A.    Umm-hmmm.                                                       15   A.     Yes.
 16   Q.    During the ride to the restaurant, there was nothing            16   Q.     And is it fair to say that at this point in time you
 17   alarming during that segment of time, was there?                      17   didn't feel any danger at all; did you?
 18   A. Well, a bit before, he said he didn't actually have                18   A. I did.
 19   any children.                                                         19   Q. Okay. Well, you felt danger but you didn't reach out
 20   Q. Right.                                                             20   to anyone that was there to be reached out to. Right?
 21   A. Yes.                                                               21   A. Right.
 22   Q. So I guess what you are explaining is, the fact that               22   Q. And there were people that were all around there.
 23   he said he didn't have any children was alarming to you.              23   Right?
 24   A. Yes.                                                               24   A. Right.
 25   Q. Right?                                                             25   Q. When you left --
                                                            39                                                                             41
  1                Besides that, his demeanor toward you was not             1   A. Yes.
  2   alarming. Is that fair to say? At that juncture.                       2   Q. -- you could have spoken to someone on your way out.
  3   A. Not in the car ride.                                                3   Right?
  4   Q. So in the car ride, besides him explaining his                      4   A. Right.
  5   daughter was not there, he was otherwise --                            5   Q. You could have gone to the ladies' room and spoken to
  6   A. Before the restaurant, yes.                                         6   the manager. Right?
  7   Q. Before the restaurant. Okay. So let's talk about                    7   A.     Right.
  8   the restaurant.                                                        8   Q.     You could have asked to use the phone. Right?
  9   A.    Okay.                                                            9   A.     Right.
 10   Q.    He took you to dinner?                                          10   Q.     But you didn't, did you?
 11   A.    Yes.                                                            11   A.     Right.
 12   Q.    And it was the two of you that ate together. Right?             12   Q.     There came a time when you drove back to the home.
 13   A.    Yes.                                                            13   Correct?
 14   Q.    He didn't force any alcohol upon you, did he?                   14   A. Right.
 15   A.    He did ask. He bought me alcohol but I declined.                15   Q. And during the conversation at that time, certain
 16   Q.    But you didn't, you know, do shots with him or have             16   things happened. I believe you said in one of the reports
 17   drinking games with him or otherwise attempt to intoxicate            17   that he would touch your hand. Is that right?
 18   you; did he?                                                          18   A. Right.
 19   A. No.                                                                19   Q. Would he grab your hand and squeeze your hand? Would
 20   Q. He bought you a drink and you respectfully declined                20   he touch the top of your hand?
 21   to drink it. Correct?                                                 21                Describe how he would touch your hand.
 22   A.    Umm-hmmm.                                                       22   A. Touched the top.
 23   Q.    Yes?                                                            23   Q. Okay. During that ride, he didn't touch any other
 24   A.    Yes.                                                            24   area of your body. Right?
 25   Q.    And would you agree that during the dinner, that his            25   A. No.
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  1   Q. He didn't attempt to touch any other area of your                1 A.       No.
  2   body. Right?                                                        2 Q.       How about across the street from him?
  3 A. Right.                                                             3 A.       Yes.
  4 Q. And was it at that time when he explained to you                   4 Q.       Okay. And when you got out of the car, you didn't go
  5   about this Halloween party?                                         5   to any of the homes for help. Right?
  6 A.     In the car.                                                    6   A. No.
  7 Q.     Okay.                                                          7   Q. And is it fair to say that you didn't go to any of
  8 A.     Not in the house.                                              8   the homes because at that point you didn't particularly
  9 Q.     Well, we haven't reached the house yet. We are in              9   feel as though you were in danger? Is that fair to say?
 10   the car.                                                           10   A. No.
 11   A.   Sorry.                                                        11   Q. So you consciously decided not --
 12   Q.   So in the car, to the house --                                12                THE COURT: I just want to understand the
 13   A.   Yes.                                                          13   answer.
 14   Q.   -- is when he spoke to you about the Halloween party?         14                No, that is not fair to say? Or no, you didn't
 15   A.   Yes.                                                          15   feel any danger?
 16   Q.   And when he told you about this party, did you tell           16                THE WITNESS: I did feel danger but I, yes, I --
 17   him that you weren't interested in going?                          17   BY MR. LaPINTA:
 18   A. I was just trying -- I didn't say anything.                     18   Q. So you felt -- well, danger is my word.
 19   Q. And did he, when he explained that he had this                  19                Would you agree that you felt uncomfortable?
 20   costume, did you tell him that you weren't interested in           20 A.       Uncomfortable.
 21   wearing such a costume?                                            21 Q.       But not in danger. Right?
 22   A. I didn't say anything.                                          22 A.       I didn't know at this point.
 23   Q. You had no reaction to any of this?                             23 Q.       When you were taught what to do in an emergency
 24              Is that yes or no?                                      24   setting --
 25   A. No.                                                             25   A. Yes.
                                                         43                                                                         45
  1   Q. Ms. Down, at any time before arriving at the home,               1   Q. -- one of the things that you were taught would be to
  2   did Mr. Valerio explain to you that his sister had a                2   run away, if you are capable of running away?
  3   daughter that he was looking to have an au pair care for?           3   A. No.
  4 A. That I remember.                                                   4   Q. Were you taught to continue to be in a dangerous,
  5 Q. And again, this is four years ago. He could have                   5   perilous situation without resisting? Is that what you
  6   said it but you don't remember. Is that right?                      6   were taught?
  7 A. Right.                                                             7 A.       No, we weren't taught.
  8 Q. Because, as we said before, you don't remember                     8 Q.       You arrived inside the home. Right?
  9   exactly what was said. Right?                                       9 A.       Right.
 10 A. Right.                                                            10 Q.       And you explained on direct examination that
 11 Q. When you arrived at Mr. Valerio's home, you pulled up             11   Mr. Valerio gave you a tour of the home. Right?
 12   in the driveway of the home. Right?                                12   A.     Right.
 13 A.     Yes.                                                          13   Q.     He showed you the entire home. Right?
 14 Q.     And it was at night. Right?                                   14   A.     Yes. Downstairs and upstairs.
 15 A.     Yes.                                                          15   Q.     Sorry?
 16 Q.     But you were able to see that were other homes in             16   A.     Downstairs and upstairs. Yes.
 17   that area. Right?                                                  17   Q.     Well, was there anything more to the house than
 18 A. Yes.                                                              18   downstairs and upstairs?
 19 Q. I don't know how it is where you live, but is it fair             19 A. No, not that I know of.
 20   to say that the homes next to him were relatively close?           20 Q. He didn't hide any portions of the home from you or
 21   Right?                                                             21   say you can't see that area or not. Right?
 22 A.     Right.                                                        22   A. Not that I know of, no.
 23 Q.     There was a home to the left of him. Right?                   23   Q. And if you had an interest in seeing a certain area,
 24 A.     I don't remember.                                             24   you would have asked him. Right?
 25 Q.     Was there a home to the right of him? Do you recall?          25   A. Right.
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  1   Q. But you didn't feel a need to do that. Right?                      1   Q. -- about this investigation. Correct?
  2   A. No.                                                                2   A. Correct.
  3   Q. When you arrived in the home, did he then show you                 3   Q. Regarding his boxer shorts. Were they, are you
  4   your room?                                                            4   saying that they were underwear that he was wearing? Or
  5   A. Yes.                                                               5   it appeared to look as though they were boxer shorts?
  6   Q. Now, when you testified on direct examination, you                 6   A. They appeared to be boxer shorts.
  7   stated that the room was rundown, your words were. Right?             7   Q. Okay. Do you know whether those were the underwear
  8   A. Right.                                                             8   that he was wearing at the time?
  9   Q. Well, isn't it a fact that you had an opportunity to               9   A. I wouldn't know.
 10   speak to someone about that room before you even agreed to           10   Q. Do you know whether he was wearing anything under his
 11   go there? Right?                                                     11   boxer shorts?
 12   A. What do you mean?                                                 12   A.     I don't know.
 13   Q. Well, the au pair service conducted a home study                  13   Q.     Could have been but you don't know. Right?
 14   before. Right?                                                       14   A.     Right.
 15   A.    Right.                                                         15   Q.     And it was then when you described to Judge Bianco
 16   Q.    Do you know that they took photographs of the room?            16   that he once again touched your hand. Right?
 17   A.    No.                                                            17   A.     Right.
 18   Q.    Did you ask to see photographs of the room?                    18   Q.     And that would be the top of your hand?
 19   A.    No.                                                            19   A.     The top.
 20   Q.    At this juncture, when he introduced you to the room           20   Q.     With his hand. Correct?
 21   where you are staying, would you agree that, besides                 21   A.     Right.
 22   feeling uncomfortable, that he had not done anything                 22   Q.     Let's be clear, Ms. Down. He didn't touch you
 23   perilous or dangerous to you? Would you agree with that?             23   anywhere else, did he?
 24   A. Yes.                                                              24   A. No.
 25   Q. I believe you said that, after you brought your                   25   Q. He didn't try to touch your breasts, did he?
                                                           47                                                                              49
  1   belongings to the room, you went downstairs and sat on the            1   A. No.
  2   couch with him. Correct?                                              2   Q. He didn't try to touch any other private area of your
  3   A. Yes.                                                               3   body. Correct?
  4   Q. And you testified that he came downstairs wearing                  4   A.     No. Correct.
  5   boxer shorts. Right?                                                  5   Q.     Nor did he ever try to kiss you. Is that correct?
  6   A. Yes.                                                               6   A.     Right.
  7   Q. I didn't quite understand what you said after boxer                7   Q.     But nevertheless you felt a little intimidated by
  8   shorts. What else was he wearing?                                     8   him. Correct?
  9   A.    He was wearing a tanktop.                                       9   A. Right.
 10   Q.    Tanktop. Like a wife-beater top?                               10   Q. And as a result, you decided to remove yourself from
 11   A.    Yes.                                                           11   that situation and to go upstairs and go to bed. Right?
 12   Q.    Wife beater: Is that your words or something that              12   A.     Right.
 13   someone told you?                                                    13   Q.     He didn't stop you from going to bed, did he?
 14   A. No. A wife beater. A tanktop.                                     14   A.     No.
 15   Q. Now let's be clear of something here. The term wife               15   Q.     He didn't pull your hand or throw you back onto the
 16   beater is your term. Right?                                          16   sofa, did he?
 17   A. Yes.                                                              17   A. No.
 18   Q. Your words that you decided to use to describe that               18   Q. He didn't even try to convince you not to go to bed.
 19   shirt. Right?                                                        19   Right?
 20   A. Yes.                                                              20   A.     Right.
 21   Q. He never described that shirt as a wife beater shirt.             21   Q.     And because you felt uncomfortable --
 22   Right?                                                               22   A.     Right.
 23   A. No.                                                               23   Q.     -- you then made attempts to reach out to your
 24   Q. Nor did anybody that you spoke to --                              24   parents. Right?
 25   A. No.                                                               25   A. Right.
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                                                        50                                                                        52
  1   Q. And you did in fact email your dad a number of times,           1 A.       Yes.
  2   as you explained?                                                  2 Q.       Okay. You were then picked up.
  3 A.    Yes.                                                           3 A.       Right.
  4 Q.    And eventually you made contact?                               4 Q.       You got your belongings and you left the house.
  5 A.    Yes.                                                           5   Right?
  6 Q.    So let's talk about the night that you spent there             6   A. Right.
  7   prior to being picked up in the morning. All right?                7   Q. And you ended up staying for a week with presumably
  8 A.    Okay.                                                          8   the administrator or the representative from the company.
  9 Q.    You were in the room alone. Right?                             9   Right?
 10 A.    Right.                                                        10   A.     Right.
 11 Q.    At no time during that night when you were in the             11   Q.     Right?
 12   room did Mr. Valerio come into that room, did he?                 12   A.     Yes.
 13 A. No.                                                              13   Q.     You stayed at her house?
 14 Q. At no time did he try to get you out of the room.                14   A.     Yes.
 15   Right?                                                            15   Q.     And I believe you then explained to Judge Bianco it
 16 A. No.                                                              16   was at that time that you were actually considering going
 17 Q. At no time did he try to entice you to come into his             17   to another family. Right?
 18   bed, did he?                                                      18   A. Yes.
 19 A. No.                                                              19   Q. And that is, after experiencing what you just
 20 Q. And you had, at that point and throughout the entire             20   described, you were willing to go and try it again with
 21   night, you had access to the entire house. Right?                 21   someone else. Right?
 22   A. Right.                                                         22   A. Right.
 23   Q. In fact you could have left the house in the middle            23   Q. But due to Hurricane Sandy, I believe, you weren't
 24   of the night if you wanted to. Right?                             24   able to do so. Right?
 25   A. Right.                                                         25   A. Right.
                                                        51                                                                        53
  1   Q. He didn't lock the door of the room and keep you in             1   Q. Lastly, Miss Down. Is it fair to say that besides
  2   the room, did he?                                                  2   touching the top portion of your hands, Mr. Valerio did
  3   A. No.                                                             3   not make any other advances toward you?
  4   Q. Nor did he lock any of the doors to the outside of              4   A. Right.
  5   the house. Correct?                                                5              MR. LaPINTA: One moment, please.
  6 A.    To the outside?                                                6              (There was a pause in the proceedings.)
  7 Q.    Yes.                                                           7              MR. LaPINTA: Thank you, Miss Down.
  8 A.    I'm not sure.                                                  8              THE COURT: Redirect.
  9 Q.    Okay. But as far as you were aware, you could have             9              MR. KABRAWALA: I will be very brief, your.
 10   left that house at any time during the night, while he was        10              Honor.
 11   even sleeping. Right?                                             11
 12   A. Right.                                                         12   REDIRECT EXAMINATION
 13   Q. And if you did so, he wouldn't have even known that            13   BY MR. KABRAWALA:
 14   you left, maybe. Right?                                           14   Q. Miss Down, if you could, please turn to Exhibit No. 5
 15 A.    Right.                                                        15   in the binder, and specifically the penultimate page, the
 16 Q.    You were picked up the next morning. Right?                   16   second-to-last page.
 17 A.    Right.                                                        17              THE COURT: 5 or 5A?
 18 Q.    Prior to being picked up, Mr. Valerio had asked you           18              MR. KABRAWALA: 5, Judge. The second-to-last
 19   if you were okay. Right?                                          19   page. The photos.
 20   A. Right.                                                         20   A. Okay.
 21   Q. He had asked you -- and I believe these are the words          21   BY MR. KABRAWALA:
 22   that you used -- Is everything okay?, quote-unquote.              22 Q.       Do you recognize the photo?
 23   Right?                                                            23 A.       Yes.
 24 A. Right.                                                           24 Q.       And where do you recognize the photo from?
 25 Q. He expressed concern about your wellbeing, didn't he?            25 A.       The InterExchange database.
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                                                                 54                                                                          56
  1   Q. Is that a true depiction of the photo that you recall                    1   Q. In the middle of the night?
  2   seeing on the InterExchange database?                                       2   A. Yes.
  3   A. Yes.                                                                     3   Q. With respect to your car ride from New York City to
  4                MR. KABRAWALA: Your Honor, the government moves                4   Long Island, you were asked about the request that you
  5   to admit the second-to-last page of Government Exhibit 5.                   5   wear a costume, a Halloween costume.
  6                I will separately mark it for the record at the                6   A.     Right.
  7   break.                                                                      7   Q.     Do you recall that?
  8                MR. LaPINTA: No objection.                                     8   A.     Yes.
  9                THE COURT: That one page of Exhibit 5 is                       9   Q.     Panty hose, I believe?
 10   admitted.                                                                  10   A.     Yes.
 11                (Government Exhibit 5 in evidence.)                           11   Q.     And you were asked what your reaction was or your
 12   BY MR. KABRAWALA:                                                          12   response was to that request.
 13   Q. Is that the photo that you saw of Mr. Valerio on the                    13   A. Right.
 14   InterExchange website?                                                     14   Q. And I believe your response was that you didn't
 15   A. Yes.                                                                    15   respond.
 16   Q. Who did you understand that young girl to be, in the                    16   A. Right.
 17   picture?                                                                   17   Q. Why not? Why didn't you respond to Mr. Valerio and
 18   A.    His daughter.                                                        18   tell him that you weren't going to wear that?
 19   Q.    Sylvia?                                                              19   A.     I'm scared. It could have made it worse.
 20   A.    Yes.                                                                 20   Q.     It would have made it worse?
 21   Q.    You were asked earlier, in essence, whether you ever                 21   A.     Yes.
 22   notified any authorities either while in the United States                 22   Q.     You were asked about your memory of these events
 23   or after. Do you recall those questions?                                   23   generally and how it was a number of years ago.
 24   A. Right.                                                                  24                 Do you recall that?
 25   Q. And you were asked whether you reported this activity                   25   A. Yes.
                                                                 55                                                                          57
  1   in the United Kingdom once you were back. Do you recall                     1   Q. As you sit here today, is there any doubt in your
  2   that?                                                                       2   mind that Joseph Valerio, that man that you pointed out,
  3   A. Yes.                                                                     3   told you that he had a daughter?
  4   Q. Is there a reason you never reported this to the                         4   A. Sorry. Repeat the question?
  5   authorities, yourself?                                                      5   Q. Is there any doubt in your mind that Joseph Valerio
  6   A. I just wanted nothing to do with it. I think I was                       6   before you came to the United States told you that he had
  7   just too scared to do anything.                                             7   a daughter?
  8   Q. You were also asked whether you could have left the                      8   A. No.
  9   restaurant or Mr. Valerio's home.                                           9   Q. Is there any doubt in your mind that he told you his
 10                Do you recall those series of questions?                      10   daughter's name was Sylvia?
 11   A. Yes.                                                                    11   A. No.
 12   Q. Is there a reason why you didn't leave from the                         12   Q. Is there any doubt in your mind that he repeatedly
 13   restaurant on your own or leave from Valerio's house on                    13   touched your hand?
 14   your own?                                                                  14   A. No.
 15   A.    I was too scared. Where am I going to go?                            15   Q. Is there any doubt in your mind that he ordered you a
 16   Q.    Had you been in the United States before?                            16   drink?
 17   A.    No.                                                                  17   A. No.
 18   Q.    Had you been in New York City before?                                18   Q. Is there any doubt in your mind that as you were
 19   A.    No.                                                                  19   leaving he was aggressive and stormed around the house?
 20   Q.    Had you been in Long Island before?                                  20   A. No.
 21   A.    No.                                                                  21   Q. Is there any doubt in your mind that he was
 22   Q.    Did you have a car or any mode of transportation?                    22   aggressive and told you that he paid a lot of money for
 23   A.    No.                                                                  23   you?
 24   Q.    Was it late at night?                                                24   A. No.
 25   A.    Yes.                                                                 25                 MR. KABRAWALA: Your Honor, there is nothing
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  1   further.                                                                    1   Q. Drawing your attention to the year 2012.
  2                 THE COURT: Anything further, Mr. LaPinta?                     2                 Did you, in the course of your employment with
  3                 MR. LaPINTA: No. Thank you.                                   3   InterExchange, come to meet an individual named Joseph
  4                 THE COURT: You can step down, Ms. Down. Thank                 4   Valerio?
  5   you.                                                                        5   A.     Yes.
  6                 (The witness was excused.)                                    6   Q. Do you see Joseph Valerio in the courtroom here
  7                 THE COURT: How long is your next witness?                     7   today?
  8                 MR. KABRAWALA: About 20 minutes, Judge.                       8   A.     I believe that's him.
  9                 THE COURT: Why don't we take a 10-minute break,               9   Q. Can you please point him out by identifying an
 10   then.                                                                      10   article of clothing that he's wearing.
 11                 (Recess taken from 12:15 pm until 12:40 pm.)                 11   A.     Light green khaki shirt.
 12                 THE COURT: Please call your next witness.                    12   Q. Is he seated next to these two gentlemen on my right?
 13                 MR. KABRAWALA: The government calls Jolene                   13   A.     I don't know. I don't -- I don't know. I don't
 14   Leonardo.                                                                  14   know. I don't remember.
 15                                                                              15   Q. Okay. That's fair.
 16   JOLENE LEONARDO                                                            16   A.     I'm sorry.
 17          called by the Government, having been first duly                    17   Q. Can you please describe how you met Mr. Valerio.
 18          sworn/affirmed, was examined and testified as                       18   A.     I interviewed him at his home.
 19          follows:                                                            19   Q. And what was the purpose of that interview?
 20                                                                              20   A.     He applied to our agency. So I go to see that -- I
 21   DIRECT EXAMINATION                                                         21   interview the family, ask what their expectations are, so
 22   BY MR. KABRAWALA:                                                          22   that we can find a workable match with an au pair; if they
 23   Q. Good afternoon, Ms. Leonardo.                                           23   have one child or three children; and we try to match them
 24                 Were you subpoenaed to testify here today?                   24   with an au pair that prefers one child, three children.
 25   A.     Yes.                                                                25   Pets; no pets.
                                                                 59                                                                            61
  1   Q. What is your current occupation?                                         1                 So I gather information based on what the host
  2   A.     I'm a Catholic school math teacher.                                  2   family's expectations are in the program and their au
  3   Q. Catholic school math teacher?                                            3   pair.
  4   A.     Yes.                                                                 4                 I also check the home. And I have to physically
  5   Q. What grade?                                                              5   see a bedroom for the au pair that's an appropriate living
  6   A.     Seventh. Eighth. And I teach ninth grade, too.                       6   space. It has to have its own separate door, entrance.
  7   Q. And have you previously been affiliated or employed                      7   If it just has -- it can't be just a part of another room.
  8   with an organization called InterExchange Incorporated?                     8   It can't be shared. They have to have their own private
  9   A.     Yes.                                                                 9   space in the house.
 10   Q. What was your role there?                                               10                 So I have to physically see that. And I have to
 11   A.     I was a local coordinator.                                          11   write down that there is a bed and a window. And it can't
 12   Q. Would you mind speaking --                                              12   be a basement apartment, because that's not legal. It
 13   A.     Local coordinator.                                                  13   just has to be a room.
 14   Q. -- a little louder?                                                     14                 And then just answer any questions the host
 15                 What were your primary duties and                            15   family has about the program.
 16   responsibilities as a local coordinator?                                   16   Q. What did Mr. Valerio tell you about his family
 17   A.     Mostly, I'm liaison between the au pair and the host                17   situation?
 18   family. I interview the host families. I have the au                       18   A.     He told me that him and his wife share custody, he's
 19   pairs at my home and coordinate monthly activities and                     19   a single dad, with his daughter. And at that date he had
 20   social events for them.                                                    20   told me that she was in school and she had spent time
 21                 I'm like their person in the United States other             21   during the week with him. And at that time she was in
 22   than their host family.                                                    22   school.
 23   Q. Were you assigned to any particular region or county?                   23   Q. Did Mr. Valerio tell you anything about the mother of
 24   A.     Yes. I was Long Island Suffolk County. I covered                    24   his child?
 25   Suffolk County.                                                            25   A.     Just that they had joint custody.
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  1   Q. Did he tell you where the mother lived?                                 1   to introduce Government Exhibit 5 into the record.
  2   A. No.                                                                     2                 THE COURT: Objection?
  3   Q. What did Mr. Valerio say was his daughter's name?                       3                 MR. LaPINTA: No objections.
  4   I'm sorry. His child's name?                                               4                 THE COURT: Government Exhibit 5 is admitted.
  5   A. Sylvia. It was a daughter and it was Sylvia. I                          5                 (Government Exhibit 5 in evidence.)
  6   believe he said she was 7.                                                 6   BY MR. KABRAWALA:
  7   Q. I would like to show you, in the binder that is in                      7   Q. I would like for you to turn to the second-to-last
  8   front of you, Exhibit No. 15. So if you could, please                      8   page of Government Exhibit 5.
  9   turn to tab No. 15.                                                        9                 Is this a photograph?
 10   A.    Yes.                                                                10   A. Yes.
 11   Q.    Do you recognize this document?                                     11   Q. Do you recall ever seeing that photograph before?
 12   A.    Yes. It --                                                          12   A. Well, it was in that. And I think it was also, on
 13   Q.    You can take it out of the binder --                                13   one of the shelves in the den there was a picture like
 14   A. -- is the interview sheets that -- the form that I                     14   that.
 15   fill out.                                                                 15   Q.     In the den of Mr. Valerio's house?
 16                It is an online form that we fill in the                     16   A.     Yes.
 17   information.                                                              17   Q.     And who did you believe the little girl to be?
 18   Q. Well, is this a form that you fill out, or is this a                   18   A.     It's his daughter.
 19   form that is filled out by Mr. Valerio?                                   19   Q.     Sylvia?
 20   A. I fill this out.                                                       20   A.     Yes.
 21                Wait. Maybe this isn't the one. Hold on.                     21   Q.     I would like to draw your attention to Exhibit No. 6.
 22   Q. Okay. And this is an application?                                      22   It is also in the binder.
 23   A. This, yes. This is not my interview form. This is                      23   A. Okay.
 24   something that the host family would fill out before                      24   Q. What is this document?
 25   meeting me, to initiate the process, saying this is what I                25   A. This is my host family interview that I fill out when
                                                                63                                                                            65
  1   want.                                                                      1   I see him.
  2                When I go, I try to verify this information:                  2   Q. You filled out this report?
  3   Okay. You said you want this kind of au pair. You want                     3   A. Yes.
  4   them to do this.                                                           4   Q. How did you obtain the information that was
  5                And this is what we use to have the                           5   contained, that is contained in this host family interview
  6   face-the-face interview.                                                   6   report?
  7   Q. So this facilitates your interview?                                     7   A. This is what I bring with me when I physically meet
  8   A. Correct.                                                                8   the host family. And this is what I filled out after
  9   Q. The information that is contained in this report, who                   9   meeting with Mr. Valerio.
 10   is that provided by?                                                      10   Q. And did you fill out the information shortly after
 11   A. The family. The host family.                                           11   you spoke with Mr. Valerio?
 12   Q. And is that information obtained in the regular                        12   A. Yes. I write it and then I go home and type it.
 13   course of InterExchange's business, to your knowledge?                    13   Q. And to your knowledge is this host family interview
 14   A. Yes. This is their first application that -- yes,                      14   report kept on file with InterExchange?
 15   that they submit to InterExchange.                                        15   A.      Yes.
 16                This doesn't go to me, it goes to the company,               16                 MR. KABRAWALA: Your Honor, the government moves
 17   and then I receive this and I read this and that's how I                  17   to introduce Government Exhibit 6 into the record.
 18   conduct my interview.                                                     18                 THE COURT: Any objection?
 19   Q. And is the information contained in this report                        19                 MR. LaPINTA: No.
 20   obtained and maintain in the regular course of                            20                 THE COURT: Government Exhibit 6 is admitted.
 21   InterExchange's business?                                                 21                 (Government Exhibit 6 in evidence.)
 22   A. Do they keep this on file, you mean?                                   22   BY MR. KABRAWALA:
 23   Q. Correct.                                                               23   Q. Let's look at the first page, referring to the very
 24   A. Yes.                                                                   24   top under the title Instructions to Local Coordinator.
 25                MR. KABRAWALA: Your Honor, the government moves              25                 What do you understand your instructions to be?
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                                                           66                                                                                   68
  1   A.   As far as filling this out?                                       1   Q. Why is that now a requirement?
  2   Q. Correct.                                                            2                 MR. LaPINTA: Objection.
  3   A.   Similar to what I just said, as far as getting his                3                 THE COURT:     Sustained.
  4   information.                                                           4   A.     It's absolutely --
  5            The first thing here, where it says regulations               5                 THE COURT:     It was sustained. If I sustain the
  6   and policies, they ask us to read them each time we                    6   objection, he is going to ask another question. You can't
  7   interview, even if it is the same family, just so that the             7   answer it.
  8   procedures are clear.                                                  8                 THE WITNESS: Okay.
  9            Then I have a conversation with them about how                9   BY MR. KABRAWALA:
 10   many au pairs are in the area and types of activities that            10   Q. To your knowledge why is that now required?
 11   we will offer the au pair. Just gathering, I use this to              11                 MR. LaPINTA: Objection.
 12   gather information so that we get the best match so that              12                 THE COURT: It doesn't matter what they are
 13   whatever the au pair is looking for fits with what the                13   doing now. I don't need to know what they are doing now.
 14   type of au pair the family wants.                                     14   Okay?
 15   Q. When you interviewed Mr. Valerio, you went to his                  15                 THE WITNESS: Okay.
 16   house?                                                                16   BY MR. KABRAWALA:
 17   A.   Yes, I did.                                                      17   Q. Now referring to page 4, so it is the last page, and
 18   Q. Do you recall where his house is?                                  18   I'm going to be referring to question number 5. It is a
 19   A.   Yes. It's in Smithtown.                                          19   check list and it reads as follows.
 20   Q. And tell us about the interview.                                   20                 "Please check all adjectives you feel describe
 21   A.   It was like most interviews. We sat in his den. I                21   the host family."
 22   believe I sat on the couch and he sat on a cushioned                  22                 There are a number of check boxes. There are
 23   chair. He told me his daughter was at school. We talked               23   four checked boxes. Correct?
 24   about her.                                                            24   A.     Yes.
 25            He told me that he had properties; like that he              25   Q. Can you read aloud the boxes that are checked.
                                                           67                                                                                   69
  1   owned different properties, and he did very well for                   1   A.     Organized. Easy going. Patient. Intellectual.
  2   himself and he was looking forward to showing Lucy                     2   Q. And what do you recall about your interview that
  3   different places.                                                      3   caused you to check those boxes; that is, why did you
  4            And that's important in our program, that it is               4   check those boxes, of the options available?
  5   not just the au pair coming in as hired help. We want                  5   A.     Mr. Valerio just felt very relaxed compared to host
  6   them to be part of the family. So he said that he                      6   families. Like sometimes they are all nervous and, I
  7   traveled a lot and he would anticipate the au pair                     7   don't know, talkative, and whatever. And he was just very
  8   traveling with him and his daughter.                                   8   relaxed. So he appeared to be decent. He spoke slowly.
  9            And he showed me the au pair's room, and then I               9                 I don't know. Just that's how he -- he just
 10   filled out whatever it had, that it had a window and there            10   seemed very -- he didn't ask a lot of questions about all
 11   was a separate room in the house for her. That it just                11   the things the au pair can do or wouldn't do. So it just
 12   looked like a regular house. I feel like I remember it                12   seemed to me that he was easy going.
 13   being sparse, maybe not a lot of color.                               13                 And I believe I would write organized because
 14            I remember there being brickwork, like the                   14   there wasn't a lot of stuff everywhere. Just, you know,
 15   driveway was being bricked and it was halfway done. So it             15   just the first impression.
 16   just looked like a single dad's fixing up a house, living             16   Q. Turning back to page 3.
 17   with his kid.                                                         17                 I'm sorry. If you could, go back one page.
 18   Q. What time of day did you interview Mr. Valerio at his              18   Question No. 4.
 19   home?                                                                 19                 Question: The general condition of the house at
 20   A.   It was in the afternoon, around noon. I can't tell               20   the time of the interview can best be described as. And
 21   you the exact time. I know it was during school hours,                21   then there is one of four options that are checked. I
 22   obviously.                                                            22   will read aloud the options.
 23   Q. Was there any requirement to your knowledge that at                23                 Very neat and clean.
 24   that time you would have to meet the child?                           24                 Normal lived-in home with children.
 25   A.   There was not, but there since is.                               25                 Extremely casual.
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  1               Other.                                                         1   concrete evidence of not being appropriate.
  2               Which box is checked?                                          2   Q. Did you believe he was telling you the truth about
  3   A.    "A normal lived-in home with children."                              3   his daughter Sofia and the custody arrangement?
  4   Q. Why did you check that box?                                             4   A.     Sylvia?
  5   A.    Basically, we use this question to like determine the                5   Q. Yes. Sophia.
  6   presentation of the house.                                                 6   A.     Yes.
  7               To be perfectly honest, if it is very neat and                 7   Q. If you believed that he was lying to you, what if
  8   clean, sometimes it is not realistic. If a family has                      8   anything would you have done?
  9   three kids and it is all perfectly in order, you want to                   9                 MR. LaPINTA: Objection.
 10   know is the au pair going to be responsible for keeping it                10                 THE COURT: Sustained.
 11   in a certain order.                                                       11   A.     I would have --
 12               It is really just to gauge what the expectations              12                 THE COURT: Sustained.
 13   are of the home. If it is extremely casual and it is very                 13                 THE WITNESS:   Oh. Okay.
 14   sloppy and then in two months I get a call that the au                    14   BY MR. KABRAWALA:
 15   pair is not keeping the house tidy, hopefully it sparks                   15   Q. Did there come a time when you went to Mr. Valerio's
 16   like a memory: Your house wasn't perfectly in order. So                   16   house to collect Ms. Down?
 17   it's really not the au pair's job to all of a sudden give                 17   A.     Yes.
 18   them an immaculate house.                                                 18   Q. Can you describe what happened and what your role
 19               So this is kind of just to gauge what it looks                19   was.
 20   like, the typical living arrangement.                                     20   A.     I received a call from Lucy's international
 21               So there was no real extreme, so if it's not                  21   cooperator saying that she was very upset and felt
 22   perfectly in order where the kids' shoes are lying under                  22   uncomfortable in the home and wanted to leave the home.
 23   the doors, which is completely a fact which we see                        23   So I -- something about there being no child there.
 24   sometimes, and it is not a terrific match, basically the                  24                 And I went and I picked her up. And when I got
 25   other option is a normal lived-in home.                                   25   to the house, Lucy was at the door. She had her laptop
                                                                71                                                                           73
  1   Q. So you want to gauge what the condition is and                          1   open. She was Skyping with her coordinator at the door,
  2   capture it in a form somehow?                                              2   with her bag backed.
  3   A.    Yes. How do they live, so that it doesn't change                     3                 Mr. Valerio was standing next to her. And I
  4   with the expectations down the road of what the host                       4   opened the front door, saw her holding her laptop, and
  5   family expects of the au pair to maintain for them.                        5   then she went to grab her bag and he was closing the door.
  6   Q. You don't want the au pair to come and be a maid.                       6   And I think her luggage got caught in the door because he
  7   A.    Exactly.                                                             7   was like literally closing the door on her back. And she
  8   Q. Okay. So flipping forward again to page 4 of 4, to                      8   pulled it and held her laptop, I think -- I don't -- I
  9   question No. 6. It is a yes-or-no check box. And then,                     9   think I took the bag from her. I took the bag and I put
 10   if it is yes, please explain.                                             10   the bag back in my truck. And he just shut the door and I
 11               The question is: "Do you have any doubt or                    11   put the bag in my car and Lucy drove home with me.
 12   reservation as to the suitability of this home?"                          12   Q. Did you speak to Mr. Valerio or did he speak to you?
 13   A.    And I checked No.                                                   13   A.     No. I think he just said I don't understand what's
 14   Q. Why did you check that?                                                14   going on, or I don't know what this is, and that was it.
 15   A.    Because I had no reason to have doubts about him at                 15   There wasn't anything.
 16   the time of my interview.                                                 16   Q. How was his demeanor or tone?
 17   Q. Did you have any reservations about Mr. Valerio's                      17   A.     Just chilled. Like relaxed. Not anxious. Didn't
 18   suitability to participate in the InterExchange au pair                   18   explain himself. Had nothing. Just weirdly calm.
 19   program?                                                                  19   Q. Did Mr. -- sorry. Withdrawn. Did Lucy ever tell you
 20   A.    Personally, I thought he was he creepy, but I cannot,               20   what happened?
 21   I can't decline a family because they give me the creeps.                 21   A.     Yes.
 22   There was something just weird. But that doesn't seem                     22   Q. What did she say?
 23   like a viable -- it's just not appropriate.                               23                 MR. LaPINTA: Objection.
 24               So my choices are yes or no. And I have to give               24                 THE COURT: Sustained.
 25   everybody a chance because he didn't demonstrate any                      25   BY MR. KABRAWALA:
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  1   Q. Did you ever learn what happened and what caused Lucy                  1   that mentioned chronology of events. Is that right?
  2   to leave so abruptly?                                                     2   A.     Yes.
  3   A.   Yes.                                                                 3   Q. Did you develop that report with that chronology?
  4               MR. LaPINTA: Objection.                                       4   A.     My boss did based on my paper work and their paper
  5               THE COURT: Sustained. Hearsay.                                5   work. It's two separate, when he originally --
  6   BY MR. KABRAWALA:                                                         6   Q. Ms. Leonardo, it's really simple.
  7   Q. Did you ever come to speak to Mr. Valerio ever again?                  7   A.     Okay.
  8   A.   No.                                                                  8   Q. Did you write the report or not?
  9   Q. Had you ever heard of a similar situation ever                         9   A.     I did not write the report.
 10   occurring?                                                               10   Q. Now, I thought on your direct testimony you indicated
 11   A.   Never.                                                              11   a bit that you don't remember certain things. Is that
 12               MR. LaPINTA: Objection.                                      12   right?
 13   A.   Never.                                                              13   A.     If you refresh my memory of what I didn't remember.
 14               MR. LaPINTA: Objection.                                      14   Q. It is either yes or no. Do you remember everything
 15               THE COURT: Sustained.                                        15   about this event? Yes or no?
 16               MR. KABRAWALA: Just one moment, your Honor.                  16   A.     I think I do. I don't know what I said I didn't
 17               (Prosecutor counsel confer .)                                17   know.
 18               MR. KABRAWALA: Nothing further at this time,                 18   Q. Well --
 19   judge.                                                                   19   A.     I'm sorry.
 20               THE COURT: Cross-examination.                                20   Q. -- you were asked to pick out Mr. Valerio in court
 21               MR. LaPINTA: Yes, sir.                                       21   here. Right?
 22                                                                            22   A.     Yes.
 23   CROSS-EXAMINATION                                                        23   Q. And you said you weren't sure who he was.
 24   BY MR. LaPINTA:                                                          24                 Isn't that what you said? Yes or no?
 25   Q. Good afternoon, Miss Leonardo.                                        25   A.     Yes.
                                                               75                                                                            77
  1   A.   Hi.                                                                  1   Q. So is it fair to say that you don't have --
  2   Q. My name is Anthony LaPinta. I'm just going to ask                      2   A.     I actually -- like I just got flustered. I really --
  3   you a few questions about your testimony.                                 3   Q. Stop. Let's do it this way. Let me ask a simple
  4   A.   Okay.                                                                4   question.
  5   Q. If I don't ask a clear question in your view, or it                    5   A.     Okay.
  6   is unclear in any way, please let me know and I will                      6   Q. Miss Leonardo --
  7   either reask or rephrase it. Is that okay?                                7   A. Yes.
  8   A.   Sure.                                                                8   Q. -- I'm not looking to confuse you.
  9   Q. You may be nervous. I will just try my best not to                     9   A.     Okay.
 10   confuse you in any way. Okay?                                            10   Q. I just want to be clear.
 11   A.   Umm-hmm.                                                            11   A.     Okay.
 12   Q. Ms. Leonardo, before taking the witness stand this                    12   Q. Okay?
 13   afternoon, did you review any documents to refresh your                  13                 Let me ask a simple question --
 14   recollection?                                                            14   A.     Okay.
 15   A.   Yes. I saw just a tracking sheet of when he,                        15   Q. -- and then you can give a simple answer.
 16   Mr. Valerio, the dates of when he entered the program and                16   A.     Okay.
 17   the dates that I interviewed him. Just like a timeline                   17   Q. Fair?
 18   list of the material.                                                    18   A. Yes.
 19   Q. Would that be in a report that was generated by                       19   Q. Isn't it fair to say that on your direct testimony
 20   either your company or the 360 company?                                  20   you were not able to identify Mr. Valerio in this
 21   A.   Yes. My company.                                                    21   courtroom? Yes or no?
 22   Q. Is that a report that you developed?                                  22   A.     I identified him, yes, and then I got flustered and I
 23   A.   No. I don't work for the company any more so this                   23   don't know why I said that. I do know that he's sitting
 24   is, I just saw these today.                                              24   right here.
 25   Q. All right. But you had mentioned a particular report                  25   Q. So is it your testimony that you remember totally
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  1   everything that transpired exactly how it did? Is that                    1   Q. So at the time that you did the Valerio home
  2   what you are saying?                                                      2   inspection, you had conducted numerous prior home
  3   A.    I feel like --                                                      3   inspections. Correct?
  4   Q. If you can, answer it yes or no.                                       4   A.     Correct.
  5   A.    Yes. I feel like, yes, I do.                                        5   Q. And were you trained to do home inspections?
  6   Q. All right. Is there any particular portion of your                     6   A.     Yes.
  7   experience with this situation that you don't remember too                7   Q. Did you take classes and instructions to do so?
  8   well?                                                                     8   A.     I don't know if --
  9   A.    I don't know. You would have to ask me the question.                9   Q. You can answer it yes or no.
 10   Q. Okay. Let's talk about --                                             10   A.     I don't know if you would consider it a class or not
 11   A.    Lucy lived in my house --                                          11   so I don't know whether I should answer it yes or no.
 12   Q. Stop. Stop.                                                           12   Q. So you are not able to answer it yes or no.
 13   A.    -- a long time so we talked about this for a long                  13   A.     Sure.
 14   time, so I feel like --                                                  14   Q. Okay. Now, when you did the Valerio home inspection,
 15   Q. Miss Leonardo --                                                      15   you had dealt with Mr. Valerio, yourself, on the phone to
 16   A.    Yes.                                                               16   make the appointment. Correct?
 17   Q. -- all I'm asking you to do is to answer my                           17   A.     Yes.
 18   questions --                                                             18   Q. And prior to going there, you did your own review of
 19   A.    Okay.                                                              19   the documents that you were furnished. Correct?
 20   Q. -- yes or no --                                                       20   A.     Correct.
 21   A.    Okay.                                                              21   Q. Did you do any other investigation, besides the
 22   Q. -- and if you are not able to answer yes or no --                     22   review of the application, at that juncture?
 23   A.    Okay.                                                              23   A.     No.
 24   Q. -- just tell me you can't answer it yes or no.                        24   Q. I believe you had explained that when you do the home
 25   A.    Okay.                                                              25   inspection, that there is a check list, so to speak?
                                                               79                                                                           81
  1   Q. Fair?                                                                  1   A.     Yes.
  2   A.    Yes.                                                                2   Q. Or an application that you follow. Correct?
  3   Q. Okay. So let's start with when you first came to                       3   A.     A form, yes.
  4   know of the Valerio application. Remember that time                       4   Q. So it is a structured --
  5   period?                                                                   5   A.     Yes.
  6   A.    Yes.                                                                6   Q. -- type of thing. Correct?
  7   Q. Okay. Now, is it fair to say that you relied on                        7   A. Yes.
  8   certain information that was entered into a computer                      8   Q. So you went into the house. Right?
  9   program?                                                                  9   A.     Yes.
 10   A.    Yes.                                                               10   Q. Prior to that you looked around the outside of the
 11   Q. Okay. And that as part of your responsibilities as a                  11   house. Right?
 12   coordinator for this region, that you looked at that                     12   A.     Yes.
 13   material closely. Yes?                                                   13   Q. And it purported (sic) to be what it was made out to
 14   A.    Yes.                                                               14   be on the application. Right?
 15   Q. And upon your review of that information, there was                   15   A.     Correct.
 16   nothing that was suspicious about it. Yes?                               16   Q. Nothing alarming, suspicious, or dangerous --
 17   A. Correct. Yes.                                                         17   A. No.
 18   Q. Now, as a match was made and an au pair was selected,                 18   Q. -- in your view at that point.
 19   it was then your duty as the regional coordinator to                     19   A.     Correct.
 20   investigate that application. Right?                                     20   Q. You then went into the house. Right?
 21   A.    Yes.                                                               21   A.     Yes.
 22   Q. As you have done many times prior to that.                            22   Q. And you met Mr. Valerio. Right?
 23   A.    Correct.                                                           23   A.     Yes.
 24   Q. Right?                                                                24   Q. And you did a home inspection. Right?
 25   A.    Yes.                                                               25   A.     Correct.
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                                                              82                                                                         84
  1   Q. You asked to see the inside of the home, and he                       1   necessary to inquire of?
  2   showed you the inside of the home.                                       2   A.     What? Could you repeat that question?
  3   A. I asked --                                                            3   Q.     Okay.
  4   Q. Just listen. Yes or no or you are not able to answer                  4   A.     I'm having a little difficulty.
  5   it yes or no.                                                            5   Q.     Sure. Did you ask him certain questions about the
  6   A.   I'm not able to answer it yes or no.                                6   expected relationship with the au pair?
  7   Q.   Did you ask to do an inspection of the home?                        7   A.     Yes.
  8   A.   I asked to do an inspection of the au pair's bedroom.               8   Q.     You asked him about the family dynamic. Correct?
  9   Q.   Did you ask -- yes or no - to see any other areas of                9   A.     Correct.
 10   the home?                                                               10   Q.     Besides the application that you hand-wrote and then
 11   A.   No.                                                                11   downloaded, did you take any notes during this process?
 12   Q.   You could have if you wanted to. Is that correct?                  12   A.     That downloaded that note: What do you mean?
 13   A.   Yes.                                                               13   Q.     Besides the handwriting -- one second.
 14   Q.   And that is in your sole discretion to do so.                      14   A.     Did I know --
 15   Correct?                                                                15   Q.     Let's do it this way. If you give me a moment to
 16   A. Yes.                                                                 16   finish my question, you will then be in a better position
 17   Q. But at the time, you didn't feel a need to see any                   17   to answer.
 18   other area of the home. Right?                                          18   A. I'm sorry. I thought you were finished.
 19   A. Correct.                                                             19   Q. Thank you. So besides the application that you had
 20   Q. You felt comfortable, then and there, that it was an                 20   written notes on, did you write, on anything else, any
 21   appropriate setting for a young, 18-year-old au pair to be              21   notes that you may have written that day?
 22   in. Correct?                                                            22   A. No.
 23   A. Yes.                                                                 23                 It is an interview report. I just want to be
 24   Q. And when you looked into the room designated to be                   24   clear that it wasn't an application.
 25   the au pair's room, you went inside the room. Right?                    25   Q. You had checked off certain things on your evaluation
                                                              83                                                                         85
  1   A.   Yes.                                                                1   regarding the home. Correct?
  2   Q.   You looked around. Right?                                           2   A. Yes.
  3   A.   Yes.                                                                3   Q. And you were asked on direct examination the
  4   Q.   And you were comfortable that it was an appropriate                 4   appropriateness of the setting. Correct?
  5   room. Right?                                                             5   A. Yes.
  6   A. Yes.                                                                  6   Q. And you indicated that it was an appropriate setting.
  7   Q. Would you agree with me that when you saw it then and                 7   Right?
  8   there, that that room it was not run down; was it?                       8   A. Correct.
  9   A. No.                                                                   9   Q. And not only that, it looked like a child had lived
 10   Q. If it were run down, you would have made notations of                10   there. Correct?
 11   that and presumably this process would have halted there.               11   A. Correct.
 12   Correct?                                                                12   Q. Because in your view of the home, you saw indications
 13   A. Correct.                                                             13   that a child was there. Right? Yes or no?
 14   Q. Then you had a dialogue with Mr. Valerio about                       14   A. Yes.
 15   certain aspects of his family life. Correct?                            15   Q. And when you were complete with this home study, you
 16   A. Right. Well, I made the check list, you know.                        16   approved that residence to be qualified to host an au
 17   Oftentimes the rooms are sparse.                                        17   pair. Correct?
 18   Q. Just answer yes or no at this point.                                 18   A.     Right. Yes.
 19   A. Okay. Go ahead.                                                      19   Q.     You felt it was a safe environment. Right?
 20   Q. Did you ever then have a dialog with Mr. Valerio                     20   A.     Yes.
 21   about his qualifications to be a host to the au pair?                   21   Q.     You felt that it was an appropriate environment.
 22   A. His qualifications? No. Mostly, his expectations.                    22   Right?
 23   So no.                                                                  23   A. Yes.
 24   Q. Okay. Did you engage him regarding certain aspects                   24   Q. And you felt that it was an environment for a child.
 25   of the relationship with the au pair that you felt                      25   Correct?
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                                                          86                                                                         88
  1   A. Yes.                                                              1   picked up Miss Down. Do you remember that portion of your
  2   Q. But here today you are indicating to Judge Bianco                 2   testimony?
  3   that you had a creepy, weird feeling.                                3   A. Yes, I do.
  4   A.    Not about --                                                   4   Q. And when you went there, you said that Mr. Valerio
  5   Q.    Stop. I'm not finished yet.                                    5   had stated, in sum and substance, that he didn't
  6   A.    Okay. Sorry.                                                   6   understand what was wrong. Right?
  7   Q.    You indicated that you had a creepy, weird feeling             7   A.     Correct.
  8   about Mr. Valerio.                                                   8   Q.     And you described him as not anxious. Right?
  9   A.    Correct.                                                       9   A.     No.
 10   Q.    Was that your testimony?                                      10   Q.     And I believe you had used the word calm. Is that
 11   A.    Yes.                                                          11   right?
 12   Q.    And despite having a creepy, weird feeling, you               12   A.     Yes.
 13   approved him to host an 18-year-old au pair.                        13   Q.     He wasn't loud or abusive, was he?
 14   A.    Correct.                                                      14   A.     No.
 15   Q.    Is that your testimony?                                       15   Q.     He wasn't threatening in any way, was he?
 16   A.    Yes.                                                          16   A.     No. He just pulled the door.
 17   Q.    You didn't indicate anywhere on any of your documents         17   Q.     Yes or no?
 18   that you had this weird, creepy feeling. Right?                     18   A.     No.
 19   A. Correct.                                                         19   Q.     Because if he were, you would have made note of that.
 20   Q. Do you have a weird, creepy feeling about him right              20   Right?
 21   now?                                                                21   A. Correct.
 22   A. Very, sir.                                                       22   Q. During the course of your dealings, from beginning to
 23   Q. Now, you explained very carefully that from the                  23   end, with Mr. Valerio, had he had mentioned the fact that
 24   handwritten items that you wrote on this form, you                  24   his sister had a young daughter?
 25   downloaded that on a computer. Correct?                             25   A. No.
                                                          87                                                                         89
  1   A. Yes.                                                              1   Q.     Have you since learned that?
  2   Q. And you entered that information in a system.                     2   A.     I don't really know what I know about that.
  3   Correct?                                                             3   Q.     It's either yes or no. Have you since --
  4   A. Correct.                                                          4   A.     No, I don't -- no, I don't. There seems to be a lot
  5   Q. And that is Exhibit 6. You have it before you, don't              5   of confusion.
  6   you?                                                                 6   Q. So either yes or no. Have you since learned that he
  7   A. Yes.                                                              7   has a daughter?
  8   Q. Turn to page 3, please, Miss Leonardo. Actually,                  8   A. No.
  9   page 4. I'm sorry.                                                   9   Q. His sister has a daughter?
 10               See that page?                                          10   A. No.
 11   A.    Yes.                                                          11                (Defense counsel confer.)
 12   Q.    Where it says: Local Coordinator Jolene Leonardo?             12                MR. LaPINTA: I have nothing further. Thank
 13   A.    Yes.                                                          13   you, Miss Leonardo.
 14   Q.    You never signed that document. Is that right?                14                THE COURT: Redirect?
 15               The document before you is not signed. Is that          15                MR. KABRAWALA: Very brief, judge.
 16   right?                                                              16
 17   A. It is a --                                                       17   REDIRECT EXAMINATION
 18   Q. The document before you is not signed?                           18   BY MR. KABRAWALA:
 19   A. You can't physically sign it. It's an electronic                 19   Q. Miss Leonardo?
 20   thing.                                                              20   A. Yes.
 21   Q.    Did you ever sign off on this document?                       21   Q. In your experience with InterExchange, have you ever
 22   A.    I would consider this signed off.                             22   experienced a host family who misrepresented the presence
 23   Q.    By having your name typed there?                              23   of a child at home?
 24   A.    Correct.                                                      24                MR. LaPINTA: Objection.
 25   Q.    You had made reference to the point where you had             25   A. Never.
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  1            THE COURT:        Sustained.                                  1                AFTERNOON            SESSION
  2            I don't care about other families. Okay? Just                 2                           2:35 PM
  3   focus on this situation.                                               3
  4            MR. KABRAWALA: There is nothing further.                      4              THE COURT: Please bring Miss Kalichenko out.
  5            THE COURT: Okay. You can step down, Ms.                       5              MR. KABRAWALA: I have one housekeeping issue.
  6   Leonardo. Thank you.                                                   6              I know the court had requested that certain
  7            (The witness was excused.)                                    7   topics be covered. There is a specific topic that was not
  8            THE COURT: So we will take the lunch break.                   8   specifically addressed by the court; that is, adoption of
  9            And you just have Ms. Kalichenko, right?                      9   a child. I think that those are germane to the issues
 10            MR. KABRAWALA: For today.                                    10   that are before the court. We will move quickly through
 11            THE COURT:        I will discuss this with her when          11   them toward the end of the direct.
 12   she arrives after lunch.                                              12              THE COURT: Yes. I understand why that may
 13            I know I asked you to do the direct, but I                   13   potentially be relevant, so that is fine.
 14   obviously know there is a long relationship between her               14              (Miss Kalichenko enters the courtroom.)
 15   and Mr. Valerio, from the trial and from the hearing that             15              THE COURT: Good afternoon, Miss Kalichenko.
 16   she had in connection with her case.                                  16              In a minute I am going to have you take the
 17            I don't want the government to go from start to              17   oath. But first, I don't know if this was communicated to
 18   finish with the relationship. I really just want to hear              18   you during the lunch break, but I have asked the
 19   from her -- at least on direct; obviously, the defense can            19   government to focus on any allegations -- actually, let's
 20   focus on whatever they wish to focus on. I will hear any              20   swear in the interpreters.
 21   objection, obviously.                                                 21              (Interpreters Nelly Alishaev and Nina Adar Tkach
 22            But in terms of the direct, I just want to focus             22   were sworn by the courtroom deputy.)
 23   on any threats of violence or acts of violence that                   23              THE COURT: Miss Kalichenko, as with the other
 24   Mr. Valerio made toward her in their relationship, if any.            24   conferences, we have the interpreters here, standing by if
 25            Again, the reason I invited her to testify is, I             25   you need them.
                                                            91                                                                         93
  1   believe at some point in the hearing she made such an                  1              Do you understand that?
  2   allegation. But I don't want you to start from the                     2              THE WITNESS: Yes, your Honor, I do.
  3   beginning of her interactions with him.                                3              THE COURT: So what I was saying was, I want the
  4            MR. KABRAWALA: Understood.                                    4   government to focus on any allegations of any violence or
  5            MR. LATO: And for scheduling, since your Honor                5   threats of violence as relates to Mr. Valerio. And he may
  6   is obviously familiar with both Mr. Valerio's case and                 6   also cover any discussions regarding adopting the child.
  7   Miss Kalichenko's, my cross will be focused precisely as               7              I know that there are other aspects of your
  8   to her credibility with respect to the allegations, and I              8   interactions with Mr. Valerio that you have testified
  9   am not going to get into all of this other stuff that I                9   about at the hearing that we had and maybe you want to
 10   know you already are familiar with.                                   10   bring to my attention for purpose of your own sentencing,
 11            THE COURT: Great. Why don't we say 2:15.                     11   but at least for purposes of direct examination, those are
 12            Thank you.                                                   12   the issues that I want focused on today. Okay?
 13            (Lunch recess taken at 1:15 pm.)                             13              THE WITNESS: Okay. I understand.
 14                                                                         14              MR. LATO: Your Honor, just before beginning, do
 15                                                                         15   you have defense exhibit stickers so we can save time once
 16                                                                         16   we begin?
 17                                                                         17              THE COURT: Let's have the witness sworn.
 18                                                                         18
 19                                                                         19   OLENA KALICHENKO
 20                                                                         20          called by the Government, having been first duly
 21                                                                         21          sworn/affirmed, was examined and testified as
 22                                                                         22          follows:
 23                                                                         23
 24                                                                         24   DIRECT EXAMINATION
 25                                                                         25   BY MR. KABRAWALA:
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                                                                   94                                                                             96
  1   Q. Good afternoon.                                                            1   meet Mr. Valerio and how your relationship developed.
  2                  You are here to testify against Joseph Valerio?                2   A.     Yes. I remember I met him first through the website,
  3   A.      Yes.                                                                  3   basically where I had my profile and he had his profile as
  4   Q. You are testifying voluntarily and of your own free                        4   well, mostly for, you know, the communication.
  5   will?                                                                         5                 And I was looking for a marriage, for a man to,
  6   A.      Yes, I am.                                                            6   I was, you know, for a husband, a future husband, and a
  7   Q. The government has not compelled you to testify.                           7   future. I had a child and I was looking for a person who
  8   Correct?                                                                      8   would be like a father for my daughter as well.
  9   A.      Correct.                                                              9                 So that was the reason why I actually started
 10   Q. No one is forcing to testify. Correct?                                    10   with Mr. Valerio a relationship.
 11   A.      No.                                                                  11   Q. You were in the Ukraine at this time when you made
 12   Q. And you do not have any sort of agreement with the                        12   contact with Mr. Valerio?
 13   government to testify.                                                       13   A.     No. I arrived to the US in June and I contacted him
 14   A.      No, I don't.                                                         14   late in June. So I was in the US at that time when I
 15   Q. You haven't been promised anything in exchange for                        15   first contacted him.
 16   your testimony here today?                                                   16   Q. And it was over a website.
 17   A.      No.                                                                  17   A.     Yes.
 18   Q. You are testifying here in the hopes of obtaining                         18   Q. UkranianDate.com? (Sic)
 19   leniency at your own sentencing. Correct?                                    19   A.     I think so. I think so. I think so.
 20   A.      Correct.                                                             20   Q. You were looking for a husband and somebody who would
 21   Q. And you have pleaded guilty to a host of federal                          21   be a good father to your daughter.
 22   crimes. Correct?                                                             22   A.     That's what he was looking for as well, according to
 23   A.      Correct.                                                             23   his profile. Yes.
 24   Q. You pleaded guilty to child exploitation, to child                        24   Q. And you two decided to meet. Correct?
 25   pornography, transmission of child pornography, and                          25   A.     That's correct.
                                                                   95                                                                             97
  1   related child pornography offenses?                                           1   Q. That was sometime in the summer of 2011?
  2   A.      Yes.                                                                  2   A.     Yes. I think it was very, very end of June 2011.
  3   Q. And you didn't plead guilty pursuant to any kind of                        3   Q. Where were you at the time in the United States?
  4   agreement with the government. Correct?                                       4   A.     I was in Dallas, Texas.
  5   A.      Correct.                                                              5   Q. How did you -- withdrawn. Did you come to meet
  6   Q. I want to draw your attention to an individual named                       6   Mr. Valerio here in Long Island?
  7   Joseph Valerio.                                                               7   A.     Yes, I came to meet him. He wanted me to come, and I
  8                  Do you see Joseph Valerio sitting in the                       8   came to meet him in Long Island. Yes.
  9   courtroom here today? And if so, I ask you to please                          9   Q. Who paid for your trip?
 10   point him out by identifying an article of clothing that                     10   A.     Mr. Valerio paid.
 11   he is wearing.                                                               11   Q. And when you came to Long Island, did he pick you up
 12   A.      Yes, I do. I see him. He's wearings the green                        12   at the airport? Did you meet him somewhere?
 13   clothes.                                                                     13   A.     Yes. He picked me up at the airport. Yes. I
 14                  MR. KABRAWALA: Your Honor, may the record                     14   remember. Yes, he picked me up at the airport.
 15   please reflect that witness has identified Joseph Valerio?                   15   Q. Let's back up for a moment.
 16                  THE COURT: Which chair is he sitting at?                      16                 You and I haven't talked about your testimony.
 17                  THE WITNESS: Next to his attorneys. He is the                 17   Correct?
 18   only person there who is defendant.                                          18   A.     This testimony? No.
 19                  THE COURT: Is that sufficient for the defense?                19   Q. You and I haven't?
 20                  MR. LATO: Yes.                                                20   A.     No.
 21                  THE COURT: The identification has been made.                  21   Q. We haven't prepared for your testimony?
 22   BY MR. KABRAWALA:                                                            22   A.     No. I didn't talk to you, no.
 23   Q. I want to briefly talk about your relationship with                       23   Q. I want the record to be clear that you and I have not
 24   Mr. Valerio and how it developed.                                            24   talked before today other than in court when I questioned
 25                  Could you please tell us how you first came to                25   you previously. Right?
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                                                                  98                                                                                  100
  1   A.   Yes. That's correct.                                                     1   mentioned it. But I decided like to continue to develop
  2   Q.   By the way, have you seen Mr. Valerio before today's                     2   the relationship with him. And he sent me back to Ukraine
  3   date, such as in the prison?                                                  3   in August with the intention to come back to him again and
  4   A.   I have seen him twice, yes.                                              4   to continue to build the relationship, it was the purpose
  5   Q.   Have you spoken with Mr. Valerio?                                        5   of my visit.
  6   A.   No, I haven't spoken to him. It was because they                         6   Q.     I'm going to stop you right there.
  7   have the visitors room.                                                       7               While you were with Mr. Valerio for those
  8               It is the same room for when the attorneys come.                  8   approximate couple of weeks in July --
  9   So just when his attorneys came and my attorneys came                         9   A.     Yes, sir.
 10   simultaneously, that was the only reason. But I didn't                      10    Q.     -- of 2011, did you have a romantic relationship with
 11   talk to him, no. Never.                                                     11    him?
 12   Q.   Other than seeing him in the prison this couple of                     12    A.     Yes. Yes, of course.
 13   times in the attorney visiting room, you didn't interact                    13    Q.     Did you have a sexual relationship with him?
 14   with him in any way?                                                        14    A.     Yes, I had. Yes.
 15   A.   No.                                                                    15    Q.     At any point in time during that first visit in July
 16   Q.   So going back to that summer of 2011 when you came to                  16    of 2011, did Mr. Valerio physically abuse you in any way?
 17   visit Mr. Valerio.                                                          17    A.     During my first trip, I couldn't say so, no.
 18               Tell us about your hopes for that meeting and                   18                Like I noticed that he had, you know, like he
 19   tell us about that summer, the time that you spent with                     19    had this issue that, like his mood would change. He would
 20   Mr. Valerio that summer.                                                    20    be a normal person, normal person like a few days, and
 21   A.   Yes.                                                                   21    just in the middle of sudden, his temper would change,
 22               I came, I remember, like very late, very late in                22    like click. I couldn't explain why. But that was the
 23   2011, to his house. I stayed at Smithtown, Long Island.                     23    only issue that I noticed during my first stay.
 24   Basically I stayed, this time I didn't stay for a long                      24    Q.     What did you observe about his mood swings? What do
 25   time. I stayed like, for the first time, like ten days,                     25    you mean by his temper would change?

                                                                  99                                                                                  101
  1   close to two weeks. But I remember that I was celebrating                     1   A.     He would become angry with no reason. Like angry
  2   the Independence Day with him and in his house.                               2   with no reason, which I couldn't understand why. But I
  3               And basically so we, at that point we were, you                   3   thought that, you know, I thought that maybe because he
  4   know, at the point of establishing a relationship. And I                      4   has like he's Italian, I thought maybe it was like a hot
  5   remember that I met his son, as well, and I also met his                      5   blooded or something like that. So it was my first
  6   mother. So from my point of view, like basically he                           6   impression.
  7   seemed to be a credible person to me. Because I saw the                       7   Q.     Did that, other than anger -- withdrawn.
  8   relationship with his son and I didn't see absolutely                         8               How would that anger play out? What would he
  9   nothing that I can say is wrong about his relationship                        9   do, specifically?
 10   with his own child, like there was, you know. So I stayed                   10                And I'm talking only about that first time, in
 11   for close to 10 days.                                                       11    July of 2011, when you were with him.
 12               But my own family at that time, like my mother,                 12    A.     He would becomes like jealous with no reason. He
 13   she has put my daughter at the orphanage in the Ukraine at                  13    would become suspicious. Like this is something that I
 14   that particular time. So basically, because we had no                       14    would have noticed that at the first. But the first time,
 15   place to live and she lives by herself, they went for                       15    I spent like ten days with him. That was the only time
 16   Eastern Ukraine but she was living in a shelter. So                         16    that I spent.
 17   basically, when I was staying at Mr. Valerio's house, like                  17                But still we got committed that to continue the
 18   my own family was like, you know, in a situation where                      18    relationship. And he sent me back to the Ukraine
 19   they didn't even have a place to, you know, to go to or                     19    specifically like I didn't have absolutely like no, no,
 20   whatever.                                                                   20    you know, funds of my own at all. He purchased the ticket
 21               And she just, my mom, she just told me that she                 21    for me and he would support me and we would communicate.
 22   put my daughter at the orphanage. And it was a shock for                    22                When I was in the Ukraine, we would constantly
 23   me. You know, I didn't, like I was completely shocked.                      23    communicate. He would ask me how am I doing. Like it was
 24   And I mentioned to Mr. Valerio about it briefly during the                  24    a relationship. It was a relationship which continued.
 25   first, you know, when I first stayed with him briefly I                     25                And he would send money to me also, like in
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  1   August, and he would tell me that I'm expecting you to                    1   primary purpose for returning to the United States?
  2   come. Like I'm waiting and waiting for you to come like                   2   A.      Basically, I returned to continue it. I was
  3   in September. And we were just building a relationship at                 3   determined to build serious relationship with this man
  4   that point.                                                               4   specifically for the marriage. That's all that I was
  5   Q.    And to be clear. Your daughter was not with you in                  5   looking for.
  6   the United States that summer. Correct?                                   6   Q.      Now, upon your return in September of 2011, did your
  7   A.    No. My daughter never was in the United States. And                 7   relationship with Mr. Valerio change? Remain the same?
  8   at that time she was specifically at the orphanage. Yes.                  8   Can you please describe your relationship when you
  9   Q.    While you were traveling here, looking for a husband?               9   returned in September.
 10   A.    I didn't put her in the orphanage. My mother did,                  10   A.      Yes. I returned in -- Mr. Valerio, I think that he
 11   without my knowing, while I was already over there because               11   has, you know, like a dual personality. So he would be
 12   she was afraid.                                                          12   normal and, you know, a caring person and a good person at
 13               Like the place, we don't have our own place in               13   one point. But at the other point, he would just,
 14   Ukraine. We were always renting. Like I don't have a                     14   something happen and he would completely change into
 15   house like. And I have a history of basically being a                    15   opposite person.
 16   homeless person since 2008. But that's another story, but                16   Q.      Are you looking at something?
 17   I'm just telling you.                                                    17   A.      No. I just have some notes for myself which I made.
 18   Q.    Did you tell Mr. Valerio that you had a daughter?                  18   Q.      Okay. Can we just mark that for the sake of our
 19   A.    Yes, I told him. Yes.                                              19   record here?
 20   Q.    Did Mr. Valerio indicate to you one way or the other               20                THE COURT: Yes. Let's mark that as Court
 21   whether he want to adopt the child? And I'm talking about                21   Exhibit 1, her notes.
 22   July of 2011.                                                            22                MR. KABRAWALA: May I just have a very brief
 23   A.    No, he didn't tell me immediately that he want to                  23   moment to look at it? I have never seen it.
 24   adopt. No, he didn't tell me immediately.                                24                THE COURT: Sure.
 25   Q.    So you had returned to the Ukraine after Mr. Valerio               25                MR. KABRAWALA: May I approach, your Honor?

                                                                103                                                                           105
  1   paid for your trip. Did you later return to the United                    1                THE COURT: Yes. And Mr. Lato may look at it as
  2   States that year?                                                         2   well.
  3   A.    Yes, I did. Yes.                                                    3                (There was a pause in the proceedings.)
  4   Q.    And when was that?                                                  4                THE COURT: Miss Kalichenko, if you need to
  5   A.    I remember it was September 2.                                      5   refresh your memory about something, including any notes
  6   Q.    September 2 of 2011? And what made you return?                      6   that you have, you just need to let the record and me know
  7   A.    We were still in the process of building the                        7   that you are referring to your notes.
  8   relationship and that was like it was up to him to pick up                8                So you should testify from your memory. If you
  9   the date. Like he was, you know, had some issues and he                   9   can't remember something and need to refer to notes, say:
 10   told me that I'm expecting you to come specifically on                   10   Judge, I need to refer to my noes.
 11   this date. And I arrived, I arrived September 2.                         11                THE WITNESS: Okay. So far I have read nothing
 12               But I also remember that in August I was staying             12   yet.
 13   here. But my child, she wasn't here. She was in                          13                THE COURT: Fine.
 14   Stroganovka Crimea in the orphanage. And I remember that                 14                MR. KABRAWALA: That appears to be the case.
 15   I couldn't even go. I couldn't even go visit her. Like I                 15   BY MR. KABRAWALA:
 16   couldn't even get her back by my own because, you know, I                16   Q.      So let's talk about your visit in September. During
 17   couldn't, I didn't have funds in order for me to get her                 17   that time did -- I'm sorry. Withdrawn.
 18   back.                                                                    18                Approximately how long did you stay following
 19               I had to, according to the requirement of our                19   your visit in September? During the visit how long were
 20   government, I had to secure another residence for her,                   20   you in the United States for?
 21   which I couldn't do. I didn't even have enough money even                21   A.      I stayed, during that trip to the United States I
 22   to see her, you know, at the time when I was in Kiev. And                22   stayed since September 2 and till the very, very end of
 23   I didn't even have a place to live in Kiev also. I was                   23   October. But not all of this time I stayed at
 24   just staying with my friends, basically.                                 24   Mr. Valerio's house. Only some period of time I stayed at
 25   Q.    So you returned to the United States. What was your                25   his house.
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                                                             106                                                                          108
  1   Q. About how long did you stay at Mr. Valerio's house?                   1                  And I just simply, I remember that he was in his
  2   A.   Starting from September 2, like around three weeks, I               2   kitchen, okay? And I remember that I came downstairs to
  3   believe. Close to three weeks. Close. Approximately                      3   the kitchen. I literally, I remember how I was dressed.
  4   three weeks. 20 days. Three weeks.                                       4   I remember that I had a bathrobe on top of myself. The
  5   Q. After that approximate three-week period of time, did                 5   black one. And I remember how he was dressed. He had
  6   you return to Mr. Valerio's house?                                       6   also like he was casually dressed. And he had, you know,
  7   A.   Yes, I do.                                                          7   also like a bathrobe, the one he was wearing at his home,
  8   Q. During the same trip?                                                 8   and like a casual pants or shorts. Something like that.
  9   A.   To the US, yes. To the US? Yes. I was still in the                  9   Very casual. Very casual. Okay?
 10   country. I didn't leave the country.                                    10                  And so he was in the kitchen and I just started
 11   Q. Okay. Where did you go after three weeks,                            11   to, you know, I approached and I didn't know what to do.
 12   approximately? I just want to get the time frame that we                12   I just asked him, I started to beg him if I could stay at
 13   are dealing with.                                                       13   least, you know, one or two more days in his house until I
 14   A.   Okay. I had to, I had to go to Seattle because he                  14   find out, you know, the place where I can go. But he
 15   kicked me out from his house, basically. And that is the                15   didn't want it. He just wanted me to leave. You know, he
 16   instance that I wanted to talk about.                                   16   just wanted me to leave.
 17   Q. Let's talk about that. During the time when you                      17                  And I literally started to beg him, you know?
 18   visited Mr. Valerio in September of 2011, did Mr. Valerio               18   And what he did is, he just, you know, he, like he pulled
 19   ever sexually or physically, or both, assault you in any                19   me out, I remember, from the kitchen towards the cinema.
 20   way?                                                                    20   He has this control.
 21   A.   Yes, he did.                                                       21   Q. Cinema?
 22   Q. Can you describe -- well, how many --                                22   A.      Yes.
 23   A.   I mentioned two.                                                   23   Q. Like a theater?
 24   Q. So there were two instances?                                         24   A.      Yes, like a theater room.
 25   A.   I mentioned two. Yes.                                              25   Q. What happened next?
                                                             107                                                                          109
  1   Q. When you say -- okay. Withdrawn. Tell us about the                    1   A.      Yes. So he pulled me out to the room, like a cinema
  2   first instance.                                                          2   room. And, you know, he just took my clothes off and he
  3   A.   It happened as I was staying at Mr. Valerio's house                 3   forced me, me told me to crawl on the floor, okay? He
  4   and, you know, he suddenly like became mad. I don't even                 4   told me to crawl on the floor.
  5   know, like out of no reason. And he just told me, he just                5                  And he would start calling me different, you
  6   told me that he wanted me to leave his house.                            6   know, like insulting names. I can't repeat how he would
  7             You know, like he just, he literally told me                   7   call me but this is like not a proper language.
  8   that I have to leave. Like, I have to leave? He just                     8   Q. You can. I'm asking you to testify truthfully and
  9   told me that I have to leave his house and that's it.                    9   completely, so the language that was used, I want you
 10             Like it wasn't his concern where or why, you                  10   to -- I'm asking you to repeat it even if it is not
 11   know, because I didn't know no people in the US. I had                  11   appropriate language.
 12   absolutely no funds. I couldn't go back to my country. I                12   A.      Okay. So he would call me like, you know, like he
 13   couldn't even purchase a ticket back to my country. I                   13   would say a dirty whore, a bitch, and, you know, he would
 14   didn't even have a place to go. He just, you know, he                   14   use language like this. And sentences like this. And he
 15   just like just put the condition to leave the house.                    15   would, he would, you know, he would just constantly insult
 16   Q. Around when was this?                                                16   me, humiliate me, would start calling me like this.
 17   A.   Approximately three weeks after my second arrival.                 17                  And he wanted me to reply in the same way, so I
 18   Q. So sometime in September of 2011.                                    18   had to tell, agree with him and I had to reply to him
 19   A.   Yes. 20-something.                                                 19   like: Yes, my master. That's what he, you know, always
 20   Q. What happened? Where were you? What time of day was                  20   wanted to hear from me as a response. Okay.
 21   this? And tell us what happened.                                        21                  And after that, so he asked me to crawl on the
 22   A.   Okay. I think it was close to, it was during the                   22   floor. And I would. I had like no clothes on myself.
 23   day. It was during the day. I remember he was expecting                 23   Okay? And he would use his hand like, I don't know how to
 24   me to leave his house like immediately. But I didn't                    24   say in English when you do like this. Slap, is it? You
 25   know, you know, where to go.                                            25   know, he would slap me, I think, if it's the proper word
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  1   to say.                                                                 1   Q. Was his hand closed? Open? Can you please describe
  2                THE COURT: Let the record indicate the witness             2   the -- I know it's uncomfortable, but I'm trying to get
  3   made a slapping motion with her left hand.                              3   the details for the record.
  4                Go ahead.                                                  4   A.      He would move his hand. It would be like open and
  5                THE WITNESS: And then he would, you know, he               5   closed. He would move his hand.
  6   would use his hand. And he would just, you know, he would               6   Q. Now, did he do anything other than what you have
  7   just go like inside of me with his hand. And he would                   7   described?
  8   like continuously do it, which was painful for me.                      8   A.      Yes. He would like, you know, he would, at that time
  9   Q. I'm sorry. Let me stop you right there.                              9   I had long hair, the black long hair at that time I had,
 10                Slapping. Where did Mr. Valerio slap you?                 10   and he would pull me like, you know, with the hair also.
 11   A.    On my body. Like, you know, like this.                           11                 And also I remember he would ask me to -- I'm
 12   Q. Pointing to your rear end? You are pointing to your                 12   going to ask the interpreter how to say it.
 13   rear end?                                                              13   Q. Please take your time.
 14   A.    Like this.                                                       14                 (Witness and interpreter confer.)
 15                (Conferring with interpreter.)                            15                 THE INTERPRETER: It's very hard to tell me
 16                THE INTERPRETER: My behind.                               16   that, but he would ask me to use the like oral sex.
 17   BY MR. KABRAWALA:                                                      17   A.      Like, you know, with my mouth to specifically perform
 18   Q. And approximately how many times?                                   18   on his, how do you, you know, the male organ. How do you
 19   A.    He would constantly do it. He would, like he would               19   call it?
 20   do it. And he would insult me, use this language. And he               20   Q. Penis. Did you perform oral sex on his penis?
 21   would ask me to crawl on the floor. And he would just,                 21   A.      I told him that it is disgusting and I told him that
 22   you know, use his hand and just insert, you know, inside               22   I don't want to do it, you know. But he would, he would,
 23   of me. And he would literally hurt me. I ask him to stop               23   he would force me to do it. Specifically, like he would
 24   it but he just did it. Like he didn't care.                            24   pull me, you know, through my hair. That's what he would
 25   Q. Was his hand motion?                                                25   do. I told him that.
                                                               111                                                                          113
  1   A.    Yes. His hands were always in motion.                             1                 And I know that for me it is disgusting. Okay?
  2   Q. Okay. And was it forceful? Gentle? Something else?                   2   For me, it's disgusting. And I told him it was disgusting
  3   A.    It was forceful. And I remember that it hurt me. I                3   for me.
  4   remember that he hurt me like really, really badly.                     4   Q. Just so the record is clear. Did you perform oral
  5   Really badly. And I had to crawl, you know, on the floor                5   sex on him? And I will ask you follow-up about whether
  6   doing all of that. And he would constantly like humiliate               6   you wanted to or not. But did you? Yes or no?
  7   me.                                                                     7   A.      Yes, I did.
  8   Q. Did he have anything in his hand or was he using his                 8   Q. Now, did you want to perform oral sex on him?
  9   hand?                                                                   9   A.      No.
 10   A.    I think he had. I think he had, yes.                             10   Q. Did you resist, or tell him no?
 11   Q. What do you think he had?                                           11   A.      I told no. Yes.
 12   A.    Just it is from, you know, is my recollection. If he             12   Q. Did you resist, or tell him no, that you did not want
 13   had, he had like a stick.                                              13   to be slapped?
 14   Q. A stick? Did he use his hand in a closed hand, like                 14   A.      Yes, I told no, because I didn't want to be slapped.
 15   a closed fist, or an open hand?                                        15   I told him that I don't want to crawl on the floor. Of
 16   A.    I think he did both.                                             16   course I did.
 17   Q. Okay. And you said that he put his hand inside you.                 17   Q. Did you resist or tell him no, that you don't want
 18   Was it in your --                                                      18   any of part of his body inside your body?
 19   A.    Yes.                                                             19   A.      Yes. I told him. I couldn't fight him, you know,
 20   Q. -- mouth? Vagina?                                                   20   but I told him no. Yes, of course I did.
 21   A.    In the vagina. He would put it in the vagina. But                21   Q. Were you subdued in any physical way such as a
 22   he would also try, you know, to put it in the other area               22   restraint?
 23   as well.                                                               23   A.      What is it?
 24   Q. In your anus?                                                       24   Q. Were your hands tied? Were you pinned down? How
 25   A.    Yes.                                                             25   were you restrained, if at all?
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                                                            114                                                                            116
  1               (Witness and interpreter confer.)                            1   A.      I told him no. I couldn't otherwise resist but I
  2   A.   Yes. I remember he would hold my hands like this, on                2   told him no way.
  3   the back.                                                                3   Q. Did you have the opportunity to -- withdrawn. After
  4               THE COURT: The witness is indicating with her                4   this was over, what happened?
  5   hands behind her back.                                                   5   A.      After this was over, I remember that I just, I cried.
  6   A.   Yes. Like this, I remember.                                         6   I was crying. And I just went upstairs to the room where
  7   BY MR. KABRAWALA:                                                        7   I was staying.
  8   Q. Were they tied in any manner or restrained in any                     8                 And then I just stayed, you know, I just stayed
  9   way?                                                                     9   till I left. I didn't even talk to him much. I only told
 10   A.   He would just hold. He didn't use anything specific.               10   him that I'm ready to leave this day and then he drove me
 11   He would just hold with using his own, you know, using his              11   to the airport.
 12   own hand.                                                               12   Q. Did you observe any marks on your body of any kind?
 13   Q. Was he standing above you, to the side of you, on the                13   A.      I felt pain inside. It was painful for me to walk,
 14   floor? Describe how he, where he was in relation to you                 14   you know. And I think that it was definitely painful for
 15   during this occasion.                                                   15   me to walk.
 16   A.   I remember that I was on the floor. Okay? And he                   16   Q. To walk?
 17   would be like, not a position, like not laying down, but                17   A.      To walk. Like this.
 18   in a position like crawling; you know, when you are about               18   Q. Oh. To walk?
 19   to crawl?                                                               19   A.      To walk. And I remember that I was bleeding as well
 20               And the hands would be like this. And he would              20   inside.
 21   hold them like this. And he would be, like he would be                  21   Q. You were bleeding inside your vagina?
 22   like almost on top, like sitting on my, you know, on my                 22   A.      I had, yes, I have had blood. Yes.
 23   back.                                                                   23   Q. Did you observe any red marks anywhere on your body?
 24               MR. KABRAWALA: The witness gestured, for the                24   A.      That I cannot say for sure. That I cannot say.
 25   record, behind her back, when she was describing that.                  25   Q. Just to be clear. Were you menstruating during this
                                                            115                                                                            117
  1               THE COURT: Yes.                                              1   time period?
  2   BY MR. KABRAWALA:                                                        2   A.      No.
  3   Q. Approximately how long did this encounter last?                       3   Q. So you, at some point after that, you told him you
  4   A.   It wasn't a short encounter. I would say it would be                4   were leaving. Correct?
  5   between one hour and two hours. Something like that.                     5   A.      It is not that I wanted. You know, it is just I had
  6   Between. Because it only stopped after, you know, like I                 6   no other choice.
  7   was suffering.                                                           7                 I had to go somewhere because I didn't, like I
  8               But for him it didn't really matter. It stopped              8   couldn't, he didn't want me to stay in his house, and I
  9   after he received his satisfaction. So basically until he                9   couldn't obviously be on the street. So I just contacted
 10   received whatever he was looking for. Then, only after                  10   a person, who I didn't even know. He was like a very, you
 11   that, like after he was like completely discharged. You                 11   know, cold contact. Just a person who I just barely knew
 12   know.                                                                   12   in Seattle. He invited me to come and stay with his
 13   Q. Discharged?                                                          13   family. I would stay with his family.
 14   A.   Yes. Like completely discharged. After he discharge                14   Q. Was this another romantic --
 15   himself. Like even after he had like even no energy left.               15   A.      It wasn't romantic. It was more of a, you know, kind
 16   Q. You mean ejaculated or --                                            16   of a friend connection. Because I was staying with his
 17   A.   Yes.                                                               17   barracks, they all stay over there.
 18   Q. Okay. At any point during that encounter, did you                    18   Q. The person that took you in in Seattle, did you meet
 19   have sexual intercourse with Mr. Valerio?                               19   that person on any kind of dating website?
 20   A.   Yes. He would try, he would do it. He would do it.                 20   A.      Yes. But -- yes. But it was like a very, you know,
 21   If that's what you mean, yes, he would do it.                           21   contact -- I even contacted him two days like prior to my
 22   Q. Just so we are talking about the same thing. Did he                  22   arrival to him just because I had no other choice. I
 23   insert his penis in you?                                                23   didn't want to go over there to be with a stranger. I
 24   A.   Yes, he did. Umm-hmm.                                              24   didn't want to but I had no other choice.
 25   Q. And again, did you say no or resist in any way?                      25   Q. Did you, at any point in time following this first
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  1   instance, report Mr. Valerio to any sort of legal                      1   Q.      So you didn't call the police because you still held
  2   authorities?                                                           2   out hope that --
  3   A.    I was considering. I was considering. Specifically               3   A.      Yes, I hold out hope.
  4   after that incident, when I was in Seattle I was                       4   Q.      May I finish the question so the record is clear.
  5   considering to maybe contact the police. I was                         5                You didn't call the police on Mr. Valerio
  6   considering.                                                           6   following this incident of September 2011 because you,
  7   Q.    Why didn't you?                                                  7   essentially you still held out hope that Mr. Valerio would
  8   A.    I was hesitant because, first of all, this is a                  8   be a good father to your child?
  9   foreign country to me. Like this is not my country. I                  9   A.      Exactly. Exactly. I saw him as a father to his own
 10   never dealt with no American police or whatever and I                 10   son and I saw his sincere concern to his daughter with
 11   didn't know what their reaction would be.                             11   this woman A                .
 12               And also, like my, you know, my primary concern           12                And he also told me this woman, she had a son,
 13   at that point was about my family and the reunion with my             13   which wasn't his son, from the previous relationship of
 14   family because like, for instance from Mr. Valerio's                  14   her. But he would tell me that he would, like he would
 15   house, I remember that I called to the orphanage, like                15   see no difference, you know, between a boy and between his
 16   every other day I would call back home, I would call back             16   own daughter and he would accept the son as his own one.
 17   home, and I would check on my daughter, how she's doing,              17   Q.      Okay.
 18   how she's doing.                                                      18   A.      He would also tell me about this.
 19               And they, you know, like this principal of the            19   Q.      I want to talk about your second trip to
 20   orphanage in the Ukraine, they wouldn't, they would even              20   Mr. Valerio's house.
 21   refuse to tell me how she was. They were very rude. They              21   A.      Okay.
 22   told me they have so many kids, we don't know how your                22   Q.      That trip in that time, in the fall of 2011. What
 23   daughter is. They just didn't want to even talk to me.                23   made you come back after Seattle?
 24               But I was -- so my priority was to reunite with           24   A.      First of all, I realized that there was no place for
 25   my family, to get my daughter out of the orphanage to make            25   me in Seattle. And there never was. Like simply, like I

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  1   sure that she is okay. That was my priority. And he was                1   was simply, like there never was.
  2   like, you know, regarding the kids.                                    2                And Mr. Valerio, after this incident he
  3               And I want you to know, because it's important,            3   contacted me through the email. He contacted me and he
  4   regarding the kids he was, and my daughter specifically,               4   was completely in a different tone. Completely like
  5   he was very receptive. Like he really wanted her to be                 5   nothing happened, you know. He contacted me. And he
  6   part of the family. Okay?                                              6   would ask me how am I doing, if I'm all right. And he
  7               And he told me, like he told me about his                  7   would, you know, the purpose of reestablish the
  8                                                                          8




                                                          -
      previous relationship with this woman I believe from South                 relationship, you know, in a softer way, a nice way, a
  9   Africa. A            I believe her name is. And he told me             9   gentle way, and he would advise me to come back to him.
 10   that he has a daughter with her. Her name is A           , his        10                And I decided to give it a chance because I was,
 11   daughter with this woman. And I remember that he was                  11   in my mind I was like, in my mind I was after being in a
 12   showing me this picture of his daughter when she was                  12   family, and I decided to give him a chance of building the
 13   staying with him like at his house. He would show me the              13   family with him.
 14   pictures of his daughter. And he would tell me that he                14   Q.      So you came back to him, hoping to build a family
 15   was like very happy.                                                  15   with him. He paid for your flight. Correct?
 16               And I could see that he was very sincere, that            16   A.      Yes, he did.
 17   he had love for the child. And I could see that he was,               17   Q.      This second time when you stayed with Mr. Valerio,
 18   you know, really missed the child, you know. And he would             18   how long was that visit?
 19   also like tell me that he would complain that the daughter            19   A.      The second time I came back, it was, I think it was
 20   wasn't with him; that this woman took her away from him.              20   second week of October, and stayed till the end of
 21               And so I could see that basically, you know,              21   October.
 22   that he would be -- and he would also encourage me to                 22   Q.      During that second visit in the fall of 2011, did
 23   bring my own daughter to live with him. So I saw that he              23   Mr. Valerio ever sexually or physically assault you in any
 24   would be, you know, a suitable, a very good person as a               24   way?
 25   father.                                                               25   A.      I remember that, you know, when he was about to pick
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  1   me up from the airport so he -- I was communicate -- he              1   Q.      Okay. Go ahead. Describe, in as much detail as you
  2   bought me a cell phone before. So I had a cell phone with            2   can, where you were and what happened.
  3   an American sim card. So I still, like it was activated.             3   A.      So I remember it was already a long drive. And the
  4             So I was communicating with him through the cell           4   road from Manhattan to Long Island takes like a couple of
  5   phone at that time. And he would ask me that he wanted me            5   hours to drive. So I remember that we are in Long Island
  6   to come. Like I came from the airport. I flew. And then              6   already, so it was already dark. It was already dark. It
  7   he would tell me from the airport to take a taxi and to go           7   wasn't night but it was like, I don't know, like 8, 9 pm.
  8   to the Central Park, Manhattan, and there he was going to            8   Something like that. It wasn't like very dark but it was
  9   pick me up in Central Park. Not in the airport but in                9   like a twilight, a twilight.
 10   Central Park.                                                       10                  So he just, he suddenly stopped the car and he
 11             And he was specifically, I remember, telling me           11   pulled over. He pulled over from the road. Just pulled
 12   in the task of how he would like me to be dressed. Okay.            12   over to the side. And he just pulled over.
 13   Q.   How was that?                                                  13                  And he, you know, he was sitting with the
 14   A.   Yes. He would tell me that he wanted me specifically           14   driver's area place and I was sitting next to him. And he
 15   to have like a mini dress or a mini skirt to put on. And            15   would just, he would just, you know, use his hand and just
 16   he would tell me to wear the panty hose. Right, in                  16   like, so he just, like an animal, like attacked me, you
 17   English? Panty hose. And he would tell me not to put,               17   know, like using his hands.
 18   like no underwear. That was his --                                  18   Q.      What do you mean?
 19   Q.   And you did it.                                                19   A.      Using his hand, he would put it like under my
 20   A.   I did it. But I didn't understand why he asked me,             20   clothes. He wouldn't take the panty hose off. He would
 21   but I just did it.                                                  21   just, you know, go inside of it with his hands, through
 22   Q.   So -- withdrawn. Around what time was this that you            22   the clothes, you know.
 23   arrived into New York City?                                         23                  And it was very painful because like, I don't
 24             Was it late? Was it during the day?                       24   know, a woman will probably understand, like with your
 25   A.   No. I arrived during the day. And it took me a                 25   hand through the clothes. He didn't take it off. And he

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  1   while to drive from the airport to Manhattan also. But               1   just started, you know, to use his hand like inside of me
  2   Mr. Valerio I met around from, it was between 4 to 5 pm in           2   and he was just -- and I just, like I was shocked. I was
  3   Central Park.                                                        3   shocked. You know, I didn't understand why he did it or,
  4   Q.   Okay. What happened once you met him?                           4   like, just absolutely like no explanation. No, just, you
  5   A.   He picked me up. I was waiting there, waiting in a              5   know, he did it. And he kept doing it till he, you know,
  6   taxi. I was waiting in a taxi in the Central Park. And               6   till he relieved himself.
  7   he arrived. He arrived in his car. I remember the Range              7   Q.      So to get this straight. He was driving and he
  8   Recover, the one that he has, the black one. Okay? So he             8   pulled over on some road. You don't know exactly where
  9   picked me up in that car. He paid for the fee that I was             9   that was.
 10   supposed to pay to drive me to the airport.                         10   A.      On the Long Island. I remember that there was like,
 11   Q.   The taxi fare.                                                 11   for instance, like a road you drive and he would pull over
 12   A.   Yes, the taxi fare. And I came. Whatever small                 12   to the side where there was like no cars.
 13   luggage I had, I put in his car and I came into his car.            13   Q.      Okay. So you were on the road somewhere in Long
 14             And he was like he was very happy to see me. He           14   Island. And in the moments before, did you have any
 15   was, you know, he asked me how was I doing. He was in the           15   warning that he was going to do this to you?
 16   car. He was like talking nice to me, like very happy that           16   A.      No. We was just listening to the music. We was just
 17   I came, you know.                                                   17   listening to the music.
 18             And then we started to drive from the Central             18   Q.      And it is your testimony that he pulled over and took
 19   Park all the way back to his house to Long Island. Okay?            19   his hand and put it up your vagina?
 20   And so I remember we were driving. And like everything              20   A.      Yes.
 21   was okay during the initial ride through the town. But we           21   Q.      While you were still wearing panty hose?
 22   were like already in the Long Island. I don't remember              22   A.      Yes.
 23   where it was because I'm not very familiar with the area.           23   Q.      And it was painful?
 24   Like I can describe how it looks but I cannot tell where            24   A.      It was very painful. Because it was not only the,
 25   the specific location.                                              25   you know, the pain of the hand, it was also the clothes,
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  1   you know, when it is, like how do you say it?                              1   something wild came out of him, you know. And then he
  2               (Witness and interpreter confer.)                              2   turned and then he did like this even. Maybe he even felt
  3               THE INTERPRETER: When it's rubbing against.                    3   sorry, I don't know, but --
  4   A.    Yes, when it's like rubbing the skin it was also                     4   Q.      You're slumping.
  5   painful, you know.                                                         5   A.      That was his gesture trying to show. Maybe he even
  6   BY MR. KABRAWALA:                                                          6   felt sorry, I don't know, but he said, he told me that he
  7   Q.    Did your clothing tear in any way? Your panties.                     7   was sorry.
  8   A.    Yes. He completely, like he made like a hole, you                    8   Q.      Did you call the police or notify any sort of
  9   know, over there. And I think it was, for him it was                       9   authorities about the interaction?
 10   giving him some kind of a drive, you know, when a woman                   10   A.      No. I didn't call to nobody. Because I just, I
 11   like no, no underwear but the panty hose and mini skirt;                  11   didn't. No. I didn't call. I didn't call. I thought --
 12   that, you know, it was really like driving him crazy, you                 12   I couldn't understand why he was doing this. He wasn't
 13   know.                                                                     13   like this all the time. He was just, you know, it was
 14   Q.    Were you resisting in any way?                                      14   like some kind of madness, you know, coming on him.
 15   A.    I was shocked. I didn't. I wasn't like out of the                   15                  And I was, I wanted desperately to reunite with
 16   car. Like it was locked completely. It was his car. The                   16   my daughter. And he would encourage me. Like he would
 17   car was locked. I couldn't go nowhere.                                    17   encourage me constantly to get her out and to bring her,
 18   Q.    Why --                                                              18   you know, as a family, to live together with him.
 19   A.    Like I couldn't --                                                  19   Q.      So despite this second event, you wanted to give him
 20   Q.    Didn't you -- I'm sorry. Go ahead.                                  20   another chance because you saw him as a good father
 21   A.    I couldn't go. I couldn't open the car. There were                  21   figure.
 22   no people around. It was just in the middle of nowhere.                   22   A.      Yes. And also I was thinking that he lived in the
 23   And it was dark. I didn't even know the area.                             23   marriage with this Russian lady, his wife. Natalia, I
 24   Q.    Was he saying anything to you at this time?                         24   believe. He lived for over ten years, since '11 or '12,
 25   A.    You know? He was, after he finished like doing what                 25   something like that, from what he told me, his first

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  1   he was doing, like, you know, satisfying himself and after                 1   marriage.
  2   his discharge, like he felt this relief and he turned to                   2                  And it was, from my point of view it was kind of
  3   me and said that he was sorry. He turned to me and said                    3   successful, his marriage with his wife. And he had a kid.
  4   that he was sorry.                                                         4   And I saw the kid. I saw his mother. And I thought that
  5   Q.    How --                                                               5   maybe he is, you know, maybe he is a normal person. Maybe
  6   A.    He turned to me and said that he was sorry.                          6   he is a good person; like, if she lived with him for more
  7               But I remember that he, you know, like when I                  7   than 10 years, this Russian lady, his first wife. So I
  8                                                                              8




                                                                                      -
      was trying to get myself out of here, I remember that I                        guess, you know, that's how I saw it.
  9   hurt my head in the car, in the car, you know, trying to                   9                  And also his attitude with his other kids, like
 10   turn around away from him.                                                10   A        . I believed him he was concerned about her. Like
 11   Q.    So while Mr. Valerio was penetrating you with his                   11   he truly loved her, his daughter. And even the kid. I
 12   hand, you turned to move away and you hit your head?                      12   think that the other one that she had, the boy, I forget
 13   A.    Yes. With the car.                                                  13   his name, he was sincerely concerned about them like I
 14   Q.    Did he say anything to you while he was physically                  14   could see from him.
 15   assaulting you?                                                           15   Q.      I want to show you a few documents.
 16   A.    No. He was just, and I remember he also tried to                    16                  May I approach the witness?
 17   kiss me, you know, like kiss and simultaneously to use his                17                  THE COURT: Yes.
 18   hand.                                                                     18   BY MR. KABRAWALA:
 19   Q.    You did gesture. It sounds like you were testifying                 19   Q.      I will have you turn to some exhibits here. The
 20   that Mr. Valerio was masturbating while he was doing this                 20   first exhibit I'm showing you is Exhibit No. 9.
 21   to you.                                                                   21                  Do you recognize this document, Exhibit 9? It
 22   A.    Yes, he was.                                                        22   is a one-page. Looks like some sort of contract.
 23   Q.    Did you -- withdrawn.                                               23   A.      Yes, I do.
 24   A.    He told me he was sorry after he finished, you know,                24   Q.      Is that your signature?
 25   after he said. That was like, you know, after he, like                    25   A.      Yes.
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  1   Q. Is this a true and correct copy of the document that                    1   somewhere. I was literally begging him.
  2   you signed?                                                                2                  At the end, you know, at the end of the sexual
  3   A.   Yes, it is.                                                           3   assault, he would tell me -- this is, I forgot to say
  4               MR. KABRAWALA: Your Honor, the government moves                4   it -- he would tell me after, you know, he got his
  5   into evidence Government Exhibit 9.                                        5   satisfaction, he got discharged, he told me this is how
  6               THE COURT: Any objection?                                      6   you earn your additional like two days.
  7               MR. LATO: No, your Honor.                                      7                  This I clearly, I remember what he said. It was
  8               THE COURT: Government Exhibit 9 admitted.                      8   kind of a, you know, how I earned, according to him, the
  9               (Government Exhibit 9 in evidence.)                            9   additional two days to stay in his place.
 10   BY MR. KABRAWALA:                                                         10   Q. So just to be clear. After the first time, in
 11   Q. Can you describe what that document is.                                11   September of 2011, when he had asked you to leave, you
 12   A.   It is a contract that he came out with and he asked                  12   told us about that assault that took place. And following
 13   me to sign.                                                               13   the assault, Mr. Valerio said, in effect, this is how you
 14   Q. And I see that it is dated, the email on which it is                   14   had earned an additional two days?
 15   printed, a date from October 18, 2011. This is at the end                 15   A.      Yes. I remember he said that.
 16   of your stay approximately.                                               16   Q. I notice here in this purported contract it says that
 17   A.   Close to the end.                                                    17   you will never mention the word police in his home because
 18   Q. Close to the end of your stay with him. Correct?                       18   he is my provider and my leader as well as my guard.
 19   A.   Yes.                                                                 19                  This language about police?
 20   Q. Is it fair to say that this is some sort of,                           20   A.      Yes.
 21   quote-unquote, contract where you are promising to                        21   Q. To your knowledge why is that in this purported
 22   quote -- withdraw that.                                                   22   contract?
 23               Is it true that this is some sort of contract                 23   A.      I never told him, you know, I never told him that I
 24   where you are entering into a, quote, multiple partner                    24   would openly, that I was considering the contact, the
 25   relationship, close quote, with Mr. Valerio?                              25   police or whatever. But I think that this is his
                                                                  131                                                                            133
  1   A.   That's what he, this is what he wrote, yes, contract.                 1   subconscious fear. I think that he was afraid. He was
  2   Q. I want to focus your attention to the last few                          2   afraid. And this is, and he wanted to, you know, secure
  3   sentences. And I'm going to read it. Just tell me if I'm                   3   himself. He would think that I would make because I would
  4   reading it correctly and then I will ask you a couple of                   4   told him that this is, you know, like; but I never openly
  5   follow-up questions about it.                                              5   told him I'm calling the police right now. That situation
  6               So it is the fifth line from the bottom. It                    6   never happened. But it was in his, you know, I think he
  7   reads in boldface print:                                                   7   was scared that I might do it. That's why he did it.
  8               "I," meaning you, "always obey his commands and                8   Q. Other than the two instances that you described in
  9   provide the support for our strong partnership.                            9   the fall of 2011, were there any other instances of sexual
 10               "Joseph," meaning Mr. Valerio, "promises to be a              10   assault, nonconsensual sexual assault, that Mr. Valerio
 11   good man and a gentle man with his partner when not                       11   perpetrated on you?
 12   engaging in consensual rough sexual intercourse which I,                  12   A.      I left. I left in October. Close to end of October.
 13   Helena, meaning you, also enjoy. Therefore, in balanced                   13   Q. So the answer is no?
 14   harmony, Joseph will treat me as an equal when I'm obeying                14   A.      No.
 15   him thoroughly." Close quote.                                             15   Q. After you left, did you ever come back to Mr.
 16               Did I read that correctly?                                    16   Valerio?
 17   A.   Yes.                                                                 17   A.      No.
 18   Q. To be clear. The instances that you described of                       18                  (Continued on the following page.)
 19   Mr. Valerio sexually assaulting you, did you consider that                19
 20   to be consensual intercourse?                                             20
 21   A.   No, I don't.                                                         21
 22   Q. Why not?                                                               22
 23   A.   First of all, during the first, you know, incident, I                23
 24   was literally begging him to allow me to stay in his house                24
 25   at least until I would be able to find a way to go                        25
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  1   DIRECT EXAMINATION (Continuing)                                             1                  (Government Exhibit 14 in evidence.)
  2   BY MR. KABRAWALA:                                                           2   BY MR. KABRAWALA:
  3   Q     I want to have you jump ahead to number 13.                           3   Q       I'm going to read from the second paragraph on.
  4                Do you recognize this two page document?                       4                  I want to be able to teach my new daughter all
  5   A     Yes.                                                                  5   the talents I have passed onto my son and daughter. There
  6   Q     Is this an e-mail that Mr. Valerio sent to your                       6   will be an au-pair with me as well to tend to a little
  7   e-mail address?                                                             7   girl's needs. I have a girl here now that's qualified.
  8   A     Can I look at it?                                                     8   If not her later on there will be some other qualified
  9   Q     Pardon?                                                               9   helper or woman with me. The won't only be for me to
 10   A     Can I read it?                                                       10   enjoy and raise. When I plan an action I think it
 11   Q     Oh please, please, take your time.                                   11   through. As far as going to meet with authorities in the
 12                That is an e-mail that you received from                      12   Ukraine, that's no problem as you will accompany me there
 13   Mr. Valerio, correct?                                                      13   posing as my girlfriend.
 14   A     Yes, this is.                                                        14                  Tell us what's going on in there?
 15   Q     Is it a true and correct copy of that e-mail?                        15   A       He was, there he was -- after first request to help
 16   A     Yes, it is.                                                          16   him with adoption I became concerned. I'm saying that
 17                MR. KABRAWALA: Your Honor, the government moves               17   after his second request for an adoption, specifically to
 18   Government Exhibit 13 into evidence.                                       18   help him to adopt a child from Ukraine, so I became
 19                MR. LATO: No objection.                                       19   extremely concerned. Extremely concerned. And I
 20                THE COURT: Government Exhibit 13 admitted.                    20   immediately like, I responded to him. But if you will go
 21                (Government Exhibit 13 in evidence.)                          21   look at my letter. There was a response.
 22   BY MR. KABRAWALA:                                                          22                  And I was trying to find out what was his plan.
 23   Q     I'm going to read a portion of the fourth paragraph                  23   I wanted to know what was, what was he planning to do.
 24   down from Mr. Valerio.                                                     24   Okay. And he basically, he is telling me what his plan
 25                Quote: I wanted to ask if you would also help                 25   is. Like he explains to me how his plan to take the girl,
                                                                   135                                                                                137
  1   me with an adoption of a child from your country. Can you                   1   that um, that, this is what he says. He will teach her
  2   help me just by saying we are a couple looking to adopt.                    2   this and this and this. And there will be an au-pair and
  3   I will give you a sold commission for your help, that you                   3   etcetera. And he told me that he was going to come. So
  4   know.                                                                       4   he is basically tell me what his intentions are.
  5                Can you briefly describe what is being discussed               5   Q       Did you help him -- withdrawn.
  6   here.                                                                       6                  Did you ever help Mr. Valerio adopt some other
  7   A     Yes. He asked me, he asked me at this point to help                   7   child from the Ukraine per his e-mail request?
  8   him out to adopt a child from my country. Specifically                      8   A       No. I sent a letter to the consulate, American
  9   this is a request he want me to help him to adopt a child                   9   consulate make sure he will never adopt anyone from my
 10   from my country. And he, like he is understanding, okay.                   10   country or from anywhere in the world.
 11   This understanding he wanted us like me and him to pose as                 11   Q       Thank you. There is nothing further.
 12   a couple in front of the -- so is thought that he could do                 12                  THE COURT: Okay, we'll take a ten minute break
 13   it. He would take his chances of getting a child from my                   13   before the cross.
 14   country.                                                                   14                  (A recess was taken.)
 15   Q     Please take a look at number 14, Government 14. And                  15                  (After recess the following occurred.)
 16   this will be my last series questions.                                     16   CROSS-EXAMINATION
 17                I'll ask you again whether this is a true and                 17   BY MR. LATO:
 18   correct copy of the e-mail that got from Mr. Valerio?                      18   Q       Good afternoon, Ms. Kalichenko.
 19                For the record Government 14 is dated 2013/7/8.               19   A       Good afternoon.
 20   So that is July 8, 2013.                                                   20   Q       I'm going to ask you questions for about 15 minutes.
 21   A     Yes.                                                                 21                  Most of my questions will call for a yes or no
 22                MR. KABRAWALA: Your Honor, the government moves               22   answer. If you don't understand my question or can't
 23   Government Exhibit 14 into the record.                                     23   answer it yes or no, please tell me and I'll rephrase the
 24                MR. LATO: No objection.                                       24   question. Okay?
 25                THE COURT: Government 14 is admitted.                         25   A       Yes.
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  1   Q      Do you understand me now?                                           1                  Now is it a fair statement that Joe acted like
  2   A      Yes.                                                                2   he had a dual personality?
  3   Q      Did you meet Mr. Valerio in July of 2011?                           3   A       It's so --
  4   A      Was the very --                                                     4   Q       Let me withdraw that.
  5   Q      I'm sorry. I can't hear you.                                        5                  When you testified about an hour ago, did you
  6   A      Was the very end of June, like very end of June.                    6   say that Mr. Valerio had a dual personality?
  7   Q      Did you meet him in the United States?                              7   A       I said he has dual personality, yes. I said that he
  8   A      Yes.                                                                8   had dual personality.
  9   Q      Was it in Long Island?                                              9   Q       Now in September of 2011 did he assault you? Was he
 10   A      Um, I came to New York. Which airport I don't --                   10   forceful with you against your will?
 11   Q      When were you --                                                   11   A       I just described, yes.
 12   A      In New York. It would have been, um I don't remember               12   Q       But I'm going to ask you a few more questions about
 13   which airport it was.                                                     13   that.
 14   Q      How long did you stay with Mr. Valerio?                            14                  Just so you know, now it's my turn to ask
 15   A      The first time?                                                    15   questions. I know it's not familiar to you, but
 16   Q      Yes.                                                               16   Mr. Kabrawala asked you questions and now I have a chance
 17   A      The first time ten days.                                           17   to ask you the same questions even though you may have
 18   Q      Did you have sex with him during those ten days?                   18   said it earlier. Okay?
 19   A      Yes, I have.                                                       19   A       Okay.
 20   Q      Did he have a bad temper at any point within those                 20   Q       Do you understand?
 21   ten days?                                                                 21   A       Yes, I do.
 22   A      I know just that he would have changes in his mood,                22   Q       Now, the first time Mr. Valerio assaulted you, right
 23   yes.                                                                      23   before he did that he told you to leave his house,
 24   Q      And that is the first ten days you were with him you               24   correct?
 25   already noticed that, right?                                              25   A       Yes, that is what he did.
                                                                 139                                                                                 141
  1   A      I notice that he has --                                             1   Q       You begged him to stay, right?
  2   Q      Yes or no?                                                          2   A       Yes.
  3   A      Yes, I know he has.                                                 3   Q       And what he did was he ripped your clothes off,
  4   Q      Did you thereafter go back to the Ukraine?                          4   right?
  5   A      Yes, I went back to the Ukraine.                                    5   A       First he dragged me from the kitchen to, it was a --.
  6   Q      In September of the same year did you come back and                 6   And then that same room that's where he took my clothes
  7   spend time with Mr. Valerio?                                               7   off.
  8   A      Yes, I came back.                                                   8   Q       And he made you crawl on the floor, right?
  9   Q      Did you want to build your relationship with him?                   9   A       Yes, he did.
 10   A      Yes.                                                               10   Q       And he slapped your behind, correct?
 11   Q      Did you have sex with him?                                         11   A       Yes.
 12   A      I had sex with him, yes, at that time.                             12   Q       In fact he inserted his hand into your vagina, right?
 13   Q      In September of 2011 was your daughter about one year              13   A       Yes.
 14   old?                                                                      14   Q       He called you a whore, right?
 15   A      September, yes.                                                    15   A       He would, he would use different insultive (sic)words
 16   Q      Now the second time you were with Mr. Valerio in                   16   including this one.
 17   September, did he show that he had a bad temper?                          17   Q       Did it occur to you during this while he was doing
 18   A      I could say that he showed more of his character.                  18   this, that maybe he wasn't the right guy for you?
 19   Q      Well, were there times that he was good to you and                 19   A       I don't think I was thinking about at this point. I
 20   times that he was bad to you?                                             20   just um, are you talking about during the incident
 21   A      Kind of, yes.                                                      21   specifically?
 22   Q      Some days he was good Joe and bad Joe, right?                      22   Q       Yes. Right.
 23   A      Yes. It was, yes, yes. I never said that there was                 23                  In other words, while he was assaulting you and
 24   no good part.                                                             24   putting his hand inside you, did you come to the opinion
 25   Q      Okay, please. I just want a yes-or-no question.                    25   that maybe this is the wrong guy for me?
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  1   A     I didn't make exactly opinion.                                    1   A       Yes.
  2   Q     Please just yes or no?                                            2   Q       Well at this point did you say, This is not the right
  3   A     I was just --                                                     3   guy for me. I should get away from this guy?
  4   Q     Please. Once again --                                             4   A       He apologized. He said he was sorry.
  5                THE COURT: Ms. Kalichenko, if you could just               5   Q       Well, it's not like he spilled coffee on you, right?
  6   answer the question yes or no or just tell him you can't                6   A       It's not.
  7   answer it yes or no.                                                    7   Q       Right, okay. He actually shoved his hand into your
  8                THE WITNESS: If I can answer yes or no, I just             8   vagina and said to you he was sorry after masturbating,
  9   have to tell him.                                                       9   and you were okay with that?
 10                THE COURT: You can't tell him.                            10   A       I would prefer not to answer that question.
 11                THE WITNESS: I can't answer this yes or no.               11   Q       I'll move on.
 12   BY MR. LATO:                                                           12                  Now when you were in the United States in June,
 13   Q     Did he want you to perform oral sex on him?                      13   July or September of 2011, did you see any other American
 14   A     Yes, he wanted.                                                  14   men? I'm not asking you what happened, just whether you
 15   Q     You did not do that at first, correct?                           15   saw them?
 16   A     During that incident he forced me to do it.                      16   A       (Inaudible).
 17   Q     But you refused, right, you didn't want to?                      17   Q       You say September of 2011, did you see men other than
 18   A     I didn't want, no. I didn't want.                                18   Mr. Valerio in the United States?
 19   Q     But once later you performed oral sex on your infant             19   A       The person who I has to go to, and that's it.
 20   daughter, correct?                                                     20   Q       Well did you think maybe he was a better choice?
 21   A     I won't answer that. I don't want to answer. I                   21   A       I wasn't looking for him for this point of view at
 22   refuse to answer.                                                      22   all. I just had a place to go.
 23   Q     You can't refuse to answer anything unless the judge             23   Q       Now even after Mr. Valerio did these things to you,
 24   says so.                                                               24   in the -- room and in the car, was it still your hope that
 25   A     You want me answer yes or no, and I can't say yes or             25   he would be nicer to you in the future?
                                                               143                                                                               145
  1   no.                                                                     1   A       Yes, it was still my hope, yes. It was still my
  2                MR. LATO: Your Honor, given that she is a                  2   hope.
  3   defendant, I'm going to defer to the Court what she can                 3   Q       Now on or about October 18 of 2011, did you and
  4   not do, and I withdraw my question what she can and can                 4   Mr. Valerio enter into a contract that has previously been
  5   not do.                                                                 5   introduced here as Government Exhibit 9?
  6                THE COURT: You can't answer yes or no?                     6   A       He drafted the contract, yeah. It was his
  7                THE WITNESS: I don't want to answer yes or no              7   initiation. It came out of his mind, you know, this
  8   because it wouldn't be my answer to this question.                      8   contract, and I did sign it. It wasn't my initiative. I
  9                THE COURT: Okay. I think the government will               9   just know he wanted me to sign it. It just came from his
 10   concede that fact in any event based upon the evidence in              10   mind.
 11   the case. Right?                                                       11   Q       On October 18th, 2011, did you send Mr. Valerio an
 12                MR. KABRAWALA: Your Honor, the videos certainly           12   e-mail in which you agreed to enter into a contract with
 13   speak for themselves.                                                  13   him and agreed to have rough sex and do cooking with him,
 14                THE COURT: So you can stipulate to that.                  14   your words?
 15   BY MR. LATO:                                                           15   A       In October 18 I sent an e-mail. This is not what
 16   Q     Now Mr. Valerio assaulted you a second time in a car,            16   happened.
 17   right?                                                                 17   Q       Wait, hold on. I want to show you Defense Exhibit A
 18   A     Yes, he did.                                                     18   for identification.
 19   Q     And that time when he assaulted you it was with your             19                  Please tell me if you recognize it. And use the
 20   pantyhose still on, correct?                                           20   interpreter if you have trouble reading it.
 21   A     Yes.                                                             21   A       Yes. So that was out of more my words. And the
 22   Q     And he actually put his hand through your pantyhose              22   other one was his words. This was my words here. He
 23   into your vagina, correct?                                             23   wanted me to --
 24   A     Yes.                                                             24   Q       Is Defense Exhibit A for identification an e-mail you
 25   Q     And it hurt, right?                                              25   sent to Mr. Valerio, yes or no? Did you send this to him?
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  1   A      I sent, I sent, but that is not how at the time. But               1   Q       Did you sign it?
  2   I sent.                                                                   2   A       That is my signature.
  3               MR. LATO: Your Honor, at this time I offer                    3   Q       And you in this contract that you signed, agreed that
  4   Defense Exhibit A.                                                        4   Joseph promises to be a good man and a gentleman with his
  5               MR. KABRAWALA: No objection.                                  5   partner when not engaged in consensual rough sexual
  6               THE COURT: Defendant's Exhibit a admitted.                    6   intercourse, which I, Olena, also enjoy.
  7               (Defense Exhibit A in evidence.)                              7                  Did you put your name to that?
  8   BY MR. LATO:                                                              8   A       He is talking about consensual, yes.
  9   Q      Now is it fair to say that you wrote to Mr. Valerio                9   Q       But you actually signed a document where it said you
 10   on October 18, 2011: I, Olena Kalichenko promise to                      10   enjoyed rough sex?
 11   Joseph Valerio to enter into a multiple partner                          11   A       No, that is not how this happened.
 12   relationship where I, as being one of his partners, agree                12   Q       Now you returned, I should say in -- let me rephrase
 13   on having rough sex with him, do cooking from the                        13   it.
 14   groceries, provided preferably in Ukrainian style, clean                 14                  When you sent an e-mail on October 18 you were
 15   the house, go out with him, travel together, be nice and                 15   already back in the Ukraine, correct?
 16   clean and affectionate things to him. Joseph Valerio                     16   A       No. I was in his house. I was in his house.
 17   being a -- is to take care her and her child.                            17   Q       When did you go back to the Ukraine?
 18               Did you write that to him?                                   18   A       I have to check with my passport history, but it
 19   A      Yes, was that.                                                    19   would be very end of October. Not totally the day. I
 20   Q      And this is on the same day that he sent you what you             20   have to check my passport. But I remember this contract
 21   signed, the contract, correct?                                           21   was -- I remember, because he printed it out and I signed
 22   A      I'm sorry, which same day? I don't understand.                    22   a copy. I remember signing the copy at his house.
 23   Q      On October 18th of 2011 you sent Mr. Valerio a signed             23   Q       By December of 2011 you were back in the Ukraine,
 24   contract?                                                                24   correct?
 25   A      No, this is not what this is.                                     25   A       December, yes.
                                                                147                                                                          149
  1   Q      Please.                                                            1   Q       Now did you send Mr. Valerio an e-mail on December 23
  2   A      But can I tell --                                                  2   of 2011 in which you told him that you want to move
  3   Q      No, you can't.                                                     3   forward with him and commit you, yourself and your child
  4               THE COURT: Mr. Kabrawala can get up after he is               4   tomorrow.
  5   done and ask you to explain what happened.                                5                  Did you tell him that in an e-mail?
  6               THE WITNESS: But I just can not agree. This 24                6   A       Yes. I told him this --
  7   is not what happened. I don't want to agree. This is not                  7   Q       Okay, that's it. That is the question. You
  8   what happened.                                                            8   answered.
  9               THE COURT: If you just say, no, that is not                   9                  Now at some point he started making videos of
 10   what happened. Don't try to explain, just say, no, that                  10   you and your daughter engaging in sexual acts, correct?
 11   is not what happened.                                                    11   A       You mean I started to make?
 12               THE WITNESS: This is not what happened the way               12   Q       Yes.
 13   he --                                                                    13   A       I started to make of my own will? That is what
 14               THE COURT: Ms. Kalichenko, the question is just              14   you're saying? I wanted to make something to me --
 15   whether or not that e-mail is the same day that you signed               15   Q       I understand what you're saying --
 16   the contract. That is the only question. Yes or no?                      16   A       That is what you're asking me questions --
 17               Was it the same day, or was it not the same day?             17   Q       Mr. Valerio asked you to make video of you and your
 18               THE WITNESS: October is, yes, it was the same                18   daughter?
 19   day.                                                                     19   A       He was demanding, yes, of course.
 20   BY MR. LATO:                                                             20   Q       And when he demanded them, were you in the Ukraine
 21   Q      Now I'm going to show you Government Exhibit 9                    21   when he made the demand?
 22   previously introduced into evidence.                                     22   A       I was in Ukraine, yes.
 23               Is this the contract?                                        23   Q       Mr. Valerio was in the United States, correct?
 24   A      This is the contract that he made, yes. That he                   24   A       He was in the United States, yes.
 25   wanted me to sign.                                                       25   Q       About how many videos did you make of you and your
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  1   daughter engaging in immoral acts, about 20 or 30?                         1                Do you remember sending him that message?
  2   A     I told you -- different days, so, yes.                               2   A       I remember the conversation and the content of the
  3   Q     On April 29, 2012, did you send Mr. Valerio an e-mail                3   conversation. I remember.
  4   that you wanted the relationship with him to continue.                     4   Q       You actually sent that to him, right?
  5   And I think Sophia, your infant daughter, will love you,                   5   A       I sent, yes. I remember the conversation.
  6   and that you, Mr. Valerio, could be a great father to her?                 6   Q       Now on December 11 of 2013, you also sent him a viber
  7   A     When was April 29th you say?                                         7   message in which you stated; Joseph, I now have eight
  8   Q     Yes. And if you don't remember, I'll show you a                      8   different video I made for you, not counting the one sent
  9   document maybe it will refresh your recollection.                          9   through G H L. FBI is asking me every single day, either
 10               Would you like me to show you the document?                   10   I'm sending them additional evidence to them. I don't
 11   A     No, that's okay. That's okay.                                       11   think you really understand how serious a matter it is.
 12   Q     Yes or no. I'm sorry, do you want me to show it to                  12   I'm asking you for the last time, would you like me to
 13   you? Just say, no, and I'll stop walking forward.                         13   provide the police everything I have, or would you like to
 14   A     No, you don't have to.                                              14   negotiate?
 15   Q     Okay, so, did you send Mr. Valerio such an e-mail;                  15                Did you send him that message?
 16   yes or no? Do you remember?                                               16   A       When did it happen, which date?
 17   A     I did, yes. But I had no visa --                                    17   Q       December 11th?
 18   Q     Okay --                                                             18   A       And when did I leave the --
 19   A     -- my visa was being cancelled, so --                               19   Q       I'm not here to answer your questions. My question
 20   Q     Okay. So now, did you feel that Mr. Valerio was                     20   to you is. Did you send him that message.
 21   blackmailing you?                                                         21                If you're not sure, I'll show you something that
 22   A     Yes, I felt, yes.                                                   22   might refresh your recollection.
 23   Q     And the reason you felt he was blackmailing you was                 23   A       I remember the conversation, yes.
 24   because he threatened not to continue to send you money if                24   Q       But you were attempting to negotiate with him, is it
 25   you ceased making videos of you and your daughter,                        25   a fair statement? You wanted him to send you more money,
                                                               151                                                                             153
  1   correct?                                                                   1   correct?
  2   A     That's not how he exactly was saying. I wouldn't say                 2   A       I wouldn't say it this way. If you go further in
  3   that. I wouldn't say that.                                                 3   this conversation there are also statements which can also
  4   Q     Well, did you ever try to negotiate with Mr. Valerio?                4   be included --
  5               You know what the word, negotiate, means? I                    5   Q       Were you asking him to negotiate? You were looking
  6   don't know if the translator -- well, could you please                     6   for something from him?
  7   translate that?                                                            7   A       I was. I was. And I told him openly that I would,
  8   A     I know what the word is.                                             8   that I plan to file this case for damages because of my
  9   Q     I just wasn't sure.                                                  9   daughter, the damages that he cost. And I told him the
 10               Did you ever negotiate with Mr. Valerio?                      10   same conversation, that I'm hiring a lawyer specifically
 11   A     Negotiate what?                                                     11   to file a civil lawsuit against him. This is included in
 12   Q     Well, on anything? I'll get to what if you say, yes.                12   the conversation. I told him openly.
 13   A     It's not, it's how you mean the word, okay? I will                  13   Q       Did you want money from him; yes or no?
 14   say, yes, okay, I would say yes, uh-huh.                                  14   A       I didn't --
 15   Q     In fact in December of 2013, did you tell Mr. Valerio               15   Q       Excuse me. Yes or no? Did you want money from him?
 16   that if he didn't give you, or continue to give you money,                16   A       From behalf of my daughter, yes, I believe she is
 17   you were going to report him to the police?                               17   entitled to.
 18   A     No, I didn't say that. This I didn't say that, no,                  18   Q       So what you were telling Mr. Valerio in these
 19   didn't say that. I didn't say if you don't give me I'm                    19   messages, you wanted to negotiate, send money on behalf of
 20   going to. That's not what I said. I never said that.                      20   my daughter or I'm going to the FBI and turning you in.
 21   Q     Well specifically, on December 30, 2013, did you                    21                That's what you were doing, right?
 22   actually send Mr. Valerio what is called a viber message                  22   A       First of all --
 23   in which you said, You know, you are really damned. You                   23   Q       Yes or no, or I can't answer yes or no. Those are
 24   could have negotiated with me before the criminal case                    24   the only choices.
 25   against you was being opened.                                             25   A       No. No.
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  1               MR. LATO: Just a couple of more questions, your             1   promise me anything. And I said that they never promised
  2   Honor.                                                                  2   me.
  3   Q   Do you remember being arrested by Special Agent Troyd               3   Q       Did he also ask you whether you were hoping for
  4   and Special Agent Messineo in this country at the airport?              4   leniency, and did you answer, yes?
  5   A   I do.                                                               5               Maybe you don't remember.
  6   Q   When they arrested you did you tell them, well let me               6   A       I don't remember if he asked me for that.
  7   go back? Did you speak to them?                                         7               MR. LATO: Nothing further.
  8   A   Yes, I spoke to them, yes.                                          8               THE COURT: Redirect?
  9   Q   How long did you speak to them? Say a half hour?                    9               MR. KABRAWALA: No, your Honor.
 10   A   Maybe a little bit more at the office, close to an                 10               THE COURT: Step down, Ms. Kalichenko.
 11   hour.                                                                  11               Did you discuss a potential date to continue the
 12   Q   At any time during your conversation with Special                  12   hearing?
 13   Agent Troyd and Special Agent Messineo did you say to them             13               MR. KABRAWALA: We did, judge.
 14   that Mr. Valerio had sexually or otherwise assaulted you               14               We have the other foreign national witnesses'
 15   in 2011; yes or no? Did you tell them that?                            15   availability. We have also spoken with defense counsel
 16   A   They never asked me.                                               16   and we're proposing September 26th, that week if it's
 17   Q   Did you volunteer it?                                              17   clear. It appears to work for everyone.
 18   A   No, I didn't tell. I don't know. I would say I                     18               MR. LATO: Your Honor, it may not work for you,
 19   don't remember, but I think, no. I don't remember. I                   19   but those dates can change.
 20   don't know if I told them. I don't remember, seriously,                20               MR. KABRAWALA: And also I want to say I haven't
 21   if I told them. I remember I told some agent at one                    21   been able to connect with a witness. But the witness did
 22   point, but to them I don't remember, honestly.                         22   provide me with her schedule before today. And I'm going
 23               MR. LATO: One moment, your Honor, I just want              23   from that schedule presuming nothing has changed in the
 24   to make sure.                                                          24   intervening few days.
 25               (There was a pause in the proceedings.)                    25               THE COURT: The 26th then?
                                                              155                                                                           157
  1   BY MR. LATO:                                                            1               MR. LATO: Thank you, your Honor.
  2   Q   Ms. Kalichenko, you realize you're facing a mandatory               2               THE COURT: And again, as I said previously,
  3   minimum of 15 years imprisonment?                                       3   that was the hearing date. And we'll set a sentencing
  4   A   I do.                                                               4   date on the 26th.
  5   Q   You hope for leniency?                                              5               Okay, thank you.
  6   A   Excuse me?                                                          6               (The proceedings were concluded at 4:24 p.m.)
  7   Q   Are you hoping for leniency from the judge?                         7
  8   A   What does that mean?                                                8
  9   Q   Are you hoping to get as little time as possible?                   9
 10   A   No, I'm not.                                                       10
 11   Q   You're hoping to get as much time in jail as                       11
 12   possible?                                                              12
 13   A   What? I don't --                                                   13
 14   Q   Maybe you don't understand me.                                     14
 15               Are you trying to get the lowest sentence                  15
 16   possible?                                                              16
 17   A   No, I'm not. It's just a request from the judge was                17
 18   surprising from me. I didn't ask for him to ask me --                  18
 19   Q   About an hour ago did you tell Mr. Kabrawala that you              19
 20   were hoping for leniency?                                              20
 21   A   Excuse me?                                                         21
 22   Q   About an hour ago when you testified, when                         22
 23   Mr. Kabrawala was asking you questions, did you say you                23
 24   were hoping for leniency?                                              24
 25   A   He asked me if I had any agreement with them, if they              25
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